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                           IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 11

    CMC II, LLC,1                                                    Case No. 21-10461 (JTD)

                      Debtors.
                                                                     (Jointly Administered)


                           CERTIFICATION OF DEBTORS’ CREDITOR MATRIX

          In accordance with Rule 1007(a) of the Federal Rules of Bankruptcy Procedure and Rule 1007-2(a)
of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
District of Delaware, a list of creditors of the above-captioned debtors and debtors in possession (the “List”)
is filed by attachment hereto.

         The List has been prepared from the Debtors’ books and records. The undersigned certifies that
the List contains the names and addresses of all creditors of the Debtors that could be ascertained after
diligent inquiry based on a review of the Debtors’ books and records, and is consistent with the information
contained therein. Certain personally-identifying information concerning current and former residents of
the Debtors’ skilled nursing facilities and current and former employees has been redacted from the public
version of the List. To the extent practicable, the List complies with Local Rule 1007-1(a). The Debtors
reserve the right to amend or supplement the List as necessary.

         Although the information contained in the List is based on a review of the Debtors’ books and
records, the Debtors have not completed a comprehensive legal and/or factual investigation with regard to
possible defenses of the Debtors and their estates to any claims of the potential claimants included in the
List. In addition, certain of the parties included in the List may not hold outstanding claims as of the date
hereof and, therefore, may not be creditors of the Debtors and their estates for purposes of these Chapter
11 Cases. Therefore, the List does not, and should not be deemed or otherwise construed to, constitute
either (i) a waiver of any defenses of the Debtors and their estate to any claims that may be asserted against
the Debtors and their estates or (ii) an acknowledgement or admission of the validity, priority, or amount
of any claims that may be asserted against the Debtors and their estates.

Dated: March 4, 2021                                      CMC II, LLC


                                                          By:      /s/ Paul Rundell
                                                                   Paul Rundell, Chief Restructuring Officer



1     The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
      are as follows: CMC II, LLC (6973), Salus Rehabilitation, LLC (4037), 207 Marshall Drive Operations LLC
      (8470), 803 Oak Street Operations LLC (3900), Sea Crest Health Care Management, LLC (2940), and Consulate
      Management Company, LLC (5824). The address of the Debtors’ corporate headquarters is 800 Concourse
      Parkway South, Maitland, Florida 32751.
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                                                                                                                  Redacted Creditor Matrix
                                                                                                                    as of March 3, 2021


                         Creditor Name                           Attention                                        Address 1                               Address 2                  Address 3                  City            State       Zip      Country
   1 ELECTRIC LLC                                                                                  P O BOX 13657                                                                                      ATLANTA                   GA      30324
   10040 HILLVIEW ROAD OPERATIONS LLC                                                              10040 HILLVIEW ROAD                                                                                PENSACOLA                 FL      32514-5499
   1010 CARPENTERS WAY OPERATIONS LLC                                                              1010 CARPENTERS WAY                                                                                LAKELAND                  FL      33809-3926
   1026 ALBEE FARM ROAD OPERATIONS LLC                                                             1026 ALBEE FARM ROAD                                                                               VENICE                    FL      34285-6213
   1061 VIRGINIA STREET OPERATIONS LLC                                                             1061 VIRGINIA STREET                                                                               DUNEDIN                   FL      34698-7326
   1111 DRURY LANE OPERATIONS LLC                                                                  1111 DRURY LANE                                                                                    ENGLEWOOD                 FL      34224-4545
   1120 WEST DONEGAN AVENUE OPERATIONS LLC                                                         1120 WEST DONEGAN AVENUE                                                                           KISSIMMEE                 FL      34741-2247
   11565 HARTS ROAD OPERATIONS LLC                                                                 11565 HARTS ROAD                                                                                   JACKSONVILLE              FL      32218-3777
   12170 CORTEZ BOULEVARD OPERATIONS LLC                                                           12170 CORTEZ BOULEVARD                                                                             BROOKSVILLE               FL      34613-5578
   125 ALMA BOULEVARD OPERATIONS LLC                                                               125 ALMA BOULEVARD                                                                                 MERRITT ISLAND            FL      32953-4345
   1445 HOWELL AVENUE OPERATIONS LLC                                                               1445 HOWELL AVENUE                                                                                 BROOKSVILLE               FL      34601-1502
   1465 OAKFIELD DRIVE OPERATIONS LLC                                                              1465 OAKFIELD DRIVE                                                                                BRANDON                   FL      33511-4854
   1507 SOUTH TUTTLE AVENUE OPERATIONS LLC                                                         1507 SOUTH TUTTLE AVENUE                                                                           SARASOTA                  FL      34239-2608
   15204 WEST COLONIAL DRIVE OPERATIONS LLC                                                        15204 WEST COLONIAL DRIVE                                                                          WINTER GARDEN             FL      34787-6042
   1550 JESS PARRISH COURT OPERATIONS LLC                                                          1550 JESS PARRISH COURT                                                                            TITUSVILLE                FL      32796-2147
   1615 MIAMI ROAD OPERATIONS LLC                                                                  1615 MIAMI ROAD                                                                                    FORT LAUDERDALE           FL      33316-2933
   1615 MIAMI ROAD OPERATIONS LLC D/B/A HARBOR BEACH
   NURSING AND REHABILITATION CENTER                                                               1615 MIAMI ROAD                                                                                    FT. LAUDERDALE            FL      33316-2933
   1-800-FLOWERS.COM                                    GENERAL POST OFFICE                        PO BOX 29901                                                                                       NEW YORK                  NY      10087-9901
   1820 SHORE DRIVE OPERATIONS LLC                                                                 1820 SHORE DRIVE SOUTH                                                                             SOUTH PASADENA            FL      33707-4601
   1851 ELKCAM BOULEVARD OPERATIONS LLC                                                            1851 ELKCAM BOULEVARD                                                                              DELTONA                   FL      32725-3922
   1851 ELKCAM BOULEVARD OPERATIONS, LLC D/B/A DELTONA
   HEALTH CARE                                                                                     1851 ELKCAM BOULEVARD                                                                              DELTONA                   FL      32725
   1937 JENKS AVENUE OPERATIONS LLC                                                                1937 JENKS AVENUE                                                                                  PANAMA CITY               FL      32405-4510
   195 MATTIE M. KELLY BOULEVARD OPERATIONS LLC                                                    195 MATTIE M. KELLY BOULEVARD                                                                      DESTIN                    FL      32541-2811
   207 MARSHALL DRIVE OPERATIONS LLC                                                               207 MARSHALL DRIVE                                                                                 PERRY                     FL      32347-1835
   216 SANTA BARBARA BOULEVARD OPERATIONS LLC                                                      216 SANTA BARBARA BOULEVARD                                                                        CAPE CORAL                FL      33991-2031
   2333 NORTH BRENTWOOD CIRCLE OPERATIONS LLC                                                      2333 NORTH BRENTWOOD CIRCLE                                                                        LECANTO                   FL      34461-8536
   2401 NE 2ND STREET OPERATIONS LLC                                                               2401 NE 2ND STREET                                                                                 POMPANO BEACH             FL      33062-4806
   2599 NW 55TH AVENUE OPERATIONS, LLC                                                             2599 NW 55TH AVE                                                                                   LAUDERHILL                FL      33313-2443
   27 VIRTUAL CONSULTING LLC                                                                       5824 BEE RIDGE ROAD #810                                                                           SARASOTA                  FL      34233
   2826 CLEVELAND AVENUE OPERATIONS LLC                                                            2826 CLEVELAND AVENUE                                                                              FORT MYERS                FL      33901-6001
   2916 HABANA WAY OPERATIONS LLC                                                                  2916 HABANA WAY                                                                                    TAMPA                     FL      33614-7108
   2939 SOUTH HAVERHILL ROAD OPERATIONS LLC                                                        2939 SOUTH HAVERHILL ROAD                                                                          WEST PALM BEACH           FL      33415-8118
   3001 PALM COAST PARKWAY OPERATIONS LLC                                                          3001 PALM COAST PARKWAY SE                                                                         PALM COAST                FL      32137-8209
   3101 GINGER DRIVE OPERATIONS LLC                                                                3101 GINGER DRIVE                                                                                  TALLAHASSEE               FL      32308-4437
   3110 OAKBRIDGE BOULEVARD OPERATIONS LLC                                                         3110 OAKBRIDGE BOULEVARD EAST                                                                      LAKELAND                  FL      33803-5987
   360 HEALTHCARE STAFFING, LLC                                                                    5401 WEST KENNEDY BLVD.                    SUITE 830                                               TAMPA                     FL      33609
   3735 EVANS AVENUE OPERATIONS LLC                                                                3735 EVANS AVENUE                                                                                  FORT MYERS                FL      33901-9302
   3825 COUNTRYSIDE BOULEVARD OPERATIONS LLC                                                       3825 COUNTRYSIDE BOULEVARD N                                                                       PALM HARBOR               FL      34684-4928
   3920 ROSEWOOD WAY OPERATIONS LLC                                                                3920 ROSEWOOD WAY                                                                                  ORLANDO                   FL      32808-1033
   3920 ROSEWOOD WAY OPERATIONS LLC D/B/A ROSEWOOD
   HEALTH AND REHABILITATION CENTER                                                                3920 ROSEWOOD WAY                                                                                  ORLANDO                   FL      32808-1033
   4 CORNER RESOURCES, LLC                                                                         135 EAST COLONIAL DRIVE                    SUITE 200                                               ORLANDO                   FL      32801
   4200 WASHINGTON STREET OPERATIONS LLC                                                           4200 WASHINGTON STREET                                                                             HOLLYWOOD                 FL      33021-7353
   4641 OLD CANOE CREEK ROAD OPERATIONS LLC                                                        4641 OLD CANOE CREEK ROAD                                                                          ST CLOUD                  FL      34769-1550
   500 SOUTH HOSPITAL DRIVE OPERATIONS LLC                                                         500 SOUTH HOSPITAL DRIVE                                                                           CRESTVIEW                 FL      32539-7355
   5065 WALLIS ROAD OPERATIONS LLC                                                                 5065 WALLIS ROAD                                                                                   WEST PALM BEACH           FL      33415-1947
   518 WEST FLETCHER AVENUE OPERATIONS LLC                                                         518 WEST FLETCHER AVENUE                                                                           TAMPA                     FL      33612-3419
   5405 BABCOCK STREET OPERATIONS LLC                                                              5405 BABCOCK STREET NE                                                                             PALM BAY                  FL      32905-5020
   5725 NW 186TH STREET OPERATIONS, LLC                                                            5725 NW 186TH ST                                                                                   HIALEAH                   FL      33015-6019
   5901 NW 79TH AVENUE OPERATIONS, LLC                                                             5901 NW 79TH AVE                                                                                   TAMARAC                   FL      33321-4639
   611 SOUTH 13TH STREET OPERATIONS LLC                                                            611 SOUTH 13TH STREET                                                                              FORT PIERCE               FL      34950-4054
   626 NORTH TYNDALL PARKWAY OPERATIONS LLC                                                        626 NORTH TYNDALL PARKWAY                                                                          CALLAWAY                  FL      32404-6132
   6305 CORTEZ ROAD WEST OPERATIONS LLC                                                            6305 CORTEZ ROAD WEST                                                                              BRADENTON                 FL      34210-2604
   6414 13TH ROAD SOUTH OPERATIONS LLC                                                             6414 13TH ROAD SOUTH                                                                               WEST PALM BEACH           FL      33415-1401
   650 REED CANAL ROAD OPERATIONS LLC                                                              650 REED CANAL ROAD                                                                                SOUTH DAYTONA             FL      32119-3230
   6700 NW 10TH PLACE OPERATIONS LLC                                                               6700 NW 10TH PLACE                                                                                 GAINESVILLE               FL      32605-4213
   6931 W SUNRISE BOULEVARD OPERATIONS, LLC                                                        6931 W SUNRISE BLVD                                                                                PLANTATION                FL      33313-4406
   702 SOUTH KINGS AVENUE OPERATIONS LLC                                                           702 SOUTH KINGS AVENUE                                                                             BRANDON                   FL      33511-5925
   710 NORTH SUN DRIVE OPERATIONS LLC                                                              710 NORTH SUN DRIVE                                                                                LAKE MARY                 FL      32746-2507
   741 SOUTH BENEVA ROAD OPERATIONS LLC                                                            741 SOUTH BENEVA ROAD                                                                              SARASOTA                  FL      34232-2411
   777 NINTH STREET NORTH OPERATIONS LLC                                                           777 NINTH STREET NORTH                                                                             NAPLES                    FL      34102-8135
   7950 LAKE UNDERHILL ROAD OPERATIONS LLC                                                         7950 LAKE UNDERHILL ROAD                                                                           ORLANDO                   FL      32822-8229
   7950 LAKE UNDERHILL ROAD OPERATIONS LLC D/B/A RIO
   PINAR HEALTH CARE                                                                               7950 LAKE UNDERHILL ROAD                                                                           ORLANDO                   FL      32822-8229
   7E GOODS LLC                                                                                    637 VICKERY WAY NE                                                                                 MARIETTA                  GA      30066
   803 OAK STREET OPERATIONS LLC                                                                   803 OAK STREET                                                                                     GREEN COVE SPRINGS        FL      32043-4317
   803 OAK STREET OPERATIONS LLC D/B/A GOVERNOR'S CREEK
   HEALTH AND REHABILITATION                                                                       803 OAK STREET                                                                                     GREEN COVE SPRINGS        FL      32043
   9035 BRYAN DAIRY ROAD OPERATIONS LLC                                                            9035 BRYAN DAIRY ROAD                                                                              LARGO                     FL      33777-1104
   9311 SOUTH ORANGE BLOSSOM TRAIL OPERATIONS LLC                                                  9311 SOUTH ORANGE BLOSSOM TRAIL                                                                    ORLANDO                   FL      32837-8301
   9355 SAN JOSE BOULEVARD OPERATIONS LLC                                                          9355 SAN JOSE BOULEVARD                                                                            JACKSONVILLE              FL      32257-5503
   9400 SW 137TH AVENUE OPERATIONS, LLC                                                            9400 SW 137TH AVE                                                                                  MIAMI                     FL      33186-1434

    1 In accordance with the Interim Order Authorizing the Implementation of Procedures to Maintain and Protect Confidential Health Information as Required by Applicable Privacy Rules [Docket No. 27], the Debtors have redacted (a) any reference to
    current and former residents for whom the Debtors may have health information, and (b) the home addresses of individuals listed on the Creditor Matrix, Schedules and Statements, or other document filed with the Court.


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                       Creditor Name                             Attention                       Address 1                         Address 2          Address 3            City     State     Zip      Country
   A & E REPAIR                                                                    7832 CLARK MOODY                                                               PORT RICHEY       FL    34668
   A.B. CLOSING CORPORATION D/B/A KAVALIRO                                         12001 RESEARCH PARKWAY              SUITE 344                                  ORLANDO           FL    32826
   AAMARCHE T. FLOWERS                                                             (ADDRESS REDACTED)
   ABBIGAIL M. GILPIN                                                              (ADDRESS REDACTED)
   ABBOTT COMMUNICATIONS GROUP                                                     110 ATLANTIC DRIVE                                                             MAITLAND          FL   32751
                                                        ATTN: CONTRACT ANALYST RT2-
   ABBOTT NUTRITION                                     3 DEPT. 106851              PO BOX 182023                                                                 COLUMBUS          OH   43218-2023
   ABDOULAYE NIANG                                                                  (ADDRESS REDACTED)
   ABIGAIL E. WOOD                                                                  (ADDRESS REDACTED)
   ABILITY NETWORK INC                                                              PO BOX 856015                                                                 MINNEAPOLIS       MN   55485-6015
   ABILITY NETWORK INC.                                                             100 NORTH B ST.                    SUITE 900A                                 MINNEAPOLIS       MN   55403
                                                        C/O ABSOLUTE SOFTWARE
                                                        COPORATION, SUITE 1400,                                        ATTN: ABSOLUTE’S LEGAL
   ABSOLUTE SOFTWARE, INC.                              FOUR BENTALL CENTRE         1055 DENSMUIR STREET               DEPARTMENT                                 VANCOUVER         BC   V7X 1K8      CANADA
   ACADEMIC PLATFORMS                                                               1302 CLEAR SPRINGS TRACE                                                      LOUISVILLE        KY   40223
                                                        ATTN: JOHN P. REINHART,
   ACADEMIC PLATFORMS, INC                              PRESIDENT                   1415 BARDSTOWN ROAD                                                           LOUISVILLE        KY   40204
   ACCELERATED CARE PLUS LEASING                                                    13828 COLLECTIONS CENTER DR                                                   CHICAGO           IL   60693
   ACCELERATED CARE PLUS LEASING INC.                                               4850 JOULE STREET                  BLDG A-1                                   RENO              NV   89502
                                                        ATTN: RICH TAYLOR,
   ACCELERATED CARE PLUS LEASING INC.                   COO/GENERAL MANAGER         9855 DOUBLE R BOULEVARD            SUITE 100                                  RENO              NV   89521
   ACCENT                                                                           (ADDRESS REDACTED)
   ACCOUNTING PRINCIPALS                                DEPT CH 14031               DEPT CH 14031                                                                 PALATINE          IL   60055
   ACCOUNTING PRINCIPALS, INC. D/B/A PARKER + LYNCH                                 3455 PEACHTREE RD.                 NE #110                                    ATLANTA           GA   30326
   ACCUSCRIPT CONSULTING SERVICES LLC                                               276 CEDAR BRIDGE AVENUE                                                       LAKEWOOD          NJ   08701
   ACCUSCRIPT CONSULTING SERVICES LLC                                               112 IRIS ROAD                                                                 LAKEWOOD          NJ   08701
                                                                                                                       1133 AVENUE OF THE
   ACE USA                                              PROFESSIONAL RISK          ATTN: CHIEF UNDERWRITING OFFICER    AMERICAS 32ND FLOOR                        NEW YORK          NY   10036
   ACF STANDBY SYSTEMS LLC                                                         9311 SOLAR DRIVE                                                               TAMPA             FL   33619
   ACF STANDBY SYSTEMS, LLC                                                        9311 SOLAR DRIVE                                                               TAMPA             FL   33619
   ACKERMAN SECURITY SYSTEMS                                                       7585-C PNCE DE LEON CIRCLE                                                     ATLANTA           GA   30340
   ACR SOLUTIONS LLC                                                               2199 ARNOLD PALMER DRIVE                                                       TITUSVILLE        FL   32796
   ACR SOLUTIONS, LLC                                                              3880 S. WASHINGTON AVE.             SUITE 208                                  TITUSVILLE        FL   32780
   ACTIVATED INSIGHTS                                                              1999 HARRISON STREET                SUITE 2070                                 OAKLAND           CA   94612
   ACTUARIAL ADVANTAGE INC                                                         N63W23524 SILVER SPRING DRIVE       UPPER LEVEL                                SUSSEX            WI   53089
   ADAMS BENNIE                                                                    (ADDRESS REDACTED)

   ADAN TRUJILLO AS PR OF THE ESTATE OF REGINA ROMERO   C/O GARRETT LAW            ATTN: AARON GARRETT, ESQUIRE        6739 ACADEMY RD NE #350                    ALBUQUERQUE       NM   87109
                                                                                   ATTN: AARON GARRETT, ESQUIRE &
   ADAN TRUJILLO AS PR OF THE ESTATE OF REGINA ROMERO   C/O GARRETT LAW            WESLEY C. JACKSON, ESQ.             7125 PROSPECT PL, NE                       ALBUQUERQUE       NM   87190
   ADMIN TEMPS, INC. D/B/A MEDBEST RECRUITING
   ADOLFO C DULAY MD PA                                                            (ADDRESS REDACTED)
   ADOLFO C. DULAY, MD, P.A.                                                       228 NE HANCOCK AVE.                                                            MADISON           FL   32340
                                                      C/O DE LA PIEDRA LAW FIRM,
   ADONA LACY WITH POWER OF ATTORNEY FOR BERTIE ADAMS P.A.                         ATTN: JACK DE LA PIEDRA, ESQ        6 TRISTAN WAY                              PENSACOLA BEACH   FL   32561
   ADP INC                                                                         PO BOX 842875                                                                  BOSTON            MA   02284-2875
   ADP, INC.                                                                       500 WINDWARD PARKWAY                                                           ALPHARETTA        GA   30005
   ADRIAN CANNIMORE                                                                (ADDRESS REDACTED)
   ADRIENNE WILLIAMS                                                               (ADDRESS REDACTED)
   ADVANCED DISPOSAL                                                               P.O.BOX 743019                                                                 ATLANTA           GA   30379-3019
   ADVANCED DISPOSAL                                                               CLAY COUNTY PB                      7580 PHILLIPS HWY                          JACKSONVILLE      FL   32258
   ADVANCED REFRIG & AIR CONDITIO                                                  PO BOX 189                                                                     TALLAHASSEE       FL   32302
   ADVANCED REFRIG & AIR CONDITIO                                                  PO BOX 716                                                                     PERRY             FL   32348
   ADVANCED SOFTWARE PRODUCTS                         GROUP INC                    3185 HORSHOE DRIVE SOUTH                                                       NAPLES            FL   34104
   ADVANCED SOFTWARE PRODUCTS GROUP, INC.                                          3185 HORSESHOE DRIVE SOUTH                                                     NAPLES            FL   34104
   ADVANCED TELECOM SYSTEMS                                                        6911 STATE ROAD 54                                                             NEW PORT RICHEY   FL   34653
   ADVANCED UROLOGY INSTITUTE                                                      P.O. BOX 13067                                                                 BELFAST           ME   04915-4021
   ADVANTAGE LASER PRODUCTS INC                                                    1840 MARIETTA BLVD NW                                                          ATLANTA           GA   30318-2803
                                                      NATIONAL ANCILLARY
   AETNA HEALTH MANAGEMENT, LLC                       CONTRACTING                  MAIL STOP UG2N                      1425 UNION MEETING ROAD                    BLUE BELL         PA   19422
   AFCO                                                                            2141 ENTERPRISE DRIVE                                                          FLORENCE          SC   29501
   AGENCY FOR HEALTH CARE ADMIN                                                    PO BOX 13749                        MAIL STOP #14                              TALLAHASSEE       FL   32317-3749
   AGENCY FOR HEALTH CARE ADMIN                       OFFICE OF FINANCE & ACCT     REVENUE MANAGEMENT UNIT             2727 MAHAN DRIVE                           TALLAHASSEE       FL   32308
   AGENCY FOR HEALTH CARE ADMINISTRATION                                           2727 MAHAN DRIVE                                                               TALLAHASSEE       FL   32308
   AGNES LOJEK                                                                     (ADDRESS REDACTED)
   AHCA                                                                            2727 MAHAN DRIVE                    MAILSTOP 33                                TALLAHASSEE       FL   32308
   AICPA                                                                           PO BOX 37049                                                                   BOONE             IA   50037-0049
   AICPA                                                                           PO BOX 27866                                                                   NEWARK            NJ   07101
   AIQ FINANCIAL, LLC                                                              1005 OAK CREEK ROAD                                                            RALEIGH           NC   27615
   AJANI C. GIBSON                                                                 (ADDRESS REDACTED)
   AKEELA K. THOMAS                                                                (ADDRESS REDACTED)
   ALABAMA DEPARTMENT OF REVENUE                                                   50 NORTH RIPLEY STREET                                                         MONTGOMERY        AL   36104
   ALABAMA MEDICAID                                   C/O LEGAL DEPT               501 DEXTER AVENUE                                                              MONTGOMERY        AL   361034
   ALAINA R. WILSON                                                                (ADDRESS REDACTED)




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                          Creditor Name                         Attention                       Address 1                         Address 2            Address 3           City   State     Zip     Country
   ALAN J CARR                                                                    410 PARK AVENUE                     SUITE 900                                    NEW YORK       NY    10022
   ALAN J. CARR                                                                   (ADDRESS REDACTED)
   ALAYANA LEON                                                                   (ADDRESS REDACTED)

   ALBERTA E. RICHARDSON                              C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY            STE 800                                      TAMPA          FL   33609
   ALEX M. BACKER                                                                 (ADDRESS REDACTED)
   ALEXANDER W MATTHEWS                                                           (ADDRESS REDACTED)
   ALEXANDER, KIM A.                                                              (ADDRESS REDACTED)
   ALEXANDRIA E. RUSSELL                                                          (ADDRESS REDACTED)
   ALEXANDRIA RUSSELL                                                             (ADDRESS REDACTED)
   ALEXIS D. MCHOME                                                               (ADDRESS REDACTED)
   ALEXIS Y. LAWERY                                                               (ADDRESS REDACTED)
   ALFRED MERSHON BY AND THROUGH MARY JEAN MERSHON,
   PLENARY GUARDIAN                                   C/O WILKES & MCHUGH, PA     ONE NORTH DALE MABRY HWY, STE 800                                                TAMPA          FL   33609
   ALFRED MERSHON BY AND THROUGH MARY JEAN MERSHON,   C/O MENDES, REINS &
   PLENARY GUARDIAN                                   WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                  TAMPA          FL   33609
   ALFREDO RAMOS JR.                                                              (ADDRESS REDACTED)
   ALICE WOODS                                                                    (ADDRESS REDACTED)
   ALICIA A. ALVEY                                                                (ADDRESS REDACTED)
   ALICIA A. ARD                                                                  (ADDRESS REDACTED)
   ALICIA ARD                                                                     (ADDRESS REDACTED)
   ALICIA REID ROBINSON                                                           (ADDRESS REDACTED)
   ALISON BERGIN                                                                  (ADDRESS REDACTED)
   ALL AMERICAN HEALTHCARE SERVICES, INC.                                         494 BROAD STREET                    SUITE 302                                    NEWARK         NJ   07102
   ALL AREA ROOFING &                                                             1820 NORTH 57TH STREET                                                           TAMPA          FL   33619
   ALL PRO WALLCOVERING                                                           1008 HEMINGWAY DRIVE                                                             DELTONA        FL   32725
   ALLBRIDGE (BULK TV)                                                            6880 PERRY CREEK ROAD                                                            RALEIGH        NC   27624
   ALLEGIANCE CORPORATION                                                         PO BOX 70539                                                                     CHICAGO        IL   60673-0539
   ALLEGIANCE CORPORATION                                                         7000 CARDINAL PLACE                                                              DUBLIN         OH   43017
   ALLEN SINOWITZ                                                                 (ADDRESS REDACTED)
   ALLEN, ROBIN J.                                                                (ADDRESS REDACTED)
   ALLERIA M. HOFFENDEN                                                           (ADDRESS REDACTED)
   ALLIANT INSURANCE SERVICES, INC.                                               1120 SANCTUARY PARKWAY              SUITE 300                                    ALPHARETTA     GA   30009
   ALLIANT RETIREMENT CONSULTING, LLC                                             1120 SANCTUARY PARKWAY              SUITE 300                                    ALPHARETTA     GA   30009
   ALLISON B. CURRIE                                                              (ADDRESS REDACTED)
   ALLSCRIPTS                                                                     24630 NETWORK PL                                                                 CHICAGO        IL   60673-1246
   ALLSCRIPTS                                                                     PO BOX 60030                                                                     CHARLOTTE      NC   28260-0030
   ALLSCRIPTS HEALTHCARE, LLC                                                     222 MERCHANDISE MART PLAZA          SUITE 2024                                   CHICAGO        IL   60654
   ALLYSON TUTEN                                                                  (ADDRESS REDACTED)
   ALMA DAVIS                                                                     (ADDRESS REDACTED)
   ALONZI, KATHREN                                                                (ADDRESS REDACTED)
   ALPHA HEALTH CARE PROPERTIES, LLC                                              800 CONCOURSE PARKWAY SOUTH                                                      MAITLAND       FL   32751
   ALTERNATIVE SERVICE CONCEPTS                                                   P.O. BOX 306037                                                                  NASHVILLE      TN   37230-6037
   ALTERNATIVE SERVICE CONCEPTS, LLC
   ALVAREZ & MARSAL HEALTHCARE                        INDUSTRY GROUP LLC           600 MADISON AVENUE 8TH FLR                                                      NEW YORK       NY   10022
   ALVAREZ, CARLA B.                                                               (ADDRESS REDACTED)
                                                      C/O COLLING, GILBERT, WRIGHT ATTN: GARRY RHODEN, ESQ. & JOSH
   ALVESTER MILLER                                    & CARTER                     MACHLUS, ESQ.                      801 NORTH ORANGE AVENUE     SUITE 830        ORLANDO        FL   32801
   ALYSSA B. COWELL                                                                (ADDRESS REDACTED)
   ALYSSA COWELL                                                                   (ADDRESS REDACTED)
   ALYSSA JACKSON                                                                  (ADDRESS REDACTED)
   AMANDA HOLLADAY                                                                 (ADDRESS REDACTED)
   AMANDA L. HAGAN                                                                 (ADDRESS REDACTED)
                                                      C/O WILKES & MCHUGH -
   AMANDA SMITH AS GUARDIAN OF AARON PATTERSON        KENTUCKY                     421 NORTH BROADWAY                 PO BOX 1747                                  LEXINGTON      KY   40508
   AMBASSADOR ANCILLARY SERVICES, LLC                                              800 CONCOURSE PARKWAY SOUTH                                                     MAITLAND       FL   32751
   AMBASSADOR REHABILITATIVE SERVICES, LLC                                         800 CONCOURSE PARKWAY SOUTH                                                     MAITLAND       FL   32751
   AMBER HALL, ATTORNEY AT LAW                                                     820 EAST PARK AVENUE, BLDG B                                                    TALLAHASSEE    FL   32301
   AMBER L. GRIFFIN                                                                (ADDRESS REDACTED)
   AMBER PHILMON                                                                   (ADDRESS REDACTED)
   AMBER W. ROACH                                                                  (ADDRESS REDACTED)
   AMERICAN ARBITRATION ASSC                                                       2200 CENTURY PKWY                  STE 300                                      ATLANTA        GA   30345
   AMERICAN ARBITRATION ASSC                                                       27777 FRANKLIN RD                  SUITE 1150                                   SOUTHFIELD     MI   48034-8208
   AMERICAN ASSOCIATION OF POST                       ACUTE CARE NURSING           400 S COLORADO BLVD SUITE 600                                                   DENVER         CO   80246

   AMERICAN HEALTH ASSOCIATES, INC. (AHA)             ATTN: JAY BRAUN, VP OF SALES 15712 S.W. 41ST STREET             SUITE 16-20                                  DAVIE          FL   33331
   AMERICAN HEALTH ASSOCS                                                          2831 CORPORATE WAY                                                              MIRAMAR        FL   33025
   AMERICAN HEALTH ASSOCS                                                          15712 SW 41ST ST                   STE 16-20                                    DAVIE          FL   33331-1538
   AMERICAN HEALTH CARE ASSN                                                       PO BOX 631720                                                                   BALTIMORE      MD   21263-1720
   AMERICAN HEALTH CARE ASSN                                                       1201 L ST NW                                                                    WASHINGTON     DC   20005
   AMERICAN HEALTHTECH                                                             PO BOX 745025                                                                   ATLANTA        GA   30374-5025
   AMERICAN HEALTHTECH, INC.                                                       574 HIGHLAND COLONY PKWY                                                        RIDGELAND      MS   39157
   AMERICAN REGISTRY FOR INTERNET                                                  P.O BOX 759477                                                                  BALTIMORE      MD   21275-9477
   AMERICAN REGISTRY FOR INTERNET                                                  3635 CONCORDE PKWY                 #200                                         CHANTILLY      VA   20151




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   AMERICAN REGISTRY FOR INTERNET NUMBERS, LTD.
   AMERIGAS                                                                      P O OX 105018                                                                         ATLANTA             GA      30348-5018
   AMERIGAS                                                                      1221 HWY 64 W                                                                         MURPHY              NC      28906
   AMERIGAS                                                                      855 TALLEYRAND AVENUE                                                                 JACKSONVILLE        FL      32206
   AMERIGAS                                                                      4110 UNIVERSITY BLVD CT                                                               JACKSONVILLE        FL      32217
   AMERIGAS                                                                      PO BOX 660288                                                                         DALLAS              TX      75266-0288
   AMERIGAS PROPANE                                    ATTN: CUSTOMER SERVICE    P.O. BOX 965                                                                          VALLEY FORGE        PA      19482
   AMERIPATH FLORIDA LLC                                                         16684 COLLECTIONS CENTER DR                                                           CHICAGO             IL      60693
   AMI L. OUTLAW                                                                 (ADDRESS REDACTED)
   AMIDON NURSE STAFFING LLC                                                     3390 KORI ROAD                             SUITE 1                                    JACKSONVILLE        FL      32257
   AMIR I. KHAN                                                                  (ADDRESS REDACTED)
   AMIR KHAN                                                                     (ADDRESS REDACTED)
   AMIT H. SHAH                                                                  (ADDRESS REDACTED)
   AMR HOLDCO, INC.                                    ATTN: LEGAL DEPARTMENT    6200 S. SYRACUSE WAY, SUITE 200                                                       GREENWOOD VILLAGE   CO      80111
   AMR HOLDCO, INC.                                    ATTN: GENERAL MANAGER     6200 S. SYRACUSE WAY                       SUITE 200                                  GREENWOOD VILLAGE   CO      80111
   AMY ENGLISH                                                                   (ADDRESS REDACTED)
   AMY HARRIS                                                                    (ADDRESS REDACTED)
   AMY JETT                                                                      (ADDRESS REDACTED)
   AMY JETT                                                                      (ADDRESS REDACTED)
   AMY R. WALKER                                                                 (ADDRESS REDACTED)
   AMY RUSSELL                                                                   (ADDRESS REDACTED)
   AMY SACCONE                                                                   (ADDRESS REDACTED)
   AMY SANTAPAU                                                                  (ADDRESS REDACTED)
   AMY W. DARTS                                                                  (ADDRESS REDACTED)
   ANA A. ELLIS                                                                  (ADDRESS REDACTED)
   ANA ELLIS                                                                     (ADDRESS REDACTED)
   ANA L. RIVERA                                                                 (ADDRESS REDACTED)
   ANASTAISA LINDSEY                                                             (ADDRESS REDACTED)
   ANASTASIA FLYNCH                                                              (ADDRESS REDACTED)
   ANDERSSON, JERRY                                                              (ADDRESS REDACTED)
   ANDREA D. GUZMAN                                                              (ADDRESS REDACTED)
   ANDREA J. CLARK                                                               (ADDRESS REDACTED)
   ANDREA L. SALMON                                                              (ADDRESS REDACTED)
   ANDREA M. JOHNSON MADDOX                                                      (ADDRESS REDACTED)
   ANDREA MCFADDEN                                                               (ADDRESS REDACTED)
   ANDREA R. JONES                                                               (ADDRESS REDACTED)
   ANDREA TABORDA                                                                (ADDRESS REDACTED)
   ANDREA TAYLOR                                                                 (ADDRESS REDACTED)
   ANDREA V. RAGLAND                                                             (ADDRESS REDACTED)
   ANDRENA S. LAWERY                                                             (ADDRESS REDACTED)
   ANDRES BORRERO                                                                (ADDRESS REDACTED)
   ANDRES BORRERO JR                                                             (ADDRESS REDACTED)
   ANDREW JACKSON III                                                            (ADDRESS REDACTED)
   ANDREW L. PEACOCK                                                             (ADDRESS REDACTED)
   ANDREWS, THELMA                                                               (ADDRESS REDACTED)
   ANGEL D LEASENBY                                                              (ADDRESS REDACTED)
   ANGEL D. LEAZENBY                                                             (ADDRESS REDACTED)
   ANGEL DE JESUS                                                                (ADDRESS REDACTED)
   ANGEL DE JESUS                                                                (ADDRESS REDACTED)
   ANGELA BURGOS                                                                 (ADDRESS REDACTED)
   ANGELA BURGOS                                                                 (ADDRESS REDACTED)
   ANGELA BYERS                                                                  (ADDRESS REDACTED)
   ANGELA D. FRENCH                                                              (ADDRESS REDACTED)
   ANGELA D. MCDANIEL                                                            (ADDRESS REDACTED)
   ANGELA MASON                                                                  (ADDRESS REDACTED)
   ANGELA MCDANIEL                                                               (ADDRESS REDACTED)
                                                                                 ATTN BRADLEY OPPENHEIMER, DEREK
   ANGELA RUCKH, AS RELATOR FOR THE UNITED STATES OF   C/O KELLOGG HANSEN TODD   HO, SILVIJA STRIKIS, JAMES WEBSTER III &
   AMERICA                                             FIEGL & FREDERICK, PLLC   JOSEPH HALL                                1615 M ST NW STE 400                       WASHINGTON          DC      20036
   ANGELICA BARR                                                                 (ADDRESS REDACTED)
   ANGELICA M. ROSE                                                              (ADDRESS REDACTED)
   ANGELICA R. BARR                                                              (ADDRESS REDACTED)
   ANIEL K. VARMA                                                                (ADDRESS REDACTED)
   ANITA C. FAULMANN                                                             (ADDRESS REDACTED)
   ANITA C. YOUNG                                                                (ADDRESS REDACTED)
   ANITA FAULMAN                                                                 (ADDRESS REDACTED)
   ANITRA S. AUSTIN                                                              (ADDRESS REDACTED)
   ANN BUZZELL                                                                   (ADDRESS REDACTED)
   ANN M. OLSON                                                                  (ADDRESS REDACTED)
   ANN QUINNAN                                                                   (ADDRESS REDACTED)
   ANNA A. COMEAU                                                                (ADDRESS REDACTED)
   ANNA BRADY BY AND THROUGH LAWRENCE BRADY            C/O WILKES & MCHUGH       ONE NORTH DALE MABRY HWY                   STE 800                                    TAMPA               FL      33609
   ANNA COMEAU                                                                   (ADDRESS REDACTED)




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   ANNA GONZALEZ BY & THROUGH ELLIOTT GONZALEZ         C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY                STE 800                                       TAMPA            FL      33609
                                                       C/O COLLING, GILBERT, WRIGHT
   ANNA HOLLINS ON BEHALF OF DORRIS MITCHELL           & CARTER                     ATTN: JOSH MACHLUS, ESQ.               801 NORTH ORANGE AVENUE      SUITE 830        ORLANDO          FL      32801
   ANNA J. RAMIREZ                                                                  (ADDRESS REDACTED)
   ANNA M. JEMJEMIAN                                                                (ADDRESS REDACTED)
   ANNA RUNYON AS EXECUTRIX OF THE ESTATE OF JIMMY
   RUNYON                                              C/O CIRCEO FANNIN, PSC     ATTN: LISA CIRCEO, ESQ.                  360 E VINE ST SUITE 110                       LEXINGTON        KY      40507
   ANNA WHITEHEAD                                                                 (ADDRESS REDACTED)
   ANNETTE J. NOLAN                                                               (ADDRESS REDACTED)
   ANSLEY, TERRY                                                                  (ADDRESS REDACTED)
   ANSLEY, TERRY                                                                  (ADDRESS REDACTED)
   ANTHONY BREATH                                                                 (ADDRESS REDACTED)
   ANTHONY C. BREATH                                                              (ADDRESS REDACTED)

   ANTHONY COWART AS PR OF THE ESTATE OF LIA COWART    C/O KOHN LAW, PA           ATTN: KIMBERLY KOHN, ESQ.                3004 WEST CYPRESS STREET                      TAMPA            FL      33609
   ANTHONY D. LEWIS                                                               (ADDRESS REDACTED)
   ANTHONY DEVOE LEWIS                                                            (ADDRESS REDACTED)
   ANTHONY R. WHITE                                                               (ADDRESS REDACTED)
   ANTHONY W TERRY SR                                                             (ADDRESS REDACTED)
   ANTOINETTE AKISANYA AS PR OF THE ESTATE OF NONA     C/O AMBER HALL, ATTORNEY AT
   LINCOLN                                             LAW                         ATTN: AMBER HALL, ATTORNEY AT LAW       820 EAST PARK AVENUE         BLDG B           TALLAHASSEE      FL      32301
   ANTONIO CIFUENTES                                                               (ADDRESS REDACTED)
   ANTONIO SWILLEY                                                                 (ADDRESS REDACTED)
   ANTOYA L. FITCHETT                                                              (ADDRESS REDACTED)
   AON RISK SERVICES INC                                                           PO BOX 7247-7376                                                                      PHILADELPHIA     PA      19170-7376
   AON RISK SERVICES INC                                                           P O BOX 402232                                                                        ATLANTA          GA      30384-2232
   APOSTOLIC PUBLISHING CO                                                         7010 6TH ST N                                                                         OAKDALE          MN      55128
   APPEXTREMES LLC                                                                 PO BOX 7839                                                                           BROOMFIELD       CO      80021
   APPLE FINANCIAL SERVICES                                                        P O BOX 790448                                                                        ST. LOUIS        MO      63179-0448
   APPLE, INC.                                                                     2330 INTERSTATE 30                                                                    MESQUITE         TX      75150
   APRIL C. MILLARD                                                                (ADDRESS REDACTED)
   APRIL D. COBB                                                                   (ADDRESS REDACTED)
   APRIL FIELDS                                                                    (ADDRESS REDACTED)
   APRIL N. WATSON                                                                 (ADDRESS REDACTED)
   APRIL P. HUNT                                                                   (ADDRESS REDACTED)
   APRIL WATSON                                                                    (ADDRESS REDACTED)
   AQUARIUS MOORE                                                                  (ADDRESS REDACTED)
   AQUATIC CREATIONS                                                               4241 N. ECONLOCKHATCHEE TRAIL                                                         ORLANDO          FL      32817
   ARBOR TEMPORARY SERVICES                                                        PO BOX 354526                                                                         PALM COAST       FL      32135
   ARCH INSURANCE COMPANY                                                          HARBORSIDE 3                            210 HUDSON ST                SUITE 300        JERSEY CITY      NJ      07311-1107
   ARCHER, SARAI                                                                   (ADDRESS REDACTED)
   ARCHULETA PINTOR, MARIA                                                         (ADDRESS REDACTED)
   ARETHA BRADHAM AS PR OF THE ESTATE OF THOMAS                                                                            505 E. JACKSON STREET, STE
   BRADHAM                                             C/O STREETMAN LAW          ATTN: MORGAN STREETMAN, ESQ.             305                                           TAMPA            FL      33602
   ARIEL B. GRAMBLING                                                             (ADDRESS REDACTED)
   ARIEL HOLMES                                                                   (ADDRESS REDACTED)
                                                       CORPORATION INCOME TAX
   ARKANSAS DEPARTMENT OF FINANCE AND ADMINISTRATION   OFFICE                     LEDBETTER BUILDING                       1816 W 7TH ST, RM 2250                        LITTLE ROCK      AR      72201
                                                       DEPARTMENT OF HUMAN
   ARKANSAS DIVISION OF MEDICAL SERVICES               SERVICES                   P. O. BOX 1437, SLOT S401                DONAGHEY PLAZA SOUTH                          LITTLE ROCK      AR      72203-1437
   ARLESHA BURNEY                                                                 (ADDRESS REDACTED)
   ARMANDA M. JAY                                                                 (ADDRESS REDACTED)
   ARMONI J. WASHINGTON                                                           (ADDRESS REDACTED)
   ARNOLD WHITMAN                                                                 (ADDRESS REDACTED)
   ARTEM LORENS                                                                   (ADDRESS REDACTED)
   ARTIA CANTY                                                                    (ADDRESS REDACTED)
   ARYEH PLATSCHEK                                                                (ADDRESS REDACTED)
                                                       JUDITH MARTINES
                                                       TECHNOLOGY FINANCE
   ASCENTIUM CAPITAL LLC                               CORPORATION                7077 E MARILRN ROAD BLDG 3 / SUITE 123                                                 SCOTTSDALE       AZ      85254
   ASCENTIUM CAPITAL LLC                                                          23970 HWY 59N                                                                          KINGWOOD         TX      77339
   ASCENTIUM CAPITAL LLC                                                          23970 HWY 59 N                                                                         KINGWOOD         TX      77339
   ASHANTI ROBINSON                                                               (ADDRESS REDACTED)
                                                       ATTN: JOSEPH MUSSO, ESQ.
   ASHCRAFT & GEREL, LLP                               AND AVERY ADCOCK, ESQ.     8403 COLESVILLE ROAD, STE 1250                                                         SILVER SPRINGS   MD      20910
   ASHIA J. FITCHETT                                                              (ADDRESS REDACTED)
   ASHLAND FACILITY OPERATIONS, LLC                                               906 THOMPSON STREET                                                                    ASHLAND          VA      23005-1128
   ASHLEY BRIONES                                                                 (ADDRESS REDACTED)
   ASHLEY D. ARDOIN                                                               (ADDRESS REDACTED)
   ASHLEY E. MONTGOMERY                                                           (ADDRESS REDACTED)
   ASHLEY GOSS                                                                    (ADDRESS REDACTED)
   ASHLEY JOHNSON                                                                 (ADDRESS REDACTED)
   ASHLEY KUBOOSH                                                                 (ADDRESS REDACTED)




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   ASHLEY LATTIMORE                                                                 (ADDRESS REDACTED)
   ASHLEY M. FLOWERS                                                                (ADDRESS REDACTED)
   ASHLEY M. GRIFFITH                                                               (ADDRESS REDACTED)
   ASHLEY N. BRIONES                                                                (ADDRESS REDACTED)
   ASHLEY N. DINKINS                                                                (ADDRESS REDACTED)
   ASHLEY REVELS                                                                    (ADDRESS REDACTED)
   ASHLEY T. BOUCHER                                                                (ADDRESS REDACTED)
   ASHLEY UPSHAW                                                                    (ADDRESS REDACTED)
   ASHLEY WILLIAMS                                                                  (ADDRESS REDACTED)
   ASHTON COURT HEALTHCARE, LLC                                                     1040 CROWN POINTE PKWY             STE 600                                    ATLANTA            GA      30338
   ASSISTED LIVING AT FROSTBURG VILLAGE FACILITY
   OPERATIONS, LLC                                                                  800 CONCOURSE PARKWAY SOUTH                                                   MAITLAND           FL      32751
   AT&T                                                                             ONE AT&T WAY                                                                  BEDMINSTER         NJ      07921
   AT&T                                                                             55 CORPORATE DRIVE                                                            BRIDGEWATER        NJ      08807
                                                       ATTN: BRANCH MANAGER -
   AT&T                                                CLINT HERRON                 2121 E 63RD ST                                                                KANSAS CITY        MO      64130
   AT&T MOBILITY                                                                    PO BOX 6463                                                                   CAROL STREAM       IL      60197-6463
   ATEGRITY SPECIALTY INSURANCE CO                                                  15990 N. GREENWAY HAYDEN LOOP      SUITE D-160                                SCOTTSDALE         AZ      85260
   ATLAS BUILDING MAINTENANCE INC                                                   173 NORTH MAIN ST                  #158                                       SAYVILLE           NY      11782
   AUBRY BAIRD                                                                      (ADDRESS REDACTED)
   AUBRY BAIRD                                                                      (ADDRESS REDACTED)

                                                       C/O AGENCY FOR HEALTH CARE
                                                       ADMINISTRATION, ATTN: HEIDI
   AUDACIOUS INQUIRY, LLC                              FOX, HIE PROJECT DIRECTOR   2727 MAHAM DRIVE, MAIL STOP 16                                                 TALLAHASSEE        FL      32308
   AUDACIOUS INQUIRY, LLC                              ATTN: SCOTT AFZAL           5523 RESEARCH PARK DRIVE            SUITE 370                                  BALTIMORE          MD      21228
   AUDRA BENSON                                                                    (ADDRESS REDACTED)
   AUDREY GARCIA                                                                   (ADDRESS REDACTED)
   AUGUSTA FACILITY OPERATIONS, LLC                                                83 CROSS ROAD LANE                                                             FISHERVILLE        VA      22939-2331
   AUGUSTA HEALTH CARE PROPERTIES, LLC                                             800 CONCOURSE PARKWAY SOUTH                                                    MAITLAND           FL      32751
   AUSTIN DEBRA                                                                    (ADDRESS REDACTED)
   AUTOMATIC DATA PROCESSING, INC. (ADP)
   AUTUMN JOHS                                                                   (ADDRESS REDACTED)
   AVALERE HEALTH, LLC                                 ATTN: BRIAN FULLER        1350 CONNECTICUT AVE NW               SUITE 900                                  WASHINGTON         DC      20036
                                                       ATTN: MOLLY FABER ACCOUNT
   AVALERE HEALTH, LLC                                 MANAGER                   1350 CONNECTICUT AVE NW SUITE 900                                                WASHINGTON         DC      20036
   AVARAN WALLACE                                                                (ADDRESS REDACTED)
   AVIS L. JACKSON                                                               (ADDRESS REDACTED)
   AVRI L. LIVINGSTONE                                                           (ADDRESS REDACTED)
   AVSC HOLDING CORPORATION                                                      5100 NORTH RIVER ROAD                 SUITE 300                                  SCHILLER PARK      IL      60176
   AXIS SURPLUS INSURANCE CORP                                                   11680 GREAT OAKS WAY                  SUITE 500                                  ALPHARETTA         GA      30022
   AZTEC LEASING, INC.                                                           2215 VISTA RODEO DRIVE                                                           EL CAJON           CA      92019
                                                       REMITTANCE PROCESSING
   B & H PHOTO-VIDEO                                   CENTER                    PO BOX 28072                                                                     NEW YORK           NY      10087-8072
   B&B UTILITY SERVICES LLC                                                      581 NORTH PARK AVENUE                 #2010                                      APOPKA             FL      32704
   B&R INSTALLATION SERVICE                                                      4335 BRANDON GLENN CT                                                            JACKSONVILLE       FL      32258
   BAILEY CLAUDE RFMS                                                            803 OAK STREET                                                                   GREENCOVESPRINGS   FL      32043
   BAILEY THIEKE                                                                 (ADDRESS REDACTED)
   BAILEY, TEDDRICK R.                                                           (ADDRESS REDACTED)
   BAILEY, TRACY                                                                 (ADDRESS REDACTED)
   BAKER DONELSON                                                                100 LIGHT STREET                                                                 BALTIMORE          MD      21202
   BALBOA CAPITAL                                                                575 ANTON BLVD 12TH FLR                                                          COSA MESA          CA      92626
   BALBOA CAPITAL                                                                575 ANTON BLDV 12TH FLOOR                                                        COSTA MESA         CA      92626
   BANA BALLEH                                                                   (ADDRESS REDACTED)
   BANFIELD BARRY                                                                (ADDRESS REDACTED)

   BANKRUPTCY MANAGEMENT SOLUTIONS, INC. D/B/A STRETTO ATTN: SHERYL BETANCE         410 EXCHANGE                       SUITE 100                                  IRVINE             CA      92602
   BANKS TERRIE                                                                     (ADDRESS REDACTED)
   BANKS, DEAN                                                                      (ADDRESS REDACTED)
   BARBARA BRADSTREET                                                               (ADDRESS REDACTED)
   BARBARA CEDERBERG AS EXECUTOR DE SON TORT FOR
   ESTATE OF EDWARD RALPH CEDERBERG                    C/O WILKES & MCHUGH          ATTN: KIRSTEN SKOKOS, ESQ.         ONE NORTH DALE MABRY HWY STE 700           TAMPA              FL      33609
   BARBARA E. THOMAS                                                                (ADDRESS REDACTED)
   BARBARA HAMMER AS POA FOR GERALD HAMMER             C/O DEAN BURNETTI LAW        1937 EAST EDGEWOOD DRIVE                                                      LAKELAND           FL      33803
   BARBARA M. MONACO                                                                (ADDRESS REDACTED)
   BARBARA MAYES                                                                    (ADDRESS REDACTED)
   BARBARA S. HOLMES                                                                (ADDRESS REDACTED)
   BARBOUR LYDIA                                                                    (ADDRESS REDACTED)
   BARCLAY, STEPHANIE                                                               (ADDRESS REDACTED)
   BARKLEY, MICHAEL                                                                 (ADDRESS REDACTED)
                                                       ATTN: STEPHEN BARNES,
   BARNES TRIAL GROUP                                  ESQUIRE                      505 SOUTH MAGNOLIA AVE                                                        TAMPA              FL      33606
   BARNES, CARLETTA M.                                                              (ADDRESS REDACTED)
   BARON & HERSKOWITZ                                  ATTN: JON HERSKOWITZ, ESQ.   ONE DATRAN CENTER, SUITE 1704      9100 SOUTH DADELAND BLVD                   MIAMI              FL      33156




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   BARR, LINDA                                                                       (ADDRESS REDACTED)
   BARRACUDA NETWORKS INC                                                            PO BOX 347616                                                                    PITTSBURGH       PA      15251-4616
   BARRISTER GLOBAL SERVICES NETWORK, INC.                                           42548 HAPPYWOODS RD.                                                             HAMMOND          LA      70403
                                                                                     ATTN: CHRISTOPHER CASTILLO, ESQ.&   407 N. HOWARD AVENUE, STE
   BARRY JACOBSON                                       C/O THE FLORIDA LAW GROUP    CHRIS LIMBEROPOULOS, ESQ.           100                                          TAMPA            FL      33606
   BARTEK LYNDA                                                                      (ADDRESS REDACTED)
   BARTON RHONDA A                                                                   (ADDRESS REDACTED)
   BAS HEALTH                                           ATTN LEGAL DEPT              17475 JOVANNA DR.                                                                HOMEWOOD         IL      60430
   BASCHNAGEL ROBIN                                                                  (ADDRESS REDACTED)
   BASFORD MARGARET                                                                  (ADDRESS REDACTED)
   BATEMAN, NANCY                                                                    (ADDRESS REDACTED)
   BAUM TIM                                                                          (ADDRESS REDACTED)
   BAY COUNTY HEALTH SYSTEM LLC                         BAY MEDICAL CENTER           P O BOX 59515                                                                    PANAMA CITY      FL      32412-0515
   BAYA NURSING AND REHABILITATION, LLC                                              587 SE ERMINE AVENUE                                                             LAKE CITY        FL      32025-6126
   BAYONET POINT FACILITY OPERATIONS, LLC                                            8132 HUDSON AVENUE                                                               HUDSON           FL      34667-8571
   BC GROUP HOLDINGS INC                                                             PO BOX 231179                                                                    PORTLAND         OR      97281
   BCBS                                                                              P O BOX 1798                                                                     JACKSONVILLE     FL      32231
   BDO SEIDMAN LLP                                                                   1100 PEACHTREE ST                   SUITE 700                                    ATLANTA          GA      30309-4516
   BEA GILLEY                                           C/O MORGAN & MORGAN          ATTN: BRIAN THOMPSON, ESQ.          ONE TAMPA CITY CENTER       STE 700          TAMPA            FL      33602
   BEACHUM, DAVID                                                                    (ADDRESS REDACTED)
   BEASLEY, BRIANA                                                                   (ADDRESS REDACTED)
   BEATRICE MANN BROWN BY AND THROUGH LAWANDA
   MICHELLE MANN, PLENARY GUARDIAN                      C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY             STE 800                                      TAMPA            FL      33609
   BECTON, DICKINSON AND COMPANY                        ATTN: GENERAL COUNSEL       1 BECTON DRIVE                                                                    FRANKLIN LAKES   NJ      07417
                                                        ATTN: CONTRACT OFFER
   BECTON, DICKINSON AND COMPANY                        DEVELOPMENT                 1 BECTON DRIVE                                                                    FRANKLIN LAKE    NJ      07417
   BELA D. SHUKLA                                                                   (ADDRESS REDACTED)
   BELFORTI, JANIS                                                                  (ADDRESS REDACTED)
   BELINDA L. HUGGER                                                                (ADDRESS REDACTED)
   BELL CARLA                                                                       (ADDRESS REDACTED)
   BELL MARY ELLEN                                                                  (ADDRESS REDACTED)
   BELTMANN GROUP INCORPORATED                                                      2480 LONG LAKE ROAD                                                               ROSEVILLE        MN      55113
   BEN LANDA                                                                        (ADDRESS REDACTED)
   BENEFICIARIES FOR THE ESTATE OF COLEMAN PASS, JR.    C/O WILKES & MCHUGH         ONE NORTH DALE MABRY HWY                                                          TAMPA            FL      33609

   BENEFICIARIES OF THE ESTATE OF MARIE LARRY           C/O WILKES & ASSOCIATES      ATTN: KIRSTEN SKOKOS, ESQ.          ONE NORTH DALE MABRY HWY STE 700             TAMPA            FL      33609
   BENEFIT ADMINISTRATIVE SYSTEMS                                                    17475 JOVANNA DRIVE                                                              HOMEWOOD         IL      60430
   BENJAMIN W. POWELL                                                                (ADDRESS REDACTED)
   BENJAMIN, KEVOL                                                                   (ADDRESS REDACTED)
   BENNETT DEBORAH G                                                                 (ADDRESS REDACTED)
   BENNETT, RUBY JANE B                                                              (ADDRESS REDACTED)
   BENNETT'S GLASS CO                                                                PO BOX 551                                                                       PERRY            FL      32348
   BENSON & SESSLER                                     ATTN: MARK TOLLES, ESQ       36 SOUTH PAINT STREET                                                            CHILLICOTHE      OH      45601
   BERNHARDT LABORATORIES                                                            PO BOX 935431                                                                    ATLANTA          GA      31193
   BERNSTEIN MARTIN                                                                  (ADDRESS REDACTED)
   BERRYMAN BRENDA                                                                   (ADDRESS REDACTED)
   BERTELSMANN LEARNING LLC                                                          111 CORNING ROAD STE 250                                                         CARY             NC      27518
   BERTHA OWSLEY, AS EXECUTRIX OF THE ESTATE OF MANIS
   OWSLEY                                               C/O MORGAN & MORGAN          ATTN: TYLER KOCH, ESQ.              333 WEST VINE STREET        STE 1200         LEXINGTON        KY      40507
   BESSINGER, KEVIN                                                                  (ADDRESS REDACTED)
                                                        BEST BUY BUSINESS
   BEST BUY STORES L.P.                                 ADVANTAGE                    PO BOX 731247                       C/O MSC                                      DALLAS           TX      75373-1247
   BEST PLUMBING SPECIALTIES INC                                                     LOCK BOX 64116                                                                   BALTIMORE        MD      21264-4116
   BETH MAXWELL                                                                      (ADDRESS REDACTED)
   BETHANY LUSK                                                                      (ADDRESS REDACTED)
   BETHANY LUSK                                                                      (ADDRESS REDACTED)
                                                        C/O BROOKS, LEBOEUF,
                                                        BENNETT, FOSTER &
   BETTY ANN GALL BY AND THROUGH M. SUSAN FULFORD, PR   GWARTNEY, PA                 ATTN: SCOTT GWARTNEY, ESQ.          909 EAST PARK AVENUE                         TALLAHASSEE      FL      32301
   BETTY PIGFORD                                                                     (ADDRESS REDACTED)
   BHATTIPROULU, EKALAVYA                                                            (ADDRESS REDACTED)
   BIANCO, MICHELE                                                                   (ADDRESS REDACTED)
   BIAS LEO                                                                          (ADDRESS REDACTED)
   BIG BEND HOSPICE, INC.                               ATTN: CATHY ADKISON          1723 MAHAN CENTER BOULEVERD                                                      TALLAHASSEE      FL      32308-5428
   BIG BEND TRANSIT INC                                                              PO BOX 1721                                                                      TALLAHASSEE      FL      32347
   BIG TOP MANUFACTURING INC                                                         3255HIGHWAY 19 N                                                                 PERRY            FL      32347
   BIRDSONG
   BIRMINGHAM TISHARD                                                                (ADDRESS REDACTED)
   BLAIR COUNTY TAX COLLECTION                          BUREAU                       1419 3RD AVENUE                                                                  DUNCASVILLE      PA      16635

   BLANCHARD, MILLER, LEWIS & ISLEY                     ATTN: PHILIP R. MILLER, II, ESQ. 1117 HILLSBOROUGH STREET                                                     RALEIGH          NC      27603
   BLAZE EM LLC                                                                          PO BOX 2104                                                                  MARION           NC      28752
   BLOODWORTH LAW, PLLC                                 ATTN: J. KEMP BRINSON, ESQ. 801 N. MAGNOLIA AVE, STE 216                                                      ORLANDO          FL      32803
   BLOUNT-JACKSON, TANDELA                                                               (ADDRESS REDACTED)




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                          Creditor Name                           Attention                      Address 1                    Address 2              Address 3             City    State       Zip      Country
                                                       ATTN: VICE PRESIDENT FOR
   BLUE CROSS AND BLUE SHIELD OF FLORIDA, INC.         NETWORK MGMT.               4800 DEERWOOD CAMPUS PARKWAY                                                  JACKSONVILLE      FL      32246
   BLUE EXPEDITIONS, INC.                                                          5710 BAYSIDE DRIVE                                                            ORLANDO           FL      32819
   BLUEGRASS BIOMEDICAL INC                                                        PO BOX 296                                                                    LOUISVILLE        KY      40423-0296
   BOB HARTMAN                                                                     (ADDRESS REDACTED)
   BOB J. BARON                                                                    (ADDRESS REDACTED)
                                                       C/O COLLING, GILBERT, WRIGHT
   BOBBY BLAIR                                         & CARTER                     ATTN: BRIAN GUPPENBERGER, ESQ.    801 NORTH ORANGE AVENUE   SUITE 830        ORLANDO           FL      32801
   BOB'S SPACE RACER'S INC                                                          427 WHAC-A-MOLE WAY                                                          HOLLY HILL        FL      32117
   BODIE REBECCA                                                                    (ADDRESS REDACTED)
   BODIFORD, SHAWN E.                                                               (ADDRESS REDACTED)
   BOEHL STOPHER & GRAVES LLP                                                       400 W MARKET ST STE 2300                                                     LOUISVILLE        KY      40202
   BOLLMAN, RHONDA                                                                  (ADDRESS REDACTED)
   BONITA M. LAWRENCE                                                               (ADDRESS REDACTED)
   BONNIE E. RAY                                                                    (ADDRESS REDACTED)
   BORDEN, TAKARA                                                                   (ADDRESS REDACTED)
   BOSSIER HEALTHCARE, LLC                                                          2575 AIRLINE DRIVE                                                           BOSSIER CITY      LA      71111
                                                       MATT ELSEY CHIEF FINANCIAL
   BOUCHARD INSURANCE                                  OFFICER                      101 NORTH STARCREST DRIVE                                                    CLEARWATER        FL      33765
   BOULWARE TRACY                                                                   9806 KENMONT LANE                                                            LOUISVILLE        KY      40241
   BOUNDS LAW GROUP                                    ATTN: J. BRENT SMITH, ESQ.   1751 N. PARK AVENUE                                                          MAITLAND          FL      32751
   BOWENS NICOLE                                                                    (ADDRESS REDACTED)
   BOWER, BETHANY                                                                   (ADDRESS REDACTED)
   BOWERSOCK KEN                                                                    (ADDRESS REDACTED)
   BOWERSOCK LISA                                                                   (ADDRESS REDACTED)
   BRADFORD, CHARLES                                                                (ADDRESS REDACTED)
   BRADLEY D. DUNN                                                                  (ADDRESS REDACTED)
   BRADLEY JOHNSON                                                                  (ADDRESS REDACTED)
   BRADSHAW PATRICIA                                                                (ADDRESS REDACTED)
   BRANDON D. POOLE                                                                 (ADDRESS REDACTED)
   BRANDON FACILITY OPERATIONS, LLC                                                 701 VICTORIA STREET                                                          BRANDON           FL      33510-4100
   BRANDON J. DANIELS                                                               (ADDRESS REDACTED)
   BRE COH GA LLC                                                                   PO BOX 535650                                                                ATLANTA           GA      30353-5650
   BREANNA HILL                                                                     (ADDRESS REDACTED)
   BREANNA L. BROWN                                                                 (ADDRESS REDACTED)
   BREANNA WALKER- KNOWLES                                                          (ADDRESS REDACTED)
   BRENDA COLLINS                                                                   (ADDRESS REDACTED)
   BRENDA HAYES                                                                     (ADDRESS REDACTED)
   BRENDA K. BERRYMAN                                                               (ADDRESS REDACTED)
   BRENDA TROWBRIDGE                                                                (ADDRESS REDACTED)
   BRENDON BIRCH                                                                    (ADDRESS REDACTED)
   BRENTWOOD MEADOW HEALTH CARE ASSOCIATES, LLC                                     1900 WEST ALPHA COURT                                                        LECANTO           FL      34461
   BREONDRA T. JACKSON                                                              (ADDRESS REDACTED)
                                                                                    ATTN: JASON PAUL, ESQ. & IAN
   BRETT RIGAS AS PR OF THE ESTATE OF GAIL RIGAS       C/O PAUL & PERKINS           DEPAGNIER, ESQ.                   3117 EDGEWATER DRIVE                       ORLANDO           FL      32804
   BRIAN CHEUNG                                                                     (ADDRESS REDACTED)
   BRIAN K. MIKOLAJCZYK                                                             (ADDRESS REDACTED)
   BRIAN K. WARWICK                                                                 (ADDRESS REDACTED)
   BRIAN T. CONN                                                                    (ADDRESS REDACTED)
   BRIANNA BEDFORD                                                                  (ADDRESS REDACTED)
   BRIANNA L. FURLOW                                                                (ADDRESS REDACTED)
   BRIANNA S. MILLER                                                                (ADDRESS REDACTED)
   BRIDGET A. PAON                                                                  (ADDRESS REDACTED)
   BRIDGET JACKSON                                                                  (ADDRESS REDACTED)
   BRIGGS MEDICAL SERVICE COMPANY                                                   4900 UNIVERSITY AVE               #200                                       WEST DES MOINES   IA      50266
   BRIGHT HOUSE                                                                     2530 DREW ST                                                                 CLEARWATER        FL      33765
   BRILEY FACILITY OPERATIONS, LLC                                                  800 CONCOURSE PARKWAY SOUTH                                                  MAITLAND          FL      32751
   BRITTANY D. HARRIS                                                               (ADDRESS REDACTED)
   BRITTANY E. JINKS                                                                (ADDRESS REDACTED)
   BRITTANY L. HOLMES                                                               (ADDRESS REDACTED)
   BRITTANY N. MCCRAY                                                               (ADDRESS REDACTED)
   BRITTANY STALANS-STEWART                                                         (ADDRESS REDACTED)
   BRITTANY WATKINS                                                                 (ADDRESS REDACTED)
   BRITTANY WEBB                                                                    (ADDRESS REDACTED)
   BRITTNEY FREEMAN                                                                 (ADDRESS REDACTED)
   BROOKE HATCHER                                                                   (ADDRESS REDACTED)

   BROOKS, LEBOEUF, BENNETT, FOSTER & GWARTNEY, P.A.   ATTN: SCOTT GWARTNEY, ESQ. 909 EAST PARK AVENUE                                                           TALLAHASSEE       FL      32301
   BROOKS, VIVECA                                                                 (ADDRESS REDACTED)
   BROSTEK DANIEL                                                                 (ADDRESS REDACTED)
   BROWN MARCIA D                                                                 (ADDRESS REDACTED)
   BROWN TAMMY L                                                                  (ADDRESS REDACTED)
   BROWN, ANITA                                                                   (ADDRESS REDACTED)
   BROWN, BERNISHA                                                                (ADDRESS REDACTED)




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                      Creditor Name                             Attention                        Address 1                          Address 2           Address 3               City   State       Zip      Country
   BROWN, KAYCEE                                                                    (ADDRESS REDACTED)
   BROWN, MARCIA                                                                    (ADDRESS REDACTED)
   BROWN, MAYA                                                                      (ADDRESS REDACTED)
   BROWNSBORO HILLS HEALTHCARE, LLC                                                 1040 CROWN POINTE PKWY              STE 600                                     ATLANTA            GA      30338
   BRUMLEY, JESSIE M.                                                               (ADDRESS REDACTED)
   BRUNO, RICHARD                                                                   (ADDRESS REDACTED)
   BRYAN C. THAMES                                                                  (ADDRESS REDACTED)
                                                      ATTN: ALLAN PARVEY, ESQ. &
   BRYAN FIKE AS PR OF THE ESTATE OF ROBERT FIKE      CARLOS CAVENAGO, III, ESQ.    2069 FIRST STREET                                                               FORT MYERS         FL      33993
   BRYCE CHARLESE                                                                   (ADDRESS REDACTED)
   BRYSON CHRIS R                                                                   (ADDRESS REDACTED)
   BSI                                                                              155 TECHNOLOGY PKWY                 SUITE 100                                   NORCROSS           GA      30092
   BUBALO, GOODE, SALES & CRONEN, PLLC                                              9300 SHELBYVILLE ROAD, STE 210                                                  LEXINGTON          KY      40222
   BUCHANAN CONSTANCE                                                               (ADDRESS REDACTED)
   BUCHANAN CONSTANCE                                                               (ADDRESS REDACTED)
   BUCKLAND RAYMOND                                                                 (ADDRESS REDACTED)
   BUFFY ECKER                                                                      (ADDRESS REDACTED)
   BUFFY J. ECKER                                                                   (ADDRESS REDACTED)
   BULK TV & INTERNET                                                               PO BOX 99129                                                                    RALEIGH            NC      27624 9129
   BULK TV CORP TOPCO, LLC D/B/A ALLBRIDGE, LLC                                     P.O. BOX 99129                                                                  RALEIGH            NC      27624-9129
   BULK TV CORP TOPCO, LLC D/B/A ALLBRIDGE, LLC                                     8537 SIX FORKS ROAD                 SUITE 100                                   RALEIGH            NC      27615
   BULK TV TOP CO LLC                                 ALLBRIDGE LLC                 PO BOX 638671                                                                   CINCINNATI         OH      45263-8671

   BURANDT, ADAMSKI, FEICHTHALER & SANCHEZ, PLLC      ATTN: ALVARO SANCHEZ, ESQ.    1714 CAPE CORAL PARKWAY                                                         CAPE CORAL         FL      33904
   BURKE PAINTING INC                                                               2950 COLE COURT                                                                 NORCROSS           GA      30071
   BURLINGTON MELISSA                                                               (ADDRESS REDACTED)
   BURNETT, BREESHA                                                                 (ADDRESS REDACTED)
                                                      ATTN: PHILIP JUDD SLOTNICK,
   BURNETTI, PA                                       ESQUIRE                       211 SOUTH FLORIDA AVENUE                                                        LAKELAND           FL      33801
                                                      ATTN: DOUGLAS BURNETTI,
   BURNETTI, PA                                       ESQ.                          211 SOUTH FLORIDA AVENUE                                                        LAKELAND           FL      33801
   BURNEY BRIANNA                                                                   (ADDRESS REDACTED)
   BURNEY, JASMINE A.                                                               (ADDRESS REDACTED)
   BUSH JOHN                                                                        (ADDRESS REDACTED)
   BUSINESS OFFICE ENVIRONMENTS                                                     3424 PEACHTREE RD NE                SUITE# 125                                  ATLANTA            GA      30326
   BUSINESS SOFTWARE, INC.                                                          155 TECHNOLOGY PARKWAY              SUITE 100                                   NORCROSS           GA      30092
   BUTLER JR EUGENE                                                                 (ADDRESS REDACTED)
   BUZZELL ANN                                                                      (ADDRESS REDACTED)
   BYERS, KENNETH M.                                                                (ADDRESS REDACTED)
   C DOYLE PRIMM                                                                    (ADDRESS REDACTED)
   C GUROL ERBAY MD PA                                                              (ADDRESS REDACTED)
   C GUROL ERBAY MD PA                                                              7103 NW 11TH PL                     STE B                                       GAINESVILLE        FL      32605
   C&C MEDITEC LLC                                                                  16192 COSTAL HIGHWAY                                                            LEWES              DE      19958
   C&R LAWN SERVICE OF TAYLOR CO                                                    177 S SHADY OAKS DR                                                             PERRY              FL      32348
   C&R LAWN SERVICE OF TAYLOR CO                                                    3262 BEASLEY WILLIAMS ROAD                                                      PERRY              FL      32347
   C. DANIELL PRUITT, ESQ.                                                          300 PETTIGRU STREET                                                             GREENVILLE         SC      29601
   C. GUROL ERBAY, MD, PA                                                           7109 NW 11TH PLACE                  SUITE B                                     GAINESVILLE        FL      32605
   CABRERA DANIELLE                                                                 (ADDRESS REDACTED)
   CAC HOLDINGS LLC                                                                 115 OFFICE PARK DRIVE                                                           BIRMINGHAM         AL      35223
   CACH LLC                                                                         PO BOX 547816                                                                   ORLANDO            FL      32854
   CAELYN M. BROWN                                                                  (ADDRESS REDACTED)
   CALENDLY, LLC
                                                      WILL LIGHTBOURNE?,
   CALIFORNIA DEPARTMENT OF HEALTH CARE SERVICES      DIRECTOR                      P.O. BOX 997413, MS 0000                                                        SACRAMENTO         CA      95899-7413

   CALIFORNIA DEPARTMENT OF TAX AND FEE ADMINISTRATION P.O. BOX 942879              P.O. BOX 942879                                                                 SACRAMENTO         CA      94279
   CALIFORNIA TAX SERVICE CENTER                       FRANCHISE TAX BOARD          PO BOX 942857                                                                   SACRAMENTO         CA      94257-0500
   CALTON ELIZABETH                                                                 (ADDRESS REDACTED)
   CAMERON V. SHIFLETT                                                              (ADDRESS REDACTED)
   CAMETRIA D. GRIFFIN                                                              (ADDRESS REDACTED)
   CAMPBELL KAREN                                                                   (ADDRESS REDACTED)
   CAMPBELL, SAMANTHA                                                               (ADDRESS REDACTED)
   CANADA LINDA                                                                     (ADDRESS REDACTED)
   CANADIAN IMPERIAL BANK OF COMMERCE (CIBC)                                        120 SOUTH LASALLE STREET                                                        CHICAGO            IL      60603
   CANDACE N. LYBARGER                                                              (ADDRESS REDACTED)
   CANDICE L. BRYANT-CUE                                                            (ADDRESS REDACTED)
   CANNON COCHRAN MANAGEMENT                                                        2 E MAIN ST TOWNE CENTRE BLDG       SUITE 208                                   DANVILLE           IL      61832-5850
   CANON SOLUTIONS AMERICA INC                                                      15004 COLLECTIONS CENTER DR                                                     CHICAGO            IL      60693
   CANON SOLUTIONS AMERICA, INC.                                                    ONE CANON PARK                                                                  MELVILLE           NY      11747
   CANONSBURG PROPERTY INVESTORS, LLC                                               800 CONCOURSE PARKWAY SOUTH                                                     MAITLAND           FL      32751
   CAPITAL AIR SERVICE LLC                                                          120 SOUTH MONROE STREET                                                         TALLAHASSEE        FL      32301
   CAPITAL HEALTH CARE ASSOCIATES, LLC                                              800 CONCOURSE PARKWAY SOUTH                                                     MAITLAND           FL      32751
   CAPO, LASHONDA                                                                   (ADDRESS REDACTED)
   CAPOZZI ADLER, P.C.                                                              1200 CAMP HILL BYPASS                                                           CAMP HILL          PA      17011




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   CAPPS- SPIRES MICHELLE                                                            (ADDRESS REDACTED)
   CARDENAS MIGUEL A.                                                                (ADDRESS REDACTED)
   CARDINAL NORTH CAROLINA HEALTHCARE, LLC                                           931 NORTH ASPEN STREET                                                               LINCOLNTON           NC      28092
   CARE TECH SOLUTIONS, INC.                                                         PO BOX 776074                                                                        CHICAGO              IL      60667-6074
   CAREER BUILDER LLC                                                                13047 COLLECTION CENTER DR                                                           CHICAGO              IL      60693-0130
   CARETECH SOLUTIONS, INC.                              ATTN: CEO                   901 WILSHIRE DRIVE                  SUITE 100                                        TROY                 MI      48084
   CAREY FACILITY OPERATIONS, LLC                                                    800 CONCOURSE PARKWAY SOUTH                                                          MAITLAND             FL      32751
   CARLA A. BELL                                                                     (ADDRESS REDACTED)
   CARLA HUGHES-WANCEWICZ                                                            (ADDRESS REDACTED)
   CARLEEN HOME HEALTH SCHOOL, INC.                      ATTN: CARLEEN NOREUS        4200 NW 16TH STREET                 SUITE 602                                        LAUDERHILL           FL      33313
   CARLEEN SCHWARZ                                                                   (ADDRESS REDACTED)
   CARLETTA M. BARNES                                                                (ADDRESS REDACTED)
   CARLOTTA D. EPPS-WILLIAMS                                                         (ADDRESS REDACTED)
   CARLTON FIELDS ATTORNEYS                                                          AT LAW                              PO BOX 3239                                      TAMPA                FL      33601-3239
   CARLY M BRADLOW                                                                   (ADDRESS REDACTED)
   CARMELIA M. THOMAS                                                                (ADDRESS REDACTED)
   CARMELO COLLAZO                                                                   (ADDRESS REDACTED)
   CARMEN BAEZ AS EXECUTOR DE SON TORT OF THE ESTATE                                                                     407 N. HOWARD AVENUE, STE
   OF JOSE VAZQUEZ                                       C/O THE FLORIDA LAW GROUP   ATTN: GEORGANNA FRANTZIS, ESQUIRE   100                                              TAMPA                FL      33606

   CARMEN MILLSAP AS PR OF THE ESTATE OF JAMES MILLSAP   C/O BOUNDS LAW GROUP        ATTN: J. BRENT SMITH, ESQ.          1751 N. PARK AVENUE                              MAITLAND             FL      32751

   CARMEN SUAREZ                                         C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ             ONE TAMPA CITY CENTER           STE 700          TAMPA                FL      33602
   CAROL ANN MANLEY                                                                (ADDRESS REDACTED)
   CAROL CURRY                                                                     (ADDRESS REDACTED)
   CAROL ENGLISH                                                                   (ADDRESS REDACTED)
   CAROL HAMILTON                                        C/O THE TURNER MYERS FIRM ATTN: CHRISTOPHER MYERS, ESQ.         3800 INVERRARY BLVD             UNIT 309E        LAUDERHILL           FL      33319
   CAROLINA ESTRELLA                                                               (ADDRESS REDACTED)
   CAROLINA SPEECH PATHOLOGY LLC                                                   130 SALEM TOWNE COURT                                                                  APEX                 NC      27502
   CAROLINA SPEECH PATHOLOGY, LLC                        ATTN: STUART BRADLEY      130 SALEM TOWNE COURT                                                                  APEX                 NC      27502
   CAROLYN CURTIS AS PR OF THE ESTATE OF STEPHANIE
   JACKSON                                               C/O FORD, DEAN & ROTUNDO    ATTN: MICHAEL ROTUNDO, ESQ.         3323 N.E. 163 STREET, STE 605                    NORTH MIAMI BEACH    FL      33160
   CAROLYN G. WELCH                                                                  (ADDRESS REDACTED)
   CAROLYN GRALEY                                                                    (ADDRESS REDACTED)
   CAROLYN NELSON                                                                    (ADDRESS REDACTED)
   CAROLYN PINKNEY                                                                   (ADDRESS REDACTED)
   CAROLYN R. NELSON                                                                 (ADDRESS REDACTED)
   CAROLYN WELCH                                                                     (ADDRESS REDACTED)
   CARRIE ANDERSON, AS PR OF THE ESTATE OF BETTY GENE    C/O LAW OFFICE OF CRAIG
   FORD                                                  GOLDENFARB                  ATTN: SPENCER KUVIN, ESQUIRE        2090 PALM BEACH LAKES BLVD SUITE 40              WEST PALM BEACH      FL      33409
   CARRIE L. CONDON                                                                  (ADDRESS REDACTED)
   CARRIE SMALLWOOD                                                                  (ADDRESS REDACTED)
   CARROLL SCOTT RFMS                                                                (ADDRESS REDACTED)
                                                         C/O COLLING, GILBERT, WRIGHT
   CARSEY PATRICK, SR. AS POA FOR ROBERTA HINES          & CARTER                     ATTN: GARRY RHODEN, ESQ.           801 NORTH ORANGE AVENUE         SUITE 830        ORLANDO              FL      32801
   CARSWELL, DOMINICK                                                                 (ADDRESS REDACTED)
   CARTEN STEFANE D.                                                                  (ADDRESS REDACTED)
   CARTER & LUCAS                                                                     151 MAIN STREET                    P.O. BOX 852                                     PIKEVILLE            KY      41502
   CARTER CHRISTA                                                                     (ADDRESS REDACTED)
   CARTER KRISTIE RFMS                                                                (ADDRESS REDACTED)
   CARTER PENNIE R.                                                                   (ADDRESS REDACTED)
   CARTER STEPHANIE                                                                   (ADDRESS REDACTED)
   CARY HEALTHCARE, LLC                                                               6590 TRYON RD                                                                       CARY                 NC      27518
   CASEY ALTIC                                                                        (ADDRESS REDACTED)
   CASS INFORMATION SYSTEMS INC                          CIS# 92012                   PO BOX 17617                                                                        ST. LOUIS            MO      63178
   CASS INFORMATION SYSTEMS, INC.                                                     PO BOX 50217                                                                        JACKSONVILLE BEACH   FL      32240
   CASS INFORMATION SYSTEMS, INC.                                                     13331 SOUTHERN PRECAST DR.                                                          ALACHUA              FL      32615
   CASSANDRA GLOVER                                                                   (ADDRESS REDACTED)
   CASSIDY N. TERRY                                                                   (ADDRESS REDACTED)
   CATALINA GARDENS HEALTH CARE ASSOCIATES, LLC                                       85 BULLDOG BLVD                                                                     MELBOURNE            FL      32901
   CATALINA HEALTH CARE ASSOCIATES, LLC                                               800 CONCOURSE PARKWAY SOUTH                                                         MAITLAND             FL      32751
                                                                                                                         THREE BARTON SKYWAY,
   CATAPULT SYSTEMS INC.                                                             1221 SOUTH MO PAC EXPRESSWAY        SUITE 350                                        AUSTIN               TX      78745
   CATHERINE BENNETT AS PR OF THE ESTATE OF THERESA      C/O LESSER, LESSER, LANDY &
   TEDESCO                                               SMITH, PLLC                 ATTN: JOSEPH LANDY, ESQ.            101 NORTHPOINT PKWY                              WEST PALM BEACH      FL      33407
   CATHERINE BROOKS                                                                  (ADDRESS REDACTED)
   CATHERINE KNOX-ADAMCZAK                                                           (ADDRESS REDACTED)

   CATHERINE PRONESTI                                    C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY            STE 800                                          TAMPA                FL      33609
   CATHERINE R. PANIO-WEBB                                                           (ADDRESS REDACTED)
   CATHRYN WRIGLEY                                                                   (ADDRESS REDACTED)
   CATHY J. BLASCO                                                                   (ADDRESS REDACTED)
   CATHY MORRISON                                                                    (ADDRESS REDACTED)
   CCA FINANCIAL LLC                                                                 PO BOX 17190                                                                         RICHMOND             VA      23226




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   CCA-DIVISION OF TAXATION                                                     205 W SAINT CLAIR AVE                                                           CLEVELAND       OH       44113-1503
   CCH INCORPORATED                                                             PO BOX 4307                                                                     CAROL STREAM    IL       60197-4307
   CDW DIRECT, LLC                                                              200 N. MILWAUKEE AVENUE                                                         VERNON HILLS    IL       60061
   CDW GOVERNMENT                                                               75 REMITTANCE DR                    SUITE 1515                                  CHICAGO         IL       60675-1515
   CDW GOVERNMENT LLC                                                           200 N. MILWAUKEE AVENUE                                                         VERNON HILLS    IL       60061
   CELENA F. WELCH                                                              (ADDRESS REDACTED)
   CELIA M. SOPER                                                               (ADDRESS REDACTED)
   CELIA SOPER                                                                  (ADDRESS REDACTED)
                                                                                                                    ATTN: HQ LEGAL - B2B
   CELLCO PARTNERSHIP, D/B/A VERIZON WIRELESS                                   ONE VERIZON WAY,                    CONTRACT ADMINISTRATION                     BASKING RIDGE   NJ       07920
   CELLESTINE THOMAS-GOFF BY AND THROUGH NAPOLEON
   GOFF AS THE ATTORNEY IN FACT                       C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY          STE 800                                     TAMPA           FL       33609
   CELLHIRE USA LLC                                                               866 PRESIDENTIAL DRIVE            SUITE 406                                   RICHARDSON      TX       75081
   CENTENNIAL ACQUISITION CORPORATION                                             1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL EMPLOYEE MANAGEMENT, LLC                                            1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL FIVE STAR MASTER TENANT, LLC                                        1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL HEALTHCARE CORPORATION                                              1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL HEALTHCARE HOLDING COMPANY, LLC                                     1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL HEALTHCARE INVESTMENT CORPORATION                                   1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL HEALTHCARE MANAGEMENT CORPORATION                                   1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL HEALTHCARE PROPERTIES CORPORATION                                   1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL HEALTHCARE PROPERTIES, LLC                                          1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL MANAGEMENT INVESTMENT, LLC                                          1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL MASTER SUBTENANT, LLC                                               1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL MASTER TENANT, LLC                                                  1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL NEWCO HOLDING COMPANY, LLC                                          1040 CROWN POINTE PKWY            STE 600                                     ATLANTA         GA       30338
   CENTENNIAL PROFESSIONAL THERAPY SERVICES
   CORPORATION                                                                  1040 CROWN POINTE PKWY              STE 600                                     ATLANTA         GA       30338
   CENTENNIAL SEHC MASTER TENANT, LLC                                           1040 CROWN POINTE PKWY              STE 600                                     ATLANTA         GA       30338
   CENTENNIAL SERVICE CORPORATION-GRANT PARK                                    1040 CROWN POINTE PKWY              STE 600                                     ATLANTA         GA       30338
   CENTER STATE ELECTRIC INC                                                    16080 ROCKRIDGE RD                                                              POLK CITY       FL       33868-4600
   CENTERS FOR MEDICARE                               & MEDICAID SERVICES       7500 SECURITY BLVD                                                              BALTIMORE       MD       21244
                                                      DIV OF ACCOUNTING
   CENTERS FOR MEDICARE                               OPERATIONS                PO BOX 7520/MAILSTOP C3-11-03                                                   BALTIMORE       MD       21207
   CENTERS FOR MEDICARE & MEDICAID SERVICES                                     7500 SECURITY BLVD                                                              BALTOMORE       MD       21244
   CENTERS FOR MEDICARE AND MEDICAID SERVICES (CMS)   C/O LEGAL DEPT            7500 SECURITY BLVD                                                              BALTIMORE       MD       21244
   CENTURION SERVICE GROUP LLC                                                  3325 MOUNT PROSPECT ROAD                                                        FRANKLIN PARK   IL       60131
   CENTURY AMBULANCE SERVICE, INC                                               2110 HERSCHEL STREET                                                            JACKSONVILLE    FL       32204
   CENTURY AMBULANCE SERVICE, INC.                                              2144 ROSELLE STREET                                                             JACKSONVILLE    FL       32204
   CENTURY LINK                                                                 PO BOX 4300                                                                     CAROL STREAM    IL       60197-4300
   CENTURY LINK                                                                 1025 ELDORADO BLVD.                                                             BROOMFIELD      CO       80021
   CENTURY LINK                                                                 PO BOX 96064                                                                    CHARLOTTE       NC       28296-0064
   CENTURY LINK                                       CUSTOMER SERVICE          665 LEXINGTON AVE.                                                              MANSFIELD       OH       44907
   CENTURY STORAGE SANDPIPER                                                    5990 WALT LOOP ROAD                                                             LAKELAND        FL       33809
   CENTURYLINK                                        BUSINESS SERVICES         PO BOX 52187                                                                    PHOENIX         AZ       85072
   CENTURYLINK                                                                  PO BOX 1319                                                                     CHARLOTTE       NC       28201-1319
   CENTURYLINK                                                                  PO BOX 96064                                                                    CHARLOTTE       NC       28296-0064
   CENTURYLINK COMMUNICATIONS, LLC D/B/A LUMEN
   TECHNOLOGIES GROUP                                 ATTN: ERIC WELBORN        100 CENTURYLINK DRIVE                                                           MONROE          LA       71203
   CENTURYLINK COMMUNICATIONS, LLC F/K/A QWEST
   COMMUNICATIONS COMPANY, LLC                        ATTN: GBM DISCONNECT      112 SIXTH STREET                                                                BRISTOL         TN       37620
   CENTURYLINK COMMUNICATIONS, LLC F/K/A QWEST        ATTN: VICE PRESIDENT,
   COMMUNICATIONS COMPANY, LLC                        COMMERCIAL LAW            600 NEW CENTURY PARKWAY                                                         NEW CENTURY     KS       66031
   CENTURYLINK COMMUNICATIONS, LLC F/K/A QWEST
   COMMUNICATIONS COMPANY, LLC                        ATTN: GBM DISCONNECTS     112TH SIXTH STREET                                                              BRISTOL         TN       37620
   CHAD A. TISDALE                                                              (ADDRESS REDACTED)
   CHADRICK A. JENNINGS                                                         (ADDRESS REDACTED)
   CHAKEETA C. PRICE                                                            (ADDRESS REDACTED)
   CHAMBERS, KARMETTA                                                           (ADDRESS REDACTED)
   CHANAKI BALFOUR                                                              (ADDRESS REDACTED)
   CHANDLER, QUANTAE                                                            (ADDRESS REDACTED)
                                                      ATTN: KELLY CHANFRAU,
   CHANFRAU & CHANGFRAU                               ESQUIRE                   701 NORTH PENINSULA DRIVE                                                       DAYTONA BEACH   FL       32118
                                                      C/O MCHUGH FULLER LAW
   CHANTEL MAYO AS POA FOR RENEE BETHEA               GROUP                     ATTN: LANCE REINS, ESQ.             97 ELIAS WHIDDON ROAD                       HATTISBURG      MS       39402
   CHANTELLE KOCIK                                                              (ADDRESS REDACTED)
   CHANTELLE KOCIK                                                              (ADDRESS REDACTED)
   CHAPMAN, STEPHANIE                                                           (ADDRESS REDACTED)
   CHAPTER 13 TRUST ACCOUNT                                                     PO BOX 1818                                                                     MEMPHIS         TN       38101-1818
   CHAPTER 13 TRUSTEE                                                           PO BOX 1788                                                                     ALBUQUERQUE     NM       87102
   CHARISSE M. ALLEN                                                            (ADDRESS REDACTED)
   CHARLENE G. JOHNSON                                                          (ADDRESS REDACTED)
   CHARLES SCHWAB BANK                                                          211 MAIN STREET 14TH FLOOR                                                      SAN FRANCISO    CA       94105




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                          Creditor Name                           Attention                         Address 1                          Address 2             Address 3              City   State       Zip      Country
                                                        ATTN: CHARLES "KIP" SINCLAIR,
   CHARLES SINCLAIR, P.A.                               ESQ.                          2164 RESERVE PARK TRACE                                                            PORT. ST. LUCIE   FL      34986
   CHARLES W. EVICK                                                                   (ADDRESS REDACTED)
   CHARLES W. SMITH                                                                   (ADDRESS REDACTED)
   CHARLES WILLIS                                                                     (ADDRESS REDACTED)
   CHARLES WILLIS                                                                     (ADDRESS REDACTED)
   CHARLIE HALCOMB BY AND THROUGH THE PERSONAL
   REPRESENTATIVE OF HIS ESTATE, SONYA DELCASTILLO      C/O STOCKHAM LAW GROUP         ATTN: JAMES RAGANO, ESQ.              610 W. HORATIO ST.                          TAMPA             FL      33606
   CHARLOTTE J. VANHOOZIER                                                             (ADDRESS REDACTED)
   CHARLWELL HEALTHCARE, LLC                                                           1040 CROWN POINTE PKWY                STE 600                                     ATLANTA           GA      30338
   CHARMAINE W. DAVIS                                                                  (ADDRESS REDACTED)
   CHARNECIA THOMAS                                                                    (ADDRESS REDACTED)
   CHARTWELL PARTNERS                                                                  PO BOX 679174                                                                     DALLAS            TX      75267-9174
   CHASTITY E HARDY                                                                    (ADDRESS REDACTED)
   CHASTITY E. HARDY                                                                   (ADDRESS REDACTED)
   CHELSEA J. LOWE                                                                     (ADDRESS REDACTED)
   CHELSEA K. YATES                                                                    (ADDRESS REDACTED)
   CHELSEA S. GANT                                                                     (ADDRESS REDACTED)
   CHENAL HEALTHCARE, LLC                                                              1040 CROWN POINTE PKWY                STE 600                                     ATLANTA           GA      30338
   CHERI THOMAS AS PERSONAL REPRESENTATIVE OF THE       ATTN: INVENTORY ATTORNEY:
   ESTATE OF MARY KATHERINE HARDY, DECEASED             ERIC SCHURGER, ESQ.            P.O. BOX 254                                                                      GULF BREEZE       FL      32562
                                                        C/O "*SAM BEARMAN IS
                                                        DECEASED AS OF 12/2019*
   CHERI THOMAS AS PERSONAL REPRESENTATIVE OF THE       LAW OFFICE OF SAMUEL W.
   ESTATE OF MARY KATHERINE HARDY, DECEASED             BEARMAN, LC                    820 N. 12TH AVENUE                                                                PENSACOLA         FL      32501
   CHERIE R. CHILDERS-CAUSE                                                            (ADDRESS REDACTED)
   CHERISH J. JACKSON                                                                  (ADDRESS REDACTED)
   CHERRON A. SIMPSON                                                                  (ADDRESS REDACTED)
   CHERRY BEKAERT LLP                                                                  PO BOX 25549                                                                      RICHMOND          VA      23260-5500
   CHERYL A. DIXON                                                                     (ADDRESS REDACTED)
                                                          C/O DE LA PIEDRA LAW FIRM,
   CHERYL CAIN AS POA FOR JENNIFER CASE                   P.A.                         ATTN: JACK DE LA PIEDRA, ESQ          6 TRISTAN WAY                               PENSACOLA BEACH   FL      32561
   CHERYL DIXON                                                                        (ADDRESS REDACTED)
   CHERYL DIXON                                                                        (ADDRESS REDACTED)
   CHERYL SONCINI                                                                      (ADDRESS REDACTED)
   CHERYL WHITE                                                                        (ADDRESS REDACTED)
   CHERYL ZIMMERMAN FOR THE ESTATE OF KATHERINE
   DENNERT                                                C/O MORGAN & MORGAN TAMPA    ONE NORTH DALE MABRY HWY              STE 800                                     TAMPA             FL      33609
   CHESROW, DIANE L.                                                                   (ADDRESS REDACTED)
   CHESROW, DIANE L.                                                                   (ADDRESS REDACTED)
   CHESSER, JANICE                                                                     (ADDRESS REDACTED)
   CHESWICK FACILITY OPERATIONS, LLC                                                   800 CONCOURSE PARKWAY SOUTH                                                       MAITLAND          FL      32751
   CHEVETTE U. JAMES                                                                   (ADDRESS REDACTED)
   CHIC HOLDING COMPANY, LLC                                                           1040 CROWN POINTE PKWY                STE 600                                     ATLANTA           GA      30338
   CHILD SUPPORT ENFORCEMENT                                                           PO BOX 1800                                                                       CARROLLTON        GA      30112-1800
   CHILUSE CALVAIRE AS PR OF THE ESTATE OF PAULMISE JEAN-                              ATTN: JASON PAUL, ESQ. & IAN
   NOEL                                                   C/O PAUL & PERKINS           DEPAGNIER, ESQ.                       3117 EDGEWATER DRIVE                        ORLANDO           FL      32804
   CHIPMAN BROWN CICERO & COLE                                                         1313 N MARKET ST                      SUITE 5400                                  WILMINGTON        DE      19801
   CHIQUITTA G. MARY                                                                   (ADDRESS REDACTED)

   CHIRP                                                EMPLOYEE ASSISTANCE FUND       800 CONCOURSE PKY S                                                               MAITLAND          FL      32751
   CHMC HOLDING COMPANY, LLC                                                           1040 CROWN POINTE PKWY                STE 600                                     ATLANTA           GA      30338
   CHMILARSKI KIM                                                                      (ADDRESS REDACTED)

   CHOUNELA SENGAROUN                                   C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ                  ONE TAMPA CITY CENTER      STE 700          TAMPA             FL      33602
   CHPC HOLDING COMPANY, LLC                                                      1040 CROWN POINTE PKWY                     STE 600                                     ATLANTA           GA      30338
   CHRIS G KOLB                                                                   (ADDRESS REDACTED)
   CHRIS IKNER                                                                    (ADDRESS REDACTED)
   CHRIS S. FUCHS-MORRIS                                                          (ADDRESS REDACTED)
   CHRISPELL CINDY                                                                (ADDRESS REDACTED)
   CHRISTA CARTER                                                                 (ADDRESS REDACTED)
   CHRISTABEL S. OLIVER                                                           (ADDRESS REDACTED)
   CHRISTAL WOLFE                                                                 (ADDRESS REDACTED)
   CHRISTIN C. BLACK                                                              (ADDRESS REDACTED)
   CHRISTINA ANDREWS                                                              (ADDRESS REDACTED)
   CHRISTINA HARDENBROOK                                                          (ADDRESS REDACTED)
   CHRISTINA JENKINS                                                              (ADDRESS REDACTED)
   CHRISTINA LYONS                                                                (ADDRESS REDACTED)
   CHRISTINA M. LYONS                                                             (ADDRESS REDACTED)
   CHRISTINE A ROOKER                                                             (ADDRESS REDACTED)
   CHRISTINE A. ROOKER                                                            (ADDRESS REDACTED)
   CHRISTINE HIGGINBOTHAM                                                         (ADDRESS REDACTED)
   CHRISTINE L. CRUMITY                                                           (ADDRESS REDACTED)
   CHRISTINE L. HIGGINBOTHAM                                                      (ADDRESS REDACTED)




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   CHRISTOPHER D. GREEN                                             (ADDRESS REDACTED)
   CHRISTOPHER D. GREEN                                             (ADDRESS REDACTED)
   CHRISTOPHER D. LOPEZ                                             (ADDRESS REDACTED)
   CHRISTOPHER E. KOLONICK II                                       (ADDRESS REDACTED)
   CHRISTOPHER E. SPENCER                                           (ADDRESS REDACTED)
   CHRISTOPHER F. WILLIAMS                                          (ADDRESS REDACTED)
   CHRISTOPHER HAVENS                                               (ADDRESS REDACTED)
   CHRISTOPHER I. MORROW-THOMPSON                                   (ADDRESS REDACTED)
   CHRISTOPHER KING                                                 (ADDRESS REDACTED)
   CHRISTOPHER M. LAYE                                              (ADDRESS REDACTED)
   CHRISTOPHER P. HAVENS                                            (ADDRESS REDACTED)
   CHRISTOPHER R. BRYSON                                            (ADDRESS REDACTED)
   CHRISTY A BOOK                                                   (ADDRESS REDACTED)
   CHRISTY A. BOOK                                                  (ADDRESS REDACTED)
   CHUBB BERMUDA INSURANCE LTD                                      PO BOX HM 1015                                                                     HAMILTON                     HMDX         BERMUDA
   CHUCK CLEMONS CAMPAIGN FOR FL                                    12807 SW 1ST PLACE                                                                 NEWBERRY             FL      32669
   CIERA L. MITCHELL                                                (ADDRESS REDACTED)
   CIGNA HEALTHCARE OF FLORIDA, INC.                                2701 N. ROCKY POINT DRIVE            SUITE 800                                     TAMPA                FL      33607
   CINDY NAPRAVNIK                                                  (ADDRESS REDACTED)
   CINDY S. CHRISPELL                                               (ADDRESS REDACTED)
   CINDY ZAMPINO                                                    (ADDRESS REDACTED)
   CINTAS FAS LOCKBOX                                               PO BOX 636525                                                                      CINCINATI            OH      45263-6525
   CINTAS FIRE PROTECTION                                           PO BOX 636525                                                                      CINCINNATI           OH      45263-6525
   CINTAS FIRE PROTECTION                                           12771 WEST LINKS DRIVE #1                                                          FORT MYERS           FL      33913
   CISION US INC                                                    P.O. BOX 417215                                                                    BOSTON               MA      00241-7215
   CISION US INC.                        ATTN: LEGAL DEPARTMENT     12051 INDIAN CREEK COURT                                                           BELTSVILLE           MD      20705
   CISION US INC.                                                   130 E RANDOLPH STREET                7TH FLOOR                                     CHICAGO              IL      60601
   CIT FINANCE LLC                       ATTN: OWNER                10201 CENTURION PARKWAY, SUITE 100                                                 JACKSONVILLE         FL      32256
                                                                    10201 CENTURION PARKWAY NORTH,
   CIT FINANCE LLC                                                  SUITE 100                                                                          JACKSONVILLE         FL      32256
   CIT TECHNOLOGY FIN SERVICE INC                                   21719 NETWORK PLACE                                                                CHICAGO              IL      60673-1217
   CITY COLLEGE, INC.                    ATTN: PRESIDENT            2000 WEST COMMERCIAL BLVD            SUITE 200                                     FORT LAUDERDALE      FL      33309
                                                                                                         41 PERIMETER CTR E SUITE
   CITY OF DUNWOODY                                                 BUSINESS TAX OFFICE                  250                                           DUNWOODY             GA      30346
   CITY OF GREEN COVE SPRINGS                                       229 WALNUT STREET                                                                  GREEN COVE SPRINGS   FL      32043
   CITY OF GREEN COVE SPRINGS                                       321 WALNUT ST                                                                      GREEN COVE SPRINGS   FL      32043
   CITY OF MAITLAND                      BUSINESS TAX RECEIPTS      1776 INDEPENDENCE LANE                                                             MAITLAND             FL      32751
   CITY OF PERRY                                                    224 S. JEFFERSON ST.                                                               PERRY                FL      32347
   CITY OF PERRY                         UTILITIES DEPT             PO BOX 1907                                                                        PERRY                FL      32397
   CITY OF ROANOKE TREASURER                                        P.O. BOX 1451                                                                      ROANOKE              VA      24007-1451
   CITY OF TOLEDO                        DIVISION OF TAXATION       1 GOVERNMENT CTR, SUITE 2070                                                       TOLEDO               OH      43604-2280
   CLANCE, BRENNAN                                                  (ADDRESS REDACTED)
   CLARA TAYLOR                                                     (ADDRESS REDACTED)
   CLARK & BRADSHAW PC                                              92 N LIBERTY STREET                                                                HARRISONBURG         VA      22802
   CLARK ANDI                                                       (ADDRESS REDACTED)
   CLARK CHARLES                                                    (ADDRESS REDACTED)
                                         C/O COLLING, GILBERT, WRIGHT
   CLAUDE B. CAMPBELL AND LEE CAMPBELL   & CARTER                     ATTN: GARRY RHODEN, ESQ.           801 NORTH ORANGE AVENUE      SUITE 830        ORLANDO              FL      32801
   CLAUDETTE PORTER                                                   (ADDRESS REDACTED)
   CLAUDIA E. BARRIENTOS                                              (ADDRESS REDACTED)
   CLAUDINE JESSICA NIYONSENGA                                        (ADDRESS REDACTED)
   CLAY C. CROCKER                                                    (ADDRESS REDACTED)
   CLAY CO GENERAL SESSIONS COURT                                     145 CORDELL BULL DR                                                              CELINA               TN      38551
   CLAY COUNTY CHAMBER OF                COMMERCE                     388 HIGHWAY 64 BUSINESS                                                          HAYESVILLE           NC      28904
   CLAY COUNTY HEALTH DEPARTMENT                                      PO BOX 578                                                                       GREEN COVE SPRINGS   FL      32043
                                         ENVIRONMENTAL HEALTH
   CLAY COUNTY HEALTH DEPARTMENT         SECTION                      1801 SE 32ND AVE                                                                 OCALA                FL      34478
   CLAY COUNTY HEALTHCARE, LLC                                        86 VALLEY HIDEAWAY DR.                                                           HAYESVILLE           NC      28904
   CLAY COUNTY SESSIONS COURT                                         P.O. BOX 749                                                                     CELINA               TN      38551
   CLAY COUNTY TAX COLLECTOR                                          P.O. BOX 218                                                                     GREEN COVE SPRINGS   FL      32043
   CLAY COUNTY TAX COLLECTOR                                          PO BOX 486                                                                       HAYESVILLE           NC      28904
   CLAY COUNTY TAX COLLECTOR                                          PO BOX 218                                                                       GREEN COVE SPRINGS   FL      32043
   CLEAN BREAK RESIDENTIAL               SERVICES LLC                 430 W NEW ENGLAND AVE STE A                                                      WINTER PARK          FL      32789
   CLEARWATER HEALTHCARE, LLC                                         1040 CROWN POINTE PKWY             STE 600                                       ATLANTA              GA      30338
   CLEARY SHERRY L.                                                   (ADDRESS REDACTED)
   CLEASHA JENKINS                                                    (ADDRESS REDACTED)
   CLEVINGER, KAELIN                                                  (ADDRESS REDACTED)
   CLINICAL RESOURCES, LLC               ATTN: JENNIFER SEULLY, CEO 3338 PEACHTREE ROAD NE               SUITE 102                                     ALTANTA              GA      30326
   CMC II, LLC                                                        800 CONCOURSE PARKWAY SOUTH                                                      MAITLAND             FL      32751
                                                                                                         ATTN: BEPPY LANDRUM OWEN,
   CMC II, LLC                           AKERMAN SENTERFITT         420 S. ORANGE AVENUE, SUITE 1200     ESQ.                                          ORLANDO              FL      32801
   CMC II, LLC                           ATTN: CEO                  800 CONCOURSE PARKWAY SOUTH          SUITE 200                                     MAITLAND             FL      32751




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                                           c/o CHIPMAN BROWN CICERO & ATTN: WILLIAM E. CHIPMAN, JR., ROBERT   1313 N. MARKET STREET,
   CMC II, LLC                             COLE, LLP                  ALAN WEBER & MARK D. OLIVERE            SUITE 5400                                  WILMINGTON        DE      19801
   C'MONE K. CROWELL                                                  (ADDRESS REDACTED)
   CMS - REGION III - DELAWARE             C/O LEGAL DEPT             801 MARKET ST, SUITE 9400                                                           PHILADELPHIA      PA      19107-3134
   CMS - REGION III - MARYLAND             C/O LEGAL DEPT             801 MARKET ST, SUITE 9400                                                           PHILADELPHIA      PA      19107-3134
   CMS - REGION III - PENNSYLVANIA         C/O LEGAL DEPT             801 MARKET ST, SUITE 9400                                                           PHILADELPHIA      PA      19107-3134
   CMS - REGION III - VIRGINIA             C/O LEGAL DEPT             801 MARKET ST, SUITE 9400                                                           PHILADELPHIA      PA      19107-3134
   CMS - REGION III - WEST VIRGINIA        C/O LEGAL DEPT             801 MARKET ST, SUITE 9400                                                           PHILADELPHIA      PA      19107-3134
                                                                                                              61 FORSYTH STREET, SW,
   CMS - REGION IV - ALABAMA               C/O LEGAL DEPT              ATLANTA FEDERAL CENTER, 4TH FLOOR      SUITE 4T20                                  ATLANTA           GA      30303-8909
                                                                                                              61 FORSYTH STREET, SW,
   CMS - REGION IV - FLORIDA               C/O LEGAL DEPT              ATLANTA FEDERAL CENTER, 4TH FLOOR      SUITE 4T20                                  ATLANTA           GA      30303-8909
                                                                                                              61 FORSYTH STREET, SW,
   CMS - REGION IV - GEORGIA               C/O LEGAL DEPT              ATLANTA FEDERAL CENTER, 4TH FLOOR      SUITE 4T20                                  ATLANTA           GA      30303-8909
                                                                                                              61 FORSYTH STREET, SW,
   CMS - REGION IV - KENTUCKY              C/O LEGAL DEPT              ATLANTA FEDERAL CENTER, 4TH FLOOR      SUITE 4T20                                  ATLANTA           GA      30303-8909
                                                                                                              61 FORSYTH STREET, SW,
   CMS - REGION IV - MISSISSIPPI           C/O LEGAL DEPT              ATLANTA FEDERAL CENTER, 4TH FLOOR      SUITE 4T20                                  ATLANTA           GA      30303-8909
                                                                                                              61 FORSYTH STREET, SW,
   CMS - REGION IV - NORTH CAROLINA        C/O LEGAL DEPT              ATLANTA FEDERAL CENTER, 4TH FLOOR      SUITE 4T20                                  ATLANTA           GA      30303-8909
                                                                                                              61 FORSYTH STREET, SW,
   CMS - REGION IV - SOUTH CAROLINA        C/O LEGAL DEPT              ATLANTA FEDERAL CENTER, 4TH FLOOR      SUITE 4T20                                  ATLANTA           GA      30303-8909
                                                                                                              61 FORSYTH STREET, SW,
   CMS - REGION IV - TENNESSEE             C/O LEGAL DEPT              ATLANTA FEDERAL CENTER, 4TH FLOOR      SUITE 4T20                                  ATLANTA           GA      30303-8909
   CMS - REGION IX - CALIFORNIA            C/O LEGAL DEPT              90 7TH STREET, #5-300 (W)                                                          SAN FRANCISCO     CA      94103-6706

   CMS - REGION V - MINNESOTA              C/O LEGAL DEPT              233 NORTH MICHIGAN AVENUE, SUITE 600                                               CHICAGO           IL      60601

   CMS - REGION V - OHIO                   C/O LEGAL DEPT              233 NORTH MICHIGAN AVENUE, SUITE 600                                               CHICAGO           IL      60601
   CMS - REGION VI - ARKANSAS              C/O LEGAL DEPT              1301 YOUNG STREET, ROOM 714                                                        DALLAS            TX      75202
   CMS - REGION VI - LOUISIANA             C/O LEGAL DEPT              1301 YOUNG STREET, ROOM 714                                                        DALLAS            TX      75202

   CMS - WASHINGTON DC OFFICE              C/O LEGAL DEPT              THE HUBERT H. HUMPHERY BUILDING        200 INDEPENDENCE AVE., S.W.                 WASHINGTON        DC      20001
   CNL INC                                                             25935 WINNING COLORS WAY                                                           WESLEY CHAPEL     FL      33544
   COALITITION FOR BETTER CARE PC                                      120 S MONROE STREET                                                                TALLAHASSEE       FL      32301
   COASTAL ADMINISTRATIVE SERVICES, LLC                                1040 CROWN POINTE PKWY                 STE 600                                     ATLANTA           GA      30338
   COASTAL MANAGEMENT INVESTMENT, LLC                                  1040 CROWN POINTE PKWY                 STE 600                                     ATLANTA           GA      30338
   COASTAL PTAC SERVICES OF FL IN                                      5745 GALL BLVD                                                                     ZEPHRHILLS        FL      33542
   COASTAL PTAC SERVICES OF FL IN                                      P.O. BOX 2847                                                                      ZEPHYRHILLS       FL      33539
   CODIA J. DITARANTO-EVANS                                            (ADDRESS REDACTED)
   CODY A. SWARTZ                                                      (ADDRESS REDACTED)
   COELEEN BENDER                                                      (ADDRESS REDACTED)

   COLEMAN PASS, JR.                       C/O WILKES & ASSOCIATES     ATTN: KIRSTEN SKOKOS, ESQ.             ONE NORTH DALE MABRY HWY STE 700            TAMPA             FL      33609
   COLLECTIVE MEDICAL TECHNOLOGIES, INC.   ATTN: LEGAL DEPARTMENT      4760 S. HIGHLAND DRIVE                 #217                                        HOLLADAY          UT      84117
                                           ATTN: JOSHUA MACHLUS,
   COLLING, GILBER, WRIGHT & CARTER        ESQUIRE                     801 NORTH ORANGE AVENUE , SUITE 830                                                ORLANDO           FL      32801
                                           ATTN: BRIAN GUPPENBERGER,
   COLLING, GILBERT, WRIGHT & CARTER       ESQ.                        801 NORTH ORANGE AVENUE , SUITE 830                                                ORLANDO           FL      32801

   COLLING, GILBERT, WRIGHT & CARTER       ATTN: GARRY RHODEN, ESQ.    801 NORTH ORANGE AVENUE , SUITE 830                                                ORLANDO           FL      32801
   COLLINS HEALTHCARE EDUCATION                                        PO BOX 780251                                                                      ORLANDO           FL      32878
   COLLINS JAMES                                                       (ADDRESS REDACTED)
   COLLINS, CARLA                                                      (ADDRESS REDACTED)
   COLLINS, CARLA                                                      (ADDRESS REDACTED)
   COLONY INSURANCE CO                                                 8720 STONY POINT PARKWAY               SUITE 300                                   RICHMOND          VA      23235
   COLTEA GABRIEL                                                      (ADDRESS REDACTED)
   COLUMBIA PACIFIC
   COLVIN, AMANDA                                                      (ADDRESS REDACTED)
   COMCAST                                                             PO BOX 37601                                                                       PHILADELPHIA      PA      19101-0601
   COMCAST                                                             150 HEMBREE PARK DR                                                                ROSWELL           GA      30076
   COMCAST                                                             PO BOX 71211                                                                       CHARLOTTE         NC      28272-1211
   COMCAST BUSINESS
   COMCAST CABLE                                                       P O BOX 105184                                                                     ATLANTA           GA      30348 5184
   COMMERCIAL RESTAURANT SERVICE           SOLUTIONS INC               5096 TENNESSEE CAPITAL BLVD                                                        TALLAHASSEE       FL      32303
   COMMUNICATIONS & ENTERTAINMENT                                      1820 BRIARWOOD INDUSTRIAL              COURT NE                                    ATLANTA           GA      30329
   COMMUNICATIONS & ENTERTAINMENT, INC.                                1820 BRIARWOOD IND. CT. NE                                                         ATLANTA           GA      30329
   COMPLIANCELINE LLC                                                  8615 CLIFF CAMERON DR                  SUITE 290                                   CHARLOTTE         NC      28269
   COMPLIANCELINE LLC                                                  301 MCCULLOUGH DRIVE SUITE 520                                                     CHARLOTTE         NC      28262
   COMPLIANCELINE, LLC                                                 301 MCCULLOUGH DR.                     SUITE 520                                   CHARLOTTE         NC      28262
   COMPREHENSIVE ENERGY SERVICES                                       777 BENNETT DRIVE                                                                  LONGWOOD          FL      32750
   COMPTON OFFICE MACHINE                                              267 DAWKINS DRIVE                      SUITE B                                     LEWISBURG         VA      24901
   COMPTROLLER OF MARYLAND                                             301 W PRESTON ST                                                                   BALTIMORE         MD      21201




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                          Creditor Name                        Attention                      Address 1                       Address 2           Address 3              City   State     Zip      Country
   CONCOURSE LLC                                                                800 N. MAGNOLIA AVENUE              SUITE 1625                                ORLANDO           FL    32803
                                                     ATTN: LAWRENCE DEERING,
   CONCOURSE LLC                                     CHAIRMAN AND CEO            300 SOUTH ORANGE AVENUE            SUITE 975                                 ORLANDO           FL   32801
                                                     C/O BUCHANA INGERSOLL, P.C.
                                                     ATTN: ROSEMARY CORSETTI,
   CONCOURSE LLC                                     ESQ,                        301 GRANT STREET, 20TH FLOOR                                                 PITTSBURGH        PA   15219-1410
   CONCUR
   CONCUR TECHNOLOGIES INC                                                      62157 COLLECTIONS CENTER DRIVE                                                CHICAGO           IL   60693
   CONDON CARRIE L                                                              (ADDRESS REDACTED)
   CONDON, CARRIE L.                                                            (ADDRESS REDACTED)
   CONDUENT UNCLAIMED PROPERTY                                                  PO BOX 201322                                                                 DALLAS            TX   75320-1322
   CONINTLO LLC                                      ATTN: LEGAL DEPARTMENT     ONE GLEN PARK AVENUE, SUITE 101                                               TORONTO           ON   M6B 4M5      CANADA
   CONNALLY, MICHELLE                                                           (ADDRESS REDACTED)
   CONNECTED SOLUTIONS GROUP LLC                                                8529 MEADOWBRIDGE ROAD              SUITE 300                                 MECHANICSVILLE    VA   23116
   CONNECTVIRGINIA                                   ATTN: CVHIE NOTICES        102 N 5TH STREET                                                              RICHMOND          VA   23219
   CONNIE ALEXANDER                                                             (ADDRESS REDACTED)
   CONNIE JACKSON                                                               (ADDRESS REDACTED)
   CONNIE MARSTON                                                               (ADDRESS REDACTED)
   CONNIE MYERS                                                                 (ADDRESS REDACTED)
   CONNIE O'DONNELL                                                             (ADDRESS REDACTED)
   CONSERVATIVE PRINCIPLES FOR                       FLORIDA PC                 95 MERRICK WAY                      STE 250                                   CORAL GABLES      FL   33134
   CONSERVATIVES FOR PRINCIPLED                      LEADERSHIP                 8489 CABIN HILL ROAD                                                          TALLAHASSEE       FL   32311
   CONSTANTINA WILSON                                                           (ADDRESS REDACTED)
   CONSTRUCTION SPECIALTIES INC                                                 PO BOX 31909                                                                  HARTFORD          CT   06150-1909
   CONSULATE EV ACQUISITION, LLC                                                800 CONCOURSE PARKWAY SOUTH                                                   MAITLAND          FL   32751
   CONSULATE EV MASTER TENANT, LLC                                              800 CONCOURSE PARKWAY SOUTH                                                   MAITLAND          FL   32751
   CONSULATE EV OPERATIONS I, LLC                                               800 CONCOURSE PARKWAY SOUTH                                                   MAITLAND          FL   32751
   CONSULATE FACILITY LEASING, LLC                                              800 CONCOURSE PARKWAY SOUTH                                                   MAITLAND          FL   32751
                                                                                                                    ATTN DANIEL DIAS CHIEF
   CONSULATE HEALTH CARE                             C/O LA VIE CARE CENTERS LLC 800 CONCOURSE PARKWAY SUITE 200    CORPORATE COUNSEL                         MAITLAND          FL   32751
   CONSULATE MANAGEMENT COMPANY, LLC                                             800 CONCOURSE PARKWAY SOUTH                                                  MAITLAND          FL   32751
   CONSULATE MZHBS LEASEHOLDINGS, LLC                                            800 CONCOURSE PARKWAY SOUTH                                                  MAITLAND          FL   32751
   CONSULATE NHCG LEASEHOLDINGS, LLC                                             800 CONCOURSE PARKWAY SOUTH                                                  MAITLAND          FL   32751
   CONTINENTAL AMERICAN INSURANCE                                                1600 WILLIAMS STREET                                                         COLUMBIA          SC   29201

   CONTRACT MANAGER                                  HUMANA COMPREHENSIVE LTC 777 YAMATO ROAD                                                                 BOCA RATON        FL   33431-4408
   CONTROLUP INC                                                              12280 SARATOGA SUNNYVALE ROAD         #109                                      SARATOGA          CA   95070
   CONVERGINT TECHNOLOGIES                                                    995 W KENNEDY BLVD                    SUITE 35                                  ORLANDO           FL   32810
   COOK DONALD                                                                (ADDRESS REDACTED)
   COOPER, MAKAYLA L.                                                         (ADDRESS REDACTED)
   COOPER, SHARONDA                                                           (ADDRESS REDACTED)
   COOPERATIVE CHOICE LLC                                                     55 SATELLITE BLVD NW                                                            SUWANEE           GA   30024
   CORDELIA ROBINETTE                                                         (ADDRESS REDACTED)
   COREY J. SANCHEZ                                                           (ADDRESS REDACTED)
   CORI D. NASH                                                               (ADDRESS REDACTED)
   CORNELIUS GREENE                                                           (ADDRESS REDACTED)
   CORPORATE BUSINESS CARDS, LTD.                                             9611 FRANKLIN AVENUE                                                            FRANKLIN PARK     IL   60131
   CORPORATE FLEET SERVICES INC                      PRE PAID LEASES          16322 WOODWARD AVE                                                              HIGHLAND PARK     MI   48203
   CORRENA HALL                                                               (ADDRESS REDACTED)
   CORRENA HALL                                                               (ADDRESS REDACTED)
   COSBY TRACEY                                                               (ADDRESS REDACTED)
   COTLER HEALTH CARE & DEVELOPMENT, INC. / COTLER
   MEDICAL BILLING SERVICES, INC.                                               901 SOUTH 62ND AVENUE                                                         HOLLYWOOD         FL   33023
   COTLER HEALTH CARE & DEVELOPMENT, INC. / COTLER
   MEDICAL BILLING SERVICES, INC.                                               11120 S. CROWN WAY, SUITE 1                                                   WELLINGTON        FL   33414
   COTTER, JAMES                                                                (ADDRESS REDACTED)
   COULLIETTE THOMAS                                                            (ADDRESS REDACTED)
   COUNCE ROSEMARY                                                              (ADDRESS REDACTED)
   COUNTRY MEADOW FACILITY OPERATIONS, LLC                                      800 CONCOURSE PARKWAY SOUTH                                                   MAITLAND          FL   32751
   COUNTY OF FRANKLIN-TREASURER                      LYNDA F MESSENGER          1255 FRANKLIN ST, SUITE 101                                                   ROCKY MOUNT       VA   24151
   COURTENEY THOMAS                                                             (ADDRESS REDACTED)
   COURTNEY ABBOTT                                                              (ADDRESS REDACTED)
   COURTNEY CASON                                                               (ADDRESS REDACTED)
   COURTNEY L. MILLER                                                           (ADDRESS REDACTED)
   COURTNEY STANLEY                                                             (ADDRESS REDACTED)
   COURTNEY WHITENER                                                            (ADDRESS REDACTED)
   COVENANT HOSPICE, INC.                                                       2001 NORTH PALAFOX                                                            PENSACOLA         FL   32501
   COX BUSINESS SERVICES                                                        P O BOX 2380                                                                  OMAHA             NE   68103 2380
   COX BUSINESS SERVICES                                                        P.O. BOX 771908                                                               DETROIT           MI   48277-1908
   COX COMMUNICATIONS                                                           PO BOX 9001077                                                                LOUISVILLE        KY   40290-1077
   COX VIRGINIA TELCOM, LLC                          ATTN: JEREMY SPICER        1341 CROSSWAY BLVD                                                            CHESAPEAKE        VA   23320
   COZYROC LLC                                                                  1900 FRENCH DR.                                                               RALEIGH           NC   27612
   COZZINI BROTHERS INC                                                         P O BOX 46489                       4300 WEST BRYN MAWR AVE                   CHICAGO           IL   60646-0489
   CPSTN MANAGEMENT, LLC                                                        800 CONCOURSE PARKWAY SOUTH                                                   MAITLAND          FL   32751




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                                                       C/O SKADDEN ARPS SLATE                                           ONE RODNEY SQUARE, 920 N.
   CPSTN OPERATIONS, LLC                               MEAGHER & FLOM, LLP       ATTN: CARL T. TULLSON                  KING STREET                                  WILMINGTON           DE      19801
                                                       C/O SKADDEN ARPS SLATE    JAMES J. MAZZA, JR., ESQ.& ROBERT E.
   CPSTN OPERATIONS, LLC                               MEAGHER & FLOM, LLP       FITZGERALD, ESQ.                       155 NORTH WACKER DRIVE                       CHICAGO              IL      60606-1720
   CRAIG JEFFREY                                                                 (ADDRESS REDACTED)
   CRANDALL, MARK                                                                (ADDRESS REDACTED)
   CRANDALL, MARK T.                                                             (ADDRESS REDACTED)
   CRAVEN TRACYE M                                                               (ADDRESS REDACTED)
   CRAY NATHANIEL                                                                (ADDRESS REDACTED)
   CREATIVE FINANCIAL STAFFING                                                   ONE INTERNATIONAL PLACE                16TH FLOOR                                   BOSTON               MA      02110

   CREATIVE FINANCIAL STAFFING, INC.                   FIVE CONCOURSE PARKWAY NE SUITE 1000                                                                          ATLANTA              GA      30328
   CREATIVE FORECASTING INC                                                       P O BOX 7789                                                                       COLORADO SPRINGS     CO      80933-7789
   CREDENCE CORPORATION                                ATTN: MR. DENNIS HALL, CEO 3215 NW 10TH TERRACE                  SUITE #210                                   FORT LAUDERDALE      FL      33309
   CREDIT MANAGEMENT COMPANY                           CORPORATE HEADQUARTERS 2121 NOBLESTOWN ROAD                                                                   PITTSBURGH           PA      15205
   CREDIT MANAGEMENT COMPANY
   CREED & PINKARD                                                               13043 WEST LINEBAUGH AVENUE                                                         TAMPA                FL      33636
   CRESSMAN, EILEEN M.                                                           (ADDRESS REDACTED)
   CRESTLINE FACILITY OPERATIONS, LLC                                            800 CONCOURSE PARKWAY SOUTH                                                         MAITLAND             FL      32751
   CREWS CLIFFORD RFMS                                                           803 OAK STREET                                                                      GREEN COVE SPRINGS   FL      32043
   CRIBB, RACHEL                                                                 (ADDRESS REDACTED)
   CRIBBS & SONS INC                                                             1005 S JEFFERSON ST                                                                 PERY                 FL      32348
   CRIS KOLB                                                                     (ADDRESS REDACTED)
   CRISCONE VINCENT RFMS                                                         803 OAK STREET                                                                      GREENCOVESPRINGS     FL      32043
   CRISTEN A MCCAUGHIN                                                           (ADDRESS REDACTED)
                                                       ATTN: CONTRACT
   CROSS COUNTRY STAFFING, INC                         ADMINISTRATION            5201 CONGRESS AVENUE                                                                BOCA RATON           FL      33487
   CROWELL, KATI                                                                 (ADDRESS REDACTED)
   CROWN TROPHY                                                                  2431 SPRING FOREST RD                  SET 165                                      RALEIGH              NC      27615
   CRSSA                                                                         ATN MDS REFRESHER                      PO BOX 158                                   POUND                WI      54161
   CRUCE, SANDREA                                      C/O MORGAN & MORGAN       ATTN: TODD HUNTER, ESQ.                313 NORTH MONROE ST         STE 401          TALLAHASSEE          FL      32301
   CRUM & FORSTER SPECIALTY INSURANCE CO                                         305 MADISON AVENUE                                                                  MORRISTOWN           NJ      07962
   CRUMPTON, KEITH A.                                                            (ADDRESS REDACTED)
   CRUZ NELSON                                                                   (ADDRESS REDACTED)
   CRYSTAL DILLINGHAM                                                            (ADDRESS REDACTED)
   CRYSTAL MANNING                                                               (ADDRESS REDACTED)
   CRYSTAL N. MCLAUGHLIN                                                         (ADDRESS REDACTED)
   CRYSTAL RASPBERRY                                                             (ADDRESS REDACTED)
   CRYSTAL TUCKER                                                                (ADDRESS REDACTED)
   CSC                                                                           P O BOX 7410023                                                                     CHICAGO              IL      60674-5023
   CSI GROUP INTERNATIONAL INC                                                   817 CREEK RD                                                                        BELLMAWR             NJ      08031
   CT CORPORATION SYSTEM, AS REPRESENTATIVE            ATTN: SPRS                330 N BRAND BLVD, SUITE 700                                                         GLENDALE             CA      91203
   CUMBERLAND COUNTY TAX BUREAU                                                  21 WATERFORD DR                        STE 201                                      MECHANICSBURG        PA      17050
   CURASPAN HEALTH GROUP INC                                                     P O BOX 744204                                                                      ATLANTA              GA      30374-4204
                                                                                 ONE GATEWAY CENTER, RIVERSIDE          SUITE 1-110, 275 GROVE
   CURASPAN HEALTH GROUP, INC.                                                   CENTER                                 STREET                                       NEWTON               MA      02466
   CURATIVE LABS INC.                                                            430 S CATARACT AVENUE                                                               SAN DIMAS            CA      91773
   CURRAN TAYLOR INC                                                             PO BOX 3500                                                                         PITTSBURGH           PA      15230-3500
   CURRIE ALLISON                                                                (ADDRESS REDACTED)
   CYNTHIA B. ROMANO                                                             (ADDRESS REDACTED)
   CYNTHIA HUGHES AS ADMINISTRATOR AD LITEM FOR THE
   ESTATE OF WILLIE OSCAR MARSHALL, JR                 C/O MARK W. LORD, ESQ.    46 N WASHINGTON BLVD                   # 16D                                        SARASOTA             FL      34236
   CYNTHIA K. TAPLIN                                                             (ADDRESS REDACTED)
   CYNTHIA L. MAKKI                                                              (ADDRESS REDACTED)
   CYNTHIA M. MILLER                                                             (ADDRESS REDACTED)
   CYNTHIA M. WILT                                                               (ADDRESS REDACTED)
   CYNTHIA TAPLIN                                                                (ADDRESS REDACTED)

   CYNTHIA YOUNG AS PR OF THE ESTATE OF CURTIS YOUNG   C/O TURNBULL LAW FIRM     ATTN: SANGA TURNBULL, ESQ.             120 E. PINE STREET, STE 5                    LAKELAND             FL      33801
   CYPRESS MANOR HEALTH CARE ASSOCIATES, LLC                                     800 CONCOURSE PARKWAY SOUTH                                                         MAITLAND             FL      32751
   CYPRESS MEDICAL LLC                                                           1270 N WICKMAN ROAD                    SUITE 16-308                                 MELBOURNE            FL      32935
   CYPRESS SQUARE HEALTH CARE ASSOCIATES, LLC                                    800 CONCOURSE PARKWAY SOUTH                                                         MAITLAND             FL      32751
   D.C. MEDICAL INVESTORS LIMITED PARTNERSHIP                                    1040 CROWN POINTE PKWY                 STE 600                                      ATLANTA              GA      30338
   DAHLIA BUSH                                                                   (ADDRESS REDACTED)
   DAILEY TERI                                                                   (ADDRESS REDACTED)
   DALAYTRIS J. UPSHAW                                                           (ADDRESS REDACTED)
   DALE SPANGLER                                                                 (ADDRESS REDACTED)
   DAMARIS N. NDUNGU                                                             (ADDRESS REDACTED)
   DANA LUCAS                                                                    (ADDRESS REDACTED)
   DANA M. HEPLER-DELEO                                                          (ADDRESS REDACTED)
   DANA PRICE                                                                    (ADDRESS REDACTED)
   DANIEL DANIEL                                                                 (ADDRESS REDACTED)
   DANIEL E. DIAS                                                                (ADDRESS REDACTED)
   DANIEL J. BROSTEK                                                             (ADDRESS REDACTED)




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   DANIEL J. EDELMAN, INC.                              JP MORGAN CHASE BANK, NA     21992 NETWORK PLACE                                                                  CHICAGO            IL     60673-1219
                                                        OFFICE OF THE GENERAL
                                                        COUNSEL DANIEL J EDLEMAN,
   DANIEL J. EDELMAN, INC.                              INC.                         200 EASY RANDOLPH DRIVE                                                              CHICAGO            IL    60601
                                                        ATTN: STEVEN BEHM, GENERAL   EDELMAN SOUTHEAST, 101 MARIETTA
   DANIEL J. EDELMAN, INC.                              MANAGER                      STREET                               SUITE 2900                                      ATLANTA            GA    30303
   DANIEL R. DAVIS                                                                   (ADDRESS REDACTED)
   DANIEL REALTY SERVICES, LLC.                                                      400 PERIMETER CENTER TERRACES        SUITE 45                                        ATLANTA            GA    30346
   DANIEL ROUSSEAU AS POWER OF ATTORNEY FOR GERTRUDE
   ROUSSEAU                                          C/O MORGAN & MORGAN             ATTN: SPENCER PAYNE, ESQ.            20 N. ORANGE AVENUE            STE 1600         ORLANDO            FL    32801
   DANIEL SANTOS                                                                     (ADDRESS REDACTED)
   DANIEL SANTOS                                                                     (ADDRESS REDACTED)
   DANIEL SMITH                                                                      (ADDRESS REDACTED)
   DANIEL, AMBER                                                                     (ADDRESS REDACTED)
   DANIELLE BODIFORD                                                                 (ADDRESS REDACTED)
   DANIELLE K. JAUZ                                                                  (ADDRESS REDACTED)
   DANIELLE L. CABRERA                                                               (ADDRESS REDACTED)
   DANIELLE NEVINS                                                                   (ADDRESS REDACTED)
   DANIELLE V MALKOS                                                                 (ADDRESS REDACTED)
   DANIELS STEPHANIE                                                                 (ADDRESS REDACTED)
   DANIELS STEPHANIE RFMS                                                            (ADDRESS REDACTED)
   DANIELS STEPHANIE RFMS                                                            (ADDRESS REDACTED)
   DANNY R. DAVIES                                                                   (ADDRESS REDACTED)

   DANNY SCOTT BY AND THROUGH STEPHEN SCOTT             C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ               ONE TAMPA CITY CENTER          STE 700          TAMPA              FL    33602
   DAPHNE F. SALMON                                                               (ADDRESS REDACTED)
   DAPHNEE MARTINEZ                                                               (ADDRESS REDACTED)
   DARCY A. HOLLAWAY                                                              (ADDRESS REDACTED)
   DARIELLE DAVIS                                                                 (ADDRESS REDACTED)
   DARLENE HUNTER AS PR OF THE ESTATE OF FOR ROBERT
   HUNTER                                               C/O GOUDIE & KOHN, PA        ATTN: KIM KOHN, ESQ.                 3004 WEST CYPRESS STREET                        TAMPA              FL    33609
   DARLENE M. BROWN                                                                  (ADDRESS REDACTED)
   DARLENE ROBERTS-FRACASSINI                                                        (ADDRESS REDACTED)
   DARNELL TURNER BY & THROUGH ELIZABETH ANN JONES,
   ATTORNEY-IN-FACT                                     C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                         TAMPA              FL    33609
   DARR HAYLIE                                                                      (ADDRESS REDACTED)
   DARRYL C ROBINSON                                                                (ADDRESS REDACTED)
   DARRYL C. ROBINSON                                                               (ADDRESS REDACTED)
   DASHA B. THOMAS                                                                  (ADDRESS REDACTED)
   DASHA THOMAS                                                                     (ADDRESS REDACTED)
   DASHALLA T. HARRIS                                                               (ADDRESS REDACTED)
   DATA SALES CO INC                                                                3450 W BURNSVILLE PARKWAY                                                             BURNSVILLE         MN    55337
   DATA SALES CO., INC.                                                             3450 WEST BURNSVILLE PARKWAY                                                          BURNSVILLE         MN    55337
   DATAMOTION, INC.                                                                 200 PARK AVENUE                       SUITE 302                                       FLORHAM PARK       NJ    07932
   DATASITE ATLANTA SF LLC                                                          PO BOX 14752                                                                          TUCSON             AZ    85732-4752
   DATASITE ATLANTA SF LLC                                                          PO BOX 6508                                                                           PASADENA           CA    91109-6508
                                                        ATTN: ROBERT WILSON,
                                                        DIRECTOR OF SALES &
   DATASITE MARIETTA                                    MARKETING                   1130 POWERS FERRY PLACE                                                               MARIETTA           GA    30067
   DATASITE SF, LLC FORMERLY MARIETTA DC, LLC D/B/A                                                                       2658 DEL MAR HEIGHTS ROAD
   DATASITE MARIETTA                                  ATTN: JEFFREY W. BURGES        C/O BURGES PROPERTY + COMPANY        #558                                            DEL MAR            CA    92014
   DAVALL DAWN A                                                                     (ADDRESS REDACTED)
   DAVE THOMAS                                                                       (ADDRESS REDACTED)
   DAVENE OLIVER                                                                     (ADDRESS REDACTED)
   DAVID C. BEACHUM                                                                  (ADDRESS REDACTED)
   DAVID HARDWICK                                                                    (ADDRESS REDACTED)
   DAVID MARCHANT AS PR OF THE ESTATE OF FRANK EDMOND                                                                     2164 RESERVE PARK TRACE
   MARCHANT                                           C/O CHARLES SINCLAIR, P.A.     ATTN: CHARLES "KIP" SINCLAIR, ESQ.   PORT                                            ST. LUCIE          FL    34986
   DAVID RICHARDSON                                                                  (ADDRESS REDACTED)

   DAVID WINTER AND POA FOR DONALD WINTER               C/O MORGAN & MORGAN          ATTN: WESLEY RANDOLPH, ESQ.          12800 UNIVERSITY DR, STE 600                    FORT MYERS         FL    33907
   DAVIDOFF HUTCHER & CITRON, LLP                                                    605 THIRD AVENUE                                                                     NEW YORK           NY    10158
   DAVIE BRESSETTE AS PR OF THE ESTATE OF DOROTHY       C/O COLLING, GILBERT, WRIGHT
   BRESSETTE                                            & CARTER                     ATTN: GARRY RHODEN, ESQ.             801 NORTH ORANGE AVENUE        SUITE 830        ORLANDO            FL    32801
   DAVIES DANNY                                                                      (ADDRESS REDACTED)
   DAVIS ALMA                                                                        (ADDRESS REDACTED)
   DAVIS DANIEL R.                                                                   (ADDRESS REDACTED)
   DAVIS RODNEY                                                                      (ADDRESS REDACTED)
   DAVIS RODNEY                                                                      (ADDRESS REDACTED)
   DAVIS, CHARMAINE                                                                  (ADDRESS REDACTED)
   DAVIS, VENICIA                                                                    (ADDRESS REDACTED)
   DAVY G. WRIGHT                                       C/O MORGAN & MORGAN          ATTN: BRIAN THOMPSON, ESQ.           ONE TAMPA CITY CENTER          STE 700          TAMPA              FL    33602
   DAWN A. DAVALL                                                                    (ADDRESS REDACTED)
   DAWN A. MCDANIEL                                                                  (ADDRESS REDACTED)




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                          Creditor Name                          Attention                       Address 1                       Address 2                  Address 3              City   State       Zip      Country
   DAWN C. FULLER                                                                  (ADDRESS REDACTED)
   DAWN HILL                                                                       (ADDRESS REDACTED)
   DAWN M. PAREDES                                                                 (ADDRESS REDACTED)
   DAWN N. BAZILE                                                                  (ADDRESS REDACTED)
   DAWN R WILSON                                                                   (ADDRESS REDACTED)
   DAWN R. WILSON                                                                  (ADDRESS REDACTED)
   DC HEALTH                                                                       899 NORTH CAPITOL STREET, NE                                                         WASHINGTON        DC      20002

   DE LA PIEDRA LAW FIRM, P.A.                         ATTN: JACK DE LA PIEDRA, ESQ 6 TRISTAN WAY                                                                       PENSACOLA BEACH   FL      32561
   DE LAGE LANDEN FINANCAL                                                          PO BOX 41601                                                                        PHILADELPHIA      PA      19101
   DE LAGE LANDEN FINANCIAL SERVICES, INC.                                          1111 OLD EAGLE SCHOOL ROAD                                                          WAYNE             PA      19087
   DEAN BURNETTI LAW                                                                1937 EAST EDGEWOOD DRIVE                                                            LAKELAND          FL      33803
   DEAN, CHRISTIAN                                                                  (ADDRESS REDACTED)
   DEANNA ANDERSON                                                                  (ADDRESS REDACTED)
   DEANNA ANDERSON                                                                  (ADDRESS REDACTED)
   DEANNA SHOCKLEY                                                                  (ADDRESS REDACTED)
   DEARS, DEBORAH                                                                   (ADDRESS REDACTED)
   DEASIA D. OLIVER                                                                 (ADDRESS REDACTED)
   DEBBIE J. REYNOLDS                                                               (ADDRESS REDACTED)
   DEBBIE REYNOLDS                                                                  (ADDRESS REDACTED)
   DEBORA FLANAGAN AS PR OF THE ESTATE OF ORLANDO      C/O COLLING, GILBER, WRIGHT                                     801 NORTH ORANGE AVENUE ,
   RUSSO                                               & CARTER                     ATTN: BRIAN GUPPENBERGER, ESQ.     SUITE 830                                        ORLANDO           FL      32801
   DEBORAH A. DEARS                                                                 (ADDRESS REDACTED)
   DEBORAH A. GLOVER                                                                (ADDRESS REDACTED)
   DEBORAH D. GREEN                                                                 (ADDRESS REDACTED)
   DEBORAH G. BENNETT                                                               (ADDRESS REDACTED)
   DEBORAH HEATON                                                                   (ADDRESS REDACTED)

   DEBORAH HULYO AS PR OF THE ESTATE OF JOSEPH J DROST C/O TURNBULL LAW FIRM       ATTN: SANGA TURNBULL, ESQ.          120 E. PINE STREET           STE 5               LAKELAND          FL      33801
   DEBORAH I. RICE                                                                 (ADDRESS REDACTED)
   DEBORAH JONES                                                                   (ADDRESS REDACTED)
   DEBORAH K. MOUNT                                                                (ADDRESS REDACTED)
   DEBORAH L. MARKEY                                                               (ADDRESS REDACTED)
   DEBORAH L. OWENBY                                                               (ADDRESS REDACTED)
   DEBORAH OWENBY                                                                  (ADDRESS REDACTED)
   DEBRA COLEMAN                                                                   (ADDRESS REDACTED)
                                                                                                                       ONE TAMPA CITY CENTER, STE
   DEBRA HILLS AS PR OF THE ESTATE OF CARL DYKES       C/O MORGAN & MORGAN         ATTN: AL FERRERA, ESQ.              700                                              TAMPA             FL      33602
   DEBRA L HAVRANEK                                                                (ADDRESS REDACTED)
   DEBRA L. COLEMAN                                                                (ADDRESS REDACTED)
   DEBRA L. HAVRANEK                                                               (ADDRESS REDACTED)
   DEBRA L. PORTER                                                                 (ADDRESS REDACTED)
   DECASTRO GRACE                                                                  (ADDRESS REDACTED)
   DEERING, SHAVONNA                                                               (ADDRESS REDACTED)
   DEIDRA L. SUGGS                                                                 (ADDRESS REDACTED)
   DEIDRE MILLER                                                                   (ADDRESS REDACTED)
   DEITSCH RANDY                                                                   (ADDRESS REDACTED)
   DEKALB COUNTY TAX COMMISSIONER                                                  P.O. BOX 100004                                                                      DECATUR           GA      30031-7004
   DEKALB COUNTY TAX COMMISSIONER                                                  PO BOX 100004                                                                        DECATUR           GA      30031-7004
   DEKALB COUNTY TAX COMMISSIONER, COLLECTIONS
   DIVISION                                                                        P.O. BOX 100004                                                                      DECATUR           GA      30031
   DELANEY COMMUNICATIONS INC                                                      PO BOX 14716                                                                         CINCINNATI        OH      45250
                                                                                                                       DHSS HERMAN HOLLOWAY
   DELAWARE MEDICAID & MEDICAL ASSISTANCE                                          1901 N. DUPONT HIGHWAY              CAMPUS, LEWIS BUILDING                           NEW CASTLE        DE      19720
   DELAWARE STATE TREASURY                                                         820 SILVER LAKE BLVD., SUITE 100                                                     DOVER             DE      19904
   DELENA STORTZ                                                                   (ADDRESS REDACTED)
   DELGADO, SANDRA                                                                 (ADDRESS REDACTED)
   DELGADOTESTDAVITA, SANDRA                                                       (ADDRESS REDACTED)
   DELIA C. CLAY                                                                   (ADDRESS REDACTED)
   DELIA CLAY                                                                      (ADDRESS REDACTED)
   DELL FINANCIAL SERVICES L.P.                                                    MAIL STOP-PS2DF-23 ONE DELL WAY                                                      ROUND ROCK        TX      78682
   DELL FINANCIAL SERVICES L.P.                                                    12234 N. IH-35, BLDG. B                                                              AUSTIN            TX      78753
   DELL FINANCIAL SERVICES LLC                                                     ONE DELL WAY                                                                         ROUND ROCK        TX      78682
   DELL FINANCIAL SERVICES, LLC
   DELL MARKETING                                                                  C/O DELL USA LP                     PO BOX 534118                                    ATLANTA           GA      30353
   DELL MARKETING L.P.                                                             6213 SKYLINE DRIVE                  SUITE 2100                                       HOUSTON           TX      77057
                                                       ATTN: KENNETH MCKENNA,
   DELLECKER, WILSON, KING, MCKENNA, RUFFIER & SOS     ESQ.                        719 VASSAR STREET                                                                    ORLANDO           FL      32804
   DELUXE BUSINESS CHECKS                                                          PO BOX 4656                                                                          CAROL STREAM      IL      60197-4656
   DENA P. WALTERS                                                                 (ADDRESS REDACTED)
   DENA WALTERS                                                                    (ADDRESS REDACTED)
   DENISE DURRANT-BUCKLE                                                           (ADDRESS REDACTED)
   DENISE MOMPREMIER                                                               (ADDRESS REDACTED)




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                          Creditor Name                          Attention                       Address 1                           Address 2             Address 3              City    State       Zip      Country

   DENISE RAGAN AS PR OF THE ESTATE OF ANNA FLETCHER   C/O BURNETTI, PA            ATTN: PHILIP JUDD SLOTNICK, ESQUIRE   211 SOUTH FLORIDA AVENUE                      LAKELAND           FL      33801
                                                                                                                         ONE DATRAN CENTER, SUITE  9100 SOUTH
   DENNIS SAMPSON OBO MARGUERITE SAMPSON, DECEASED     C/O BARON & HERSKOWITZ       ATTN: JON HERSKOWITZ, ESQ.           1704                      DADELAND BLVD       MIAMI              FL      33156
                                                       C/O COLLING, GILBERT, WRIGHT                                      801 NORTH ORANGE AVENUE ,
   DENNIS WALKER OBO LULA MAE WALKER                   & CARTER                     ATTN: BRIAN GUPPENBERGER, ESQ.       SUITE 830                                     ORLANDO            FL      32801
   DEPARTMENT OF REVENUE                                                            P O BOX 25000                                                                      RALEIGH            NC      27640-0150
   DEPIERO KIMBERLY                                                                 (ADDRESS REDACTED)
   DEPRIEST, SHELLEY                                                                (ADDRESS REDACTED)
   DEPT OF FINANCE & ADMIN                                                          PO BOX 9941                                                                        LITTLE ROCK        AR      72203-9941
                                                                                                                         DIV OF UNEMPLOYEMNT
   DEPT OF WORKFORCE DEVELOPMENT                                                   PO BOX 78960                          INSURANCE                                     MILWUAKEE          WI      53278-0960
   DEREK WEBSTER                                                                   (ADDRESS REDACTED)
                                                       ATTN: DR. ROBERT A. NORMAN,
   DERMATOLOGY HEALTHCARE, LLC                         DO, MPH                      8002 GUNN HIGHWAY                                                                  TAMPA              FL      33626
   DERRICK N. WILLIAMS                                                              (ADDRESS REDACTED)
   DERWENT & ASSOCIATES PLLC                                                        5960 TAHOE DR SE                     SUITE 101                                     GRAND RAPIDS       MI      49546
   DERWENT & ASSOCIATES, PLLC                          ATTN: MARK E. DERWENT        5960 TAHOE DR., SE, SUITE 1O1                                                      GRAND RAPIDS       MI      49546
   DESHANDRIA ALBRITTON                                                             (ADDRESS REDACTED)
   DESHAUN CARTER                                                                   (ADDRESS REDACTED)
   DESIREE HICKS                                                                    (ADDRESS REDACTED)
   DESTINEE W. WALKER                                                               (ADDRESS REDACTED)
   DESTINY M. BEASLEY                                                               (ADDRESS REDACTED)
   DESTINY R. BOOZE                                                                 (ADDRESS REDACTED)
   DETTWILLER, MISHAWN                                                              (ADDRESS REDACTED)
   DEVETT EDWARDS                                                                   (ADDRESS REDACTED)
   DEVICE42                                                                         600 SAW MILL ROAD                                                                  WEST HAVEN         CT      06516
   DEVOLUTIONS, INC.                                                                1000 NOTRE-DAME                                                                    LAVALTRIE                  QC J5T 1M1 CANADA
   DEVON JOHNSTON                                                                   (ADDRESS REDACTED)
   DEVOTED HEALTH INC.                                 C/O ILS                      5200 BLUE LAGOON DR, STE 500                                                       MIAMI              FL      33126
   DI JIANG                                                                         (ADDRESS REDACTED)
   DIALAH A. NEAL                                                                   (ADDRESS REDACTED)
   DIANA ROGERS AS PR OF THE ESTATE OF OMAR HARRIS     C/O SMITH & STALLWORTH       120 E. PINE STREET, STE 5                                                          LAKELAND           FL      33801
                                                       C/O COLLING, GILBERT, WRIGHT
   DIANA WALDROP, DECEASED                             & CARTER                     ATTN: JOSHUA MACHLUS, ESQUIRE        801 NORTH ORANGE AVENUE      SUITE 830        ORLANDO            FL      32801
   DIANE M. MERRITT                                                                 (ADDRESS REDACTED)
                                                       C/O LAW OFFICE OF TRAGOS,
   DIANE TITAK ON BEHALF OF GAYLA HILL                 SARTES & TRAGOS              ATTN: PETER A. SARTES, ESQ.          2363 GULF TO BAY BLVD        STE 100          CLEARWATER         FL      33765
   DIANNE M. MURRAY                                                                 (ADDRESS REDACTED)
   DIANNE RANKIN                                                                    (ADDRESS REDACTED)
   DIANNE RANKIN                                                                    (ADDRESS REDACTED)
   DIANTE L. THOMPSON                                                               (ADDRESS REDACTED)
   DIAS & ASSOCIATES PA                                                             5102 WEST LAUREL ST                  SUITE 700                                     TAMPA              FL      33607
   DIEGO H. RIVILLAS LEBRUM                                                         (ADDRESS REDACTED)
   DIEGO RIVILLAS LEBRUM                                                            (ADDRESS REDACTED)
   DIGGS, CARTRISSA                                                                 (ADDRESS REDACTED)
   DIMENSION DATA NORTH AMERICA, INC.                  ATTN: LEGAL DEPARTMENT       550 COCHITUATE ROAD                                                                FARMINGTON         MA      01701
   DINER'S CLUB COMMERCIAL                                                          PO BOX 5732                                                                        CAROL STREAM       IL      60197-5732
   DINERS CLUB COMMERCIAL-CC                                                        PO BOX 5732                                                                        CAROL STREAM       IL      60197-5732
   DIOMEDES AMELY                                                                   (ADDRESS REDACTED)
   DIONNE, MARYSE                                                                   (ADDRESS REDACTED)
   DIRECT SUPPLY                                                                    BOX 88201                                                                          MILWAUKEE          WI      53223
   DIRECT SUPPLY                                                                    PO BOX 88201                                                                       MILWAUKEE          WI      53288-0201
                                                       ATNN: RANDALL S. KIRK,
   DIRECT SUPPLY, INC.                                 EXECUTIVE VP & CIO           6767 N. INDUSTRIAL ROAD                                                            MILWAUKEE          WI      53223
   DIRECTEMPLOYERS ASSOCIATION                                                      7602 WOODLAND DRIVE                  SUITE 200                                     INDIANAPOLIS       IN      46278
   DIRECTEMPLOYERS RECRUITMENT                                                      MARKETING SOLUTIONS INC              7602 WOODLAND DR STE 200                      INDIANAPOLIS       IN      46278
   DISCOVERY BENEFITS INC                                                           PO BOX 9528                                                                        FARGO              ND      58106-9528
   DISCOVERY BENEFITS, INC.                            ATTN: CCO/EVP                4321 20TH AVENUE SOUTH                                                             FARGO              ND      58103
   DISTASIO LAW FIRM                                   ATTN: SCOTT DISTASIO, ESQ.   1112 CHANNELSIDE DRIVE, STE 5                                                      TAMPA              FL      33602
   DISTRICT COURT OF SHAWNEE CNTY                                                   200 SE 7TH STREET, SUITE 209                                                       TOPEKA             KS      66603-3968
   DISTRICT OF COLUMBIA OFFICE OF TAX AND REVENUE      1101 4TH ST. SW # 270                                                                                           WASHINGTON         DC      20024
   DIVERSE MEDIA INC                                                                P O BOX 271255                                                                     OKLAHOMA CITY      OK      73137-1255
   DIXON HUGHES GOODMAN LLP                                                         PO BOX 602828                                                                      CHARLOTTE          NC      28260-2828
   DIXON HUGHES GOODMAN LLP                                                         191 PEACHTREE STREET, NE             SUITE 270                                     ATLANTA            GA      30303
   DLH ROOF MANAGEMENT SVCS, LLC.                                                   1820 N 57TH STREET                                                                 TAMPA              FL      33619
   DOCKINS COMMUNICATIONS                                                           900 E KARSCHBLVD                                                                   FARMINGTON         MO      63640-3405
   DOCTORS MEMORIAL HOSPITAL INC                                                    333 N BYRON BUTLER PKWY              PO BOX 1847                                   PERRY              FL      32347
   DOCUSIGN                                                                         221 MAIN STREET STE 1000                                                           SAN FRANCISCO      CA      94105
   DOCUSIGN                                            DEPT 3428                    P.O. BOX 123428                                                                    DALLAS             TX      75312-3428
   DODGE, MICHELLE                                                                  (ADDRESS REDACTED)
   DODSON JO                                                                        (ADDRESS REDACTED)
   DOLORES HERSEY                                                                   (ADDRESS REDACTED)
   DOLPHIN HOTEL ASSOCIATES                                                         1500 EPCOT RESORT BLVD                                                             LAKE BUENA VISTA   FL      32830




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                        Creditor Name                             Attention                         Address 1                     Address 2               Address 3               City   State     Zip      Country
   DOLPHINS VIEW HEALTHCARE, LLC                                                      1040 CROWN POINTE PKWY             STE 600                                      ATLANTA            GA    30338
   DOMENICO OTTUSO AS POA FOR MARGHERITA OTTUSO         C/O PAUL & PERKINS            ATTN: JASON PAUL, ESQ.             3117 EDGEWATER DRIVE                         ORLANDO            FL    32804
   DOMINION SOLUTIONS INC                                                             3473 BRANDON AVE                                                                ROANOKE            VA    24018
                                                        ATTN: M. NICOLE KRUEGEL,
   DOMNICK & SHEVIN                                     ESQUIRE                       7777 GLADES ROAD, SUITE 212                                                     BOCA RATON         FL   33434

   DONALD RIVES                                         C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ              ONE TAMPA CITY CENTER       STE 700          TAMPA              FL   33602
   DONEGAN SQUARE HEALTH CARE ASSOCIATES, LLC                                      1092 WEST DONEGAN AVENUE                                                           KISSIMMEE          FL   34741
   DONELL L. MCCOY                                                                 (ADDRESS REDACTED)
                                                        C/O PERENICH, CAULFIELD,
   DONNA AUSTIN                                         AVIRL & NOYES, PA          ATTN: BRYAN CAULFIELD, ESQ.           1875 NORTH BELCHER ROAD     SUITE 201        CLEARWATER         FL   33765
   DONNA BYRD                                                                      (ADDRESS REDACTED)
   DONNA CURRY                                                                     (ADDRESS REDACTED)
   DONNA DUNNING, PERSONAL REPRESENTATIVE OF THE                                   ATTN: PAUL S. BOONE, ATTORNEY AT
   ESTATE OF JAMES DONALD WOODWARD, SR.                 C/O PAUL S. BOONE, ESQUIRE LAW, P.A.                             303 CENTRE STREET           STE 203          FERNANDINA BEACH   FL   32034
   DONNA KENT                                                                      (ADDRESS REDACTED)
   DONNA M. MCDYER                                                                 (ADDRESS REDACTED)
   DONNA MCDYER                                                                    (ADDRESS REDACTED)
   DONNA P. VARGAS                                                                 (ADDRESS REDACTED)
   DONNA PAVER                                                                     (ADDRESS REDACTED)
   DOOR CONTROL INC                                                                10330 CHEDOAK CT                      BLDG 300                                     JACKSONVILLE       FL   32218
   DOOR PRODUCTS                                                                   PO BOX 20004                                                                       TALLAHASSEE        FL   32316-0004

   DOROTHY CZAUS                                        C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY             STE 800                                      TAMPA              FL   33609
   DOROTHY FLEMING BY AND THROUGH CYNTHIA MYERS,
   ATTORNEY-IN-FACT                                     C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY             STE 800                                      TAMPA              FL   33609
   DOROTHY KIMBERLING                                                               (ADDRESS REDACTED)
   DOROTHY M. KIMBERLING                                                            (ADDRESS REDACTED)

   DOROTHY PAGLIUGHI BY AND THROUGH MICHAEL PAGLIUGHI C/O WILKES & MCHUGH - TAMPA     ONE NORTH DALE MABRY HWY           STE 800                                      TAMPA              FL   33609
   DOROTHY REID                                                                       2210 PARKSIDE DRIVE                                                             DURHAM             NC   27707
   DOUGLAS A. HILL                                                                    (ADDRESS REDACTED)
   DOUGLAS BROOKS, PC                                                                                                                                                 ATLANTA            GA
   DOUGLAS HILL                                                                       (ADDRESS REDACTED)
                                                       C/O COLLING, GILBERT, WRIGHT                                      801 NORTH ORANGE AVENUE ,
   DOUGLAS LATARE AS PR OF THE ESTATE OF ARNOLD LATARE & CARTER                       ATTN: BRIAN GUPPENBERGER           SUITE 830                                    ORLANDO            FL   32801
   DOUGLASS RAFE                                                                      (ADDRESS REDACTED)
   DOWDELL, PRISCILLA                                                                 (ADDRESS REDACTED)
   DOWN EAST HEALTHCARE, LLC                                                          1040 CROWN POINTE PKWY             STE 600                                      ATLANTA            GA   30338
   DOYLE PHYLLIS                                                                      (ADDRESS REDACTED)
   DR DAWN MCDERMOTT                                                                  3337 PHOENIX AVENUE                                                             JACKSONVILLE       FL   32206
   DRIVETRAIN ADVISORS LTD                                                            200 EAST 57TH STREET               APT 16L                                      NEW YORK           NY   10022
   DRUCILLA D. JONES                                                                  (ADDRESS REDACTED)
   DRUCILLA JONES                                                                     (ADDRESS REDACTED)
   DTE INCORPORATED                                                                   110 BAIRD PKY                      PO BOX 1727                                  MANSFIELD          OH   44901
   DUANE B. HOPE                                                                      (ADDRESS REDACTED)
   DUDEK IRIS                                                                         (ADDRESS REDACTED)
   DUKE ENERGY                                                                        PO BOX 1004                                                                     CHARLOTTE          NC   28201-1004
   DUKE ENERGY                                         DUKE ENERGY RETURN MAIL        PO BOX 1090                                                                     CHARLOTTE          NC   28201-1090
   DULCIE BUCKMASTER AS PR OF THE ESTATE OF MARIE
   BUCKMASTER                                          C/O MORGAN & MORGAN            ATTN: AL FERRERA, ESQ.             ONE TAMPA CITY CENTER       STE 700          TAMPA              FL   33602
   DUNAWAY RHODA                                                                      (ADDRESS REDACTED)
   DUNBAR SANDRA                                                                      (ADDRESS REDACTED)
   DUNDAS DATA VISUALIZATION, INC.                                                    250 FERRAND DRIVE                  SUITE 500                                    TORONTO            ON   M3C 3G8      CANADA
   DUNDAS DATA VISUALIZATION,INC.                                                     3307 HILLVIEW AVENUE                                                            PALO ALTO          CA   94304
   DUNN BARBARA                                                                       (ADDRESS REDACTED)
   DUNN BRADLEY                                                                       (ADDRESS REDACTED)
   DUPREE, ANGELA                                                                     (ADDRESS REDACTED)
   DUROSIA JEAN-BAPTISTE                                                              (ADDRESS REDACTED)
                                                       ATTN: FACILITY
   DVA HEALTHCARE RENAL CARE, INC.                     ADMINISTRATOR                  118 WEST MAIN STREET                                                            PERRY              FL   32347
                                                       ATTN: GROUP GENERAL
   DVA HEALTHCARE RENAL CARE, INC.                     COUNSEL                        2611 NORTH HALSTEAD STREET                                                      CHICAGO            IL   60614
   DYEMOND ROSS                                                                       (ADDRESS REDACTED)
   DYLAN L. CARLTON                                                                   (ADDRESS REDACTED)
   DYNAFIRE INC                                                                       109 B CONCORD DR                                                                CASSELBERRY        FL   32707-3270
   DYNAFIRE, INC.                                      ATTN: KEN HOFFMANN             109 CONCORD DRIVE                                                               CASSELBERRY        FL   32707
   DYNAMIC ASPECTS                                                                    1490 KASTNER PLACE                 SUITE 1050                                   SANFORD            FL   32771
                                                       ATTN: BUSINESS RENTAL SALES
   EAN SERVICES, LLC                                   DEPARTMENT                     600 CORPORATE PARK DRIVE                                                        ST. LOUIS          MO   63105
                                                       ENTERPRISE HOLDINGS, INC.
   EAN SERVICES, LLC                                   ATTN: GENERAL COUNSEL          600 CORPORATE PARK DRIVE                                                        ST. LOUIS          MO   63105
   EAN SERVICES, LLC.                                                                 (ADDRESS REDACTED)
   EARTHLINK BUSINESS, LLC                             ATTN: CUSTOMER CARE            2150 HOLMGREN WAY                                                               GREEN BAY          WI   54304




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   EAST COAST AP MARKETING LLC                                                         634-D MARINA DR                                                                        CHARLESTON           SC    29492
   EAST COAST PODIATRIC MEDICINE AND SURGERY LLC           ATTN: ALAN TAJERSTEIN       5401 COLLINS AVENUE                 SUITE 508                                          MIAMI BEACH          FL    33140
   EAST SANDRA                                                                         (ADDRESS REDACTED)
   EBONY WALKER                                                                        (ADDRESS REDACTED)
   ECOLAB EQUIPMENT CARE                                   GCS SERVICE INC             24673 NETWORK PLACE                                                                    CHICAGO              IL   60673-1246
   ECOLAB INC                                                                          PO BOX 905327                                                                          CHARLOTTE            NC   28290-5327
   ECOLAB INC                                                                          P.O. BOX 32027                                                                         NEW YORK             NY   10087-2027
   ECOLAB INC.                                                                         1 ECOLAB PLACE                                                                         ST. PAUL             MN   55102
   EDDIE DAVILA                                                                        (ADDRESS REDACTED)
   EDDIE L. MYHAND, SR. AS PR OF ESTATE OF SYLVIA YVONNE
   HARRIS                                                  C/O WILKES & ASSOCIATES, PA ATTN: KIRSTEN SKOKOS, ESQ.          ONE NORTH DALE MABRY HWY STE 700                   TAMPA                FL   33609
   EDGAR L. RIVERA IRIZARRY                                                            (ADDRESS REDACTED)
   EDGE INFORMATION MANAGEMENT                                                         1682 W HIBISCUS BLVD                                                                   MELBOURNE            FL   32901
   EDGE INFORMATION MANAGEMENT                                                         PO BOX 1160                                                                            MELBOURNE            FL   32902-1160
   EDGE INFORMATION MANAGEMENT                                                         PO BOX 3378                                                                            MELBOURNE            FL   32902-3378
   EDGE INFORMATION MANAGEMENT, INC.                                                   1682 W. HIBISCUS BLVD                                                                  MELBOURNE            FL   32901
   EDINBOROUGH SQUARE HEALTH CARE ASSOCIATES, LLC                                      1059 VIRGINIA STREET                                                                   DUNEDIN              FL   34698
   EDMONDS ANTHONY                                                                     (ADDRESS REDACTED)
   EDNA D. QUALLS                                                                      (ADDRESS REDACTED)
   EDNA GRAY                                                                           (ADDRESS REDACTED)
   EDNA QUALLS                                                                         (ADDRESS REDACTED)
   EDWARD & RAGATZ                                         ATTN: ERIC RAGATZ, ESQUIRE 4401 SALISBURY ROAD, STE 200                                                            JACKSONVILLE         FL   32216
   EDWARD RUIZ                                                                         (ADDRESS REDACTED)
   EDWARD SEAMAN BY AND THROUGH JAMES SEAMAN,
   ATTORNEY-IN-FACT                                        C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY            STE 800                                            TAMPA                FL   33609
   EDWARD WHITFIELD                                                                    (ADDRESS REDACTED)
   EDWARDS-AKINOLA, SHALETHA                                                           (ADDRESS REDACTED)
   EEINF LLC                                                                           3501 PONCE DE LEON BLVD             SUITE 351                                          ST AUGUSTINE         FL   32084
                                                           C/O GROSSMAN, ROTH, YAFFA                                       925 S. FEDERAL HIGHWAY, STE
   EFRAIN BAENA AND MARIA BAENA                            & COHEN                     ATTN: GARY COHEN, ESQ.              350                                                BOCA RATON           FL   33432
   EGEMONU, NICHOLAS                                                                   (ADDRESS REDACTED)
   EILEEN A. GUEST                                                                     (ADDRESS REDACTED)
   ELAINE DRIVER                                                                       (ADDRESS REDACTED)
   ELAN FINANCIAL SERVICES
                                                                                                                           PREVIOUSLY: JOHN C WILLIS
                                                       C/O COLLING, GILBER, WRIGHT                                         IV, PA; JOHN C. WILLIS, IV,   801 NORTH ORANGE
   ELBIN MORALES AS PR OF THE ESTATE OF CARMEN MORALES & CARTER                        ATTN: JOSHUA MACHLUS, ESQUIRE       ESQUIRE                       AVENUE , SUITE 830   ORLANDO              FL   32801
   ELDRIDGE CHARLES                                                                    (ADDRESS REDACTED)
                                                       C/O VALENZUELA LAW FIRM,
   ELEANOR HODGE AS PR OF THE ESTATE OF JAMES HODGE    P.A.                            ATTN: HENRY VALENZUELA, ESQ.        100 NORTH TAMPA ST.           STE 2350             TAMPA                FL   33602
   ELEMENT FINANCIAL CORP.                                                             655 BUSINESS CENTER DRIVE                                                              HORSHAM              PA   19044
   ELEMENT FINANCIAL CORPORATION                       TD CANADA TRUST TOWER           161 BAY STREET, SUITE 3600                                                             TORONTO              ON   M5J 2S1      CANADA
   ELGALLAB TAMER                                                                      (ADDRESS REDACTED)
   ELISA E. SPIVEY                                                                     (ADDRESS REDACTED)
   ELISHA BLOUNT                                                                       (ADDRESS REDACTED)
   ELIZABETH A. BOTTOMLEY                                                              (ADDRESS REDACTED)
   ELIZABETH A. HALE                                                                   (ADDRESS REDACTED)

   ELIZABETH ABRAMS                                        C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY            STE 800                                            TAMPA                FL   33609
   ELIZABETH BURNETT                                                                   (ADDRESS REDACTED)
   ELIZABETH C. PRATT                                                                  (ADDRESS REDACTED)
   ELIZABETH D. WEINER                                                                 (ADDRESS REDACTED)
   ELIZABETH JOHNSON                                                                   (ADDRESS REDACTED)
   ELIZABETH S. CALTON                                                                 (ADDRESS REDACTED)
   ELIZABETH SOLIS                                                                     (ADDRESS REDACTED)
   ELKANAH CATHOLIC BY AND THROUGH JERRY EDMOND,
   ATTORNEY IN FACT                                        C/O MCHUGH FULLER           ATTN: LANCE REINS, ESQUIRE          97 ELIAS WHIDDON ROAD                              HATTISBURG           MS   39402
   ELLA M. BRYANT                                                                      (ADDRESS REDACTED)
   ELLEN M. ZURICA                                                                     (ADDRESS REDACTED)
   ELLIE STRUBING AS PERSONAL REPRESENTATIVE OF THE
   ESTATE OF KENNETH RAY CLEMONS                           C/O DEAN BURNETTI LAW       1937 EAST EDGEWOOD DRIVE                                                               LAKELAND             FL   33803
   ELLINGTON COURTENAY RFMS                                                            803 OAK STREET                                                                         GREEN COVE SPRINGS   FL   32043
   ELLIS JOHN                                                                          (ADDRESS REDACTED)
   ELMERINE HOUGHTON                                                                   (ADDRESS REDACTED)

   ELROY GARDENER AND/OR ANY DULY APPOINTED PERSONAL C/O SILVERSTEIN, SILVERSTEIN
   REPRESENTATIVE OF THE ESTATE OF DOROTHY SHAW      & SILVERSTEIN PA                  20801 BISCAYNE BLVD, STE 504                                                           AVENTURA             FL   33180
   ELZA HERRMANN                                                                       (ADDRESS REDACTED)
   EMC CORPORATION                                                                     176 SOUTH STREET                                                                       HOPKINTON            MA   01748
   EMC CORPORATION                                   CIT FINANCE, LLC                  10201 CENTURION PARKWAY NORTH       ATTN: ADRIENNE WALKER                              JACKSONVILLE         FL   32256
   EMERALD RIDGE HEALTHCARE, LLC                                                       25 REYNOLDS MOUNTAIN BLVD                                                              ASHEVILLE            NC   28804
   EMILY B. HITTINGER                                                                  (ADDRESS REDACTED)
   EMILY E. JACOBSON                                                                   (ADDRESS REDACTED)
   EMILY GASS                                                                          (ADDRESS REDACTED)




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                        Creditor Name                             Attention                       Address 1                           Address 2             Address 3              City   State       Zip      Country
   EMILY HITTINGER                                                                  (ADDRESS REDACTED)
   EMMA MCMURTRY                                                                    (ADDRESS REDACTED)
   EMMANUEL ODEI                                                                    (ADDRESS REDACTED)
   EMPIRIAN HEALTH, LLC                                 ATTN: SHARON G. SPEIR       3140 ZELDA COURT                      SUITE 200                                     MONTGOMERY        AL      36106
   ENDURANCE AMERICAN SPECIALTY                                                     1209 ORANGE ST.                                                                     WILMINGTON        DE      19801
   ENERGY SYSTEMS SOUTHEAST, LLC                                                    3235 VETERANS CIRCLE                                                                BRIMINGHAM        AL      35235
   ENGINEERED ELECTRONICS INC                                                       4301 INDUSTRIAL ACCESS RD                                                           DOUGLASVILLE      GA      30134
                                                        C/O COLLING, GILBERT, WRIGHT
   ENRIQUE ORTIZ BY AND THROUGH ELEIDA ORTIZ            & CARTER                     ATTN: GARRY RHODEN, ESQ.             801 NORTH ORANGE AVENUE      SUITE 830        ORLANDO           FL      32801
   ENVELOPE SOLUTIONS INC                                                            3830 OAKCLIFF INDUSTRIAL COURT                                                     DORAVILLE         GA      30340
   ENVOY HEALTH CARE, LLC                                                            1040 CROWN POINTE PKWY               STE 600                                       ATLANTA           GA      30338
   ENVOY MANAGEMENT COMPANY, LLC                                                     1040 CROWN POINTE PKWY               STE 600                                       ATLANTA           GA      30338
   ENVOY OF ALEXANDRIA, LLC                                                          900 VIRGINIA AVENUE                                                                ALEXANDRIA        VA      22302-3200
   ENVOY OF DENTON, LLC                                                              800 CONCOURSE PARKWAY SOUTH                                                        MAITLAND          FL      32751
   ENVOY OF FOREST HILLS, LLC                                                        7246 FOREST HILL AVENUE                                                            RICHMOND          VA      23225-1524
   ENVOY OF FORK UNION, LLC                                                          4238 JAMES MADISON HIGHWAY                                                         FORK UNION        VA      23055-0000
   ENVOY OF GOOCHLAND, LLC                                                           2715 DOGTOWN ROAD                                                                  GOOCHLAND         VA      23063-2424
   ENVOY OF LAWRENCEVILLE, LLC                                                       1722 LAWRENCEVILLE PLANK ROAD                                                      LAWRENCEVILLE     VA      23868-3351
   ENVOY OF NORFOLK, LLC                                                             800 CONCOURSE PARKWAY SOUTH                                                        MAITLAND          FL      32751
   ENVOY OF PIKESVILLE, LLC                                                          800 CONCOURSE PARKWAY SOUTH                                                        MAITLAND          FL      32751
   ENVOY OF RICHMOND, LLC                                                            4403 FOREST HILL AVENUE                                                            RICHMOND          VA      23225-3241
   ENVOY OF SOMERSET, LLC                                                            228 SIEMON DRIVE                                                                   SOMERSET          PA      15501-7055
   ENVOY OF STAUNTON, LLC                                                            512 HOUSTON STREET                                                                 STAUNTON          VA      24401-3525
   ENVOY OF WILLIAMSBURG, LLC                                                        1235 S MOUNT VERNON AVENUE                                                         WILLIAMSBURG      VA      23185-2835
   ENVOY OF WINCHESTER, LLC                                                          110 LAUCK DRIVE                                                                    WINCHESTER        VA      22603-4282
   ENVOY OF WOODBRIDGE, LLC                                                          14906 JEFFERSON DAVIS HIGHWAY                                                      WOODBRIDGE        VA      22191-4016
   EOLA CAPITAL LLC DBA PARKWAY PROPERTIES                                           800 N MAGNOLIA AVENUE                                                              ORLANDO           FL      32803
   EPSILON HEALTH CARE PROPERTIES, LLC                                               800 CONCOURSE PARKWAY SOUTH                                                        MAITLAND          FL      32751
   ERIC B. JOHNSON                                                                   (ADDRESS REDACTED)
   ERIC HICKEN                                                                       (ADDRESS REDACTED)
   ERIC JOHNSON                                                                      (ADDRESS REDACTED)
   ERIC MICHAEL KAPLAN, M.D.                                                         146 WHITAKER ROAD                    SUITE B                                       LUTZ              FL      33549
   ERIC STRATFORD                                                                    209 VINEWOOD PL                                                                    HOLLY SPRING      NC      27540
   ERICA HEMMINGWAY                                                                  (ADDRESS REDACTED)
   ERICA L. CARNLEY                                                                  (ADDRESS REDACTED)
   ERICA L. SHIRK                                                                    (ADDRESS REDACTED)
   ERICA SHIRK                                                                       (ADDRESS REDACTED)
   ERIKA F. WILSON                                                                   (ADDRESS REDACTED)
   ERIKA WILSON                                                                      (ADDRESS REDACTED)
   ERIN E. ISLAND                                                                    (ADDRESS REDACTED)
   ERIN POARCH AS PR OF THE ESTATE OF WILLIAM A
   THOMPSON                                             C/O BOUNDS LAW GROUP        ATTN: J. BRENT SMITH, ESQ.            1751 N. PARK AVENUE                           MAITLAND          FL      32751
   ERMITE DORANTE                                                                   (ADDRESS REDACTED)
   ERNEST L. ISLEY                                                                  (ADDRESS REDACTED)
   ERP ACCESSORIES, LLC                                                             13570 GROVE DRIVE                     #363                                          MAPLE GROVE       MN      55311
   ERP ACCESSORIES, LLC D/B/A DASHBOARD GEAR                                        13570 GROVE DR                        #363                                          MAPLE GROVE       MN      55311
   ERRIKA WILLIAMS                                                                  (ADDRESS REDACTED)
   ESCOT BUS LINES LLC                                                              6890 142ND AVE N                                                                    LARGO             FL      33771
   ESOLUTIONS INC                                       WS# 165                     P.O. BOX 414378                                                                     KANSAS CITY       MO      64141-4378
   ESPARZA, AMANDA                                                                  (ADDRESS REDACTED)
   ESTATE OF ADELINO LOPEZ BY AND THROUGH MARICELA
   LOPEZ F/K/A MARICELA CENTAFONTE                      C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA             FL      33609
   ESTATE OF ADELINO LOPEZ BY AND THROUGH MARICELA      C/O MENDES, REINS &
   LOPEZ F/K/A MARICELA CENTAFONTE                      WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA             FL      33609

   ESTATE OF ALBERT JOSEPH LEMAY BY DIANE MONDOR        C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA             FL      33609
   ESTATE OF ALICE KOCIK BY & THROUGH KURT EDWARD
   KOCIK, PR                                            C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA             FL      33609
   ESTATE OF ALICE MYRTLE HOLBROOK BY AND THROUGH
   PAULA M. HOLBROOK, PR                                C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA             FL      33609
   ESTATE OF ALICE MYRTLE HOLBROOK BY AND THROUGH       C/O MENDES, REINS &
   PAULA M. HOLBROOK, PR                                WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA             FL      33609

   ESTATE OF ALICE QUESSY LAMACCHIA BY RONALD SHAIL                                                                       ONE NORTH DALE MABRY HWY,
   LAMACCHIAV. SAFETY HARBOR FACILITY OPERATIONS, LLC   C/O WILKES & ASSOCIATES     ATTN: DONNA HANES, ESQ.               SUITE 800                 SUITE 700           TAMPA             FL      33609
   ESTATE OF AMANDA L. PEREZ, BY AND THROUGH PEDRO
   SANTIAGO PEREZ AND CAROLYN DUPREE HILL, AS CO-
   PERSONAL REPRESENTATIVES                             C/O GIVENS, GIVENS & SPARKS ATTN: ROBERT D. SPARKS, ESQUIRE       201 NORTH FRANKLIN STREET    SUITE 1700       TAMPA             FL      33602
   ESTATE OF AMANDA L. PEREZ, BY AND THROUGH PEDRO
   SANTIAGO PEREZ AND CAROLYN DUPREE HILL, AS CO-
   PERSONAL REPRESENTATIVES                             C/O GIVENS, GIVENS & SPARKS ATTN: ROBERT D. SPARKS, ESQUIRE       201 E. KENNEDY BLVD          STE 1400         TAMPA             FL      33602
   ESTATE OF AMELIA RIVIECCIO BY LORENZO RIVIECCIO,
   EXECUTOR DE SON TORT                                 C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA             FL      33609




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   ESTATE OF ANN MARIE SOUTHWELL BY AND THROUGH
   MICHAEL LONDONIO, EXECUTOR DE SON TORT                 C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF ANN MARIE SOUTHWELL BY AND THROUGH           C/O MENDES, REINS &
   MICHAEL LONDONIO, EXECUTOR DE SON TORT                 WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   ESTATE OF ANNIE RUTH HURLEY BY AND THROUGH THE PR,
   BARBARA HURLEY                                         C/O FARAH & FARAH           ATTN: LAURENCE C. HUTTMAN, ESQ        10 WEST ADAMS ST                              JACKSONVILLE       FL      32202

   ESTATE OF ANNIE WHITE BY WILLIE EUGENE CLOWER, PR      C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF ANTHONY PAPPAS BY AND THROUGH THOMAS         C/O MENDES, REINS &
   PAPPAS, PR                                             WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   ESTATE OF ANTHONY PAPPAS BY AND THROUGH THOMAS
   PAPPAS, PR                                             C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF ARTHUR C. MCGINNINS BY AND THORUGH
   VICTORIA L. MCGINNIS, PERSONAL REPRESENTATIVE          C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF AUDREY G. PARKER BY AND THROUGH GARY
   PARKER, PERSONAL REPRESENTATVE                         C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609

                                                          C/O WILKES & MCHUGH -
                                                          TAMPA, FL (AS OF 11/25/2015)
   ESTATE OF BARBARA J. EHLERT BY & THROUGH JOHN M.       GORDON & DONER (7/16/2015
   EHLERT, PR                                             WITHDREW REPRESENTATION) ONE NORTH DALE MABRY HWY                 STE 800                                       TAMPA              FL      33609
                                                          C/O PAUL S. BOONE, ATTORNEY
   ESTATE OF BEATRICE BROWN BY MYRTIS LANE                AT LAW, P.A.                 303 CENTRE STREET                    STE 203                                       FERNANDINA BEACH   FL      32034

                                                          C/O TERRELL, HOGAN &                                                                         BLACKSTONE
   ESTATE OF BEATRICE BROWN BY MYRTIS LANE                YEGELWEL, PA                ATTN: ALBERT LECHNER, ESQ.            233 EAST BAY STREET        BUILDING, 8TH FLOOR JACKSONVILLE      FL      32202
   ESTATE OF BEDIE FINLEY BY AND THROUGH ANN PATE
   PERSONAL REPRESENTATIVE                                C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF BENJAMIN FRANKLIN GREENE BY ERICA JA'QUAN    C/O MENDES, REINS &
   EVANS, PR                                              WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   ESTATE OF BENJAMIN FRANKLIN GREENE BY ERICA JA'QUAN
   EVANS, PR                                              C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF BERNADIEN CIOE BY AND THROUGH LAURI
   GIULIANI                                               C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
                                                          C/O MENDES, REINS &
   ESTATE OF BETH COHEN BY HOPE COHEN-BRYANT, PR          WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609

   ESTATE OF BETH COHEN BY HOPE COHEN-BRYANT, PR          C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF BETTY MAXWELL BY AND THROUGH PHYLLIS
   LYKINS, PR                                             C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF BETTY MAXWELL BY AND THROUGH PHYLLIS         C/O MENDES, REINS &
   LYKINS, PR                                             WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609

   ESTATE OF BOHUMIR VIZMULLER BY MARCELA VIZMULLER       C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF BRUCE BERNELL LUCAS, SR, BY & THROUGH LISA
   BENTLEY                                                C/O CARTER & LUCAS          ATTN: MICHAEL LUCAS, ESQ.             151 MAIN STREET            P.O. BOX 852       PIKEVILLE          KY      41502
   ESTATE OF CAREY BRENT HUNTER BY RUBY BARROW,
   PERSONAL REPRESENTATIVE                                C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF CARL T. MILES, JR. BY AND THROUGH NANCY
   COTE                                                   C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF CARMEN L. GARCIA ALVAREZ BY AND THROUGH      C/O MENDES, REINS &
   DENNIS MARTINEZ GARCIA                                 WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   ESTATE OF CARMEN L. GARCIA ALVAREZ BY AND THROUGH
   DENNIS MARTINEZ GARCIA                                 C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF CATHERINE WRIGHT BY AND THROUGH DAVID F
   WRIGHT, PR                                             C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
                                                          C/O MENDES, REINS &
   ESTATE OF CEVERIA BROWN BY VERA MAE CULL, PR           WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609

   ESTATE OF CEVERIA BROWN BY VERA MAE CULL, PR           C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF CHARLES JOHN HAMILTON, JR. BY MARILYN T.     C/O MCHUGH FULLER LAW
   HAMILTON, PR                                           GROUP                       ATTN: LANCE REINS, ESQUIRE            97 ELIAS WHIDDON ROAD                         HATTISBURG         MS      39402
   ESTATE OF CHARLES MISAMORE BY AND THROUGH ROBERTA
   MELLIES, PR                                            C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF CHARLES MISAMORE BY AND THROUGH ROBERTA      C/O MENDES, REINS &
   MELLIES, PR                                            WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   ESTATE OF CHARLES PARRIS BY MURIAL BRATHWAITE, PR V    C/O MENDES, REINS &
   BRANDON FACILITY OPERATIONS, LLC                       WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   ESTATE OF CHARLES PARRIS BY MURIAL BRATHWAITE, PR V
   BRANDON FACILITY OPERATIONS, LLC                       C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609

   ESTATE OF CIRO IOVINE BY LISA HELENA RAIMONDO          C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609

   ESTATE OF DAVID GENCO                                  C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609




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   ESTATE OF DAVID GUARALDO, BY AND THROUGH JUDITH ANN
   GUARALDO, PERSONAL REPRESENTATIVE                   C/O WILKES & MCHUGH            ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609

   ESTATE OF DEBORAH STYLES BY KATIE EVERLOVE STONE       C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF DELORES ELIZABETH BATTEN BY AND THROUGH
   CORTNEY BATTEN, PR                                     C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF DELORES ELIZABETH BATTEN BY AND THROUGH      C/O MENDES, REINS &
   CORTNEY BATTEN, PR                                     WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
                                                          C/O MENDES, REINS &
   ESTATE OF DELORES GILLINS BY CAL GILLINS, PR           WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609

   ESTATE OF DELORES GILLINS BY CAL GILLINS, PR           C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF DOCK ROLLIE BY REGINA VALLOT                 C/O PENNEKAMP LAW, P.A.     ATTN: ROBERT BROWN, III, ESQ.       2811 SW 3RD AVENUE                              MIAMI              FL      33129

   ESTATE OF DONALD BEMUS                            C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY                   STE 800                                       TAMPA              FL      33609
   ESTATE OF DOROTHY JEAN GEORGE BY & THROUGH ANGELA
   DAWN GEORGE-DUNN, PR                              C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY                   STE 800                                       TAMPA              FL      33609
   ESTATE OF DOROTHY MAE MCQUEEN BY AND THROUGH JOAN                                                                        ONE TAMPA CITY CENTER, STE
   HATTEN, PR                                        C/O MORGAN & MORGAN         ATTN: AL FERRERA, ESQ.                     700                                           TAMPA              FL      33602

   ESTATE OF DOROTHY MENDOLA                              C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609

   ESTATE OF DOROTHY VANDERSALM BY DEBBIE KRIETER, PR     C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609

   ESTATE OF DOUGLAS HODKINSON                            C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF EDELMIRA BUSQUET BY AND THROUGH ILEANA B.    C/O MENDES, REINS &
   SYC, PERSONAL REPRESENTATIVE                           WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   ESTATE OF EDELMIRA BUSQUET BY AND THROUGH ILEANA B.
   SYC, PERSONAL REPRESENTATIVE                           C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF EDWARD WAYNE PANARO BY & THROUGH VICKI
   MAUS, PERSONAL REPRESENTATIVE                          C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609

   ESTATE OF EICILMA WALTERS BY ASHLEY WALTERS            C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609

   ESTATE OF EICILMA WALTERS BY ASHLEY WALTERS, PR        C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF ELIZABETH CLARK BY AND THROUGH PALESHIA                                                                        ONE TAMPA CITY CENTER, STE
   DIXON, PR                                              C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ.              700                                           TAMPA              FL      33602
   ESTATE OF ELIZABETH CLARK BY AND THROUGH PALESHIA
   DIXON, PR                                              C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ.              ONE TAMPA CITY CENTER        STE 700          TAMPA              FL      33602
   ESTATE OF ELIZABETH THORNTON, BY & THROUGH
   CHRISTINA COLLINS, PERSONAL REPRESENTATIVE             C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF ELLA W. HALL BY AND THROUGH ALICE D. HALL,
   PERSONAL REPRESENTATIVE                                C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF ELLON IRENE YOUNG BY AND THROUGH DIANE       C/O MENDES, REINS &
   BERGERON, PR                                           WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   ESTATE OF ELLON IRENE YOUNG BY AND THROUGH DIANE
   BERGERON, PR                                           C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF ELSIE BARTLEY BY JERRY BARTLEY               C/O CARTER & LUCAS          ATTN: MICHAEL LUCAS, ESQ.           151 MAIN STREET                P.O. BOX 852     PIKEVILLE          KY      41502
   ESTATE OF EVA MARIA POZZUTO BY AND THROUGH MICHAEL
   POZZUTO, PR                                            C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF EVERITT LEON SHIRLEY BY SPECIAL
   ADMINISTRATORS JOHN SHIRLEY AND JOSEPH SHIRLEY       C/O THE PARDIECK LAW FIRM  ATTN: ROGER L. PARDIECK, ESQ.            100 N. CHESTNUT STREET       P.O. BOX 608     SEYMOR             IN      47274
                                                        C/O LEVIN, PAPANTINIO,
   ESTATE OF FAYE H. CONNER BY AND THROUGH CHARLIE NIX, THOMAS, MITHCELL, RAFFERTY
   PERSONAL RERESENTATIVE                               & PROCTOR, PA              ATTN: CLAY MITCHELL, ESQ.                316 SOUTH BAYLEN STREET      STE 600          PENSACOLA          FL      32502

   ESTATE OF FAYETTA ANNE NEWHAM                          C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF FRANCES PAULINE HARPER BY JUDY ANN           C/O MCHUGH FULLER LAW
   SILENCE, PR                                            GROUP                       ATTN: LANCE REINS, ESQ.               97 ELIAS WHIDDON ROAD                         HATTISBURG         MS      39402
   ESTATE OF FRANKLIN RUBEN WAKEFIELD BY AND THROUGH
   ROSE MARY WAKEFIELD                                    C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF GEORGE MELIN MARTIN BY AND THROUGH JOHN
   A. MARTIN, PR                                          C/O WILKES & MCHUGH         ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609

   ESTATE OF GEORGE WASHINGTON                            C/O VALENZUELA LAW FIRM, PA ATTN: HENRY VALENZUELA, ESQ.          100 NORTH TAMPA ST.          STE 2350         TAMPA              FL      33602
   ESTATE OF GEORGIA ROSELEE WREN BY AND THROUGH
   FAYERAN L. NORMAN, PERSONAL REPRESENTATIVE             C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF GILBERT ANDUJAR, JR. BY AND THROUGH          C/O MENDES, REINS &
   MELISSA ANDUJAR, PR                                    WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   ESTATE OF GILBERT ANDUJAR, JR. BY AND THROUGH
   MELISSA ANDUJAR, PR                                    C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF GLADYS TACKETT, BY AND THROUGH
   ADMINSTRATOR GREG TACKETT                              C/O CARTER & LUCAS          ATTN: MILLER KENT CARTER, ESQ.        151 MAIN STREET              P.O. BOX 852     PIKEVILLE          KY      41502




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   ESTATE OF GORDON ALBRO BY AND THROUGH AGNES C.
   ALBRO                                                  C/O WILKES & MCHUGH         ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF GORDON W. TOOLE JR. BY AND THROUGH
   PATRICK R. TOOLE, PR                               C/O WILKES & MCHUGH, P.A.       ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF GORDON W. TOOLE JR. BY AND THROUGH       C/O MENDES, REINS &
   PATRICK R. TOOLE, PR                               WILANDER                        4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
                                                      C/O MENDES, REINS &
   ESTATE OF HANEL RANDOLPH PACE BY SONDRA ANITA PACE WILANDER                        4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609

   ESTATE OF HANEL RANDOLPH PACE BY SONDRA ANITA PACE C/O WILKES & MCHUGH, P.A.       ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
                                                      C/O MENDES, REINS &
   ESTATE OF HANEL RANDOLPH PACE BY SONDRA PACE, PR   WILANDER                        4401 W. KENNEDY BLVD.                 SUITE 250                                     TAMPA              FL      33609

   ESTATE OF HANEL RANDOLPH PACE BY SONDRA PACE, PR       C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF HAROLD A. WEAVER BY AND THROUGH HAROLD J.
   WEAVER                                                 C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF HAROLD EDWARD BRAUN BY AND THROUGH
   SHEILA BRAUN, PR                                   C/O WILKES & MCHUGH - TAMPA     ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF HARRY MILLER BY SON FRANK MILLER, PR     C/O HARMON PARKER, PA           ATTN: THOMAS HARMON, ESQ.             110 NORTH 11TH STREET        2ND FLOOR        TAMPA              FL      33602
   ESTATE OF HENRY ROBERT FORBIN BY AND THROUGH EMILE C/O MCHUGH FULLER LAW
   HARKIME, PR                                        GROUP                           ATTN: LANCE REINS, ESQ                97 ELIAS WHIDDON ROAD                         HATTISBURG         MS      39402
   ESTATE OF HOSEA MINCY, JR. BY AND THROUGH DORIS    C/O MENDES, REINS &
   MINCEY                                             WILANDER                        4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
                                                      C/O MENDES, REINS &
   ESTATE OF HUGH JOHNSON BY AND THROUGH ROB JOHNSON WILANDER                         4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   ESTATE OF INA SIMON BY AND THROUGH CATHY SIMON
   MILLER, PR                                         C/O HARMON PARKER, PA           ATTN: THOMAS HARMON, ESQ.             110 NORTH 11TH STREET        2ND FLOOR        TAMPA              FL      33602
   ESTATE OF IRENE MOORE THACKER BY & THROUGH ALTON
   MOORE, ADMINISTRATOR                               C/O CARTER & LUCAS              ATTN: MILLER KENT CARTER, ESQ.        151 MAIN STREET              P.O. BOX 852     PIKEVILLE          KY      41502
   ESTATE OF JAMES EARL HUMMERICK, JR. BY AND THROUGH C/O MCHUGH FULLER LAW
   JOHN P. HUMMERICK, PR                              GROUP, PLLC                     ATTN: JOHN CUMMINGS, ESQ.             97 ELIAS WHIDDON ROAD                         HATTISBURG         MS      39402
   ESTATE OF JAMES JEFFCOAT BY AND THROUGH BONNIE
   JEFFCOAST                                          C/O WILKES & MCHUGH - TAMPA     ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF JAMES TODDY BY AND THROUGH DEBORAH
   MITCHELL LESNETT                                   C/O WILKES & MCHUGH - TAMPA     ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF JANET HARTMAN BY AND THROUGH STEPHEN
   MAY, PR                                            C/O MORGAN & MORGAN TAMPA       ATTN: BRIAN THOMPSON, ESQ             ONE TAMPA CITY CENTER        STE 700          TAMPA              FL      33602
   ESTATE OF JEAN FLINT BY AND THROUGH PATRICIA ANN   C/O MANDELBAUM TRICHLER
   FLINT, PR                                          LAW CENTER                      ATTN: ERNIE TRICHLER, ESQ.            6528 GUNN HIGHWAY                             TAMPA              FL      33625
   ESTATE OF JERRY ROGERS BY AND THROUGH DOUGLAS B.
   STALLEY, PERSONAL REPRESENTATIVE                   C/O WILKES & MCHUGH, P.A.       ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF JERRY ROGERS BY AND THROUGH DOUGLAS B.   C/O MENDES, REINS &
   STALLEY, PERSONAL REPRESENTATIVE                   WILANDER                        4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609

   ESTATE OF JOHN HEILIG BY EDWARD HEILIG                 C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
                                                          C/O MENDES, REINS &
   ESTATE OF JOHN HEILIG BY EDWARD HEILIG                 WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609

   ESTATE OF JOHN O'HARA                                  C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF JOSE TOLEDO BY AND THROUGH CARIDAD QUAID,    C/O MENDES, REINS &
   PERSONAL REPRESENTATIVE                                WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   ESTATE OF JOSEPHINE FORD BY & THROUGH LAURA FORD,
   PR                                                     C/O LAURA FORD, PRO SE      461 GREEN SPRING CIRCLE                                                             WINTER SPRINGS     FL      32708
                                                          C/O BROOKS, LEBOEUF,
   ESTATE OF JOYCE NEWBERRY, BY AND THROUGH MIKE          BENNETT, FOSTER &
   MALAUSKY                                               GWARTNEY                    ATTN: SCOTT GWARTNEY, ESQ.            909 EAST PARK AVENUE                          TALLAHASSEE        FL      32301
   ESTATE OF JUAN E. BAEZ BY AND THROUGH GLADYS BAEZ,
   PERSONAL REPRESENTATIVE                                C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF JUDITH KORNFIELD BY AND THROUGH ALAN S.      C/O MENDES, REINS &
   KORNFIELD, PR                                          WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   ESTATE OF JUDITH KORNFIELD BY AND THROUGH ALAN S.
   KORNFIELD, PR                                          C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   ESTATE OF KENNETH MARVIN JOHNSON BY AND THROUGH
   WAVELENE JOHNSON, PR                                   C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF KENNETH MARVIN JOHNSON BY WAVELENE
   JOHNSON, PR                                            C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF KERMIT COLEMAN BY ELLIS COLEMAN              C/O CARTER & LUCAS          151 MAIN STREET                       P.O. BOX 852                                  PIKEVILLE          KY      41502
   ESTATE OF LILLIAN RUTH MCCRORY BY HELEN WINTZ, PR      C/O MCHUGH & FULLER         ATTN: LANCE REINS, ESQUIRE            97 ELIAS WHIDDON ROAD                         HATTISBURG         MS      39402
   ESTATE OF LILLIE MAE BRYANT BY AND THROUGH BOOKER
   BRYANT, JR., PERSONAL REPRESENTATIVE                   C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF LINDA WHIPPLE BY AND THROUGH LISA GIBSON,
   PERSONAL REPRESENTATIVE                                C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA              FL      33609
   ESTATE OF LORRAINE DIDIA BY AND THROUGH KEITH ADAMS,   C/O MANDELBAUM TRICHLER,
   PR                                                     PA                          ATTN: ERNIE TRICHLER, ESQ.            6528 GUNN HIGHWAY                             TAMPA              FL      33625




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                        Creditor Name                               Attention                       Address 1                         Address 2                   Address 3               City   State       Zip   Country
   ESTATE OF LOUDELL LILES BY AND THROUGH TAMMY
   JACKSON, PR                                            C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL      33609

   ESTATE OF LOUIS                                        C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL      33609
   ESTATE OF LUCY MAE BROOKINS BY AND THROUGH SHAYANN
   JONES AS PERSONAL REPRESENTATIVE                       C/O MCHUGH & FULLER         ATTN: LANCE REINS, ESQUIRE            97 ELIAS WHIDDON ROAD                             HATTISBURG         MS      39402
   ESTATE OF LUIS ORTEGA JIMENEZ V 1851 ELKHAM            C/O MENDES, REINS &
   BOULEVARD OPERATIONS, LLC                              WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                         TAMPA              FL      33609
   ESTATE OF LUIS ORTEGA JIMENEZ V 1851 ELKHAM
   BOULEVARD OPERATIONS, LLC                              C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                     TAMPA              FL      33609
   ESTATE OF MAGGIE LACEY RATLIFF BY & THROUGH ITS
   ADMINISTRATOR, RICHARD RATLIFF                         C/O CARTER & LUCAS          ATTN: MICHAEL LUCAS, ESQUIRE          151 MAIN STREET               P.O. BOX 852        PIKEVILLE          KY      41502
   ESTATE OF MARGARET ANN BAUER BY AND THROUGH HELEN      C/O STEPHEN PATRINOSTRO,
   WATSON, PR                                             PA                          P.O. BOX 2804                                                                           LAKELAND           FL      33806
   ESTATE OF MARGARET JAMES                               C/O FULGENCIO LAW PLLC      ATTN: FELIPE FULGENCIO, ESQ.          105 S. EDISON AVENUE                              TAMPA              FL      33606
   ESTATE OF MARGARETTE REYNOLDS BY AND THROUGH
   KATHRYN YANNESSA                                       C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL      33609
   ESTATE OF MARIA JOSEPH BY DANIELLE ANGLADE, PR         C/O BARON & HERSKOWITZ      ATTN: JON HERSKOWITZ, ESQ.            9100 S DADELAND BLVD          #1704               MIAMI              FL      33156
   ESTATE OF MARION SCHEID BY AND THROUGH EDWARD          C/O MENDES, REINS &
   SCHEID                                                 WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                         TAMPA              FL      33609
   ESTATE OF MARION SCHEID BY AND THROUGH EDWARD
   SCHEID                                                 C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                     TAMPA              FL      33609
   ESTATE OF MARK KONGER, BY & THROUGH SHEREE GAY
   BUTLER, PERSONAL REPRESENTATIVE                        C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL      33609
   ESTATE OF MARSHALL FISHER BY AND THROUGH ANDREA
   LAYTON, PR                                             C/O MORGAN & MORGAN         ATTN: SPENCER PAYNE, ESQ.             20 N. ORANGE AVENUE         STE 1600              ORLANDO            FL      32801
   ESTATE OF MARTHA J ALLEN A/K/A MARTHA JEAN STROMAN-    C/O MENDES, REINS &                                               4401 W. KENNEDY BLVD. SUITE
   ALLEN BY NYLAND ALLEN, PR                              WILANDER                    ATTN: BLAIR MENDES, ESQ.              250                                               TAMPA              FL      33609
   ESTATE OF MARY C. DIXON BY AND THROUGH AVA MAGEE,
   EXECUTOR                                               C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL      33609
   ESTATE OF MARY COOK BY TAMMARA EDWARDS, PR             C/O MORGAN & MORGAN         ATTN: SPENCER PAYNE, ESQ.             20 N. ORANGE AVENUE           STE 1600            ORLANDO            FL      32801

   ESTATE OF MARY FREELAND                                C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL      33609
   ESTATE OF MARY HEALEY BY AND THROUGH MARY BETH
   MCDADE                                                 C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL      33609

   ESTATE OF MARY SAWYERS BY AND THROUGH CHERYL HALL C/O PENNEKAMP LAW, PA            ATTN: ROBERT BROWN, III, ESQ.         2811 SW 3RD AVENUE                                MIAMI              FL      33129
   ESTATE OF MARY SAWYERS BY CHERYL HALL, PR         C/O PENNEKAMP LAW, PA            ATTN: ROBERT BROWN, III, ESQ.         2811 SW 3RD AVENUE                                MIAMI              FL      33129

   ESTATE OF MARY SMITH BY AND THROUGH FLORENCE SMITH     C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL      33609
   ESTATE OF MICHAEL A. PRIEST, SR. BY AND THROUGH JEAN   C/O MENDES, REINS &
   PRIEST, PR                                             WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                         TAMPA              FL      33609
   ESTATE OF MICHAEL A. PRIEST, SR. BY AND THROUGH JEAN
   PRIEST, PR                                             C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                     TAMPA              FL      33609

   ESTATE OF NETTIE HENRY BY LINDA HENRY, PR              C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                     TAMPA              FL      33609
                                                          C/O MENDES, REINS &                                               4401 W. KENNEDY BLVD. SUITE
   ESTATE OF OLGA LEACOCK BY NICOLE LEACOCK-AUXTER        WILANDER                    ATTN: BLAIR MENDES, ESQ.              250                         BLAIR MENDES, ESQ.    TAMPA              FL      33609
   ESTATE OF OLGA MARIE IPPOLITO, BY AND THROUGH
   VALERIE ANN BLAKE                                      C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL      33609
   ESTATE OF ORA LEE ANDREWS BY AND THROUGH WILMER L.
   ANDREWS, III, PR                                       C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                     TAMPA              FL      33609
   ESTATE OF ORA LEE ANDREWS BY AND THROUGH WILMER L.     C/O MENDES, REINS &                                               4401 W. KENNEDY BLVD. SUITE
   ANDREWS, III, PR                                       WILANDER                    ATTN: BLAIR MENDES, ESQ.              250                                               TAMPA              FL      33609
   ESTATE OF PATRICIA ANN DAVIS BY AND THROUGH PATRICK
   DAVIS, PERSONAL REPRESENTATIVE                         C/O MORGAN & MORGAN         ATTN: SPENCER PAYNE, ESQ.             20 N. ORANGE AVENUE           STE 1600            ORLANDO            FL      32801
   ESTATE OF PATRICIA KUJAWA BY AND THROUGH STANLEY J.
   KUJAWA                                                 C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL      33609

   ESTATE OF PAUL ANTHONY BY JENNIFER VIRGINIA ANTHONY    C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                     TAMPA              FL      33609
                                                          C/O MENDES, REINS &
   ESTATE OF PAUL ANTHONY BY JENNIFER VIRGINIA ANTHONY    WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                         TAMPA              FL      33609
                                                          C/O MENDES, REINS &
   ESTATE OF PAULA DRUTMAN BY BRIAN C. DRUTMAN, PR        WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                         TAMPA              FL      33609

   ESTATE OF PAULA DRUTMAN BY BRIAN C. DRUTMAN, PR        C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                     TAMPA              FL      33609
   ESTATE OF PAULINE BAGLEY WHITMAN BY AND THROUGH        C/O MENDES, REINS &
   JANET KRAFT, PR                                        WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                         TAMPA              FL      33609
   ESTATE OF PAULINE BAGLEY WHITMAN BY AND THROUGH
   JANET KRAFT, PR                                        C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                     TAMPA              FL      33609
   ESTATE OF POLLY KATHERINE BLANTON BY AND THROUGH       C/O MENDES, REINS &
   ANNETTE B. PIERCE, PR                                  WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                         TAMPA              FL      33609
   ESTATE OF POLLY KATHERINE BLANTON BY AND THROUGH
   ANNETTE B. PIERCE, PR                                  C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                     TAMPA              FL      33609




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   ESTATE OF PORTER WILEY SR. BY AND THROUGH LILLIE      C/O MENDES, REINS &
   WILEY, PERSONAL REPRESENTATIVE                        WILANDER + WILKES & MCHUGH 4401 W. KENNEDY BLVD.                   SUITE 250                                     TAMPA            FL      33609
   ESTATE OF PORTER WILEY SR. BY AND THROUGH LILLIE
   WILEY, PERSONAL REPRESENTATIVE                        C/O WILKES & MCHUGH, PA      ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA            FL      33609
   ESTATE OF RACHEL ROLLINS                              C/O MORGAN & MORGAN          ATTN: AL FERRERA, ESQ.                ONE TAMPA CITY CENTER        STE 700          TAMPA            FL      33602
   ESTATE OF REBECCA SUE YATES THROUGH LYNDA DIANNE
   BRAMBLE, PR,                                          C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY               STE 800                                       TAMPA            FL      33609
   ESTATE OF REGINA PITCH-EMMANUEL BY AND THORUGH NIEL
   PETER EMANUEL, PR                                     C/O MORGAN & MORGAN          ATTN: SPENCER PAYNE, ESQ.             20 N. ORANGE AVENUE          STE 1600         ORLANDO          FL      32801
   ESTATE OF RICHARD FARROW                              C/O WILKES & MCHUGH          ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA            FL      33609

   ESTATE OF RICHARD JOHN BROWN, SR.                  C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY                  STE 800                                       TAMPA            FL      33609
   ESTATE OF RICHARD LEWIS POORE BY AND THROUGH SUSAN
   GARRETT                                            C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY                  STE 800                                       TAMPA            FL      33609

   ESTATE OF RICHARD RODRIGUEZ, SR.                    C/O WILKES & MCHUGH- TAMPA     ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA            FL      33609
   ESTATE OF ROBERT A GOULA BY AND THROUGH KENNETH R.
   ROMMELL                                             C/O WILKES & MCHUGH - TAMPA    ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA            FL      33609
                                                       C/O MENDES, REINS &
   ESTATE OF ROBERT HENRY KLINE BY CAROLYN F KLINE, PR WILANDER                       4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA            FL      33609
                                                       C/O MCHUGH FULLER LAW
   ESTATE OF ROBERT HENRY KLINE BY CAROLYN F KLINE, PR GROUP, PLLC                    97 ELIAS WHIDDON ROAD                                                               HATTISBURG       MS      39402

   ESTATE OF ROBERT LEE SANDERS                          C/O WILKES & MCHUGH -TAMPA ONE NORTH DALE MABRY HWY                STE 800                                       TAMPA            FL      33609

   ESTATE OF ROBERT LEE SANDERS                          C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY               STE 800                                       TAMPA            FL      33609

   ESTATE OF ROBERT MELVIN NEWSOM BY MARILEE SHELTON     C/O MENDES, REINS &
   HERRON, PR                                            WILANDER + WILKES & MCHUGH 4401 W. KENNEDY BLVD.                   SUITE 250                                     TAMPA            FL      33609
   ESTATE OF ROBERT MELVIN NEWSOM BY MARILEE SHELTON
   HERRON, PR                                            C/O WILKES & MCHUGH, PA      ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA            FL      33609
   ESTATE OF ROBERTO DEL TORO BY AND THROUGH DELIA DEL
   TORO                                                  C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ                ONE TAMPA CITY CENTER        STE 700          TAMPA            FL      33602
   ESTATE OF RONALD ANGELO PASCAZI BY SHARON ANN
   OUTWATER                                              C/O WILKES & MCHUGH, P.A.    ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA            FL      33609
   ESTATE OF RONALD ANGELO PASCAZI BY SHARON ANN         C/O MENDES, REINS &
   OUTWATER                                              WILANDER                     4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA            FL      33609

   ESTATE OF RONALD C. MARCHIONI BY SUSAN MARCHIONI, PR C/O WILKES & MCHUGH, P.A.     ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA            FL      33609
                                                        C/O MENDES, REINS &
   ESTATE OF RONALD C. MARCHIONI BY SUSAN MARCHIONI, PR WILANDER                      4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA            FL      33609
   ESTATE OF ROSALIE P. MYERS BY & THROUGH JACQUELINE                                                                       20 N. ORANGE AVENUE, STE
   MYERS, PR                                            C/O MORGAN & MORGAN           ATTN: ALEXANDER CLEM, ESQ.            1600                                          ORLANDO          FL      32801
   ESTATE OF ROSETTA LEE CONDREY BY AND THROUGH         C/O MENDES, REINS &
   WILBUR E. HUNTER, PR                                 WILANDER                      4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA            FL      33609
   ESTATE OF ROSETTA LEE CONDREY BY AND THROUGH
   WILBUR E. HUNTER, PR                                 C/O WILKES & MCHUGH, PA       ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA            FL      33609
   ESTATE OF ROY D. WHITEHEAD BY AND THROUGH ISABEL
   WHITEHEAD, PERSONAL REPRESENTATIVE                   C/O WILKES & MCHUGH - TAMPA   ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA            FL      33609
   ESTATE OF ROY WHITEHEAD BY AND THROUGH EISABEL
   WHITEHEAD, PERSONAL REPRESENTATIVE                   C/O WILKES & MCHUGH - TAMPA   ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA            FL      33609
   ESTATE OF RUSSELL E. MCCRACKAN, SR. BY AND THROUGH
   MYRTLE MCCRACKAN, PR                                 C/O WILKES & MCHUGH - TAMPA   ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA            FL      33609

   ESTATE OF RUTH BROOKE BY DANIEL BROOKE                C/O WILKES & MCHUGH, P.A.    ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA            FL      33609
                                                         C/O MENDES, REINS &
   ESTATE OF RUTH BROOKE BY DANIEL BROOKE                WILANDER                     4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA            FL      33609
                                                         C/O BROOKS, LEBOEUF,
                                                         BENNETT, FOSTER &
   ESTATE OF S.C. BY K.D., PERSONAL REPRESENTATIVE       GWARTNEY                     ATTN: SCOTT GWARTNEY, ESQ.            909 EAST PARK AVENUE                          TALLAHASSEE      FL      32301
   ESTATE OF SALVATORE SAM FONTE, AND PAMELA J. FONTE,
   BY AND THROUGH PATRICK GIAMBELLUCA                    C/O GIVENS, GIVENS & SPARKS ATTN: CHRISTOPHER CODLING, ESQ.        201 E. KENNEDY BLVD          STE 1400         TAMPA            FL      33602
   ESTATE OF SAMUEL H. COWARD, BY AND THROUGH PAMELA
   C. ROBETOR A/K/A PAMELA C. ROBITOR, PERSONAL          C/O MENDES, REINS &
   REPRESENTATIVE                                        WILANDER                     4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA            FL      33609
   ESTATE OF SAMUEL H. COWARD, BY AND THROUGH PAMELA
   C. ROBETOR A/K/A PAMELA C. ROBITOR, PERSONAL
   REPRESENTATIVE                                        C/O WILKES & MCHUGH, P.A.    ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA            FL      33609
   ESTATE OF SANDRA MARTIN BY AND THROUGH SCOTT          C/O MENDES, REINS &
   MARTIN, PR                                            WILANDER                     4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA            FL      33609
   ESTATE OF SANDRA MARTIN BY AND THROUGH SCOTT
   MARTIN, PR                                            C/O WILKES & MCHUGH, P.A.    ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA            FL      33609




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                       Creditor Name                                Attention                        Address 1                           Address 2              Address 3               City   State       Zip   Country
   ESTATE OF SARAH PHILLIPS BY NETTIE JANE COX AND         C/O MENDES, REINS &
   JOANNE WILLIAMS                                         WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                        TAMPA            FL      33609
   ESTATE OF SARAH PHILLIPS BY NETTIE JANE COX AND
   JOANNE WILLIAMS                                         C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                    TAMPA            FL      33609

   ESTATE OF SARAH WISDOM                                  C/O ROBERT CARTER, JR., ESQ. ATTN: MARY ESTFANOUS, ESQ.           P.O. BOX 878                  690 COURT STREET   APPOMATTOX       VA      24522
   ESTATE OF SHEILA BALDREE BY AND THROUGH DOUGLAS
   STALLEY, PR                                             C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF SHIRLEY ERB BY AND THROUGH JOHN N. ERB,
   PERSONAL REPRESENTATIVE                                 C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF SIDNEY PATTERSON, SR. BY SIDNEY PATTERSON,
   JR.                                                     C/O DOMNICK & SHEVIN        ATTN: M. NICOLE KRUEGEL, ESQUIRE      7777 GLADES ROAD, SUITE 212                      BOCA RATON       FL      33434
   ESTATE OF SIDNEY PATTERSON, SR. BY SIDNEY PATTERSON,
   JR.                                                     C/O SHEVIN LAW FIRM         ATTN: M. NICOLE KRUEGEL, ESQ          7777 GLADES ROAD              SUITE 212          BOCA RATON       FL      33434

   ESTATE OF STANLEY FITTS THROUGH LINDA COMPTON           C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                    TAMPA            FL      33609
                                                           C/O MENDES, REINS &
   ESTATE OF STANLEY FITTS THROUGH LINDA COMPTON           WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                        TAMPA            FL      33609
   ESTATE OF TERRY BRONKHORST BY & THROUGH JAMES
   BRONKHORST                                              C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF TERRY BRONKHORST BY & THROUGH JAMES
   BRONKHORST                                              C/O WILKES & MCHUGH         ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF THELMA FELKER BY AND THORUGH JOHNNY L.
   FELKER, PR                                              C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF THELMA INGRAM BY AND THROUGH FRANCINE Y.
   LEONARD, PERSONAL REPRESENTATIVE                        C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF THOMAS DAVID ADAMS BY AND THROUGH KEITH       C/O MANDELBAUM TRICHLER
   ADAMS, PR                                               LAW CENTER                  ATTN: ERNIE TRICHLER, ESQ.            6528 GUNN HIGHWAY                                TAMPA            FL      33625
   ESTATE OF THOMAS SCHINDLER BY AND THROUGH AGNES V       C/O MENDES, REINS &
   SCHINDLER, PERSONAL REPRESENTATIVE                      WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                        TAMPA            FL      33609
   ESTATE OF THOMAS SCHINDLER BY AND THROUGH AGNES V
   SCHINDLER, PERSONAL REPRESENTATIVE                      C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                    TAMPA            FL      33609
   ESTATE OF TOBY JEAN BRANNON BY AND THROUGH REX
   BRANNON                                                 C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF TONI LUTHER BY AND THROUGH TINA VALEZQUEZ,
   PR                                                      C/O MORGAN & MORGAN         ATTN: SPENCER PAYNE, ESQ.             20 N. ORANGE AVENUE           STE 1600           ORLANDO          FL      32801
   ESTATE OF VALASIA JACOBS BY AND THROUGH EMILY HAND      C/O MENDES, REINS &
   AS PR                                                   WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                        TAMPA            FL      33609
   ESTATE OF VALASIA JACOBS BY AND THROUGH EMILY HAND
   AS PR                                                   C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                    TAMPA            FL      33609
   ESTATE OF VASILIKI PERIMENIS BY AND THROUGH MARIA
   PERIMENIS, PERSONAL REPRESENTATIVE                      C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
                                                           C/O MENDES, REINS &
   ESTATE OF VIRGINIA POWELL                               WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                        TAMPA            FL      33609

   ESTATE OF VIRGINIA POWELL                               C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                    TAMPA            FL      33609
                                                           C/O MENDES, REINS &
   ESTATE OF WARREN DAVIS, SR BY CIJI T. DAVIS, PR         WILANDER                    4401 W. KENNEDY BLVD.                 SUITE 250                                        TAMPA            FL      33609
   ESTATE OF WARREN DAVIS, SR BY CIJI T. DAVIS, PR         C/O WILKES & MCHUGH         ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF WAVER NASH BY AND THROUGH SADIE JANE
   BELLEMY, PR                                             C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF WAVER NASH BY AND THROUGH SADIE JANE
   BELLEMY, PR                                             C/O WILKES & MCHUGH         ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF WESLEY J. CLYMER BY AND THROUGH CAROL
   BERG, PR OF THE ESTATE                                  C/O WILKES & ASSOCIATES     ATTN: KIRSTEN SKOKOS, ESQ.            ONE NORTH DALE MABRY HWY STE 700                 TAMPA            FL      33609
   ESTATE OF WILLIAM GARCIA BY AND THROUGH AUREA
   GARCIA                                                  C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                                    TAMPA            FL      33609
   ESTATE OF WILLIAM GARCIA BY AND THROUGH AUREA           C/O MENDES, REINS &
   GARCIA                                                  WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                        TAMPA            FL      33609
   ESTATE OF WILLIAM KENNETH WHITE BY AND THROUGH
   EVELYN CAROLYN WHITE, PERSONAL REPRESENTATIVE           C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF WILLIAM KENNETH WHITE BY AND THROUGH
   EVELYN WHITE, PERSONAL REPRESENTATIVE                   C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609

   ESTATE OF WILLIAM LEE BY LILIETH LEE AND HOPE SANDERS   C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF WILLIE CARTER BY & THROUGH BRENDA J.
   WILSON, PR                                              C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF WILLIE CARTER BY AND THROUGH BRENDA J.
   WILSON, PERSONAL REPRESENTATIVE                         C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609
   ESTATE OF WILLIE LEE BROWN BY AND THROUGH BETTY ANN     C/O BROOKS, LEBOEUF,
   BRONW, PERSONAL REPRESENTATIAVE AND BETTY ANN           BENNETT, FOSTER &
   BROWN, INDIVIDUALLY                                     GWARTNEY                    ATTN: SCOTT GWARTNEY, ESQ.            909 EAST PARK AVENUE                             TALLAHASSEE      FL      32301
   ESTATE OF WILLIS KELLER BY & THROUGH EDNA JEANNETTE
   KELLER                                                  C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA            FL      33609




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                          Creditor Name                          Attention                       Address 1                            Address 2           Address 3             City    State       Zip      Country
   ESTHER B. PINEDA                                                                 (ADDRESS REDACTED)
   ESTLACK GEORGE                                                                   (ADDRESS REDACTED)

   ETHEL HICKS AS PR OF THE ESTATE OF MILDRED DAWSON   C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY               STE 800                                     TAMPA             FL      33609
   EVALEE M. QUINN                                                                 (ADDRESS REDACTED)
   EVANS SENIOR INVESTMENTS                                                        1017 WEST WASHINGSTON BLVD             UNIT 4F                                     CHICAGO           IL      60607
   EVELYN BELLAMY PRIDE AS PR OF THE ESTATE OF ANNIE
   MAE BELLAMY                                         BLDG B                       C/O AMBER HALL, ESQ.                  820 EAST PARK AVENUE                        TALLAHASSEE       FL      32301
   EVELYN VERZOSA                                                                   (ADDRESS REDACTED)
   EVEREST INDEMNITY INSURANCE CO                                                   WARREN CORPORATE CENTER               100 EVEREST WAY                             WARREN            NJ      07059
   EVICK CHARLES                                                                    (ADDRESS REDACTED)
   EXCEL REGIONAL TRANSPORT                                                         3377 JIM LEE ROAD                                                                 TALLAHASSEE       FL      32301
   EXP US SERVICES INC                                                              2601 WESTHALL LANE                                                                MAITLAND          FL      32751
   EYEMED
   EYEMED                                                                           4000 LUXOTTICA PLACE                                                              MASON             OH      45040
   FADONA INC                                                                       400 EXECUTIVE CENTER DRIVE            SUITE 208                                   WEST PALM BEACH   FL      33401
   FADONA INC                                                                       200 BUTLER ST                         SUITE 305                                   WEST PALM BEACH   FL      33407
   FAIRPOINT COMMUNICATIONS                                                         PO BOX 580028                                                                     CHARLOTTE         NC      28258-0028
   FAIRPOINT COMMUNICATIONS                                                         350 S LOOP 336 WEST                                                               CONROE            TX      77304
   FAIRPOINT COMMUNICATIONS                                                         660 CONSOLIDATED COMMUNICATION        PO BOX 14828                                ST LOUIS          MO      63178-4828
   FAIRPOINT COMMUNICATIONS                                                         PO BOX 70994                                                                      CHARLOTTE         NC      28272-0994
   FANNY NARITAMA                                                                   (ADDRESS REDACTED)
                                                       ATTN: LAURENCE C. HUTTMAN,
   FARAH & FARAH                                       ESQ.                         10 WEST ADAMS ST, 3RD FLOOR                                                       JACKSONVILLE      FL      32202
   FARAH KHAN                                                                       (ADDRESS REDACTED)
   FARAH KHAN                                                                       (ADDRESS REDACTED)
   FARRAH HARDY                                                                     (ADDRESS REDACTED)
   FAVORITE HEALTHCARE STAFFING, INC.                                               7255 W. 98TH TERRACE-BLDG 5           SUITE 100                                   OVERLAND PARK     KS      62212
   FAYE MELAMED                                                                     (ADDRESS REDACTED)
   FAYE MELAMED                                                                     (ADDRESS REDACTED)
   FC ENCORE                                           ATTN: PAMELA ROSEN, ESQ.     3500 LENOX RD, SUITE 510                                                          ATLANTA           GA      30326
                                                       ATTN: STEPHANIE HAMMER,
                                                       VICE PRESIDENT, ASSET
   FC ENCORE                                           MANAGEMENT                   3500 LENOX RD, SUITE 510                                                          ATLANTA           GA      30326
   FC ENCORE BRADENTON, LLC                                                         3500 LENOX ROAD NE , SUITE 510                                                    ATLANTA           GA      30326
   FC ENCORE GREEN COVE SPRINGS, LLC                                                303 INTERNATIONAL CIRCLE SUITE 200                                                HUNT VALLEY       MD      21030
   FC ENCORE MASTER LANDLORD A                                                      3500 LENOX ROAD                       SUITE 510                                   ATLANTA           GA      30326
   FC ENCORE PERRY, LLC                                                             303 INTERNATIONAL CIRCLE SUITE 200                                                HUNT VALLEY       MD      21030
   FC ENCORE PROPERTIES HK, LLC                                                     303 INTERNATIONAL CIRCLE, SUITE 200                                               HUNT VALLEY       MD      21030
                                                                                    C/O OMEGA HEALTHCARE INVESTORS,       303 INTERNATIONAL CIRCLES,
   FC ENCORE PROPERTIES HK, LLC                        ATTN: DANIEL J. BOOTH        INC.                                  SUITE 200                                   HUNT VALLEY       MD      21030

                                                       DERWENT & ASSOCIATES,
   FC ENCORE PROPERTIES HK, LLC                        PLLC, ATTN: MARK E. DERWENT 5960 TAHOE DR., SE, SUITE 21030                                                    GRAND RAPIDS      MI      49546
   FC INVESTORS XXI, LLC                               ATTN: STEVEN E. FISHMAN     1035 POWERS PLACE                                                                  ALPHARETTA        GA      30009
                                                       C/O WILLIAMS MULLEN ATTN:
   FC INVESTORS XXI, LLC                               LAWRENCE R. SIEGEL, ESQ.    222 CENTRAL PARK AVENUE, SUITE 1700                                                VIRGINIA BEACH    VA      23462
   FC INVESTORS XXI, LLC
   FEDERAL EXPRESS                                                                  PO BOX 94515                                                                      PALATINE          IL      60094-4515
   FEDERAL EXPRESS                                                                  PO BOX 660481                                                                     DALLAS            TX      75266-0481
   FEDEX KINKOS                                                                     126 PERIMETER CENTER WEST                                                         DUNWOODY          GA      30346
   FEDEX KINKOS                                                                     PO BOX 672085                                                                     DALLAS            TX      75267-2085
   FEDEX OFFICE                                        DO NOT USE VENDOR            DO NOT USE VENDOR                                                                 DALLAS            TX      75240
   FELICIA MCCASKILL                                                                (ADDRESS REDACTED)
   FELICIA MCCASKILL-FLOYD                                                          (ADDRESS REDACTED)
   FENNELL, HOPE                                                                    (ADDRESS REDACTED)
                                                       ATTN: MICHAEL FERDERIGOS,
   FERDERIGOS & LAMBE                                  ESQ.                         941 N. ORANGE AVENUE                                                              WINTER PARK       FL      32789
                                                                                    ATTN: GRETCHEN WAGNER, ESQ,
   FERMIN F. FERRO AS PERSONAL REPRESENTATIVE OF THE                                CAMILLE GODWIN, ESQ AND ALAN
   ESTATE OF VALERIE DENISE ROBERTS                    C/O ERIC J. HERTZ, PC        STAGMEIER                             4036 WETHERBURN WAY                         NORCROSS          GA      30092
   FERMIN F. FERRO AS PERSONAL REPRESENTATIVE OF THE   C/O LAW OFFICES OF JOSHUA J.
   ESTATE OF VALERIE DENISE ROBERTS                    HERTZ, P.A.                    8100 OAK LANE                       PENTHOUSE 403                               MIAMI LAKES       FL      33016
                                                       ATTN: FRANK F. FERNANDEZ, III,
   FERNANDEZ FIRM                                      ESQ.                           2503 WEST SWANN AVENUE                                                          TAMPA             FL      33609
   FERRERO KENDRA                                                                     (ADDRESS REDACTED)
   FERRIDAY HEALTHCARE, LLC                                                           110 SERIO BOULEVARD                                                             FERRIDAY          LA      71334
   FHCA                                                                               PO BOX 1459                                                                     TALLAHASSEE       FL      32302
                                                       UMPQUA BANK VENDOR
   FINANCIAL PACIFIC LEASING INC                       FINANCE                        PO BOX 749642                                                                   LOS ANGELES       CA      90074
   FINANCIAL PACIFIC LEASING INC.                                                     PO BOX 4568                                                                     FEDERAL WAY       WA      98063
   FINANCIAL PACIFIC LEASING, INC.                                                    P.O. BOX 4568                                                                   FEDERAL WAY       WA      98063
   FIRE & LIFE SAFETY AMERICA, INC.
   FIRST COAST CARDIOVASCULAR                                                       3900 UNIVERSITY BLVD S                                                            JACKSONVILLE      FL      32216




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                                                                                               as of March 3, 2021


                        Creditor Name                        Attention                         Address 1                        Address 2            Address 3             City      State     Zip     Country
   FIRST COAST HOME RENOVATORS                                                  4689 US 17 HWY SUITE 1                                                           FLEMING ISLAND      FL    32003
   FIRST COAST SERVICE OPTIONS                     INC                          MEDICARE PART A RECOVERY            532 RIVERSIDE AVE 17-T                       JACKSONVILLE        FL    32202
                                                   PROVIDER AUDIT & REIMB DEP
   FIRST COAST SERVICE OPTIONS                     16T                          532 RIVERSIDE AVE 16-T                                                           JACKSONVILLE        FL   32202-4918
                                                   ATTN: SANDRA RABURN-
   FIRST COAST TECHNICAL COLLEGE                   FORTNER, PRESIDENT           2980 COLLINS AVENUE                                                              ST. AUGUSTINE       FL   32084
   FIRST INSURANCE FUNDING CORP                                                 450 SKOKIE BLVD STE 1000            PO BOX 3306                                  NORTHBROOK          IL   60065-3707
   FIRST TEE OF TAMPA BAY                                                       420 EAST JEFFERSON STREET                                                        TALLAHASSEE         FL   32301
   FIRSTPRO INC                                                                 PO BOX 783043                                                                    PHILADELPHIA        PA   19178-3043
   FIRSTRECORDS LLC                                                             (ADDRESS REDACTED)
   FL LABOR LAW POSTER SERVICE                                                  5859 W SAGINAW HWY 343                                                           LANSING             MI   48917 2460
   FLORAINE VILLARSON                                                           (ADDRESS REDACTED)
   FLORIDA AGENCY FOR HEALTH CARE ADMINISTRATION                                2727 MAHAN DRIVE                                                                 TALLAHASSEE         FL   32308
   FLORIDA CANCER SPECIALISTS                                                   PO BOX 60679                                                                     FORT MYERS          FL   33906-6679
   FLORIDA CLINICAL LAB                                                         27 E HIBISCUS BLVD                  #C                                           MELBOURNE           FL   32901
   FLORIDA COMMUNITY CARE                                                       P O BOX 211322                                                                   EAGAN               MN   55121
   FLORIDA COMMUNITY CARE                                                       P O BOX 211301                                                                   EAGAN               MI   55121
   FLORIDA COMMUNITY CARE, LLC                     C/O ILS                      5200 BLUE LAGOON DR, STE 500                                                     MIAMI               FL   33126
   FLORIDA DEPARTMENT OF STATE                                                  DIV OF CORP REGISTRATION SECT       409 E GAINES ST                              TALLAHASSEE         FL   32399
   FLORIDA DEPARTMENT OF STATE                                                  DIVISION OF CORPORATIONS            PO BOX 6327                  0               TALLAHASSEE         FL   32314
   FLORIDA DEPT OF EDUCATION                                                    OFFICE OF STUDENT FINANCIAL         P.O. BOX 865435                              ORLANDO             FL   32886-5435
   FLORIDA DEPT OF REVENUE                                                      1379 BLOUNTSTOWN HWY                                                             TALLAHASSEE         FL   32304
   FLORIDA HEALTH CARE ASSOC                                                    PO BOX 1459                                                                      TALLAHASSEE         FL   32302-1459
   FLORIDA HEALTH CARE PROPERTIES, LLC                                          800 CONCOURSE PARKWAY SOUTH                                                      MAITLAND            FL   32751
   FLORIDA MEDICAID                                                             C/O HEALTH MANAGEMENT SYSTEMS       2002 ST AUGUSTINE RD ST                      TALLAHASSEE         FL   32301
   FLORIDA MEDICAL DIRECTORS ASSC                                               400 EXECUTIVE CENTER DRIVE          SUITE 208                                    WEST PALM BEACH     FL   33401
   FLORIDA REPUBLICAN SENATORIAL                   CAMPAIGN COMMITTEE           2640-A MITCHAM DRIVE                                                             TALLAHASSEE         FL   32308
   FLORIDA TIMES UNION                             DEPARTMENT ADV-LDR           PO BOX 45008                                                                     JACKSONVILLE        FL   32232
   FLORIDIAN FACILITY OPERATIONS, LLC                                           47 NW 32ND PLACE                                                                 MIAMI               FL   33125-4914
   FLORRIE PIDGEON                                                              (ADDRESS REDACTED)
   FLORRIE PIDGEON                                                              (ADDRESS REDACTED)
   FLORVIL, ELIZABETH                                                           (ADDRESS REDACTED)
   FLOYE BENNETT                                                                (ADDRESS REDACTED)
   FLYNN DANIEL                                                                 (ADDRESS REDACTED)
   FLYNN ROBERT                                                                 (ADDRESS REDACTED)
   FMDA THE FL SOCIETY FOR POST                                                 400 EXECUTIVE CENTER DR             SUITE 208                                    WEST PALM BEACH     FL   33401
   FOCUS & EXECUTE, LLC.                                                        14029 POINT HILLS COVE                                                           DRAPER              UT   84020
   FOLI, TYANAH                                                                 (ADDRESS REDACTED)
   FORD DEAN & ROTUNDO PA                          TRUST ACCOUNT                2875 N.E. 191 STREET                SUITE 600                                    AVENTURA            FL   33180

   FORD, DEAN & ROTUNDO                            ATTN: MICHAEL ROTUNDO, ESQ. 3323 N.E. 163 STREET, STE 605                                                     NORTH MIAMI BEACH   FL   33160
   FORD, DEAN & ROTUNDO                            ATTN: WILLIAM DEAN, ESQ.    3323 N.E. 163 STREET, STE 605                                                     NORTH MIAMI BEACH   FL   33160
   FORMATION HEALTHCARE GROUP LLC                                              1650 MARKET STREET                   SUITE 3600                                   PHILADELPHIA        PA   19103
   FORMATION HEALTHCARE GROUP, LLC                                             3500 LENOX ROAD NE                   SUITE 510                                    ATLANTA             GA   30326
   FORREST OAKES HEALTHCARE, LLC                                               620 HEATHWOOD DRIVE                                                               ALBEMARLE           NC   28001-8604
                                                   ATTN: CEO & GENERAL
   FORTE, LLC                                      COUNSEL                     7601 PENN AVENUE S.                  SUITE A600                                   MINNEAPOLIS         MN   55423
   FORUM PURCHASING, L.L.C.                        ATTN: TOM BENES             1050 CROWN POINTE PARKWAY            SUITE 900                                    ATLANTA             GA   30338
   FOSTER JAMES                                                                (ADDRESS REDACTED)
   FOSTER MEDICAL SUPPLY INC. D/B/A PROCARE-WMS    ATTN: CONTRACTS             3911 SW 48TH AVENUE                  SUITE 911                                    DAVIE               FL   33314
   FOUCH KRISTINA M.                                                           (ADDRESS REDACTED)
   FOUT, SIOBHAN                                                               (ADDRESS REDACTED)
   FOWLER THOMAS                                                               (ADDRESS REDACTED)
   FRANCIS HAMILTON VY AND THROUGH SANDRA LEE
   HAMILTON                                        C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY             STE 800                                      TAMPA               FL   33609
   FRANK HILSDON AS PR OF THE ESTATE OF SANDRA     C/O COLLING, GILBER, WRIGHT                                      801 NORTH ORANGE AVENUE ,
   GREENBERG                                       & CARTER                    ATTN: BRIAN GUPPENBERGER, ESQ.       SUITE 830                                    ORLANDO             FL   32801
   FRANKLINTON HEALTHCARE, LLC                                                 2000 MAIN ST.                                                                     FRANKLINTON         LA   70438
   FRANTARA CLARK                                                              (ADDRESS REDACTED)
   FRASER ALDA                                                                 (ADDRESS REDACTED)
   FREDERICK JDR CRT                                                           5 NORTH KENT STREET                  5 NORTH KENT STREET                          WINCHESTER          VA   22601
                                                   ATTN: CAMERON BARNARD,
   FREEDLAND HARWIN VALORI, PLLC                   ESQ.                        110 S.E. 6TH ST, STE 2300                                                         FORT LAUDERDALE     FL   33301
   FREEDLAND, HARWIN, VALORI                       ATTN: JOE DISCEPOLA, ESQ.   110 S.E. 6TH ST, STE 2300                                                         FORT LAUDERDALE     FL   33301
   FREEMAN J. MOORE                                                            (ADDRESS REDACTED)
   FREEMAN PATRICIA                                                            (ADDRESS REDACTED)
   FRENCH WILLIS                                                               (ADDRESS REDACTED)
   FRIENDS OF ASHLEY MOODY                                                     2640-A MITCHAM DR                                                                 TALLAHASSEE         FL   32308
   FROSTBURG FACILITY OPERATIONS, LLC                                          800 CONCOURSE PARKWAY SOUTH                                                       MAITLAND            FL   32751
   FUCHS, CHRIS S.                                                             (ADDRESS REDACTED)
   FUNK, SHARMAN LEA                                                           (ADDRESS REDACTED)
   FUTRELL TINA CITRON                                                         (ADDRESS REDACTED)
   FUZE, INC.                                      ATTN: LEGAL DEPARTMENT      2 COPLEY PLACE                       SUITE 7000                                   BOSTON              MA   02116




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                          Creditor Name                              Attention                          Address 1                        Address 2             Address 3              City   State       Zip      Country
                                                           C/O BROOKS, LEBOEUF,
                                                           BENNETT, FOSTER &
   G.C. BY AND THROUGH B.C. HER ATTORNEY-IN-FACT           GWARTNEY                       ATTN: SCOTT GWARTNEY, ESQ.         909 EAST PARK AVENUE                          TALLAHASSEE       FL      32301
                                                           C/O BROOKS LEBOEUF
   G.C. BY AND THROUGH B.C. HER ATTORNEY-IN-FACT           BENNETT FOSTER                 ATTN: SCOTT GWARTNEY, ESQ.         909 EAST PARK AVENUE                          TALLAHASSEE       FL      32301
   GABRIELA COLTEA                                                                        (ADDRESS REDACTED)
   GAIL A. HANSBOROUGH                                                                    (ADDRESS REDACTED)
   GAIL G. SHIPMAN                                                                        (ADDRESS REDACTED)
                                                           C/O COLLING, GILBER, WRIGHT                                       801 NORTH ORANGE AVENUE ,
   GAIL PIZZO AS PR OF ESTATE OF ROSEMARY PIZZO            & CARTER                       ATTN: BRIAN GUPPENBERGER, ESQ.     SUITE 830                                     ORLANDO           FL      32801
   GALTIERI STEPHANIE                                                                     (ADDRESS REDACTED)
   GAMBER BIBBS                                                                           (ADDRESS REDACTED)
   GANDY, DEMONTRAY                                                                       (ADDRESS REDACTED)
   GANT BECKY                                                                             (ADDRESS REDACTED)
   GANT MICHAEL                                                                           (ADDRESS REDACTED)
   GARBINSKY ROBIN                                                                        (ADDRESS REDACTED)
   GARCIA MANOLO D                                                                        (ADDRESS REDACTED)
   GARDEN COURT HEALTHCARE, LLC                                                           4405 AIRLINE DR                                                                  BOSSIER CITY      LA      71111
                                                           ATTN: AARON GARRETT,
   GARRETT LAW                                             ESQUIRE                        6739 ACADEMY RD NE #350                                                          ALBUQUERQUE       NM      87109
                                                           ATTN: WESLEY C. JACKSON,
   GARRETT LAW                                             ESQ.                           7125 PROSPECT PL, NE                                                             ALBUQUERQUE       NM      87109
   GARRISON, AYESHA                                                                       (ADDRESS REDACTED)

   GARY D. BASS                                            C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                       TAMPA             FL      33609
   GARY L. KRULEWITZ                                                                   (ADDRESS REDACTED)
   GARZA, ARLENE                                                                       (ADDRESS REDACTED)
   GATEWAY HEALTHCARE, LLC                                                             2030 HARPER AVENUE                    NW                                            LENOIR            NC      28645
   GAYMON, TYNECIA L.                                                                  (ADDRESS REDACTED)
   GENERAL ELECTRIC CAPITAL CORPORATION                                                2755 MARCONI DRIVE                                                                  ALPHARETTA        GA      30005
                                                           ATTN: LOU ANN SOIKA, SVP
   GENESIS ELDERCARE REHABILITATION SERVICES, INC. D/B/A   CUSTOMER RELATIONS AND
   GENESIS REHABILITATION SERVICES                         STRATEGIC DEVELOPMENT       101 EAST STATE STREET                                                               KENNETT SQUARE    PA      19348
   GENESIS ELDERCARE REHABILITATION SERVICES, INC. D/B/A
   GENESIS REHABILITATION SERVICES                                                        101 EAST STATE STREET                                                            KENNETT SQUARE    PA      19348
                                                           GENESIS HEALTHCARE
   GENESIS ELDERCARE REHABILITATION SERVICES, INC. D/B/A   CORPORATION ATTN: LAW
   GENESIS REHABILITATION SERVICES                         DEPARTMENT                     101 EAST STATE STREET                                                            KENNETT SQUARE    PA      19348
   GENESIS HEALTHCARE CORPORATION                          ATTN: LAW DEPARTMENT           101 EAST STATE STREET                                                            KENNETT SQUARE    PA      19348
                                                           Michael Sherman, Senior Vice
   GENESIS REHABILITATION SVCS                             President, General Counsel     LOCKBOX# 821322                    RT. 38 & EAST GATE DRIVE                      MOORESTOWN        NJ      08057
   GENEVIEVE D. HAKEY                                      C/O MORGAN & MORGAN            ATTN: BRIAN THOMPSON, ESQ.         ONE TAMPA CITY CENTER        STE 700          TAMPA             FL      33602
   GENEVIEVE F. THOMAS                                                                    (ADDRESS REDACTED)
   GENEVIEVE THOMAS                                                                       (ADDRESS REDACTED)
   GENOA HEALTHCARE CONSULTING, LLC                                                       800 CONCOURSE PARKWAY SOUTH                                                      MAITLAND          FL      32751
   GENOA HEALTHCARE GROUP, LLC                                                            800 CONCOURSE PARKWAY SOUTH                                                      MAITLAND          FL      32751
   GEOCERTS INC                                                                           2221 PEACHTREE RD NE               SUITE D-236                                   ATLANTA           GA      30309
   GEORGE M. LAUGHRUN                                                                     (ADDRESS REDACTED)
                                                           C/O COLLING, GILBERT, WRIGHT
   GEORGE MACKEY AND GLORIA MACKEY                         & CARTER                     ATTN: GARRY RHODEN, ESQ.             801 NORTH ORANGE AVENUE      SUITE 830        ORLANDO           FL      32801
   GEORGIA DEPARTMENT OF REVENUE                                                        PO BOX 740317                                                                      ATLANTA           GA      30374-0317
   GEORGIA DEPARTMENT OF REVENUE                           PO BOX 740321                                                                                                   ATLANTA           GA      30374-0321
   GEORGIA DEPT OF COMMUNITY HEALTH                                                     2 PEACHTREE STREET, NW                                                             ATLANTA           GA      30303
   GEORGIA VENDING SERVICES INC                                                         8260 INDUSTRIAL PLACE                                                              ALPHARETTA        GA      30004-8443
   GERIATRIC MANAGEMENT LLC                                                             165 SOUTHWEST VISION GLEN                                                          LAKE CITY         FL      32035
   GERTRUDE PORTO BY AND THROUGH AMANDA KLODAKIS,
   ATTORNEY IN FACT                                        C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ               ONE TAMPA CITY CENTER        STE 700          TAMPA             FL      33602
   GIBSON, AJANI C                                                                    (ADDRESS REDACTED)
   GILKEY, ASHLEY K.                                                                  (ADDRESS REDACTED)
   GILL, ERICA                                                                        (ADDRESS REDACTED)
   GILPIN MAYNETTE                                                                    (ADDRESS REDACTED)
                                                           C/O DE LA PIEDRA LAW FIRM,
   GINAL MONDELLO WITH POA FOR CONSTANCE REESE             P.A.                       ATTN: JACK DE LA PIEDRA, ESQ           6 TRISTAN WAY                                 PENSACOLA BEACH   FL      32561
   GINO JEAN                                                                          (ADDRESS REDACTED)
   GIROUX & ASSOCIATES, INC.                               ATTN: PETER GIROUX, ESQ.   447 THIRD AVENUE NORTH, STE 305                                                      ST. PETERSBURG    FL      33701
   GITANJALI S CLARK                                                                  5102 WEST LAUREL ST STE 700                                                          TAMPA             FL      33607
   GLANTON, DANAURIA A.                                                               (ADDRESS REDACTED)
   GLASSDOOR, INC.                                         DEPT 3436                  PO BOX 123436                                                                        DALLAS            TX      75312-3436
   GLENBURNEY HEALTHCARE, LLC                                                         555 JOHN R. JUNKIN RD.                                                               NATCHEZ           MS      39120
   GLENDA D. MURRELL                                                                  (ADDRESS REDACTED)
                                                                                                                             333 WEST VINE STREET, STE
   GLENDA WEBB AS GUARDIAN OF CLARENCE RAY                 C/O MORGAN & MORGAN            ATTN: TYLER KOCH, ESQ.             1200                                          LEXINGTON         KY      40507
   GLISSON ZOLLIE                                                                         110 KAY LARKIN DRIVE                                                             PALATKA           FL      32177
   GLOBAL INFONET INC.                                     ATTN: JOJO JOSPEH              9485 REGENCY SQUIARE BLVD.         SUITE 330                                     JACXKSONVILLE     FL      32225




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   GLOBALSCAPE, INC.                                                             PO BOX 2567                                                                        SAN ANTONIO          TX    78299-2567

   GLORIA BRENNAN                                      C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ            ONE TAMPA CITY CENTER        STE 700          TAMPA                FL   33602
   GLOVER DEBBIE                                                                 (ADDRESS REDACTED)
   GLOVER JOHN M                                                                 (ADDRESS REDACTED)
   GODFREY HILADO                                                                (ADDRESS REDACTED)
   GODFREY HILADO                                                                (ADDRESS REDACTED)
   GODLEY LINDA                                                                  (ADDRESS REDACTED)
   GONZALEZ, GLORIA                                                              (ADDRESS REDACTED)
   GORDIAN MEDICAL, INC. D/B/A AMERICAN MEDICAL
   TECHNOLOGIES                                                                  17595 CARTWRIGHT ROAD                                                              IRVINE               CA   92614
   GORDIAN MEDICAL, INC. DBA AMERICAN MEDICAL
   TECHNOLOGIES                                                                  17595 CARTWRIGHT RD.                                                               IRVINE               CA   92614
   GOUDIE & KOHN                                       ATTN: KIM KOHN, ESQ.      3004 WEST CYPRESS STREET                                                           TAMPA                FL   33609
   GOUTHAM BEERAM                                                                (ADDRESS REDACTED)
   GOVERNORS CREEK HEALTH & REHAB                                                803 OAK ST                                                                         GREEN COVE SPRINGS   FL   32043
   GOVERNOR'S CREEK- PETTY CASH                                                  GREGORY FORBES                       803 OAK STREET                                GREEN COVE SPRINGS   FL   32043
   GRAHAM CHARLENE                                                               (ADDRESS REDACTED)
   GRALEY CAROLYN                                                                (ADDRESS REDACTED)
   GRANT PARK NURSING HOME LIMITED PARTNERSHIP                                   1040 CROWN POINTE PKWY               STE 600                                       ATLANTA              GA   30338
   GRANT, KIERRA                                                                 (ADDRESS REDACTED)
   GRAVES LINA                                                                   (ADDRESS REDACTED)
   GRAY ARTHUR                                                                   (ADDRESS REDACTED)
   GRAY RENEE W                                                                  (ADDRESS REDACTED)
   GRAYBAR ELECTRIC CO                                                           12753 COLLECTIONS CENTER DRIVE                                                     CHICAGO              IL   60693-2753
   GRAYBAR ELECTRIC CO                                                           PO BOX 403062                                                                      ATLANTA              GA   30384
   GRAYSON FACILITY OPERATIONS, LLC                                              400 S. INDEPENDENCE AVENUE                                                         INDEPENDENCE         VA   24348-3972
   GREEN JAMES                                                                   (ADDRESS REDACTED)
   GREEN, LA'ZARIA D.                                                            (ADDRESS REDACTED)
   GREEN, SHAKERA L.                                                             (ADDRESS REDACTED)
   GREENFIELD FACILITY OPERATIONS, LLC                                           800 CONCOURSE PARKWAY SOUTH                                                        MAITLAND             FL   32751
   GREENSHADES SOFTWARE, INC.                                                    7020 AC SKINNER PARKWAY              SUITE 100                                     JACKSONVILLE         FL   32256
   GREGORY FORBES                                                                (ADDRESS REDACTED)
   GREGORY FORBES                                                                (ADDRESS REDACTED)
   GREGORY H. CAMPBELL                                                           (ADDRESS REDACTED)
   GREGORY HAYES                                                                 (ADDRESS REDACTED)
   GREGORY L. HAYES                                                              (ADDRESS REDACTED)
   GREGORY T. WALLACE                                                            (ADDRESS REDACTED)
   GRETCHEN SCOTT                                                                (ADDRESS REDACTED)
   GREYSON COMMUNICATIONS, INC.                                                  PO BOX 628375                                                                      ORLANDO              FL   32862-8375
                                                                                                                      225 NE MIZNER BLVD. SUITE
   GREYSON TECHNOLOGIES, INC.                          C/O TOBIN & REYES, P.A.   ATTN: DAVID S. TOBIN, ESQ.           510                                           BOCA RATON           FL   33432
   GREYSON TECHNOLOGIES, INC.                          ATTN: VP OF OPERATIONS    6350 N ANDREWS AVE.                  SUITE 200                                     FORT LAUDERDALE      FL   33309
   GRIFFIN JULIA                                                                 (ADDRESS REDACTED)
   GRIFFITH ASHLEY                                                               (ADDRESS REDACTED)
   GROSSMAN, ROTH, YAFFA & COHEN                       ATTN: GARY COHEN, ESQ.    925 S. FEDERAL HIGHWAY, STE 350                                                    BOCA RATON           FL    33432
   GROVES MELISSA                                                                (ADDRESS REDACTED)
   GSRM LAW                                                                      150 THIRD AVENUE SOUTH               SUITE 1700                                    NASHVILLE            TN   37201
   GT ELECTRIC OF FLORIDA INC                                                    3154 ELIZA ROAD                                                                    TALLAHASSEE          FL   32308
   GTC, INC. D/B/A CONSOLIDATED COMMUNICATIONS, INC.                             627 ROUTE 3                                                                        SOUTH CHINA          ME   04358
   GTC, INC. D/B/A CONSOLIDATED COMMUNICATIONS, INC.                             502 CECIL G. COSTIN SR. BLVD.                                                      PORT ST. JOE         FL   32456
   GUARDIAN OF GEORGIA, INC. D/B/A ACKERMAN SECURITY
   SYSTEMS                                                                       1346 OAKBROOK DRIVE                                                                NORCROSS             GA   30093
   GUERDA DAVID                                                                  (ADDRESS REDACTED)
   GUEST, EILEEN                                                                 (ADDRESS REDACTED)
   GULF SOUTH MEDICAL SUPPLY                                                     PO BOX 841968                                                                      DALLAS               TX   75284-1968
   GULLETT SANFORD ROBINSON &                          MARTIN PLLC               150 THIRD AVE S STE 1700                                                           NASHVILLE            TN   37201
   GUNN, DEANNA G.                                                               (ADDRESS REDACTED)
   GUY NGARNDI                                                                   (ADDRESS REDACTED)
   GWENDOLYN CAUSBY                                                              (ADDRESS REDACTED)
   GWENDOLYN HUNTER                                                              (ADDRESS REDACTED)

   GWENDOLYN MURPHY AS POA FOR KAREN RAHSHAN MURPHY C/O WILKES & MCHUGH          ONE NORTH DALE MABRY HWY                                                           TAMPA                FL   33609
   HACKER, HOLLY J.                                                              (ADDRESS REDACTED)
   HAIGLER, BRITTNEY                                                             (ADDRESS REDACTED)
   HAILEY A. DAVIES                                                              (ADDRESS REDACTED)
   HAILEY DAVIES                                                                 (ADDRESS REDACTED)
   HAILEY E. PULLEY                                                              (ADDRESS REDACTED)
   HALE ELIZABETH                                                                (ADDRESS REDACTED)
   HALE PETERSON AS ADMINISTRATOR OF THE ESTATE OF                               ATTN: JOSEPH MUSSO, ESQ. AND AVERY   8403 COLESVILLE ROAD, STE
   EDNA PETERSON                                    C/O ASHCRAFT & GEREL, LLP    ADCOCK, ESQ.                         1250                                          SILVER SPRINGS       MD   20910
   HALEY B. OSTEEN                                                               (ADDRESS REDACTED)
   HALEY DIXON                                                                   (ADDRESS REDACTED)
   HALEY PUGH                                                                    (ADDRESS REDACTED)




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                        Creditor Name                              Attention                      Address 1                        Address 2             Address 3             City       State       Zip      Country
   HALL ROBIN                                                                      (ADDRESS REDACTED)
   HALL TANYA                                                                      (ADDRESS REDACTED)
   HAMMOND GEORGE                                                                  (ADDRESS REDACTED)
   HANMI BANK                                                                      PO BOX 3892                                                                       SEATTLE              WA      98124
   HANMI BANK                                          BUILDING 3 SUITE 125        TECHNOLOGY FINANCE CORPORATION      7707 E. MARILYN ROAD                          SCOTTSDALE           AZ      85254
   HANMI BANK                                                                      3660 W. WILSHIRE BLVD., #PH-A                                                     LOS ANGELES          CA      90010
   HANNA E LICHT                                                                   (ADDRESS REDACTED)
   HANNAH A. LYTLE                                                                 (ADDRESS REDACTED)
   HANNAH E. LICHT                                                                 (ADDRESS REDACTED)
   HANNAH E. LIVINGSTON                                                            (ADDRESS REDACTED)
   HANNAH K. GURR                                                                  (ADDRESS REDACTED)
   HANNAH LIVINGSTON                                                               (ADDRESS REDACTED)
   HANSON ROBERT E                                                                 (ADDRESS REDACTED)
   HARABURDA LAURA J.                                                              (ADDRESS REDACTED)
   HARBOR POINTE FACILITY OPERATIONS, LLC                                          800 CONCOURSE PARKWAY SOUTH                                                       MAITLAND             FL      32751
   HARMAN CLAYTOR CORRIGAN                             WELLMAN                     PO BOX 70280                                                                      RICHMOND             VA      23255

   HARMON PARKER, PA                                   ATTN: THOMAS HARMON, ESQ.   110 NORTH 11TH STREET, 2ND FLOOR                                                  TAMPA                FL      33602
   HARPER LIMBACH LLC                                                              5102 WEST LAUREL STREET             SUITE 800                                     TAMPA                FL      33607
   HARPER TASHA R                                                                  (ADDRESS REDACTED)
   HARTFORD INSURANCE                                                              ONE HARTFORD PLAZA                                                                HARTFORD             CT      06155
   HARTMAN, CAITLIN                                                                (ADDRESS REDACTED)
   HARVILLE LINDA RFMS                                                             803 OAK STREET                                                                    GREEN COVE SPRINGS   FL      32043
   HASKINS, DONNA                                                                  (ADDRESS REDACTED)
   HAYES GREGORY                                                                   (ADDRESS REDACTED)
   HAYES, NIKITA                                                                   (ADDRESS REDACTED)
   HAYLEY E. SEVERANCE                                                             (ADDRESS REDACTED)
   HAYLIE M. FENT                                                                  (ADDRESS REDACTED)
   HAYS U.S. CORPORATION                                                           PO BOX 117036                                                                     ATLANTA              GA      30368-7036
   HAYT HAYT & LANDAU PL                                                           7765 SW 87TH AVENUE                 SUITE 101                                     MIAMI                FL      33173
   HAZEL BAKER                                         C/O WILKES & MCHUGH         ONE NORTH DALE MABRY HWY            STE 800                                       TAMPA                FL      33609
   HAZEL PARKER                                        C/O VINSON LAW              ATTN: CHRISTOPHER PETTUS, ESQ.      400 EAST PALM AVENUE                          TAMPA                FL      33602
                                                       C/O COLLING, GILBERT, WRIGHT
   HAZEL WESTBROOKS AS PERSONAL REPRESENTATIVE OF      & CARTER
   THE ESTATE OF JOSEPH HENDRIX                        (AS OF 12/6/2017)            ATTN: GARRY RHODEN, ESQ.           801 NORTH ORANGE AVENUE      SUITE 830        ORLANDO              FL      32801
   HD SUPPLY FACILITIES                                                                                                                                              SAN DIEGO            CA      92150-9058
   HD SUPPLY FACILITIES MAINTENANCE                    C/O DOUGLAS BROOKS, PC      4 LENOX POINTE NE # 4                                                             ATLANTA              GA      30324
   HEALTH AND SCIENCE CENTER, INC.                                                 209 HUNTER STREET                   SUITE 202, PO BOX 213                         LIMA                 PA      19037
   HEALTH COUNCIL OF WEST CENTRAL                      FLORIDA                     550 NORTH REO ST STE 300                                                          TAMPA                FL      33609
   HEALTH FINANCIAL SYSTEMS                                                        8109 LAGUNA BLVD                                                                  ELK GROVE            CA      95758
   HEALTH INFORMATICS EXPERTS LLC                                                  5414 LAKE HOWELL ROAD #143                                                        WINTER PARK          FL      32792
   HEALTH INFORMATICS EXPERTS, LLC                                                 5415 LAKE HOWELL ROAD               #143                                          WINTER PARK          FL      32792
   HEALTH PLANNING COUNCIL NE FLA                                                  900 UNIVERSITY BLVD NORTH           SUITE #110                                    JACKSONVILLE         FL      32211
   HEALTHCARE MGT DECISIONS INC                                                    3336 HIGEL AVE                                                                    SARASOTA             FL      34242
   HEALTHCARE SERVICES GROUP                           Jason Bundick, Esq.         3220 TILMAN DRIVE SUITE #300                                                      BENSALEM             PA      19020
                                                                                                                       GLENVIEW CORPORATE
   HEALTHCARE SERVICES GROUP, INC.                     ATTN: MIKE MCBRYAN, EVP     3220 TILLMAN DRIVE                  CENTER, SUITE 300                             BENSALEM             PA      19020
                                                                                                                       GLENVIEW CORPORATE
   HEALTHCARE SERVICES GROUP, INC.                                                 3220 TILLMAN DRIVE                  CENTER, SUITE 300                             BENSALEM             PA      19020
                                                                                                                       GLENVIEW CORPORATE
   HEALTHCARE SERVICES GROUP, INC.                     ATTN: LEGAL DEPARTMENT      3220 TILLMAN DRIVE                  CENTER, SUITE 300                             BENSALEM             PA      19020
   HEALTHCARESOURCE HR, INC.                           ATTN: LEGAL DEPARTMENT      100 SYLVAN ROAD                     SUITE 100                                     WOBURN               MA      01801
   HEALTHY LOUISIANA                                                               PO BOX 1097                                                                       ATLANTA              GA      30301-9913
   HEARNS, TANIKA                                                                  (ADDRESS REDACTED)
   HEATHER B. COMSTOCK                                                             (ADDRESS REDACTED)
   HEATHER BURLEY                                                                  (ADDRESS REDACTED)
   HEATHER C. HERCHER                                                              (ADDRESS REDACTED)
                                                                                   ATTN: JASON PAUL, ESQ. & IAN
   HEATHER DUNCAN AS PR OF THE ESTATE OF MARY KING     C/O PAUL & PERKINS          DEPAGNIER, ESQ.                     3117 EDGEWATER DRIVE                          ORLANDO              FL      32804
   HEATHER EXUM                                                                    (ADDRESS REDACTED)
   HEATHER HORTON                                                                  (ADDRESS REDACTED)
   HEATHER L. BURLEY                                                               (ADDRESS REDACTED)
   HEATHER L. COOK                                                                 (ADDRESS REDACTED)
   HEATHER M. WEEKLEY                                                              (ADDRESS REDACTED)
   HEATHER MCGOWAN                                                                 (ADDRESS REDACTED)
   HEATHER MCGOWAN                                                                 (ADDRESS REDACTED)
   HEATHER N. AUSTIN                                                               (ADDRESS REDACTED)
   HEATHER REGISTER                                                                (ADDRESS REDACTED)
   HEATHER SINGLETON                                                               (ADDRESS REDACTED)
   HEIDI C. BOYCE                                                                  (ADDRESS REDACTED)
   HEIDI L. FILALI MOUHSINE                                                        (ADDRESS REDACTED)
   HEINLEIN MARIA                                                                  (ADDRESS REDACTED)
   HELEN ARMSTRONG AS PR OF THE ESTATE OF DOROTHY W.   C/O COLLING, GILBERT, WRIGHT
   WALLING                                             & CARTER                     ATTN: GARRY RHODEN, ESQ.           801 NORTH ORANGE AVENUE      SUITE 830        ORLANDO              FL      32801




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   HENDRICKS RUTH RFMS                                                              (ADDRESS REDACTED)
   HENIGE ROBERT                                                                    (ADDRESS REDACTED)
   HENRY TIFFANY M                                                                  (ADDRESS REDACTED)
                                                        ATTN: CARMALETTA HENSON,
   HENSON FUERST, PA                                    ESQ.                        P.O. BOX 7008                                                                       ROCKY MOUNT        NC      27804
                                                                                    ATTN: CHRIS LIMBEROPOULOS, ESQ. &
   HERBERT LEWIS                                        C/O THE FLORIDA LAW GROUP   CHRISTOPHER CASTILLO, ESQ.          407 N. HOWARD AVENUE           STE 100          TAMPA              FL      33606
   HERMAN HODGES RFMS                                                               803 OAK STREET                                                                      GREENCOVESPRINGS   FL      32043
   HERNANDEZ, KAILA                                                                 (ADDRESS REDACTED)
   HERRING, RAYMANDA D.                                                             (ADDRESS REDACTED)
   HERTZ CORPORATION                                                                PO BOX 121124                                                                       DALLAS             TX      75312
   HESS JUNE                                                                        (ADDRESS REDACTED)
   HESTER KIMBERLY D.                                                               (ADDRESS REDACTED)
   HICKS TERRY                                                                      (ADDRESS REDACTED)
   HIEKE SHIRLEY                                                                    (ADDRESS REDACTED)
   HIGGINS MELISSA                                                                  (ADDRESS REDACTED)
   HILARIE M. WALFORD                                                               (ADDRESS REDACTED)
   HILARY F. SCOTT                                                                  (ADDRESS REDACTED)
   HILL JUANITA                                                                     (ADDRESS REDACTED)
   HILL, KATIA                                                                      (ADDRESS REDACTED)
   HILLARY N. WHITTAKER                                                             (ADDRESS REDACTED)
   HILLTOP MISSISSIPPI HEALTHCARE, LLC                                              101 KIRKLAND ST.                                                                    UNION              MS      39365
   HILLTOPPER HOLDING CORP.                                                         1040 CROWN POINTE PKWY              STE 600                                         ATLANTA            GA      30338
   HINSON STEPHANIE D                                                               (ADDRESS REDACTED)
   HLAVAC ALLIE                                                                     (ADDRESS REDACTED)
   HOBACK, TIFFANY J                                                                (ADDRESS REDACTED)
   HOBART CORPORATION                                                               PO BOX 279                                                                          BELLEVILLE         MI      48112-0279
   HOBART SALES & SERVICE                                                           PO BOX 1228                                                                         ARDEN              NC      28704
   HOBART SERVICES                                                                  ITW FOOD EQUIPMENT GROUP LLC        P O BOX 2517                                    CAROL STREAM       IL      60132-2517
   HODGES, VICKI YVETTE                                                             (ADDRESS REDACTED)
   HODGES-MACE, LLC                                                                 P O BOX 117163                                                                      ATLANTA            GA      30368-7163
   HODGES-MACE, LLC                                                                 557-D GLENRIDGE DRIVE NE            SUITE 350                                       ATLANTA            GA      30328
   HOGLEN JASON                                                                     (ADDRESS REDACTED)
   HOLLI JONES                                                                      (ADDRESS REDACTED)
   HOLLI LIN JONES                                                                  (ADDRESS REDACTED)
   HOLLY J. HACKER                                                                  (ADDRESS REDACTED)
   HOLLY TURBAK                                                                     (ADDRESS REDACTED)
   HOLLYWELL HEALTHCARE, LLC                                                        1040 CROWN POINTE PKWY              STE 600                                         ATLANTA            GA      30338
   HOLTZCLAW, KRISTA ANN                                                            (ADDRESS REDACTED)
   HOLTZCLAW, KRISTA ANN                                                            (ADDRESS REDACTED)
   HOME DEPOT USA INC                                                               2455 PACES FERRY ROAD                                                               ATLANTA            GA      30339
   HOPE FENNELL                                                                     (ADDRESS REDACTED)
   HORD, ROBERT S.                                                                  (ADDRESS REDACTED)
   HOUCK, KARISSA                                                                   (ADDRESS REDACTED)
   HOWARD J BARTOLO                                                                 (ADDRESS REDACTED)
   HOWARD WILLIAMS AS PR OF THE ESTATE OF NESSA                                     ATTN: JASON PAUL, ESQ. & IAN
   WILLIAMS                                             C/O PAUL & PERKINS          DEPAGNIER, ESQ.                     3117 EDGEWATER DRIVE                            ORLANDO            FL      32804
   HRICENAK, STEPHANIE                                                              (ADDRESS REDACTED)
   HSS HOLDINGS INC                                                                 160 ESSEX AVENUE EAST                                                               AVENEL             NJ      07001
   HUDGINS LAW FIRM                                     ATTN: DREW HUDGINS, ESQ.    KENNETH MINIO, ESQ.                 38453 5TH AVENUE                                ZEPHYRHILLS        FL      33542
   HUDSON EXCESS INSURANCE COMPANY                                                  100 WILLIAM ST 5TH FL                                                               NEW YORK           NY      10038
   HUDSON EXCESS INSURANCE COMPANY                                                  100 WILLIAM STREET                  5TH FLOOR                                       NEW YORK           NY      10038
   HUDSON, MENDY                                                                    (ADDRESS REDACTED)
   HUGGERS HOW 2 HAVE FUN RENTALS                                                   PO BOX 491                                                                          PERRY              FL      32348
   HUGHES & COLEMAN                                     ATTN: ROSS MANN, ESQ.       211 E. NEW CIRCLE RD                                                                LEXINGTON          KY      40505-2116
   HUGHES CARLA                                                                     (ADDRESS REDACTED)
   HUGHES CLAUDE                                                                    (ADDRESS REDACTED)
   HUGHSTON ORTHOPAEDIC SOUTHEAST                                                   PO BOX 18745                                                                        BELFAST            ME      04915-4077
   HUGO LOPEZ AS PR OF THE ESTATE OF TERESA VARELA DE
   LOPEZ                                                C/O MORGAN & MORGAN         ATTN: WESLEY RANDOLPH, ESQ.         12800 UNIVERSITY DR, STE 600                    FORT MYERS         FL      33907
   HUMANA                                                                           500 WEST MAIN STREET                                                                LOUISVILLE         KY      40202-4268
   HUMANA                                                                           500 WEST MAIN STREET                                                                LOUISVILLE         KY      40202-4266
   HUMANA                                                                           500 WEST MAIN STREET                                                                LOUISVILLE         KY      40202
   HUMANA                                                                           500 WEST MAINE ST                                                                   LOUISVILLE         KY      40202-4268
   HUMANA                                                                           500 WEST MAIN STREET                                                                LOUISVILLE         KY      40202-4266
   HUMANA                                                                           500 WEST MAIN STREET                                                                LOUISVILLE         KY      40202
   HUMANA INC.                                          ATTN: LAW DEPARTMENT        P. O. BOX 1438                                                                      LOUISVILLE         KY      40201
   HUMANA LONG TERM CARE                                                            777 YAMATO RD SUITE 510                                                             BOCA RATON         FL      33431
                                                        ATTN: NETWORK
   HUMANA MILITARY HEALTHCARE SERVICES                  DEVELOPMENT DEPT.           500 WEST MAIN ST.                                                                   LOUISVILLE         KY      40201
   HUMBERTO ALVAREZ AS POA FOR CARIDAD ALVAREZ          C/O MORGAN & MORGAN         ATTN: AL FERRERA, ESQ.              ONE TAMPA CITY CENTER          STE 700          TAMPA              FL      33602
   HUMMINGBIRD RISK ADVISORS LLC                                                    8300 DUNWOODY PLACE                 SUITE 310                                       ATLANTA            GA      30350
   HUNT MONIKA                                                                      (ADDRESS REDACTED)
   HUNTER WOODS HEALTHCARE, LLC                                                     620 TOM HUNTER RD.                                                                  CHARLOTTE          NC      28213




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                                                                                                 Redacted Creditor Matrix
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                         Creditor Name                             Attention                        Address 1                         Address 2             Address 3           City       State     Zip     Country
   HUNTINGTON NATIONAL BANK                                                          5555 CLEVELAND AVE                   GW1C01                                        COLUMBUS           OH    43231
   HUNTINGTON TECHNOLOGY FINANCE                                                     2285 FRANKLIN ROAD                                                                 BLOOMFIELD HILLS   MI    48302
   HUNTINGTON TECHNOLOGY FINANCE, INC.                   BUILDING 3 SUITE 125        TECHNOLOGY FINANCE CORPORATION       7707 E. MARILYN ROAD                          SCOTTSDALE         AZ    85254
   HURST JAMI B                                                                      (ADDRESS REDACTED)
   HURSTBOURNE HEALTHCARE, LLC                                                       1040 CROWN POINTE PKWY               STE 600                                       ATLANTA            GA   30338
   HUSSAIN, SHAHIN N.                                                                (ADDRESS REDACTED)
   HYATT LEGAL PLANS, INC.                               DEPT.781523                 P.O. BOX 78000                                                                     DETROIT            MI   48278-1523
   IAN WOLK AS PR OF THE ESTATE OF GLORIA CICHELERO      C/O MORGAN & MORGAN         ATTN: WESLEY RANDOLPH, ESQ.          12800 UNIVERSITY DR          STE 600          FORT MYERS         FL   33907
   ICIMS, INC.                                                                       29348 NETWORK PLACE                                                                CHICAGO            IL   60673-1294
   ICIMS.COM, INC.                                                                   1301 STATE ROUTE 38                  SUITE 102                                     HAZLET             NJ   07730
   ICIMS.COM, INC.                                                                   101 CRAWFORDS CORNER ROAD            SUITE 3-100                                   HOLMDEL            NJ   07733
   IG IGLOO HOLDINGS INC                                                             (ADDRESS REDACTED)
   ILLUSTRATUS                                                                       8455 LENEXA DRIVE                                                                  LENEXA             KS   66214
   ILLUSTRATUS                                                                       8455 LENEXA DR                                                                     OVERLAND PARK      KS   66214
   IMANI GLADDEN                                                                     (ADDRESS REDACTED)
   IMONIE SAPP                                                                       (ADDRESS REDACTED)
   IN HOME HEALTH, LLC D/B/A HEARTLAND I.V. CARE         ATTN: CONTRACTS             750 HOLIDAY DRIVE                    SUITE 100                                     PITTSBURGH         PA   15220
   INDEED INC                                            MAIL CODE 5160              P O BOX 660367                                                                     DALLAS             TX   75266-0367
   INDIAN HARBOR                                                                     70 SEAVIEW AVE                       SEAVIEW HOUSE                                 STAMFORD           CT   06902-6040
   INDUSTRIAL CHEM LAB & SVCS INC                                                    55 BROOK AVE                         SUITE G                                       DEER PARK          NY   11729
   INDUSTRIAL LAUNDRY SERVICES                                                       1009 RAGSDALE RD                                                                   OVIEDO             FL   32765
   INDUSTRIAL LAUNDRY SERVICES                                                       2302 MERCATOR DR                     STE 102                                       ORLANDO            FL   32807
   INFOR (US), INC                                       NW 7418                     PO BOX 1450                                                                        MINNEAPLOIS        MN   55485-7418
   INFOR (US), INC.
   INGERMANN, JOANNA                                                                 (ADDRESS REDACTED)
   INNOVATIVE THERAPIES INC. D/B/A CARDINAL HEALTH 248
   INPATIENT CONSULTANTS OF FL                                                       (ADDRESS REDACTED)

   INPATIENT CONSULTANTS OF FLORIDA, INC.                                            4605 LANKERSHIM BOULEVARD, SUITE 617                                               NORTH HOLLYWOOD    CA   91602
   INPRO CORPORATION                                                                 5131 PAYSPHERE CIRCLE                                                              CHICAGO            IL   60674
   INTELLIMED INTERNATIONAL CORPORATION                  ATTN: LEAH STRUB            1825 E. NORTHERN AVENUE              SUITE 175                                     PHOENIX            AZ   85020
   INTERLINE BRANDS                                                                  PO BOX 404284                                                                      ATLANTA            GA   30384-4282
   INTERNAL REVENUE SERVICE                                                          INTERNAL REVENUE SERVICE                                                           ATLANTA            GA   39901 0005
   INTERNAL REVENUE SERVICE                                                          P.O. BOX 7346                                                                      PHILADELPHIA       PA   19101-7346
                                                                                     1111 CONSTITUTION AVENUE
   INTERNAL REVENUE SERVICE (IRS)                                                    NORTHWEST                                                                          WASHINGTON         DC   20224
   INTERNETWORK EXPERT INC.                                                          575 NEW WAVERLY PLACE                SUITE 201                                     CARY               NC   27518
   INTERSTATE ALL BATTERY CENTER                                                     2543 W TENNESSEE ST                                                                TALLAHASSEE        FL   32304
   INTERVENTIONAL CARDIOLOGISTS                          OF GAINESVILLE              1151 NW 64TH TERR                                                                  GAINESVILLE        FL   32605
   INVACARE CONTINUING CARE INC                                                      3524 SOLUTIONS CENTER                                                              CHICAGO            IL   60677-3005
   IRA WOODFAULK                                                                     (ADDRESS REDACTED)
                                                         C/O CHRIS LIMBEROPOULOS,
   IRENE ANDRZEJEWSKI                                    ESQ.                        407 N. HOWARD AVENUE, STE 100                                                      TAMPA              FL   33606
   IRENE DARBY                                                                       (ADDRESS REDACTED)
   IRENE L. DARBY                                                                    (ADDRESS REDACTED)
   IRENE TURNER                                                                      (ADDRESS REDACTED)
   IRON MOUNTAIN                                                                     923 BIDWELL STREET                                                                 PITTSBURGH         PA   15233
   IRON MOUNTAIN                                                                     660 DISTRIBUTION ROAD                                                              ATLANTA            GA   30336
   IRON MOUNTAIN                                                                     PO BOX 27129                                                                       NEW YORK           NY   10087-7129
   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC             ATTN: GENERAL MANAGER       205 KELSEY LANE                      SUITE F                                       TAMPA              FL   33619
   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC             ATTN: GENERAL MANAGER
   IRONSHORE SPECIALTY INSURANCE CO                                                  ONE STATE STREET PLAZA               7TH FLOOR                                     NEW YORK           NY   10004
   ISHAYIA BRINSON                                                                   (ADDRESS REDACTED)
   ISLEY ERNEST L.                                                                   (ADDRESS REDACTED)
   ISMAEL I JORRO                                                                    (ADDRESS REDACTED)
   ISMAEL I. JORRO                                                                   (ADDRESS REDACTED)
   ISMAIL A. ZAHRAN                                                                  (ADDRESS REDACTED)
   ITW FOOD EQUIPMENT GROUP LLC                                                      PO BOX 2517                                                                        CAROL STREAM       IL   60132-2517
   IVAN J. MOZO                                                                      (ADDRESS REDACTED)
   IVAN MORAGUEZ                                                                     (ADDRESS REDACTED)
   IVAN MORGUEZ                                                                      (ADDRESS REDACTED)
   IVANS, INC.                                                                       1455 EAST PUTNAM AVENUE                                                            OLD GREENWICH      CT   06870-1307
                                                                                     ATTN: CHRISTOPHER CASTILLO, ESQ.&    407 N. HOWARD AVENUE, STE
   IVETTE RIVERA                                         C/O THE FLORIDA LAW GROUP   CHRIS LIMBEROPOULOS, ESQ.            100                                           TAMPA              FL   33606
   IVEY, JESSICA S.                                                                  (ADDRESS REDACTED)
   IVY BRADLEY                                                                       (ADDRESS REDACTED)
   IVY NEWTON                                                                        (ADDRESS REDACTED)
   IYIESHA JONES                                                                     (ADDRESS REDACTED)
   J NEWTON ENTERPRISES INC                                                          755 S LITTLE JOHN AVENUE                                                           INVERNESS          FL   34450
   JACINDA L. MANN                                                                   (ADDRESS REDACTED)
   JACKIE BADERE-BEAUZIL                                                             (ADDRESS REDACTED)
   JACKSON BRIDGET                                                                   (ADDRESS REDACTED)
   JACKSON CHARLES                                                                   (ADDRESS REDACTED)
   JACKSON CHARLES                                                                   (ADDRESS REDACTED)




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                        Creditor Name                               Attention                      Address 1                        Address 2             Address 3             City   State       Zip      Country
   JACKSON CHARLES                                                                   (ADDRESS REDACTED)
   JACKSONVILLE FACILITY OPERATIONS, LLC                                             4101 SOUTHPOINT DRIVE E                                                          JACKSONVILLE     FL      32216-0996
   JACKSONVILLE FACILITY OPERATIONS, LLC D/B/A CONSULATE
   HEALTH CARE OF JACKSONVILLE                                                       4101 SOUTHPOINT DRIVE EAST                                                       JACKSONVILLE     FL      32216
   JACKSONVILLE MOBILE IMAGING SERVICES, INC./FIRST COAST
   MOBILE IMAGING SERVICES, INC.                                                     4237 SALISBURY ROAD                SUITE 306                                     JACKSONVILLE     FL      32216
   JACKSONVILLE MULTISPECIALTY                            SERVICES LLC               PO BOX 405657                                                                    ATLANTA          GA      30384-5657
   JACOB W. SCHREIBER                                                                (ADDRESS REDACTED)
   JACQUELINE A. ARROYO                                                              (ADDRESS REDACTED)
   JACQUELINE ARROYO                                                                 (ADDRESS REDACTED)
   JACQUELINE CHANIPO                                                                (ADDRESS REDACTED)
   JACQUELINE GOLDEN                                                                 (ADDRESS REDACTED)
   JACQUELINE L. INCANDELA                                                           (ADDRESS REDACTED)
   JACQUELINE RIVERS                                                                 (ADDRESS REDACTED)
   JACQUELINE WILLIAMS                                                               (ADDRESS REDACTED)
   JACQUELINE WILLIAMS                                                               (ADDRESS REDACTED)
   JAHALA BON                                                                        (ADDRESS REDACTED)
   JALISA WILLIS                                                                     (ADDRESS REDACTED)
   JAMBE, STACY J.                                                                   (ADDRESS REDACTED)
   JAMES BRECKENRIDGE AS ADMINISTRATOR OF ESTATE OF       C/O WILKES & MCHUGH -
   JANET BRECKENRIDGE                                     KENTUCKY                   ATTN: COREY FANNIN, ESQ.           421 NORTH BROADWAY           PO BOX 1747      LEXINGTON        KY      40508
                                                                                                                        20 N. ORANGE AVENUE, STE
   JAMES D. GILBERT                                      C/O MORGAN & MORGAN         ATTN: ALEXANDER CLEM, ESQ.         1600                                          ORLANDO          FL      32801
   JAMES D. HORNBACK                                                                 (ADDRESS REDACTED)

   JAMES EDWARD FOSTER                                   C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY           STE 800                                       TAMPA            FL      33609
   JAMES H. HEDRICK BY AND THROUGH GWENDOLYN R
   HEDRICK, PERSONAL REPRESENTATIVE                      C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY           STE 800                                       TAMPA            FL      33609
                                                         C/O COLLING, GILBERT, WRIGHT
   JAMES HERRINGTON, JR.                                 & CARTER                     ATTN: GARRY RHODEN, ESQ.          801 NORTH ORANGE AVENUE      SUITE 830        ORLANDO          FL      32801

   JAMES KNIGHT AS PR OF THE ESTATE OF GERALD KNIGHT     C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY           STE 800                                       TAMPA            FL      33609
   JAMES P. GEER                                                                      (ADDRESS REDACTED)
                                                         C/O COLLING, GILBER, WRIGHT                                    801 NORTH ORANGE AVENUE ,
   JAMES WALKER AS PR OF THE ESTATE OF LOUISE WALKER     & CARTER                     ATTN: JOSHUA MACHLUS, ESQUIRE     SUITE 830                                     ORLANDO          FL      32801
   JAMES WEEKS JR                                                                     (ADDRESS REDACTED)
   JAMESHIA LEE                                                                       (ADDRESS REDACTED)
   JAMI B. HURST                                                                      (ADDRESS REDACTED)
   JAMIE ADAMS                                                                        (ADDRESS REDACTED)
   JAMIE KURTZ                                                                        (ADDRESS REDACTED)
   JAMIE L. O'BRIEN                                                                   (ADDRESS REDACTED)
   JAMIE R. CONNER                                                                    (ADDRESS REDACTED)
   JAMIE R. STULL                                                                     (ADDRESS REDACTED)
   JAMIRA R. GREEN                                                                    (ADDRESS REDACTED)
   JAN LANTAFF AS PR OF THE ESTATE OF LARRY LANTAFF      C/O STOCKHAM LAW GROUP       ATTN: JAMES RAGANO, ESQ.          610 W. HORATIO ST.                            TAMPA            FL      33606
   JANELLE BLAKE-DOHARTY                                                              (ADDRESS REDACTED)
   JANELLE BLAKE-DOHARTY                                                              (ADDRESS REDACTED)
   JANELLE KEMP                                                                       (ADDRESS REDACTED)
   JANET M. SCHWARTZ                                                                  (ADDRESS REDACTED)
   JANET SHEARER AS PR OF THE ESTATE OF DOROTHY          C/O COLLING, GILBERT, WRIGHT
   KILPATRICK                                            & CARTER                     ATTN: GARRY RHODEN, ESQ.          801 NORTH ORANGE AVENUE      SUITE 830        ORLANDO          FL      32801
                                                         C/O GIROUX & ASSOCIATES,
   JANET SHERIFF                                         INC.                         ATTN: PETER GIROUX, ESQ.          447 THIRD AVENUE NORTH       STE 305          ST. PETERSBURG   FL      33701
   JANETTE FIELDINGS                                                                  (ADDRESS REDACTED)
   JANICE E. CHESSER                                                                  (ADDRESS REDACTED)
   JANICE K. WILSON                                                                   (ADDRESS REDACTED)
   JA'NIYA N. WILLIAMS                                                                (ADDRESS REDACTED)
   JAQUEZE HOLMES                                                                     (ADDRESS REDACTED)
   JASMINE BRADLEY                                                                    (ADDRESS REDACTED)
   JASMINE FORBES                                                                     (ADDRESS REDACTED)
   JASMINE SMITH                                                                      (ADDRESS REDACTED)
   JASON A WATSON                                                                     (ADDRESS REDACTED)
   JASON HOGLEN                                                                       (ADDRESS REDACTED)
   JASON R. MASSON                                                                    (ADDRESS REDACTED)
   JASON W. BURDETTE                                                                  (ADDRESS REDACTED)
   JASONS DELI                                           DEPT 271                     P.O. BOX 7869                                                                   HOUSTON          TX      77210-4869
   JAVONTE GIBSON                                                                     (ADDRESS REDACTED)
   JAVONTE J. GIBSON                                                                  (ADDRESS REDACTED)
   JAVOYA PETTY                                                                       (ADDRESS REDACTED)
   JAX PATIENT CARE                                                                   1431 RIVERPLACE BLVD              UNIT 1404                                     JACKSONVILLLE    FL      32207
   JAYDYN S. ANDREWS                                                                  (ADDRESS REDACTED)
   JAYSHA EDWARDS                                                                     (ADDRESS REDACTED)
   JAZMINE L. HOWELL                                                                  (ADDRESS REDACTED)




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                          Creditor Name                         Attention                        Address 1                       Address 2             Address 3             City    State       Zip      Country
                                                                                                                       20 N. ORANGE AVENUE, STE
   JEAN RIDAUGHT CARTER                               C/O MORGAN & MORGAN          ATTN: ALEXANDER CLEM, ESQ.          160                                         ORLANDO           FL      32801
   JEANA HINEGARDNER                                                               (ADDRESS REDACTED)
   JEANA M. HINEGARDNER                                                            (ADDRESS REDACTED)
   JEANINE M. MCGAVOCK                                                             (ADDRESS REDACTED)
   JEANINE MCGAVOCK                                                                (ADDRESS REDACTED)
   JEANNE WILSON AS PR OF THE ESTATE OF EULA MAE      C/O DE LA PIEDRA LAW FIRM,
   CATTELL                                            P.A.                         ATTN: JACK DE LA PIEDRA, ESQ        6 TRISTAN WAY                               PENSACOLA BEACH   FL      32561
   JEFFERY S. HOLDEN                                                               (ADDRESS REDACTED)
   JEFFREY A. CRAIG                                                                (ADDRESS REDACTED)

   JEFFREY CROOK                                      C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY             STE 800                                     TAMPA             FL      33609
   JEFFREY D. WATSON                                                              (ADDRESS REDACTED)
   JEFFREY M. BUNDY-VAN HORNE                                                     (ADDRESS REDACTED)
   JENKINS SHANNON                                                                (ADDRESS REDACTED)
   JENKINS, CLEASHA                                                               (ADDRESS REDACTED)
   JENNICIA D. DOWDELL                                                            (ADDRESS REDACTED)
   JENNIFER A. HUGHES                                                             (ADDRESS REDACTED)
   JENNIFER CHAFFIN                                                               (ADDRESS REDACTED)
   JENNIFER COTE HARRIS                                                           (ADDRESS REDACTED)
   JENNIFER D. MICKLOS                                                            (ADDRESS REDACTED)
   JENNIFER GALANO                                                                (ADDRESS REDACTED)
   JENNIFER K. MILLER                                                             (ADDRESS REDACTED)
   JENNIFER L. TRAPP                                                              (ADDRESS REDACTED)
   JENNIFER M. MEADOWS                                                            (ADDRESS REDACTED)
   JENNIFER MIEBACH AS PR OF THE ESTATE OF JULIE A.   C/O DE LA PIEDRA LAW FIRM,
   MIEBACH                                            P.A.                        ATTN: JACK DE LA PIEDRA, ESQ         6 TRISTAN WAY                               PENSACOLA BEACH   FL      32561
   JENNIFER REYES                                                                 (ADDRESS REDACTED)
   JENNIFER SCHMITZ                                                               (ADDRESS REDACTED)
   JENNIFER SCHMITZ                                                               (ADDRESS REDACTED)
   JENNIFER STUART                                                                (ADDRESS REDACTED)
   JENNIFER WINTERS                                                               (ADDRESS REDACTED)
   JENNIFER WRIGHT                                                                (ADDRESS REDACTED)
   JENNINGS HEALTHCARE, LLC                                                       1040 CROWN POINTE PKWY               STE 600                                     ATLANTA           GA      30338
   JENNINGS, JESSICA                                                              (ADDRESS REDACTED)
   JENSVOLD, SUSAN G.                                                             (ADDRESS REDACTED)
   JEREMY A. PYRON                                                                (ADDRESS REDACTED)
   JERON P. WALKER                                                                (ADDRESS REDACTED)
   JERON WALKER                                                                   (ADDRESS REDACTED)
   JERRIE A. HLAVAC                                                               (ADDRESS REDACTED)
   JERRY W LLOYD, JR.                                                             (ADDRESS REDACTED)
   JERRY W. LINTON, AS EXECUTOR OF THE ESTATE OF
   MARGARET G. LINTON                                 C/O THOMAS LAW OFFICES       ATTN: TAD THOMAS & LINDSAY CORDES   9418 NORTON COMMONS BLVD. STE. 200          LOUISVILLE        KY      40059
   JERRY W. LLOYD JR                                                               (ADDRESS REDACTED)
   JESICA MORROW                                                                   (ADDRESS REDACTED)
   JESSICA A. BEYER                                                                (ADDRESS REDACTED)
   JESSICA L. BRUBAKER                                                             (ADDRESS REDACTED)
   JESSICA N. PICKERING                                                            (ADDRESS REDACTED)
   JESSICA PICKERING                                                               (ADDRESS REDACTED)
   JESSICA Y. HELLWARTH                                                            (ADDRESS REDACTED)
   JESSIE INGRAM                                                                   (ADDRESS REDACTED)
   JESSIE M. BRUMLEY                                                               (ADDRESS REDACTED)
   JESSIKA V. JOHNSON                                                              (ADDRESS REDACTED)
   JETANNA K. MORRIS                                                               (ADDRESS REDACTED)
   JEWEL SMITH                                                                     (ADDRESS REDACTED)
   JFG LTD                                                                         4651 ROSWELL ROAD                   SUITE I-802                                 ATLANTA           GA      30342
   JILL CLARK                                                                      (ADDRESS REDACTED)
   JILL CORNETT                                                                    (ADDRESS REDACTED)
   JILL M. LAFORGE                                                                 (ADDRESS REDACTED)
                                                                                                                       333 WEST VINE STREET, STE
   JIMMY RAMEY                                        C/O MORGAN & MORGAN          ATTN: TYLER KOCH, ESQ.              1200                                        LEXINGTON         KY      40507
   JOAN M KOSANOVICH                                                               (ADDRESS REDACTED)
   JOANN MADIS                                        C/O STILLO & RICHARDSON      ATTN: KEVIN RICHARDSON, ESQ.        5402 W. LAUREL ST, STE 203                  TAMPA             FL      33607
   JOANNA L. CLEMENS                                                               (ADDRESS REDACTED)

   JOANNE JOHNSON                                     C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY             STE 800                                     TAMPA             FL      33609
   JOBS FOR FLORIDA                                                               (ADDRESS REDACTED)
   JOCELYN D. TERRY                                                               (ADDRESS REDACTED)
   JODEE SESSIONS                                                                 (ADDRESS REDACTED)
   JOEKAL SERVICES LLC                                                            814 JEROME AVENUE                                                                HILLSIDE          NJ      07205
   JOERNS LLC                                                                     7027 HAYVENHURST AVE                                                             VAN NUYS          CA      91406
   JOERNS LLC                                                                     PO BOX 714305                                                                    CINCINNATI        OH      45271-4305
   JOERNS LLC
   JOHN C. THOMAS                                                                  (ADDRESS REDACTED)




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                                                                                                      as of March 3, 2021


                          Creditor Name                            Attention                        Address 1                          Address 2                Address 3             City    State       Zip      Country
   JOHN E BRADLEY                                                                      (ADDRESS REDACTED)
   JOHN F. ELLIS                                                                       (ADDRESS REDACTED)
   JOHN GLOVER                                                                         (ADDRESS REDACTED)

   JOHN KENDRICK HOWARD, INDIVIDUALLY AND AS PERSONAL
   REPRESENTATIVE OF THE ESTATE OF WILLIAM HOWARD        C/O MILES LAW FIRM            ATTN: ERIC MILLES                   2027 THOMASVILLE ROAD        STE 102             TALLAHASSEE       FL      32308
                                                         C/O MILLES LAW FIRM (AS OF
   JOHN KENDRICK HOWARD, INDIVIDUALLY AND AS PERSONAL    7/24/2015)
   REPRESENTATIVE OF THE ESTATE OF WILLIAM HOWARD,       WAS PREVIOUSLY:
   DECEASED                                              EDWARDS & RAGATZ, PA          2027 THOMASVILLE ROAD               STE 102                                          TALLAHASSEE       FL      32308
   JOHN MCLEVY III                                                                     (ADDRESS REDACTED)
   JOHN O'TOOLE BY & THROUGH HIS POWER OF ATTORNEY
   MARY KAY O'TOOLE, HIS WIFE                            C/O STOCKHAM LAW GROUP        ATTN: JAMES RAGANO, ESQ.            610 W. HORATIO ST.                               TAMPA             FL      33606
   JOHN P. PERTICONE                                                                   (ADDRESS REDACTED)
                                                         C/O COLLING, GILBER, WRIGHT                                       801 NORTH ORANGE AVENUE ,
   JOHN PAUL AS PR OF THE ESTATE OF KAREN PAUL-BENNETT   & CARTER                      ATTN: JOSHUA MACHLUS, ESQUIRE       SUITE 830                                        ORLANDO           FL      32801
   JOHN R ZABKA ASSOCIATES INC                                                         PO BOX 376                                                                           OAKLAND           NJ      07436
   JOHN R. MCALEVY III                                                                 (ADDRESS REDACTED)
   JOHN S. SILLITER                                                                    (ADDRESS REDACTED)
                                                         ATTN: JERRY BALLMAN, VICE
   JOHN STERLING ASSOCIATES, LLC                         PRESIDENT                     8710 TANAGERWOODS DRIVE             SUITE 201                                        CINCINNATI        OH      45249
   JOHN STERLING ASSOCIATES, LLC.                                                      PO BOX 498956                                                                        CINCINNATI        OH      45249
   JOHN VAN RIPER                                                                      (ADDRESS REDACTED)
   JOHN W. JOHNSON                                                                     (ADDRESS REDACTED)
   JOHNAL SELLERS                                                                      (ADDRESS REDACTED)
   JOHNIKA DOUGLAS                                                                     (ADDRESS REDACTED)
                                                         C/O BARNARD INJURY LAW,
   JOHNNY MITCHELL ON BEHALF OF MARIANNE MITCHELL        PLLC                          ATTN: CAMERON BARNARD, ESQ.         110 S.E. 6TH ST, STE 2300                        FORT LAUDERDALE   FL      33301
   JOHNNY S. BRILEY                                                                    (ADDRESS REDACTED)
                                                         C/O MENDES, REINS &
   JOHNNY WARTHEN, JR. FOR JOHNNY RAY WARTHEN, SR.       WILANDER                      ATTN: BLAIR MENDES, ESQ.            4401 W. KENNEDY BLVD.        SUITE 250           TAMPA             FL      33609
   JOHNSON BRADLEY                                                                     (ADDRESS REDACTED)
   JOHNSON CONTROLS SECURITY SOLUTIONS LLC               SCOTT BILMEIER                6830 SHADOWRIDGE DR.                                                                 ORLANDO           FL      32812
   JOHNSON MADDOX ANDREA M                                                             (ADDRESS REDACTED)
   JOHNSON MATTIE                                                                      (ADDRESS REDACTED)
   JOHNSON, CARRIE J.                                                                  (ADDRESS REDACTED)
   JOHNSTON, DEVON                                                                     (ADDRESS REDACTED)
   JOHS, AUTUMN                                                                        (ADDRESS REDACTED)
   JOINT COMMISSION                                                                    PO BOX 734505                                                                        CHICAGO           IL      60673-4505
   JON W. ROBBINS                                                                      (ADDRESS REDACTED)
   JONAS M. GOODRIDGE                                                                  (ADDRESS REDACTED)
   JONATHAN D SHISTLE                                                                  (ADDRESS REDACTED)
   JONATHAN L. ILEA                                                                    (ADDRESS REDACTED)
   JONATHAN W. NADREAU                                                                 (ADDRESS REDACTED)
   JONES BRIAN                                                                         (ADDRESS REDACTED)
   JONES ELMO                                                                          (ADDRESS REDACTED)
   JONES FAYE                                                                          (ADDRESS REDACTED)
   JONES, DERRICK                                                                      (ADDRESS REDACTED)
   JONES, LACEY                                                                        (ADDRESS REDACTED)
   JONES, MICHAEL L.                                                                   (ADDRESS REDACTED)
   JONES, NICHOLAS                                                                     (ADDRESS REDACTED)
   JONES, SANDRA                                                                       (ADDRESS REDACTED)
   JONTAVIEN N. VICKS                                                                  (ADDRESS REDACTED)
   JONTAVIEN VICKS                                                                     (ADDRESS REDACTED)
                                                         C/O THE LAW OFFICES OF
   JONTAVIEN VICKS                                       ROTSTEIN & SHIFFMAN           ATTN: JONATHAN ROTSTEIN, ESQ.       309 OAKRIDGE BLVD            STE B               DAYTONA           FL      32118
   JORDAN A. SHEFFIELD                                                                 (ADDRESS REDACTED)
   JORDAN THOMAS                                                                       (ADDRESS REDACTED)
   JORDYN E. SMITH                                                                     (ADDRESS REDACTED)
                                                         C/O MENDES, REINS &
   JORGE MORALES                                         WILANDER                      4401 W. KENNEDY BLVD.                                                                TAMPA             FL      33609
   JOSEPH A DEMARCO                                                                    (ADDRESS REDACTED)
                                                         C/O "*SAM BEARMAN IS
                                                         DECEASED AS OF 12/2019*
   JOSEPH A. EARWOOD, SR., AS PERSONAL REPRESENTATIVE    LAW OFFICE OF SAMUEL W.
   OF THE ESTATE OF PEGGY BRAY                           BEARMAN, LC                   820 N. 12TH AVENUE                                                                   PENSACOLA         FL      32501
   JOSEPH A. EARWOOD, SR., AS PERSONAL REPRESENTATIVE    ATTN: INVENTORY ATTORNEY:
   OF THE ESTATE OF PEGGY BRAY                           ERIC SCHURGER, ESQ.           P.O. BOX 254                                                                         GULF BREEZE       FL      32562
   JOSEPH B. ROBERTS                                                                   (ADDRESS REDACTED)
   JOSEPH CLAY MEUX, JR AS PERSONAL REPRESENTATIVE OF                                                                      4401 SALISBURY ROAD, STE
   THE ESTATE OF JAMES HENDERSON                         C/O EDWARD & RAGATZ           ATTN: ERIC RAGATZ, ESQUIRE          200                                              JACKSONVILLE      FL      32216
   JOSEPH D. CONTE                                                                     (ADDRESS REDACTED)

   JOSEPH LOONEY                                         C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                          TAMPA             FL      33609




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                         Creditor Name                             Attention                     Address 1                         Address 2                 Address 3              City   State       Zip      Country
   JOSEPH M. POCIUS                                                                 (ADDRESS REDACTED)
   JOSEPH N BARWICK                                                                 (ADDRESS REDACTED)
   JOSHUA GRAY                                                                      (ADDRESS REDACTED)
   JOSHUA N. WALKER                                                                 (ADDRESS REDACTED)
   JOSIE VINCENT                                                                    (ADDRESS REDACTED)
   JOSIE VINCENT                                                                    (ADDRESS REDACTED)
   JOTENA YARBROUGH AS PR OF THE ESTATE OF ZACK          C/O WILLIAMS, NEWMAN,
   YARBROUGH                                             WILLIAMS                   ATTN: R. PAUL WILLIAMS, III, ESQ.    P.O. BOX 23785                                  JACKSON           MS      39225
   JOY ANN MORRIS                                                                   (ADDRESS REDACTED)
   JOY Y. NAGY AS PR OF THE ESTATE OF ALBERT NAGY        C/O GOUDIE & KOHN          ATTN: KIM KOHN, ESQ.                 3004 WEST CYPRESS STREET                        TAMPA             FL      33609
   JOYCE BUNCH                                           C/O WILKES & MCHUGH        ONE NORTH DALE MABRY HWY             STE 800                                         TAMPA             FL      33609
                                                                                                                         889 NORTH WASHINGTON
   JOYCE PISELLI                                         C/O MALLARD LAW FIRM, PA   ATTN: SARA MALLARD, ESQ.             BLVD.                                           SARASOTA          FL      34236
   JR WEEKS JAMES                                                                   (ADDRESS REDACTED)
   JUDITH CARRASQUILLO                                                              (ADDRESS REDACTED)
   JUDITH CARRASQUILLO                                                              (ADDRESS REDACTED)
   JUDITH CARRASQUILLO C/O SCOTT URICCHIO                                           20 N. ORANGE AVE.                                                                    ORLANDO           FL      32801
   JUDITH LYNCH AS PR OF THE ESTATE OF VERA RYMER        C/O MORGAN & MORGAN        ATTN: ISABEL BARROSO, ESQ.           12800 UNIVERSITY DR            STE 600          FORT MYERS        FL      33907
   JUDITH R. CARRASQUILLO                                                           (ADDRESS REDACTED)
   JUDY M. OXLEY                                                                    (ADDRESS REDACTED)
   JUDY PIPER AS PR OF THE ESTATE OF RICHARD WILLIAM
   PIPER                                                 C/O MORGAN & MORGAN        ATTN: ISABEL BARROSO, ESQ.           12800 UNIVERSITY DR, STE 600                    FORT MYERS        FL      33907
   JULIA COSTNER                                                                    (ADDRESS REDACTED)
   JULIA COSTNER                                                                    (ADDRESS REDACTED)
   JULIA D. MEDINA LEHR                                                             (ADDRESS REDACTED)
   JULIA ELLIOTT                                                                    (ADDRESS REDACTED)
   JULIA TAVARES AMORIM                                                             (ADDRESS REDACTED)
   JULIE D. LIU                                                                     (ADDRESS REDACTED)
   JULIE H. CASTIGLIA                                                               (ADDRESS REDACTED)
   JULIE JOHNSON                                                                    (ADDRESS REDACTED)
   JULIE K. KROLL                                                                   (ADDRESS REDACTED)
   JULIE N DANIELS EXECUTOR OF THE ESTATE OF VERTA MAE
   GRINDSTAFF                                            C/O HENSON FUERST, PA      ATTN: CARMALETTA HENSON, ESQ.        P.O. BOX 7008                                   ROCKY MOUNT       NC      27804
   JULIE ROUTH                                                                      (ADDRESS REDACTED)

   JUNE YOUNG-FARMER                                     C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY            STE 800                                         TAMPA             FL      33609
   JURBALA RICH                                                                      (ADDRESS REDACTED)
   JUSTIN K ERFANI                                                                   (ADDRESS REDACTED)
   JUSTIN K. ERFANI                                                                  (ADDRESS REDACTED)
   JUSTIN V. WINE                                                                    (ADDRESS REDACTED)
   JYOTIKA D. TAILOR                                                                 (ADDRESS REDACTED)
                                                                                                                         2658 DEL MAR HEIGHTS ROAD
   JYP ORLANDO, LLC D/B/A DATASITE ORLANDO               ATTN: JEFFREY W. BURGES    C/O BURGES PROPERTY + COMPANY        #558                                            DEL MAR           CA      92014
                                                         ATTN: ROBERT WILSON,
                                                         DIRECTOR OF SALES &
   JYP ORLANDO, LLC D/B/A DATASITE ORLANDO               MARKETING                  9701 S. JOHN YOUNG PARKWAY                                                           ORLANDO           FL      32819
   JYP ORLANDO, LLC.                                                                PO BOX 511486                                                                        LOS ANGELES       CA      90051-8041
   KABELKOM INC                                                                     17639 DEER ISLE CIR                                                                  WINTER GARDEN     FL      34787
   KAITLYN N. HOLMES                                                                (ADDRESS REDACTED)
   KAITLYNN C. MOCK                                                                 (ADDRESS REDACTED)
   KALAS GARY                                                                       (ADDRESS REDACTED)
   KALEY MAYER                                                                      (ADDRESS REDACTED)
   KALSEE J. ANDERSON                                                               (ADDRESS REDACTED)
   KANIA L. JONES                                                                   (ADDRESS REDACTED)
   KANNAPOLIS HEALTHCARE, LLC                                                       1810 CONCORD LAKE RD                                                                 KANNAPOLIS        NC      28083
   KANSAS PAYMENT CENTER                                                            PO BOX 758599                                                                        TOPEKA            KS      66675-8599
   KARA S. PLAKS                                                                    (ADDRESS REDACTED)
   KARCHER FLOOR CARE INC                                                           1998 PAYSPHERE CIRCLE                                                                CHICAGO           IL      60674
   KARCHER FLOOR CARE INC                                                           DEPT CH 19244                                                       0                PALATINE          IL      60055-9244
   KAREN A. DAVIS                                                                   (ADDRESS REDACTED)
   KAREN A. ROBBINS                                                                 (ADDRESS REDACTED)
   KAREN A. SMITH                                                                   (ADDRESS REDACTED)
   KAREN E. MOBLEY                                                                  (ADDRESS REDACTED)

   KAREN GEORGE AS PR OF THE ESTATE OF MARY PHILLIPS     C/O BURNETTI, PA           ATTN: DOUGLAS BURNETTI, ESQ.         211 SOUTH FLORIDA AVENUE                        LAKELAND          FL      33801
   KAREN H. LAHR                                                                    (ADDRESS REDACTED)
   KAREN HAYLOCK                                                                    (ADDRESS REDACTED)
   KAREN HENRY                                                                      (ADDRESS REDACTED)
   KAREN LAROCCO                                                                    (ADDRESS REDACTED)
   KAREN S. BAILEY                                                                  (ADDRESS REDACTED)
   KAREN SMITH                                                                      (ADDRESS REDACTED)
   KAREN T. SOUTHERN                                                                (ADDRESS REDACTED)
   KAREN VALCOURT-HANNAS                                                            (ADDRESS REDACTED)
   KAREN VALCOURT-HANNAS                                                            (ADDRESS REDACTED)




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                       Creditor Name                              Attention                        Address 1                            Address 2             Address 3             City    State       Zip   Country
   KARI A VALENTINE                                                                   (ADDRESS REDACTED)
   KARI A. PATRICK                                                                    (ADDRESS REDACTED)
   KATALIN KARASCONY AS PR OF THE ESTATE OF GABRIELLA
   LEFEVRE                                              C/O LOUTOS LAW                ATTN: CASSIDY LOUTOS, ESQ.            682 NE JENSEN BEACH BLVD                      JENSEN BEACH      FL      34957
   KATELYN M. SMITH                                                                   (ADDRESS REDACTED)
   KATELYNN CROFT                                                                     (ADDRESS REDACTED)
   KATELYNN M. CROFT                                                                  (ADDRESS REDACTED)
   KATHERIA MITCHELL                                                                  (ADDRESS REDACTED)
   KATHERIN GEORGE                                                                    (ADDRESS REDACTED)
                                                        C/O LAW OFFICE OF JOHN M.                                           1130 KILDAIRE FARM ROAD,
   KATHERINE EITEL                                      MCCABE, PA                    ATTN: JOHN MCCABE, ESQ.               SUITE 230                                     CARY              NC      27511
   KATHERINE L. NETTLES                                                               (ADDRESS REDACTED)
   KATHERINE M. RUSSELL                                                               (ADDRESS REDACTED)
   KATHERINE NGUYEN                                                                   (ADDRESS REDACTED)
   KATHLEEN BATTLE, ADMINISTRATOR OF THE ESTATE OF      C/O BLANCHARD, MILLER,
   PHYLLIS ELAINE BATTLE                                LEWIS & ISLEY                 ATTN: PHILIP R. MILLER, II, ESQ.      1117 HILLSBOROUGH STREET                      RALEIGH           NC      27603
   KATHLEEN DIATCHUN                                                                  (ADDRESS REDACTED)
   KATHLEEN G. ROHR                                                                   (ADDRESS REDACTED)
   KATHLEEN M. LEWIS                                                                  (ADDRESS REDACTED)
   KATHRYN BARNES                                                                     (ADDRESS REDACTED)
   KATHRYN E. WARREN                                                                  (ADDRESS REDACTED)
   KATHRYN R. PHILLIPS                                                                (ADDRESS REDACTED)
   KATHRYN WARREN                                                                     (ADDRESS REDACTED)
   KATHY ALLIBONE                                                                     (ADDRESS REDACTED)

   KATHY JOHNSON                                        C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ                 ONE TAMPA CITY CENTER        STE 700          TAMPA             FL      33602
   KATI L. TABOR                                                                  (ADDRESS REDACTED)
   KATIA HILL                                                                     (ADDRESS REDACTED)
   KATIE L. SMITH                                                                 (ADDRESS REDACTED)
                                                                                                                            ONE TAMPA CITY CENTER, STE
   KATIE OWENS                                          C/O MORGAN & MORGAN           ATTN: AL FERRERA, ESQ.                700                                           TAMPA             FL      33602
   KATINA E. CINTRON FUTRELL                                                          (ADDRESS REDACTED)
                                                                                                                            505 E. JACKSON STREET, STE
   KATINA FORD AS PR OF THE ESTATE OF BENNY LEE FORD    C/O STREETMAN LAW             ATTN: MORGAN STREETMAN, ESQ.          305                                           TAMPA             FL      33602
   KATINA KELLEY                                        C/O DE LA PIEDRA LAW FIRM     ATTN: JACK DE LA PIEDRA, ESQ.         6 TRISTAN WAY                                 PENSACOLA BEACH   FL      32561
   KATINA WILLIAMS                                                                    (ADDRESS REDACTED)
   KATINA WILLIAMS                                                                    (ADDRESS REDACTED)
   KATISHA S. ROBINSON                                                                (ADDRESS REDACTED)
   KATRINA A. HUMAN                                                                   (ADDRESS REDACTED)
   KATRINA HUMAN                                                                      (ADDRESS REDACTED)
   KATRINA PADILLA                                                                    (ADDRESS REDACTED)
   KATRINA SWEAT                                                                      (ADDRESS REDACTED)
   KATRYN ALLEN                                                                       (ADDRESS REDACTED)
   KAWANDA HUGHES                                                                     (ADDRESS REDACTED)
   KAYLA RIOS                                                                         (ADDRESS REDACTED)
   KAYLEA A. LILLIOTT                                                                 (ADDRESS REDACTED)
   KAYLEE BEASON AND NATOSHA GADDY AS CO-PR'S OF THE
   ESTATE OF CANDY KAY GADDY                            C/O WILKES & MCHUGH           ATTN: KIRSTEN SKOKOS, ESQ.            ONE NORTH DALE MABRY HWY STE 700              TAMPA             FL      33609
                                                        ATTN: JEFF RADER, SENIOR
   KBS CAPITAL ADVISORS, LLC                            VICE PRESIDENT                800 NEWPORT CENTER DRIVE, SUITE 700                                                 NEWPORT BEACH     CA      92660
                                                                                      1040 CROWN POINTE PARKWAY, SUITE
   KBS SOR CROWN POINTE, LLC                            C/O PM REALTY GROUP           100                                                                                 ATLANTA           GA      30338
   KBS SOR CROWN POINTE, LLC                            C/O PM REALTY GROUP           1040 CROWN POINTE PARKWAY             SUITE 100                                     ATLANTA           GA      30338
                                                        KBS CAPITAL ADVISORS, LLC,
                                                        ATTENTON: JEFF RADER,
   KBS SOR CROWN POINTE, LLC                            SENIOR VICE PRESIDENT,        800 NEWPORT CENTER DRIVE              SUITE 700                                     NEWPORT BEACH     CA      92660
                                                                                                                            MSC#177 KBS SOR CROWN
   KBS STRATEGIC OPPORTUNITY REIT                       KBS SOR CROWN POINTE LLC      MSC#177 KBS SOR CROWN POINTE          POINTE                                        BIRMINGHAM        AL      35202
   KD HEALTHCARE, LLC                                                                 1040 CROWN POINTE PKWY                STE 600                                       ATLANTA           GA      30338
   KEANDRA M. MCNEAL                                                                  (ADDRESS REDACTED)
   KEATON SANDRA                                                                      (ADDRESS REDACTED)
   KEEBLA M. WILLIAMS                                                                 (ADDRESS REDACTED)
   KEISHAWNDA J. ANDERSON                                                             (ADDRESS REDACTED)
   KEISHUNNA J. HAMILTON                                                              (ADDRESS REDACTED)
   KEITH E. CRUMPTON                                                                  (ADDRESS REDACTED)
   KEITH JONES AS PR OF THE ESTATE OF PAULINE JONES     C/O C. DANIELL PRUITT, ESQ.   ATTN: C. DANIELL PRUITT, ESQ.         300 PETTIGRU STREET                           GREENVILLE        SC      29601
   KEIWANNA BELTON                                                                    (ADDRESS REDACTED)
   KELLER VERONIQUE                                                                   (ADDRESS REDACTED)
   KELLY BOLTE                                                                        (ADDRESS REDACTED)
   KELLY D. BOLTE                                                                     (ADDRESS REDACTED)
   KELLY DOTSON                                                                       (ADDRESS REDACTED)
   KELLY L. WESTHOVEN                                                                 (ADDRESS REDACTED)
   KELLYANNE RODRIGUEZ                                                                (ADDRESS REDACTED)
   KELLYANNE RODRIGUEZ                                                                (ADDRESS REDACTED)




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                      Creditor Name                                Attention                       Address 1                       Address 2             Address 3             City      State       Zip      Country
   KELSEY G. LANIER                                                                  (ADDRESS REDACTED)
   KELSEY M. PALMER                                                                  (ADDRESS REDACTED)
   KEMP FOR GOVERNOR INC.                                                            P.O. BOX 5486                                                                   ATLANTA             GA      30604
   KEN C ANGEL                                                                       (ADDRESS REDACTED)
   KEN C. ANGEL                                                                      (ADDRESS REDACTED)
   KENDALL COBURN                                                                    (ADDRESS REDACTED)
   KENDRA J. FERRERO                                                                 (ADDRESS REDACTED)
   KENDRA K. PADELSKI                                                                (ADDRESS REDACTED)

                                                         C/O DELLECKER, WILSON, KING,
   KENDRA MAE MIZE AS PR OF ESTATE OF INGRID LANE        MCKENNA, RUFFIER & SOS       ATTN: KENNETH MCKENNA, ESQ.        719 VASSAR STREET                           ORLANDO             FL      32804
   KENDRA ROBINSON AS PROSPECTIVE PR OF ESTATE OF
   ONIEL ALPHANSO SENORINE                               C/O FORD, DEAN & ROTUNDO    ATTN: WILLIAM DEAN, ESQ.            3323 N.E. 163 STREET, STE 605               NORTH MIAMI BEACH   FL      33160
   KENIA J. CASTRO                                                                   (ADDRESS REDACTED)
   KENNDER MEZADIEU                                                                  (ADDRESS REDACTED)
   KENNETH BACOPOULOS                                                                (ADDRESS REDACTED)
   KENNETH CORONET                                                                   (ADDRESS REDACTED)
   KENNETH E. BOWERSOCK                                                              (ADDRESS REDACTED)
   KENNETH E. HELSEL, EXECUTOR FOR THE ESTATE OF LEROY   C/O MENDES, REINS &
   K. HELSEL, DECEASED                                   WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                 TAMPA               FL      33609
   KENNETH E. HELSEL, EXECUTOR FOR THE ESTATE OF LEROY
   K. HELSEL, DECEASED                                   C/O WILKES & MCHUGH         ATTN: RYAN DUTY, ESQ.               437 GRANT STREET, SUITE 912                 PITTSBURGH          PA      15219
   KENNETH F. CORONET                                                                (ADDRESS REDACTED)
   KENNETH S. USSERY                                                                 (ADDRESS REDACTED)
   KENNETH SPAN                                                                      (ADDRESS REDACTED)
   KENTINIQUE S. MINGO                                                               (ADDRESS REDACTED)
   KENTON FACILITY OPERATIONS, LLC                                                   800 CONCOURSE PARKWAY SOUTH                                                     MAITLAND            FL      32751
   KENTUCKY CABINET FOR HEALTH AND FAMILY SERVICES                                   275 E MAIN ST                                                                   FRANKFORT           KY      40621
   KENTUCKY DEPARTMENT OF REVENUE                                                    501 HIGH STREET                                                                 FRANKFORT           KY      40601
   KENWOOD VIEW HEALTHCARE, LLC                                                      1040 CROWN POINTE PKWY              STE 600                                     ATLANTA             GA      30338
   KENYA L. HOLMES                                                                   (ADDRESS REDACTED)
   KERI M. GALLOWAY                                                                  (ADDRESS REDACTED)
   KESUNTE P. WEAVER                                                                 (ADDRESS REDACTED)
   KETCHUM WOOD & BURGERT                                                            P O BOX 14389                                                                   TALLAHASSEE         FL      32317
   KETIA FONTUS-NOEL                                                                 (ADDRESS REDACTED)
   KETIA NOEL                                                                        (ADDRESS REDACTED)
   KEVIN NIXON                                                                       (ADDRESS REDACTED)
   KEY BANK NATIONAL ASSOCIATION                                                     8115 PRESTON ROAD, SUITE 800                                                    DALLAS              TX      75225
   KEYBANK NATIONAL ASSOCIATION                                                      8115 PRESTON ROAD, SUITE 800                                                    DALLAS              TX      75225
   KEYERA JONES                                                                      (ADDRESS REDACTED)
   KFORCE INC                                                                        (ADDRESS REDACTED)
   KFORCE INC                                                                        1001 E PALM AVE                                                                 TAMPA               FL      33605
                                                         ATTN: CONTRACTS
   KFORCE INC.                                           MANAGEMENT                  1001 EAST PALM AVENUE                                                           TAMPA               FL      33605
   KHAZRAVAN, SAMIRA                                                                 (ADDRESS REDACTED)
   KIARA RIVERA                                                                      (ADDRESS REDACTED)
   KIDBEC ENTERPRISES                                                                PO BOX 63                                                                       GOLDENROD           FL      32733
   KIERRA L. GREEN                                                                   (ADDRESS REDACTED)
   KIERRA OFFORD                                                                     (ADDRESS REDACTED)
   KIMBERLY A. BETTENDORF                                                            (ADDRESS REDACTED)
   KIMBERLY BEIGASIEWCZ                                                              (ADDRESS REDACTED)
   KIMBERLY BUCK                                                                     (ADDRESS REDACTED)
   KIMBERLY BUCK                                                                     (ADDRESS REDACTED)
   KIMBERLY CHAIRES                                                                  (ADDRESS REDACTED)
   KIMBERLY D. HESTER                                                                (ADDRESS REDACTED)
   KIMBERLY DEPIERO                                                                  (ADDRESS REDACTED)
   KIMBERLY EARNEST                                                                  (ADDRESS REDACTED)
   KIMBERLY GAMBLE                                                                   (ADDRESS REDACTED)
   KIMBERLY HAERS                                                                    (ADDRESS REDACTED)
   KIMBERLY K. FAIRCLOTH                                                             (ADDRESS REDACTED)
   KIMBERLY L. BIEGASIEWICZ                                                          (ADDRESS REDACTED)
   KIMBERLY L. EARNEST                                                               (ADDRESS REDACTED)
   KIMBERLY LEVASSEUR                                                                (ADDRESS REDACTED)
   KIMBERLY M. CARR-CHMILARSKI                                                       (ADDRESS REDACTED)
   KIMBERLY M. WASHINGTON                                                            (ADDRESS REDACTED)
   KIMBERLY SMITH                                                                    (ADDRESS REDACTED)
   KIMBERLY TAMME                                                                    (ADDRESS REDACTED)
   KIMBERLY V. MALKOS                                                                (ADDRESS REDACTED)
   KIMBERLY WASHINGTON                                                               (ADDRESS REDACTED)
   KIMWELL HEALTHCARE, LLC                                                           1040 CROWN POINTE PKWY              STE 600                                     ATLANTA             GA      30338
   KING CHRISTOPHER                                                                  (ADDRESS REDACTED)
   KING, KEUNDRA N.                                                                  (ADDRESS REDACTED)
   KINGS DAUGHTERS FACILITY OPERATIONS, LLC                                          1410 N AUGUSTA STREET                                                           STAUNTON            VA      24401-2401
   KINGSLEY LAURA                                                                    (ADDRESS REDACTED)




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                        Creditor Name                            Attention                       Address 1                        Address 2                Address 3              City   State       Zip      Country
   KIRSTIE C. GETER                                                               (ADDRESS REDACTED)
   KISNER, SANDRA                                                                 (ADDRESS REDACTED)
   KISSIMMEE FACILITY OPERATIONS, LLC                                             2511 N JOHN YOUNG PARKWAY                                                            KISSIMMEE         FL      34741-1653
   KNO2 LLC                                                                       404 S 8TH STREET                    SUITE 250                                        BOISE             ID      83702
                                                       ATTN: RANDOLPH ROOSEVELT,
   KNOWLES & RANDOLPH, P.A.                            ESQ.                        3065 HIGHLAND OAKS TERRACE                                                          TALLAHASSEE       FL      32301
   KNOX-ADAMCZAK, CATHY                                                            (ADDRESS REDACTED)
   KOLONICK II CHRISTOPHER                                                         (ADDRESS REDACTED)
   KONICA WILLIAMS                                                                 (ADDRESS REDACTED)
   KORVALABS,INC                                                                   430 SOUTH CATARACT AVE                                                              SAN DIMAS         CA      91773
   KRADESHA B. EDWARDS                                                             (ADDRESS REDACTED)
   KRISAN ALTAMIRANO                                                               (ADDRESS REDACTED)
   KRISAN ALTAMIRANO                                                               (ADDRESS REDACTED)
   KRISTI BEAUCEJOUR                                                               (ADDRESS REDACTED)
   KRISTI E. AMAN                                                                  (ADDRESS REDACTED)
   KRISTI ELAINE AMAN                                                              (ADDRESS REDACTED)
   KRISTI KINDELL                                                                  (ADDRESS REDACTED)
   KRISTI KUREK                                                                    (ADDRESS REDACTED)
   KRISTIN C. SKOLNIK                                                              (ADDRESS REDACTED)
   KRISTIN M. GARCIA                                                               (ADDRESS REDACTED)
   KRISTIN WEST                                                                    (ADDRESS REDACTED)
   KRISTINA M. FOUCH                                                               (ADDRESS REDACTED)
   KRISTINA WORTHINGTON, RD                            NUTRIHEALTH & FITNESS, INC. 8291 BARRACUDA ROAD                                                                 JACKSONVILLE      FL      32244
   KRISTINE L. VO                                                                  (ADDRESS REDACTED)
   KRISTY F. HEMBY                                                                 (ADDRESS REDACTED)
   KRISTY SAUNDERS                                                                 (ADDRESS REDACTED)
   KRISTY SAUNDERS                                                                 (ADDRESS REDACTED)
   KRONOS INCORPORATED                                                             297 BILLERICA ROAD                                                                  CHELMSFORD        MA      01824
   KRYSTAL E. HERENDEEN                                                            (ADDRESS REDACTED)
                                                       C/O MENDES, REINS &
   KRZYSZTOF NOWICKI                                   WILANDER                    ATTN: BREANNA SCHWEITZER, ESQ.     4401 W. KENNEDY BLVD.        SUITE 250           TAMPA             FL      33609
   KUHRT AMANDA                                                                    (ADDRESS REDACTED)
   KUREK KRISTI                                                                    (ADDRESS REDACTED)
   KURUIS WILLIAMS                                                                 (ADDRESS REDACTED)
   KUSH, LORI                                                                      (ADDRESS REDACTED)
   KVELL NETWORKS, LLC                                                             9100 S. DADELAND BLVD.             SUITE 1500                                       MIAMI             FL      33156
   KWANZA MCMILLIAN                                                                (ADDRESS REDACTED)
   KYLER C. HOTLEN                                                                 (ADDRESS REDACTED)
   KYLER HOTLEN                                                                    (ADDRESS REDACTED)
   KYMBERLI B. DARLING                                                             (ADDRESS REDACTED)
                                                       ATTN: ASSET MANAGEMENT -
   LA VIE CARE CENTERS, LLC                            LA VIE PORTFOLIO            3500 LENOX RD, SUITE 510                                                            ATLANTA           GA      30326
   LA VIE CARE CENTERS, LLC                            ATTN: COMPLIANCE            3500 LENOX RD, SUITE 510                                                            ATLANTA           GA      30326
   LADERRICKA BAILEY                                                               (ADDRESS REDACTED)
   LADOVIE J. THOMAS                                                               (ADDRESS REDACTED)
   LADZ GROUP                                          SPIRITPRO                   12325 WETMORE RD                                                                    SAN ANTONIO       TX      78247
   LAIQUY DAVIS                                                                    (ADDRESS REDACTED)
   LAJOHNA D. BRITT                                                                (ADDRESS REDACTED)
   LAKE PARKER FACILITY OPERATIONS, LLC                                            2020 W LAKE PARKER DRIVE                                                            LAKELAND          FL      33805-5005
   LAKEESHA FORD                                                                   (ADDRESS REDACTED)
   LAKEIDRA R. GENT                                                                (ADDRESS REDACTED)
   LAKEITHTRIS WHITE                                                               (ADDRESS REDACTED)
   LAKELAND FACILITY OPERATIONS, LLC                                               5245 N SOCRUM LOOP ROAD                                                             LAKELAND          FL      33809-4253
   LA'KENYA MCKEIVER                                                               (ADDRESS REDACTED)
   LAKESHA HORNER                                                                  (ADDRESS REDACTED)
   LAKISHA LEWIS                                                                   (ADDRESS REDACTED)
   LAKISHA LEWIS                                                                   (ADDRESS REDACTED)
   LAKOSHIA POWELL                                                                 (ADDRESS REDACTED)
   LAMAR COMPANIES                                                                 5711 W MINNESOTA                                                                    INDIANAPOLIS      IN      46241
   LAMAYA A. HARDISON                                                              (ADDRESS REDACTED)
   LAMB WALT                                                                       (ADDRESS REDACTED)
   LANCE J. JOHS                                                                   (ADDRESS REDACTED)
   LANCE JOHS                                                                      (ADDRESS REDACTED)
   LANDS END INC                                                                   1 LANDS END LANE                                                                    DODGEVILLE        WI      53595
   LANDS END INC                                                                   PO BOX 217                                                                          DODGEVILLE        WI      53533
   LANETTA J. ZAPPALA                                                              (ADDRESS REDACTED)
   LANETTA ZAPPALA                                                                 (ADDRESS REDACTED)
   LAQUANDRA FLOYD                                                                 (ADDRESS REDACTED)
   LAQUITA CINEAS                                                                  (ADDRESS REDACTED)
   LARRY MOBLEY AS EXEXUTOR DE SON TORT FOR JEANETTE
   MOBLEY                                              C/O THE TURNBULL FIRM      ATTN: SANGA TURNBULL, ESQ.          120 E. PINE STREET           STE 5               LAKELAND          FL      33801
   LASANDRA S. WINN                                                               (ADDRESS REDACTED)
   LASHELL TAYLOR AS PR OF THE ESTATE OF CATHERINE                                ATTN: JASON PAUL, ESQ. & IAN
   TAYLOR                                              C/O PAUL & PERKINS         DEPAGNIER, ESQ.                     3117 EDGEWATER DRIVE                             ORLANDO           FL      32804




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                       Creditor Name                              Attention                      Address 1                              Address 2             Address 3              City   State       Zip   Country
   LASHUNDRA K. WHITE                                                               (ADDRESS REDACTED)
   LASTER, LISA                                                                     (ADDRESS REDACTED)
   LATARSHA ASH                                                                     (ADDRESS REDACTED)
   LATASHA COLEMAN                                                                  (ADDRESS REDACTED)
   LATASHA MUNGIN                                                                   (ADDRESS REDACTED)
   LATONYA FREEMAN                                                                  (ADDRESS REDACTED)
   LATONYA LAWERY                                                                   (ADDRESS REDACTED)
   LATONYA M. LAWERY                                                                (ADDRESS REDACTED)
   LATORIA M. HAILE                                                                 (ADDRESS REDACTED)
   LATOSHA W. TOMLINSON                                                             (ADDRESS REDACTED)
   LATOYA PAUL                                                                      (ADDRESS REDACTED)
   LATOYIA M. SIMMONS                                                               (ADDRESS REDACTED)
   LATRICE A. WARREN                                                                (ADDRESS REDACTED)
   LAUGHRUN, MICHAEL                                                                (ADDRESS REDACTED)
   LAUMUA C. LOSI-MANO                                                              (ADDRESS REDACTED)
   LAURA C DATZ                                                                     (ADDRESS REDACTED)

                                                        C/O OSBORNE & FRANCIS, PLLC
                                                        (SETTLEMETN PAID TO THE
                                                        MOORE LAW GROUP)
                                                        GREGORIO FRANCIS, ESQ.      ATTN: GREGORIO FRANCIS, ESQ. & RYAN                                  805 S. KIRKMAN
   LAURA COLEBROOK                                      RYAN FLETCHER, ESQ.         FLETCHER, ESQ.                          805 S. KIRKMAN ROAD          ROAD, STE 205    ORLANDO           FL      32811
   LAURA FORD, PRO SE                                                               461 GREEN SPRING CIRCLE                                                               WINTER SPRINGS    FL      32708
   LAURA J. HARABURDA                                                               (ADDRESS REDACTED)
   LAURA J. NOBLES                                                                  (ADDRESS REDACTED)
   LAURA KINGSLEY                                                                   (ADDRESS REDACTED)
                                                                                    ATTN: JASON PAUL, ESQ. & IAN
   LAURA KNICLEY AS PR OF THE ESTATE OF PEGGY KNICLEY   C/O PAUL & PERKINS          DEPAGNIER, ESQ.                         3117 EDGEWATER DRIVE                          ORLANDO           FL      32804
   LAURA L. HOYLE                                                                   (ADDRESS REDACTED)
   LAURA M. ALLIE                                                                   (ADDRESS REDACTED)
   LAUREN A. CARLISLE                                                               (ADDRESS REDACTED)
   LAURIE A SURPRISE                                                                (ADDRESS REDACTED)
   LAURIE A. SURPRISE                                                               (ADDRESS REDACTED)
   LAVANIE VICTOR                                                                   (ADDRESS REDACTED)
   LAVANIE VICTOR                                                                   (ADDRESS REDACTED)
   LAVASHA HINES                                                                    (ADDRESS REDACTED)
   LAVENCIA COPELAND                                                                (ADDRESS REDACTED)
   LAVIE CARE CENTERS, LLC                                                          800 CONCOURSE PARKWAY SOUTH                                                           MAITLAND          FL      32751
                                                        ATTN: SPENCER KUVIN,
   LAW OFFICE OF CRAIG GOLDENFARB                       ESQUIRE                     2090 PALM BEACH LAKES BLVD              SUITE 402                                     WEST PALM BEACH   FL      33409
                                                        ATTN: CRAIG GOLDENFARB,
   LAW OFFICE OF CRAIG GOLDENFARB                       ESQUIRE                     2090 PALM BEACH LAKES BLVD              SUITE 402                                     WEST PALM BEACH   FL      33409
   LAW OFFICE OF JASON T. CORSOVER, ESQUIRE                                         950 SOUTH PINE ISLAND RD.                                                             PLANTATION        FL      33324
   LAW OFFICE OF JOHN M. MCCABE, PA                     ATTN: JOHN MCCABE, ESQ.     1130 KILDAIRE FARM ROAD, SUITE 230                                                    CARY              NC      27511
                                                        ATTN: LAURIE D. MITCHELL,
   LAW OFFICE OF LAURIE D. MITCHELL, PA                 ESQ.                        2750 NW 43RD STREET, STE 2020                                                         GAINESVILLE       FL      326060
   LAW OFFICE OF RAY S. JONES, PSC                                                  ATTN: P.O. BOX 3850                                                                   PIKEVILLE         KY      41502
                                                        ATTN: ANTHONY CRAIG DAVIS,
   LAW   OFFICE OF RAY S. JONES, PSC                    ESQ.                        11105 US HIGIHWAY 23S                                                                 BETSY LAYNE       KY      41605
   LAW   OFFICE OF SAMUEL W. BEARMAN, LC                                            820 N. 12TH AVENUE                                                                    PENSACOLA         FL      32501
   LAW   OFFICE OF SAMUEL W. BEARMAN, LC                ATTN: ERIC SCHURGER, ESQ.   P.O. BOX 254                                                                          GULF BREEZE       FL      32562
   LAW   OFFICES OF JOSHUA J. HERTZ, P.A.                                           8100 OAK LANE                           PENTHOUSE 403                                 MIAMI LAKES       FL      33016

   LAW OFFICES OF LUCAS & MAGAZINE                      ATTN: STEPHEN HASKINS, ESQ. REBECA SAYERS, ESQ.                     8606 GOVERNMENT DRIVE                         NEW PORT RICHEY   FL      34654
   LAW OFFICES OF TRENTON HILL
   LAW, JULIA                                                                        (ADDRESS REDACTED)
   LAWRENCE BONITA                                                                   (ADDRESS REDACTED)
   LAWRENCE E. RHYCE AS PR OF THE ESTATE OF MARY JANE   C/O COLLING, GILBERT, WRIGHT
   RHYCE                                                & CARTER                     ATTN: GARRY RHODEN, ESQ.               801 NORTH ORANGE AVENUE      SUITE 830        ORLANDO           FL      32801
   LAWRENCE NELSON TERRY                                                             (ADDRESS REDACTED)
   LAWSON, DE'KAYLA S.                                                               (ADDRESS REDACTED)
                                                                                     ATTN: KEVIN SPARKMAN, ESQUIRE, CHRIS   407 N. HOWARD AVENUE, STE
   LB JOHNS                                             C/O THE FLORIDA LAW GROUP LIMBEROPOULOS, ESQUIRE                    100                                           TAMPA             FL      33606
   LEAF CAPITAL FUNDING LLC                                                          PO BOX 5066                                                                          HARTFORD          CT      6102
   LEAF CAPITAL FUNDING LLC                                                          PO BOX 644006                                                                        CINCINNATI        OH      45264
   LEAF CAPITAL FUNDING, LLC                                                         P.O. BOX 742647                                                                      CINCINNATI,       OH      45274
   LEAH M. MELVIN                                                                    (ADDRESS REDACTED)
   LEAQUANDRIA ASBELL                                                                (ADDRESS REDACTED)
   LEDDA, MERISSA                                                                    (ADDRESS REDACTED)
   LEDGENT SEARCH GROUP                                                              600 GALLERIA PARKWAY                   SUITE 820                                     ATLANTA           GA      30339
   LEE & CATES GLASS INC                                                             1415 KINGSLEY AVENUE                                                                 ORANGE PARK       FL      32073
   LEE FLORINE                                                                       (ADDRESS REDACTED)
   LEE FLORINE                                                                       (ADDRESS REDACTED)
   LEGENDS FACILITY OPERATIONS, LLC                                                  800 CONCOURSE PARKWAY SOUTH                                                          MAITLAND          FL      32751




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                                                                                                       Redacted Creditor Matrix
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                          Creditor Name                             Attention                         Address 1                         Address 2                 Address 3               City   State       Zip      Country
   LEIGH A. BARON                                                                      (ADDRESS REDACTED)
   LEKEDRA SMITH                                                                       (ADDRESS REDACTED)
   LENEIR BRITT                                                                        (ADDRESS REDACTED)
   LENOVO INC                                                                          1009 THINK PLACE                                                                       MORRISVILLE        NC      27560
   LENOVO INC                                                                          PO BOX 643055                                                                          PITTSBURGH         PA      15264
   LENOX G. WILLIAMS                                                                   (ADDRESS REDACTED)
   LEON A. FENKNER                                                                     (ADDRESS REDACTED)
                                                          C/O SCHULER, HALVORSON,
                                                          WEISSER, ZOELLER AND                                                                               BARRISTERS
   LEON LIPSICK AS POA FOR DAVID LIPSICK                  OVERBECK                     ATTN: MICHAEL BAXTER, ESQ.             1615 FORUM PLACE, STE 4-D      BUILDING         WEST PALM BEACH    FL      33401
   LEONARD PARSONS AS ADMINISTRATOR OF ESTATE OF SAINT    C/O RAY JONES LAW WITH
   PARSONS                                                DAVIS LAW                    P.O. BOX 3850                                                                          PIKEVILLE          KY      41502
   LEONARD PARSONS AS ADMINISTRATOR OF ESTATE OF SAINT    ATTN: ANTHONY CRAIG DAVIS,
   PARSONS                                                ESQ.                         11105 US HIGHWAY 23S                                                                   BETSY LAYNE        KY      41605
   LEONORA SCHULTE                                                                     (ADDRESS REDACTED)
                                                          C/O MENDES, REINS &
   LEROY BINES                                            WILANDER, PLLC               ATTN: BREANNA SCHWEITZER, ESQ.         4401 W. KENNEDY BLVD.          SUITE 250        TAMPA              FL      33609
   LESILE J. SHANNAHAN                                                                 (ADDRESS REDACTED)
   LESLIE GOULDSBY                                                                     (ADDRESS REDACTED)
   LESLIE K. GOULDSBY                                                                  (ADDRESS REDACTED)
   LESLIE ROWE AD PR OF THE ESTATE OF LESLIE PALMER       C/O KOHN LAW                 ATTN: KIM KOHN, ESQ.                   3004 WEST CYPRESS STREET                        TAMPA              FL      33609
   LESSIE V. BOLDEN                                                                    (ADDRESS REDACTED)
   LEV DIAGNOSTICS LLC                                                                 (ADDRESS REDACTED)
   LEVEL 3 COMMUNICATIONS                                                              1025 ELDORADO BLVD.                                                                    BROOMFIELD         CO      80021
   LEVEL 3 COMMUNICATIONS LLC                                                          PO BOX 910182                                                                          DENVER             CO      80291-0182
   LEVEL 3 COMMUNICATIONS, LLC                                                         1025 ELDORADO BOULEVARD                                                                BROOMFIELD,        CO      80021
   LEVERETT, PENNY                                                                     (ADDRESS REDACTED)
   LEVIN, PAPANTINIO, THOMAS, MITHCELL, RAFFERTY &
   PROCTOR, PA                                            ATTN: CLAY MITCHELL, ESQ.    316 SOUTH BAYLEN STREET, STE 600                                                       PENSACOLA          FL      32502
   LEW ELECTRICAL SERVICES, LLC.                                                       4422 N 56TH STREET                                                                     TAMPA              FL      33610-7120
   LEWANA JACKSON                                                                      (ADDRESS REDACTED)
   LEWIS, BRITTANY                                                                     (ADDRESS REDACTED)
   LEWIS, SHEILA                                                                       (ADDRESS REDACTED)
   LEXINGTON INSURANCE CO                                                              99 HIGH STREET                                                                         BOSTON             MA      02110
   LEXISNEXIS RISK SOLUTIONS                                                           28330 NETWORK PLACE                    BILLING ID 1590806                              CHICAGO            IL      60673-1283
   LIBBY HEALTHCARE, LLC                                                               1040 CROWN POINTE PKWY                 STE 600                                         ATLANTA            GA      30338
   LIBERTY AMBULANCE SERVICE INC                                                       1626 ATLANTIC UNIVERSITY CIR                                                           JACKSONVILLE       FL      32207
   LIBERTY AMBULANCE SERVICE, INC.                                                     1626 ATLANTIC UNIVERSITY CIRCLE                                                        JACKSONVILLE       FL      32207
                                                          UNCLE BOBS SELF
   LIFE STORAGE LP                                        STORAGE#847                  1274 CROWN POINTE PARKWAY                                                              DUNWOODY           GA      30338

   LILLIAN COLEMAN ANDERSON, AS EXECUTRIX OF ESTATE OF
   SELENA LITTLE AND OBO CAMERON HILL AND DESTINY HILL    C/O WILKES & MCHUGH          ONE NORTH DALE MABRY HWY               STE 800                                         TAMPA              FL      33609

   LILLIAN COLEMAN ANDERSON, AS EXECUTRIX OF ESTATE OF
   SELENA LITTLE AND OBO CAMERON HILL AND DESTINY HILL    C/O CARTER & LUCAS           151 MAIN STREET                        P.O. BOX 852                                    PIKEVILLE          KY      41502
   LINCARE, INC.                                                                       19387 U.S. 19 NORTH                                                                    CLEARWATER         FL      33764
   LINCOLN CENTER HEALTHCARE, LLC                                                      1040 CROWN POINTE PKWY                 STE 600                                         ATLANTA            GA      30338
   LINDA M. PETERSON                                                                   (ADDRESS REDACTED)
   LINDA MAY                                                                           (ADDRESS REDACTED)

   LINDA NUYEN                                            C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY                STE 800                                         TAMPA              FL      33609
   LINDA SEARLES FOR THE ESTATE OF ROBERT SEARLES         C/O HARMON PARKER, PA       ATTN: THOMAS HARMON, ESQ.               110 NORTH 11TH STREET          2ND FLOOR        TAMPA              FL      33602
   LINDA SKINNER, ON BEHALF OF THE AND FOR THE USE AND
   BENEFIT OF THE WRONGFUL DEATH BENEFICIARIES OF         C/O WILLIAMS, NEWMAN,
   LAURA MCGEE                                            WILLIAMS                     ATTN: R. PAUL WILLIAMS, III, ESQ.      P.O. BOX 23785                                  JACKSON            MS      39225
   LINDA TAYLOR                                                                        (ADDRESS REDACTED)
   LINDIA LEE AS PR OF THE ESTATE OF KATHYLEEN STOUFER,   C/O FREEDLAND, HARWIN,
   ROBBIE REEDER AND SHERILL FETTING                      VALORI JOE DISCEPOLA, ESQ.   ATTN: CAMERON BARNARD, ESQ.            110 S.E. 6TH ST, STE 2300                       FORT LAUDERDALE    FL      33301
   LINDSAY A. MILLS                                                                    (ADDRESS REDACTED)
   LINDSEY JONES                                                                       (ADDRESS REDACTED)
   LINDSEY M. MCHARGUE                                                                 (ADDRESS REDACTED)
   LINDSEY M. MELTON                                                                   (ADDRESS REDACTED)
   LINDSEY ROHRBAUGH                                                                   (ADDRESS REDACTED)
   LINDSEY ROHRBAUGH                                                                   (ADDRESS REDACTED)
   LING LU                                                                             (ADDRESS REDACTED)
   LINKEDIN                                                                            1000 WEST MAUDE AVENUE                                                                 SUNNYVALE          CA      94085
   LINKEDIN CORPORATION                                                                62228 COLLECTIONS CENTER DR                                                            CHICAGO            IL      60693-0622

   LIONEL HINSON                                          C/O BLOODWORTH LAW, PLLC     ATTN: J. KEMP BRINSON, ESQ.            801 N. MAGNOLIA AVE, STE 216                    ORLANDO            FL      32803
   LISA A. HAGIN                                                                       (ADDRESS REDACTED)
   LISA A. MORGIA                                                                      (ADDRESS REDACTED)
   LISA BOWERSOCK                                                                      (ADDRESS REDACTED)
   LISA HAGIN                                                                          (ADDRESS REDACTED)




In re: CMC II, LLC, et al.
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                          Creditor Name                              Attention                       Address 1                      Address 2                 Address 3                 City    State       Zip       Country
   LISA HILL                                                                         (ADDRESS REDACTED)
   LISA MAJOR                                                                        (ADDRESS REDACTED)
   LISA S. FURTH                                                                     (ADDRESS REDACTED)
   LISA TOMPKINS                                                                     (ADDRESS REDACTED)
   LIVE OAK PEST CONTROL                                                             17856 US HWY 129                                                                        MCALPIN            FL      32062
   LIVING INTERIORS, LLC.                                                            PO BOX 540977                                                                           ORLANDO            FL      32854-0977
   LIVING LIFE WITH PURPOSE                                                          8489 CABIN HILL ROAD                                                                    TALLAHASSEE        FL      32311
   LIVINGSTONE AVRI L                                                                (ADDRESS REDACTED)
   LIZETTE NIEVES AS SURVIVING SISTER OF GINETTE RIVERA,
   DECEASED                                                C/O WILKES & MCHUGH, PA   ONE NORTH DALE MABRY HWY, STE 800                                                       TAMPA              FL      33609
   LIZETTE NIEVES AS SURVIVING SISTER OF GINETTE RIVERA,   C/O MENDES, REINS &
   DECEASED                                                WILANDER                  4401 W. KENNEDY BLVD. SUITE 250                                                         TAMPA              FL      33609
                                                                                                                                                                                                                     UNITED
   LLOYD'S OF LONDON                                                                 ONE LIME STREET                                                                         LONDON                     EC3M 7HA     KINGDOM
   LOCKE STACEY                                                                      (ADDRESS REDACTED)
   LOCKETT ERNESTINE                                                                 803 OAK STREET                                                                          GREENCOVESPRINGS   FL      32043
   LOCUST GROVE FACILITY OPERATIONS, LLC                                             69 COTTAGE ROAD                                                                         MIFFLIN            PA      17058-7030
   LOGAN D. NICHOLS                                                                  (ADDRESS REDACTED)
   LOGAN NICHOLS                                                                     (ADDRESS REDACTED)
   LOGAN, TANGELA                                                                    (ADDRESS REDACTED)
   LOJEK AGNES                                                                       (ADDRESS REDACTED)
   LONGO, RICHARD                                                                    (ADDRESS REDACTED)
   LOPES VIVIAN G                                                                    (ADDRESS REDACTED)
   LORENDE JEAN-FRANCOIS                                                             (ADDRESS REDACTED)
   LORI PEARSON                                                                      (ADDRESS REDACTED)
   LORNA V. PEREDO                                                                   (ADDRESS REDACTED)
   LOU ANN EFFENBERGER                                                               (ADDRESS REDACTED)

   LOUIS JEAN-LOUIS SR                                     C/O MORGAN & MORGAN       ATTN: ISABEL BARROSO, ESQ.           12800 UNIVERSITY DR, STE 600                       FORT MYERS         FL      33907
   LOUISE ELAM                                                                       (ADDRESS REDACTED)
   LOUISIANA DEPARTMENT OF REVENUE                                                   617 NORTH THIRD STREET                                                                  BATON ROUGE        LA      70802
   LOUK JOHN                                                                         (ADDRESS REDACTED)
   LOVANA LOUIS                                                                      (ADDRESS REDACTED)
   LOWE CHELSEA J                                                                    (ADDRESS REDACTED)
   LTC INSURANCE ASSOCIATES, LLC                                                     1040 CROWN POINTE PKWY               STE 600                                            ATLANTA            GA      30338
   LUCAS ASSOCIATES INC                                                              PO BOX 638364                                                                           CINCINNATI         OH      45263-8364
   LUCAS GROUP                                                                       950 EAST PACES FERRY ROAD NE         SUITE 2300                     ONE ATLANTA PLAZA   ATLANTA            GA      30326
   LUCASVILLE I FACILITY OPERATIONS, LLC                                             800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LUCASVILLE II FACILITY OPERATIONS, LLC                                            800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LUCIA MOON                                                                        (ADDRESS REDACTED)
                                                           C/O MENDES, REINS &
   LUCILLE BUTLER, BY & THROUGH PR, REGINA VAN SICKLE      WILANDER                  4401 W. KENNEDY BLVD. SUITE 250                                                         TAMPA              FL      33609
                                                           C/O WILKES & MCHUGH -
   LUCILLE BUTLER, BY & THROUGH PR, REGINA VAN SICKLE      PHILADELPHIA              1601 CHERRY STREET, STE 1300                                                            PHILADELPHIA       PA      19102
   LUIS RODENAS                                                                      (ADDRESS REDACTED)
   LUISA MARQUEZ, AS POWER OF ATTORNEY FOR JULIO
   MARQUEZ                                                 C/O PAUL & PERKINS        ATTN: IAN DEPAGNIER, ESQ.            3117 EDGEWATER DRIVE                               ORLANDO            FL      32804
                                                                                     ATTN: JASON PAUL, ESQ &.IAN
   LUTHENIA HAYES AS PR OF THE ESTATE OF DON HOWARD        C/O PAUL & PERKINS        DEPAGNIER, ESQ.                      3117 EDGEWATER DRIVE                               ORLANDO            FL      32804
   LUTHER RIDGE FACILITY OPERATIONS, LLC                                             160 RED HORSE ROAD                                                                      POTTSVILLE         PA      17901-4209
   LUVELVA K. HACKER                                                                 (ADDRESS REDACTED)
   LUZ VILLAFANE AS POWER OF ATTORNEY FOR MONSERRATE
   OSUNA RODRIGUEZ                                         C/O STOCKHAM LAW GROUP    ATTN: JAMES RAGANO, ESQ.             610 W. HORATIO ST.                                 TAMPA              FL      33606
   LV CHC HOLDINGS I, LLC                                                            800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LV INVESTMENT, LLC                                                                800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LV OPERATIONS I, LLC                                                              800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LV OPERATIONS II, LLC                                                             800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LVE HOLDCO, LLC                                                                   800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LVE MASTER TENANT 1, LLC                                                          800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LVE MASTER TENANT 2, LLC                                                          800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LVE MASTER TENANT 3, LLC                                                          800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LVE MASTER TENANT 4, LLC                                                          800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LVFH MASTER TENANT, LLC                                                           800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LVSC HOLDINGS, LLC                                                                800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LVT MASTER TENANT, LLC                                                            800 CONCOURSE PARKWAY SOUTH                                                             MAITLAND           FL      32751
   LYBARGER, CANDACE                                                                 (ADDRESS REDACTED)
   LYNN WALSH                                                                        (ADDRESS REDACTED)
   LYONS MICHAEL                                                                     (ADDRESS REDACTED)
   LYRA BRIDGES                                                                      (ADDRESS REDACTED)
   LYRA J. BRIDGES                                                                   (ADDRESS REDACTED)
   LYRICS L. DAVIS                                                                   (ADDRESS REDACTED)
   LYTAL, REITER, SMITH, IVEY & FRONRATH                   ATTN: DARLA KEEN, ESQ.    NORTHBRIDGE CENTER, 10TH FLOOR       515 N. FLAGLER DRIVE                               WEST PALM BEACH    FL      33401
   M & N PARTY STORE                                                                 PO BOX 64784                                                                            ST PAUL            MN      55164-074
   MA HEALTHCARE HOLDING COMPANY, LLC                                                1040 CROWN POINTE PKWY               STE 600                                            ATLANTA            GA      30338




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                          Creditor Name                            Attention                      Address 1                            Address 2             Address 3              City    State       Zip      Country
   MABEL Y. GAI                                                                      (ADDRESS REDACTED)
                                                                                                                           RECEIVING THORTON RD
   MAC PAPERS                                                                        460 RIVERSIDE PKY                     ENTRANCE                                      LITHIA SPRINGS     GA      30122
   MACERI, ANTHONY                                                                   (ADDRESS REDACTED)
   MACLEAN-RIGGINS INC                                                               2381 VENTURA RD SE                                                                  SMYRNA             GA      30080
   MACON CO COURT OF GENERAL                            SESSIONS                     904 HWY 52 BYPASS E                                                                 LAFAYETTE          TN      37083
   MADELINE MANSFIELD AS PR OF THE ESTATE OF MAE
   EPSTEIN                                              C/O FERDERIGOS & LAMBE       ATTN: MICHAEL FERDERIGOS, ESQ.        941 N. ORANGE AVENUE                          WINTER PARK        FL      32789
   MADELINE T. MCCLELLAN                                                             (ADDRESS REDACTED)
   MADISON CO MEMORIAL HOSPITAL                                                      309 NE MARION ST                                                                    MADISON            FL      32340
   MADISON COUNTY MEMORIAL                              HOSPITAL                     309 NE MARION ST                                                                    MADISON            FL      32340-2511
   MADISON M. ELLIOTT                                                                (ADDRESS REDACTED)
   MADISON S. LUTHER                                                                 (ADDRESS REDACTED)
   MADONNA, JESSE                                                                    (ADDRESS REDACTED)
   MAEGAN GIBSON                                                                     (ADDRESS REDACTED)
   MAGEE BRENDA                                                                      (ADDRESS REDACTED)
   MAGEN CARLTON                                                                     (ADDRESS REDACTED)
   MAITLAND CONCOURSE                                                                104 S CASCADE AVE STE 90                                                            COLORADO SPRINGS   CO      80903
   MAITLAND CONCOURSE HOLDINGS                                                       PO BOX 865718                                                                       ORLANDO            FL      32886-5718
   MAJORITY FORWARD FUND                                                             700 13TH STREET N.W.                  SUITE 600                                     WASHINGTON         DC      20005
   MALENKE STANLEY                                                                   (ADDRESS REDACTED)
   MALLORY STATION STORAGE                                                           309 MALLORY STATION ROAD                                                            FRANKLIN           TN      37067
   MANCUSO & DIAS PA                                                                 5102 WEST LAUREL ST                   SUITE 700                                     TAMPA              FL      33607
   MANDELBAUM TRICHLER LAW CENTER                       ATTN: ERNIE TRICHLER, ESQ.   6528 GUNN HIGHWAY                                                                   TAMPA              FL      33625
   MANDY BUTCHER AS ADMINISTRATRIX OF THE ESTATE OF
   DAN MEADE                                            C/O MORGAN & MORGAN          ATTN: TYLER KOCH, ESQ.                333 WEST VINE STREET         STE 1200         LEXINGTON          KY      40507
   MANGUM. MICHAEL                                                                   (ADDRESS REDACTED)
   MANHATTAN TELECOMMUNICATIONS CORPORATION D/B/A
   METROPOLITAN TELECOMMUNICATIONS A/K/A METTEL         CONTRACT DEPARTMENT          55 WATER STREET                       32ND FLOOR                                    NEW YORK           NY      10041
   MANHATTAN TELECOMMUNICATIONS CORPORATION D/B/A
   METROPOLITAN TELECOMMUNICATIONS A/K/A METTEL                                      55 WATER STREET                       32ND FLOOR                                    NEW YORK           NY      10041
   MANLEY, CAROL ANN                                                                 (ADDRESS REDACTED)
   MANOLO D. GARCIA                                                                  (ADDRESS REDACTED)
   MANOR AT ST. LUKE VILLAGE FACILITY OPERATIONS, LLC                                1711 E BROAD STREET                                                                 HAZLETON           PA      18201-5691
   MANSFIELD ENERGY CORP                                                             FEIN XX-XXXXXXX                       PO BOX 733706                                 DALLAS             TX      75373-3706
   MANSOUR, SARMAD                                                                   (ADDRESS REDACTED)

   MAPALL TRIBLING AS PERSONAL REPRESENTATIVE DE SON
   TORT OF THE ESTATE OF VACELIA BRANDON, DECEASED      C/O BARNES TRIAL GROUP       ATTN: STEPHEN BARNES, ESQUIRE         505 SOUTH MAGNOLIA AVE                        TAMPA              FL      33606
   MARBIN N. DIAZ-DIAZ                                                               (ADDRESS REDACTED)
   MARCADIS SINGER PA                                                                (ADDRESS REDACTED)
   MARCER AUGUSTE                                                                    (ADDRESS REDACTED)
   MARCIA JILL JACOBSON                                                              (ADDRESS REDACTED)
   MARCIA WILLIAMS                                                                   (ADDRESS REDACTED)
   MARCOMCENTRAL                                        ATTN: CONTRACTS              201 LOOMAS SANTA FE DRIVE             SUITE 300                                     SOLANA BEACH       CA      92075
   MARDRINA ROBERTS                                                                  (ADDRESS REDACTED)
   MARGARET A. HUGHES                                                                (ADDRESS REDACTED)
   MARGARET HUGHES                                                                   (ADDRESS REDACTED)
   MARGRAF PAMELA                                                                    (ADDRESS REDACTED)
   MARIA A. DEPINA                                                                   (ADDRESS REDACTED)
   MARIA A. SEGER                                                                    (ADDRESS REDACTED)
   MARIA BAUTISTA                                                                    (ADDRESS REDACTED)
   MARIA C. HEINLEIN                                                                 (ADDRESS REDACTED)
   MARIA DE LOS ANGELES GONZALEZ                        C/O THE COIA LAW GROUP       215 NE 98TH ST                                                                      MIAMI SHORES       FL      33138
   MARIA I. RIVAS                                                                    (ADDRESS REDACTED)
   MARIA L. BAUTISTA                                                                 (ADDRESS REDACTED)
   MARIA MARQUEZ                                                                     (ADDRESS REDACTED)
   MARIA ZOMCHEK                                                                     (ADDRESS REDACTED)
   MARIA ZOMCHEK                                                                     (ADDRESS REDACTED)
   MARIANNE MCINTYRE AS POA FOR FRANCIS TAPOLCI         C/O WILKES & MCHUGH          ONE NORTH DALE MABRY HWY                                                            TAMPA              FL      33609
   MARIANNE R. ADERO-JONES                                                           (ADDRESS REDACTED)
   MARIBEL MEDINA                                                                    (ADDRESS REDACTED)
   MARIE DANIEL                                                                      (ADDRESS REDACTED)
   MARIE MILENA LOUBEAU, PR OF THE ESTATE OF SEMANCE    C/O FREEDLAND HARWIN
   ANTOINE                                              VALORI, PLLC                 ATTN: CAMERON BARNARD, ESQ.           110 S.E. 6TH ST, STE 2300                     FORT LAUDERDALE    FL      33301
   MARIE RIZZOTTO BY AND THROUGH DAVID L. WOODHOUSE,    C/O MENDES, REINS &
   PLENARY GUARDIAN                                     WILANDER                     4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA              FL      33609
   MARIE RIZZOTTO BY AND THROUGH DAVID L. WOODHOUSE,
   PLENARY GUARDIAN                                     C/O WILKES & MCHUGH, P.A.    ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA              FL      33609
   MARIE T. PROPHETE                                                                 (ADDRESS REDACTED)
   MARIE THEAUNIE FRANCIS BY AND THROUGH RONELDA
   FRANCIS, ATTORNEY-IN-FACT                            C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY               STE 800                                       TAMPA              FL      33609
   MARIE WILSON                                         C/O NEXTGEN INJURY LAW      ATTN: THOMAS CHAPMAN, ESQ.             515 N. FLAGLER DRIVE         STE P-300        WEST PALM BEACH    FL      33401
   MARIELYS ANDINO GONZALEZ                                                         (ADDRESS REDACTED)




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                       Creditor Name                               Attention                        Address 1                       Address 2                    Address 3              City   State     Zip     Country
   MARIETTA DC, LLC.                                                                  2658 DEL MAR HEIGHTS RD.            #558                                               DEL MAR           CA    92014
   MARILYN M. NALLEY                                                                  (ADDRESS REDACTED)
   MARISSA ASBELL                                                                     (ADDRESS REDACTED)
   MARJORIE YURCEVICH AS PR OF THE ESTATE OF DENNIS
   YURCEVICH                                             C/O MORGAN & MORGAN          ATTN: WESLEY RANDOLPH, ESQ.         12800 UNIVERSITY DR, STE 600                       FORT MYERS        FL   33907
   MARK D. PETERSON                                                                   (ADDRESS REDACTED)
   MARK MERRIMAN                                                                      (ADDRESS REDACTED)
   MARK MERRIMAN                                                                      (ADDRESS REDACTED)
   MARK SNELL AS PERSONAL REPRESENTATIVE FOR ELCIE
   BARKER                                                C/O SMITH & STALLWORTH       ATTN: SANGA TURNBULL, ESQ.          120 E. PINE STREET             STE 5               LAKELAND          FL   33801
   MARK T. CRANDALL                                                                   (ADDRESS REDACTED)
                                                         ATTENTION: MICHAEL B. LA
   MARKET WEAVER, LLC                                    BARBERA, PRES.               7357 SOUTHSIDE AVENUE                                                                  MADIERA           OH   45243
   MARKISHA JENKINS                                                                   (ADDRESS REDACTED)

   MARKS, BALETTE, GIESSEL & YOUNG, PLLC                 ATTN: JACQUES BALETTE, ESQ. 7521 WESTVIEW                                                                           HOUSTON           TX   77055
   MARLENE C. ANDREOLI                                                               (ADDRESS REDACTED)
   MARLON BARNACIA                                                                   (ADDRESS REDACTED)
   MARLON BARNACIA                                                                   (ADDRESS REDACTED)
   MARRERRO-POMPA, KARLA                                                             (ADDRESS REDACTED)
   MARSH USA INC                                                                     PO BOX 846015                                                                           DALLAS            TX   75284-6015
   MARSH USA INC                                                                     101 STARCREST DRIVE                                                                     CLEARWATER        FL   33765
   MARSHA S. ROBINSON                                                                (ADDRESS REDACTED)
   MARSHALL HEALTH & REHAB CTR                                                       207 MARSHALL DRIVE                                                                      PERRY             FL   32347
   MARSHALL HEALTH- PETTY CASH                           CYNTHIA WILT                CYNTHIA WILT
   MARSHALL HEALTH- PETTY CASH                           PAULA TWITTY                207 MARSHALL DRIVE                                                                      PERRY             FL   32347
   MARTEL LINDA                                                                      (ADDRESS REDACTED)

   MARTHA M. WOOD BY AND THROUGH JAMES ABERCROMBIE       C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY             STE 800                                            TAMPA             FL   33609
   MARTIN, JASON                                                                     (ADDRESS REDACTED)
   MARTIN, KEMP                                                                      (ADDRESS REDACTED)
   MARTIN, WHITNEY                                                                   (ADDRESS REDACTED)
   MARTZ PATRICIA                                                                    (ADDRESS REDACTED)
   MARTZ PATRICIA                                                                    (ADDRESS REDACTED)
   MARVIN P. COLLINS                                                                 (ADDRESS REDACTED)
   MARY BELLAMY                                                                      (ADDRESS REDACTED)
   MARY CLEVELAND                                                                    (ADDRESS REDACTED)
   MARY COLON                                                                        (ADDRESS REDACTED)
   MARY GARL                                                                         (ADDRESS REDACTED)
   MARY HOLT BY AND THROUGH TERESA MARGRAF, AS                                                                            1112 CHANNELSIDE DRIVE STE
   PERSONAL REPRSENTATIVE OF THE ESTATE                  C/O DISTASIO LAW FIRM        ATTN: SCOTT DISTASIO, ESQ.          5                                                  TAMPA             FL   33602
   MARY IDA TOWNSON                                                                   CHAPTER 13 TRUSTEE                  STE 2200                                           ATLANTA           GA   30303-1740

   MARY JEWELL FOR WILLIAM JEWELL, DECEASED              C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY             STE 800                                            TAMPA             FL   33609
   MARY JILL HARDIN                                                                  (ADDRESS REDACTED)
   MARY LEE MELLON BY AND THROUGH AMANDA WOOD,
   ATTORNEY IN FACT AS ATTORNEY IN FACT BY VIRTUE OF A   C/O NORTH PORT LAW FIRM OF
   DURABLE POWER OF ATTORNEY                             ATTORNEY JAMES KEIM, PA    ATTN: JAMES KEIM, ESQ                 P.O. BOX 7810                                      NORTH PORT        FL   34290

   MARY M. CONWAY                                        C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ              ONE TAMPA CITY CENTER          STE 700             TAMPA             FL   33602
   MARY M. NIELSEN                                                                 (ADDRESS REDACTED)
                                                                                                                          407 N. HOWARD AVENUE, STE
   MARY MEARS AS PR OF THE ESTATE OF CHARLES MEARS       C/O THE FLORIDA LAW GROUP    ATTN: CHRIS LIMBEROPOULOS, ESQ.     100                                                TAMPA             FL   33606
   MARY RUFF                                                                          (ADDRESS REDACTED)
   MARY SANSANESE                                                                     (ADDRESS REDACTED)
   MARY SANSANESE                                                                     (ADDRESS REDACTED)
   MARY STABLE                                                                        (ADDRESS REDACTED)
   MARY THOMASSON                                                                     (ADDRESS REDACTED)
   MARY U. ROBERTS                                                                    (ADDRESS REDACTED)
   MARY WILLIAMS AS PR OF THE ESTATE OF LEONARD          C/O DE LA PIEDRA LAW FIRM,
   WILLIAMS                                              P.A.                         ATTN: JACK DE LA PIEDRA, ESQ        6 TRISTAN WAY                                      PENSACOLA BEACH   FL   32561
   MARY Y. VAZQUEZ                                                                    (ADDRESS REDACTED)

   MARY ZARRO                                            C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ              ONE TAMPA CITY CENTER          STE 700             TAMPA             FL   33602
   MARYAN GEBRIAL                                                                  (ADDRESS REDACTED)
   MARYELLEN BELL                                                                  (ADDRESS REDACTED)
   MARYLAND DEPT OF HEALTH AND MENTAL HYGIENE                                      201 W PRESTON ST                                                                          BALTIMORE         MD   21201
                                                                                                                          CHILD SUPPORT
   MASSACHUSETTS DEPT OF REV-GARN                                                     PO BOX 55140                        ENFORCEMENT DIVI                                   BOSTON            MA   02205-5140
   MASSEY, ANDREW                                                                     (ADDRESS REDACTED)
   MASSON JASON R.                                                                    (ADDRESS REDACTED)
   MASTERS TINA                                                                       (ADDRESS REDACTED)
   MATHIEU S. BEAULIEU                                                                (ADDRESS REDACTED)
   MATHIS KATIE                                                                       (ADDRESS REDACTED)




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                          Creditor Name                          Attention                     Address 1                        Address 2                Address 3              City   State       Zip      Country
   MATT A. BILEWICZ                                                               (ADDRESS REDACTED)
   MATTHEW B. DUNCAN                                                              (ADDRESS REDACTED)
                                                      C/O BROOKS,LEBOEUF,
                                                      BENENTT, FOSTER &
   MATTHEW CUNNINGHAM AND FAYE CUNNINGHAM             GWARTNEY, PA                ATTN: SCOTT GWARTNEY, ESQ.         909 EAST PARK AVENUE                            TALLAHASSEE       FL      32301
   MATTHEW T. WAGNER                                                              (ADDRESS REDACTED)
   MATTHEW TYMPANICK                                                              (ADDRESS REDACTED)

   MATTIE HARRIS                                      C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY           STE 800                                         TAMPA             FL      33609
   MATTIX DEBRA                                                                   (ADDRESS REDACTED)
   MAUDE A ROMEO                                                                  (ADDRESS REDACTED)
   MAUDE A. ROMEO                                                                 (ADDRESS REDACTED)
   MAXIME GERMULUS                                                                (ADDRESS REDACTED)
   MAXUM INDEMNITY COMPANY                                                        3655 NORTH POINT PARKWAY, #500                                                     ALPHARETTA        GA      30005
   MAYDA M. PACHECO                                                               (ADDRESS REDACTED)
   MAYRA WELD ON BEHALF OF MARGARITA WELD             C/O SMITH & STALLWORTH      ATTN: SANGA TURNBULL, ESQ.         120 E. PINE STREET          STE 5               LAKELAND          FL      33801

   MAYRA WELD ON BEHALF OF MARGARITA WELD, DECEASED   C/O SMITH & STALLWORTH      ATTN: SANGA TURNBULL, ESQ.         120 E. PINE STREET          STE 5               LAKELAND          FL      33801
   MCCOMB HEALTHCARE, LLC                                                         501 S. LOCUST                                                                      MCCOMB            MS      39648
   MCCULLOUGH GLORIA                                                              (ADDRESS REDACTED)
   MCCUNE TAMULETT                                                                (ADDRESS REDACTED)
   MCELHINEY, JOSHUA                                                              (ADDRESS REDACTED)
   MCFADDEN ANDREA                                                                (ADDRESS REDACTED)
   MCGILLIVRAY, TERESA L.                                                         (ADDRESS REDACTED)
                                                      C/O TRUIST INSURANCE
   MCGRIFF SEIBELS & WILLIAMS                         HOLDINGS                    214 NORTH TRYON ST                 ATTN LEGAL DEPT                                 CHARLOTTE         NC      28202
   MCHUGH FULLER LAW GROUP, PLLC                                                  97 ELIAS WHIDDON ROAD                                                              HATTISBURG        MS      39402
   MCHUGH FULLER LAW GROUP, PLLC                      ATTN: JOHN CUMMINGS, ESQ.   97 ELIAS WHIDDON ROAD                                                              HATTISBURG        MS      39402
   MCKINNEY HAYWARD                                                               (ADDRESS REDACTED)
   MCRAE, ASHLEY                                                                  (ADDRESS REDACTED)
   MCWHITE MELANIE                                                                (ADDRESS REDACTED)
   MCWILLIAMS RICHARD                                                             (ADDRESS REDACTED)
   MEADOWS JENNIFER M                                                             (ADDRESS REDACTED)
   MEAGAN S. WALKER                                                               (ADDRESS REDACTED)
   MEAGAN THOMAS                                                                  (ADDRESS REDACTED)
   MEDIC AIR SYSTEMS INC                                                          700 GLADES CT                                                                      PORT ORANGE       FL      32127
   MEDICAID
   MEDICAL DEPOT INC                                                              99 SEAVIEW BLVD                                                                    PORT WASHINGTON   NY      11050
   MEDICAL PARTS SOURCE INC                                                       1850 PORTER LAKE DRIVE             UNIT 101                                        SARASOTA          FL      34240
   MEDICAL SOLUTIONS LLC                                                          PO BOX 310737                                                                      DES MOINES        IA      50331-0737
   MEDICARE
   MEDINA JULIA                                                                   (ADDRESS REDACTED)
                                                      ATTN: CHIEF OPERATING
   MEDLIANCE                                          OFFICER                     1839 S ALMA SCHOOL RD.             SUITE 230                                       MESA              AZ      85210
   MEDLIANCE LLC                                                                  228 STRAWBRIDGE                    SUITE 100                                       MOORESTOWN        NJ      08057
   MEDLINE INDUSTRIES INC                             Attn: Jimmy Abrams, COO     500 ROSS ST                        ROOM 154-0460               ATTN 382075         PITTSBURGH        PA      15262
   MEDLINE INDUSTRIES INC                                                         ONE MEDLINE PLACE                                                                  MUNDELEIN         IL      60060
                                                      ATTENTION: ALEX LIBERMAN,
   MEDLINE INDUSTRIES, INC.                           GENERAL COUNSEL             ONE MEDLIEN PLACE                                                                  MUNDELEIN         IL      60060
   MED-PASS INC                                                                   L-3495                                                         0                   COLUMBUS          OH      43260-001
   MED-PASS INC                                       ATTN:EA2W42, LOCKBOX 3495   7 EASTON OVAL                                                                      COLUMBUS          OH      43219
   MEGAN B. FITZGERALD                                                            (ADDRESS REDACTED)
   MEGAN E. FOGG                                                                  (ADDRESS REDACTED)
   MEGAN FITZGERALD                                                               (ADDRESS REDACTED)
   MEGAN N. STAGER                                                                (ADDRESS REDACTED)
   MEGAN O'NEAL                                                                   (ADDRESS REDACTED)
   MEGAN R. VAUGHAN                                                               (ADDRESS REDACTED)
   MEGAN SUMMERS                                                                  (ADDRESS REDACTED)
   MEGAN Y. KISER                                                                 (ADDRESS REDACTED)
   MEGHAN GUNDLACH                                                                (ADDRESS REDACTED)
   MEGHAN MCDONOUGH                                                               (ADDRESS REDACTED)
   MEHAFFEY TODD                                                                  (ADDRESS REDACTED)
   MEHAFFEY, TODD B.                                                              (ADDRESS REDACTED)
   MELANIE A MANNEY                                                               (ADDRESS REDACTED)
   MELANIE A. MANNEY                                                              (ADDRESS REDACTED)
   MELANIE C. JACKSON                                                             (ADDRESS REDACTED)
   MELANIE P. MCWHITE                                                             (ADDRESS REDACTED)
   MELANIE T. CONNER                                                              (ADDRESS REDACTED)
   MELBOURNE FACILITY OPERATIONS, LLC                                             3033 SARNO ROAD                                                                    MELBOURNE         FL      32934-7229
   MELISSA A FIJALKOWSKI                                                          (ADDRESS REDACTED)
   MELISSA A. FIJALKOWSKI                                                         (ADDRESS REDACTED)
   MELISSA DOLINGER                                                               (ADDRESS REDACTED)
   MELISSA E. LANG                                                                (ADDRESS REDACTED)
   MELISSA L. BATEMAN                                                             (ADDRESS REDACTED)




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                        Creditor Name                              Attention                      Address 1                             Address 2             Address 3                City   State       Zip      Country
   MELISSA L. RICHARDSON                                                             (ADDRESS REDACTED)
   MELISSA MULFORD                                                                   (ADDRESS REDACTED)
   MELISSA S. GROVES                                                                 (ADDRESS REDACTED)
                                                         C/O COLLING, GILBERT, WRIGHT                                       801 NORTH ORANGE AVENUE ,
   MELISSA SMITH AS PF OF THE ESTATE OF NETTI P MURPHY   & CARTER                     ATTN: BRIAN GUPPENBERGER, ESQ.        SUITE 830                                        ORLANDO          FL      32801
   MELISSA WILLIAMS                                                                   (ADDRESS REDACTED)
   MELONIE GRAVES                                                                     (ADDRESS REDACTED)
   MELONIE GRAVES                                                                     (ADDRESS REDACTED)
   MELVIN LEAH                                                                        (ADDRESS REDACTED)
   MENDES, REINS & WILANDER                                                           4401 W. KENNEDY BLVD. SUITE 250                                                        TAMPA            FL      33609
   MERRIE E. STOLFER                                                                  (ADDRESS REDACTED)
   MERRITT, DIANE M.                                                                  (ADDRESS REDACTED)
   MESSAGELABS, INC.                                                                  512 SEVENTH AVENUE, SIXTH FLOOR                                                        NEW YORK         NY      01001
   METLIFE                                                                            DEPT CH 10579                                                                          PALATINE         IL      60055-0579

   METRO ROOTER CERTIFIED                                ENVIRONMENTAL SERVICES INC 8892 NORMANDY BOULEVARD                                                                  JACKSONVILLE     FL      32221
                                                         METROPOLITAN
   METTEL                                                COMMUNICATIONS             55 WATER STREET                                                                          NEW YORK         NY      10041
   METTEL                                                                           PO BOX 9660                                                                              MANCHESTER       NH      03108-9660
   MHATRE UMESH MD                                                                  (ADDRESS REDACTED)
   MIAMI FACILITY OPERATIONS, LLC                                                   800 NW 95TH STREET                                                                       MIAMI            FL      33150-2032
   MICHAEL A FOSTER                                                                 (ADDRESS REDACTED)
   MICHAEL A. DARDEN                                                                (ADDRESS REDACTED)
   MICHAEL A. FOSTER                                                                (ADDRESS REDACTED)
   MICHAEL A. MANGUM                                                                (ADDRESS REDACTED)
   MICHAEL C. HIBBERT                                                               (ADDRESS REDACTED)

   MICHAEL COOPER AND LINDA COOPER, HUSBAND AND WIFE     C/O THE WATSON FIRM, PLLC   ATTN: AARON WATSON, ESQ.               850 S. PALAFOX ST.           STE 202             PENSACOLA        FL      32502
   MICHAEL D. CAMPBELL                                                               (ADDRESS REDACTED)
   MICHAEL H. ARMSTRONG                                                              (ADDRESS REDACTED)
   MICHAEL J. LYLES                                                                  (ADDRESS REDACTED)
   MICHAEL JONES                                                                     (ADDRESS REDACTED)
   MICHAEL M. REYES                                                                  (ADDRESS REDACTED)
   MICHAEL MOORE                                                                     (ADDRESS REDACTED)
   MICHAEL PECKER AS EXECUTOR DE SON TORT OF THE                                     ATTN: CHRIS LIMBEROPOULOS, ESQ.; ROB   407 N. HOWARD AVENUE, STE
   ESTATE OF SARAH PECKER                                C/O THE FLORIDA LAW GROUP   SAMARTIN, ESQ.                         100                                              TAMPA            FL      33606
   MICHAEL REYES                                                                     (ADDRESS REDACTED)
   MICHAEL TAYLOR                                                                    (ADDRESS REDACTED)
   MICHAEL W. BENT                                                                   (ADDRESS REDACTED)
   MICHAELA MANN                                                                     (ADDRESS REDACTED)
   MICHELA MURRAY                                                                    (ADDRESS REDACTED)
   MICHELLE BARNETT                                                                  (ADDRESS REDACTED)
   MICHELLE BERENGUER-FRY                                                            (ADDRESS REDACTED)
   MICHELLE BERENGUER-FRY                                                            (ADDRESS REDACTED)
   MICHELLE CONNALLY                                                                 (ADDRESS REDACTED)
   MICHELLE D ALDANA                                                                 (ADDRESS REDACTED)
   MICHELLE D MEER                                                                   (ADDRESS REDACTED)
   MICHELLE D. ALDANA                                                                (ADDRESS REDACTED)
   MICHELLE D. MEER                                                                  (ADDRESS REDACTED)
   MICHELLE DAVIDSON                                                                 (ADDRESS REDACTED)
   MICHELLE DAVIS                                                                    (ADDRESS REDACTED)
   MICHELLE E. WILLIAMS                                                              (ADDRESS REDACTED)
   MICHELLE GREER                                                                    (ADDRESS REDACTED)
   MICHELLE KOELLERMEIER                                                             (ADDRESS REDACTED)
   MICHELLE L. KOELLERMEIER                                                          (ADDRESS REDACTED)
   MICHELLE L. LIVINGSTON                                                            (ADDRESS REDACTED)
   MICHELLE LEIGH LIVINGSTON                                                         (ADDRESS REDACTED)
   MICHELLE M. FREDRICK                                                              (ADDRESS REDACTED)
   MICHELLE N. GREER                                                                 (ADDRESS REDACTED)
   MICHELLE S. RAMDASS                                                               (ADDRESS REDACTED)
   MICHELLE W. NEWELL                                                                (ADDRESS REDACTED)
   MICHELLE WARLICK                                                                  (ADDRESS REDACTED)
   MICHELLE WILLIAMS                                                                 (ADDRESS REDACTED)
   MICHELLE Y. GOLDSTEIN                                                             (ADDRESS REDACTED)
   MICROSOFT CORPORATION                                 Attn: Dev Stahlkopf         1950 N STEMMONS FWY                    STE 5010                                         DALLAS           TX      75207
                                                         LEGAL AND CORPORATE
                                                         AFFAIRS, VOLUME LICENSING
   MICROSOFT CORPORATION                                 GROUP                       ONE MICROSOFT WAY                                                                       REDMOND          WA      98052
                                                                                                                                                         DEPT. 551, VOLUME
   MICROSOFT CORPORATION                                                             6100 NEIL ROAD                         SUITE 210                    LICENSING           RENO             NV      89511-1137

                                                         LEGAL & CORPORATE AFFAIRS
   MICROSOFT LICENSING, GP                               VOLUME LICENSING GROUP      ONE MICROSOFT WAY                                                                       REDMOND          WA      98052




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                          Creditor Name                             Attention                        Address 1                         Address 2           Address 3             City       State       Zip      Country

   MICROSOFT LICENSING, GP                                                             ONE MICROSOFT WAY                   LEGAL & CORPORATE AFFAIRS                   REDMOND              WA      98052
   MICSHAL DAVIS                                                                       (ADDRESS REDACTED)
   MIDCAP FINANCIAL                                                                    7255 WOODMONT AVENUE                SUITE 300                                   BETHESDA             MD      20814
   MIDCAP FUNDING IV TRUST AS AGENT                                                    7255 WOODMONT AVENUE, SUITE 200                                                 BETHESDA             MD      20814
   MIDCAP FUNDING IV TRUST C/O MIDCAP FINANCIAL SERVICES, ATTN: ACCOUNT MANAGER FOR
   LLC                                                    LAVIE TRANSACTION            7255 WOODMONT AVENUE                SUITE 200                                   BETHESDA             MD      20814
   MIDCAP FUNDING IV TRUST, AS AGENT                                                   7255 WOODMONT AVENUE, SUITE 200                                                 BETHESDA             MD      20814
   MIDCAP FUNDING IV, LLC, AS ADMINISTRATIVE AGENT                                     7255 WOODMONT AVENUE, SUITE 200                                                 BETHESDA             MD      20814
   MIDDLEBURG DIALYSIS LLC, D/B/A MIDDLEBURG DIALYSIS
   CENTER                                                                              2070 PALMETTO STREET                SUITE B-1                                   MIDDLEBURG           FL      32068
   MIDLAND CREDIT MANAGEMENT INC                                                       P O BOX 290335                                                                  TAMPA                FL      33687
   MIDLAND CREDIT MANAGEMENT INC                                                       1953 GALLOWS ROAD STE 240                                                       VIENNA               VA      22182
   MIGUEL A. CARDENAS CARDENAS                                                         (ADDRESS REDACTED)
   MIKE'S GRAPHIC SVC & SUPPLY                                                         2946 HIGHPOINT DR                                                               COLUMBUS             OH      43221
   MIKOLAJCZYK BRIAN                                                                   (ADDRESS REDACTED)
   MILAN HEJDA                                                                         (ADDRESS REDACTED)
                                                          C/O DE LA PIEDRA LAW FIRM,
   MILDRED JIMERSON AS POA FOR GEORGE JIMERSON            P.A.                         ATTN: JACK DE LA PIEDRA, ESQ        6 TRISTAN WAY                               PENSACOLA BEACH      FL      32561
   MILDRED KELLY                                                                       (ADDRESS REDACTED)
   MILEENA M DAVIS                                                                     (ADDRESS REDACTED)
   MILEENA M. DAVIS                                                                    (ADDRESS REDACTED)
   MILLER WILLIE                                                                       (ADDRESS REDACTED)
   MILLER, TAMMY L.                                                                    (ADDRESS REDACTED)
   MILLES LAW, P.A.                                                                    2027 THOMASVILLE ROAD, STE 102                                                  TALLAHASSEE          FL      32308
   MILLS, WHITNEY                                                                      (ADDRESS REDACTED)
   MILTON HEALTHCARE, LLC                                                              1040 CROWN POINTE PKWY              STE 600                                     ATLANTA              GA      30338
   MILTON SPENCER                                                                      (ADDRESS REDACTED)
   MINDY EISNER AS PR OF THE ESTATE OF CANDACE LYNN
   STANISH                                                C/O WILKES & MCHUGH          ONE NORTH DALE MABRY HWY            STE 800                                     TAMPA                FL      33609
   MINNESOTA DEPARTMENT OF REVENUE                        MINNESOTA REVENUE            600 N. ROBERT ST.                                                               ST. PAUL             MN      55146
   MINNESOTA HEALTH CARE ADMINISTRATION                                                PO BOX 64983                                                                    ST PAUL              MN      55164-0983
   MINNESOTA REVENUE                                                                   PO BOX 64564                                                                    SAINT PAUL           MN      55164-0564
   MINNESOTA UNEMPLOYMENT                                 INSURANCE                    PO BOX 64621                                                                    ST PAUL              MN      55164-0621
   MIOARA GABRIELLA LANGSTON-BIRCH AS PR OF THE ESTATE
   OF MARIA FAUR                                          C/O MORGAN & MORGAN          ATTN: ISABEL BARROSO, ESQ.          12800 UNIVERSITY DR, STE 600                FORT MYERS           FL      33907
   MIRIAM C. PASTOR                                                                    (ADDRESS REDACTED)
   MIRIAM E. ZIMMERMAN                                                                 (ADDRESS REDACTED)
   MIRRIAM Q. VALENTINE                                                                (ADDRESS REDACTED)
   MISHAWN L. DETTWILLER                                                               (ADDRESS REDACTED)
   MISSISSIPPI DEPARTMENT OF REVENUE                                                   500 CLINTON CENTER DRIVE                                                        CLINTON              MS      390056
   MISSISSIPPI DIVISION OF MEDICAID                                                    550 HIGH ST SUITE 1000                                                          JACKSON              MS      39201
   MISTY HEARNSBERGER                                                                  (ADDRESS REDACTED)
   MISTY SCHROEDER BY AND THROUGH DOUGLAS STALLEY,
   PLENARY GUARDIAN OF PROPERTY                           C/O WILKES & MCHUGH, PA      ONE NORTH DALE MABRY HWY, STE 800                                               TAMPA                FL      33609
   MISTY SCHROEDER BY AND THROUGH DOUGLAS STALLEY,        C/O MENDES, REINS &
   PLENARY GUARDIAN OF PROPERTY                           WILANDER                     4401 W. KENNEDY BLVD. SUITE 250                                                 TAMPA                FL      33609
   MITCHELL JUDY RFMS                                                                  803 OAK STREET                                                                  GREEN COVE SPRINGS   FL      32043
   MITCHELL KRISTY                                                                     (ADDRESS REDACTED)
   MITCHELL, ALICE                                                                     (ADDRESS REDACTED)
   MITZIE BLEARIE                                                                      (ADDRESS REDACTED)
   MJM ELECTRIC INC                                                                    3225 EAST 4TH AVE                                                               TAMPA                FL      33605
   MLNM MASTER TENANT, LLC                                                             5102 W LAUREL ST STE 700                                                        TAMPA                FL      33607-3854
   MOBILEX USA                                                                         PO BOX 17462                                                                    BALTIMORE            MD      21297-0518
   MOBILEXUSA                                                                          903 RIDGEBROOK ROAD, 3RD FLOOR                                                  SPARKS GLENCOE       MD      21152
   MOBILITY WORKS                                                                      2727 ST JOHNS BLUFF RD                                                          JACKSONVILLE         FL      32246
   MODCOMP INC                                                                         P.O. BOX 207571                                                                 DALLAS               TX      75320
                                                                                                                           1182 EAST NEWPORT CENTER
   MODCOMP INC                                          Alexander R Lupinetti          CSPI TECHNOLOGY SOLUTIONS           DRIVE                                       DEERFIELD BEACH      FL      33442
   MODCOMP, INC. D/B/A CSPI TECHNOLOGY SOLUTIONS                                       1500 POWERLINE ROAD                                                             DEERFIELD BEACH      FL      33442
   MOHAMED I. ALI                                                                      (ADDRESS REDACTED)
   MOHAMMED SEETA                                                                      (ADDRESS REDACTED)
   MOLINA HEALTHCARE OF FLORIDA, INC.                   ATTENTION: PRESIDENT           8300 NW 33RD STREET, STE. 400                                                   DORAL                FL      33122
   MOLLY A. MCCANN                                                                     (ADDRESS REDACTED)
   MOLLY MCCANN                                                                        (ADDRESS REDACTED)
   MOMENTFEED, INC.                                                                    1540 2ND ST                         SUITE 302                                   SANTA MONICA         CA      90401
   MOMENTFEED, INC.                                                                    1540 2ND STREET                     SUITE 302                                   SANTA MONICA         CA      90401
   MONACO, BARBARA M.                                                                  (ADDRESS REDACTED)
                                                                                       ATTN: CHRISTOPHER CASTILLO, ESQ.&   407 N. HOWARD AVENUE, STE
   MONICA GADSON AS PR OF THE ESTATE OF MINNIE WILLIAMS C/O THE FLORIDA LAW GROUP      CHRIS LIMBEROPOULOS, ESQ.           100                                         TAMPA                FL      33606
   MONICA L. WALKER                                                                    (ADDRESS REDACTED)
   MONICA M. GONZALEZ                                                                  (ADDRESS REDACTED)
   MONICA MEADOWS                                                                      (ADDRESS REDACTED)
   MONICA S. CRUMITY                                                                   (ADDRESS REDACTED)




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                        Creditor Name                      Attention                        Address 1                        Address 2             Address 3              City   State       Zip      Country
   MONICA SULLIVAN                                                            (ADDRESS REDACTED)
   MONICA SULLIVAN                                                            (ADDRESS REDACTED)
   MONIKA PULLEN (HUNT)                                                       (ADDRESS REDACTED)
   MONIKA PULLEN (HUNT) C/O THOMAS MILLER                                     1711 GRANDIN RD., SW                                                             ROANOKE           VA      24015
   MONIKA W. PULLEN                                                           (ADDRESS REDACTED)
   MONIQUE WILLIAMS                                                           (ADDRESS REDACTED)
   MONSTER WORLDWIDE INC                         SCAM VENDOR DO NOT USE                                                                                        BOSTON            MA      02241
   MONSTER WORLDWIDE, INC.                       ATTN: LEGAL DEPT             5 CLOCK TOWER PLACE                SUITE 500                                     MAYNARD           MA      01754
   MONTCLAIR HEALTHCARE, LLC                                                  1040 CROWN POINTE PKWY             STE 600                                       ATLANTA           GA      30338
   MONTGOMERY, OLGA                                                           (ADDRESS REDACTED)
   MONTICELLO NEWS                                                            P O BOX 428                                                                      MONTICELLO        FL      32344
   MOOD MEDIA NORTH AMERICA                      HOLDINGS CORPORATION         PO BOX 538378                                                                    ATLANTA           GA      30358-8378
   MOODY DONALD                                                               (ADDRESS REDACTED)
   MOON LUCIA                                                                 2702 GLYN ST                                                                     ORLANDO           FL      32807
   MOON, SHELBY                                                               (ADDRESS REDACTED)
   MOON, SHELBY                                                               (ADDRESS REDACTED)
   MOON, SHELBY                                                               (ADDRESS REDACTED)
   MOONEYHAM, NOELLE                                                          (ADDRESS REDACTED)
   MOORE COLSON & COMPANY PC                                                  1640 POWERS FERRY ROAD             BUILDING 11 SUITE 300                         MARIETTA          GA      30067
   MOORE FREEMAN                                                              (ADDRESS REDACTED)

   MOORE LAW GROUP                               ATTN: KENDALL T. MOORE, ESQ. 895 BARTON BLVD. SUITE B                                                         ROCKLEDGE         FL      32955
   MOORE STEPHENS LOVELACE PA                                                 3600 NORTHSIDE CROSSING                                                          MACON             GA      31210
   MOORE, MICHELE M.                                                          (ADDRESS REDACTED)
   MOORE, SHELLIE J                                                           (ADDRESS REDACTED)
   MOREDIRECT INC                                                             PO BOX 536464                                                                    PITTSBURGH        PA      15253-5906
   MORGAN & MORGAN                               ATTN: AL FERRERA, ESQ.       ONE TAMPA CITY CENTER, STE 700                                                   TAMPA             FL      33602
   MORGAN & MORGAN                               ATTN: TYLER KOCH, ESQ.       333 WEST VINE STREET, STE 1200                                                   LEXINGTON         KY      40507
   MORGAN & MORGAN                               ATTN: SPENCER PAYNE, ESQ.    20 N. ORANGE AVENUE, STE 1600                                                    ORLANDO           FL      32801

   MORGAN & MORGAN                               ATTN: ALEXANDER CLEM, ESQ.   20 N. ORANGE AVENUE, STE 1600                                                    ORLANDO           FL      32801
   MORGAN & MORGAN                               ATTN: ISABEL BARROSO, ESQ.   12800 UNIVERSITY DR, STE 600                                                     FORT MYERS        FL      33907
   MORGAN & MORGAN                               ATTN: KASEY WAGNER, ESQ.     76 S. LAURA STREET                 SUITE 1100                                    JACKSONVILLE      FL      32202
   MORGAN & MORGAN                               ATTN: TODD HUNTER, ESQ.      313 NORTH MONROE ST, STE 401                                                     TALLAHASSEE       FL      32301

   MORGAN & MORGAN                               ATTN: BRIAN THOMPSON, ESQ.   ONE TAMPA CITY CENTER, STE 700                                                   TAMPA             FL      33602
                                                 ATTN: WESLEY RANDOLPH,
   MORGAN & MORGAN                               ESQ.                         12800 UNIVERSITY DR, STE 600                                                     FORT MYERS        FL      33907
   MORGAN, MONICA E.                                                          (ADDRESS REDACTED)
   MORGAN, MONICA E.                                                          (ADDRESS REDACTED)
   MORRIS BROADBAND, LLC.                                                     PO BOX 71086                                                                     CHARLOTTE         NC      28272-1086
   MORRIS JETANNA                                                             (ADDRESS REDACTED)
   MORRIS SHARON                                                              1121 ETHRIDGE MILL ROAD                                                          GRIFFIN           GA      30224
   MORRIS VICKIE                                                              (ADDRESS REDACTED)
   MORRIS, BRANDON                                                            (ADDRESS REDACTED)
   MOSES, PEGGY                                                               (ADDRESS REDACTED)
   MOSES, PEGGY                                                               (ADDRESS REDACTED)
   MOSHA DEJESUS                                                              (ADDRESS REDACTED)
   MOSLEY SUSAN                                                               (ADDRESS REDACTED)
   MOUNT DEBBIE                                                               PO BOX 254                                                                       MONTEREY          LA      71354
   MOUNT ROYAL FACILITY OPERATIONS, LLC                                       800 CONCOURSE PARKWAY SOUTH                                                      MAITLAND          FL      32751
   MS DEPARTMENT OF REVENUE                      MOTOR VEHICLE SERVICES       PO BOX 1383                                                                      JACKSON           MS      39215-1383
   MUELLER, KELLY                                                             (ADDRESS REDACTED)
   MUNIU, NYANNA                                                              (ADDRESS REDACTED)
   MURDOCK, MISTY L.                                                          (ADDRESS REDACTED)
   MURIEL UHL                                    C/O MORGAN & MORGAN          ATTN: BRIAN THOMPSON, ESQ.         ONE TAMPA CITY CENTER        STE 700          TAMPA             FL      33602
   MURPHY RICHARD A                                                           (ADDRESS REDACTED)
   MURRELL ROBERT                                                             (ADDRESS REDACTED)
   MYKAYLA L. WARE                                                            (ADDRESS REDACTED)
   MYRA B. CLAYTON                                                            (ADDRESS REDACTED)
   MYRA CLAYTON                                                               (ADDRESS REDACTED)
   N & D TECHNICAL SERVICES INC.                                              8717 STAGECOACH RD                                                               LITTLE ROCK       AR      72210
   N.C.B INC                                                                  PO BOX 11686                                                                     ROANOKE           VA      24022-1686
   NA'CASEY G. FREEMAN                                                        (ADDRESS REDACTED)
   NACOLE JONES                                                               (ADDRESS REDACTED)
   NADIA JANDREAU                                                             (ADDRESS REDACTED)
   NADIA L. JANDREAU                                                          (ADDRESS REDACTED)
   NADINE LEACH BY AND THROUGH BRENDA KEMERER,
   ATTORNEY IN FACT                              C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ             ONE TAMPA CITY CENTER        STE 700          TAMPA             FL      33602
   NADREAU JONATHAN W                                                      (ADDRESS REDACTED)
   NADREAU, JONATHAN W.                                                    (ADDRESS REDACTED)
   NAKELIANNA J. MCNAIR                                                    (ADDRESS REDACTED)
   NALLEY, MARILYN                                                         (ADDRESS REDACTED)
   NANCY GARCIA                                                            (ADDRESS REDACTED)




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                       Creditor Name                               Attention                      Address 1                            Address 2           Address 3              City      State       Zip      Country
   NANCY GIDDINGS                                                                    (ADDRESS REDACTED)
   NANCY LEE                                                                         (ADDRESS REDACTED)
   NANCY M. HOLDEN                                                                   (ADDRESS REDACTED)
   NANCY M. PLYLER                                                                   (ADDRESS REDACTED)
   NANCY MICHAELS AS PR OF THE ESTATE OF DAVID STANLEY
   MICHAELS                                              C/O FERNANDEZ FIRM ,        ATTN: FRANK F. FERNANDEZ, III, ESQ.   2503 WEST SWANN AVENUE                      TAMPA                FL      33609
   NANCY MICHAELS AS PR OF THE ESTATE OF DAVID STANLEY
   MICHAELS                                              C/O FERNANDEZ FIRM          ATTN: FRANK F. FERNANDEZ, III, ESQ.   2503 WEST SWANN AVENUE                      TAMPA                FL      33609

   NANCY PRITCHARD BY NANCY KEESECKER                    C/O WILKES & MCHUGH, P.A.   ONE NORTH DALE MABRY HWY, SUITE 800                                               TAMPA                FL      33609
                                                         C/O MENDES, REINS &
   NANCY PRITCHARD BY NANCY KEESECKER                    WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                   TAMPA                FL      33609
                                                                                     ATTN: JASON PAUL, ESQ. & IAN
   NANCY SANDERS AS POA FOR JOSEPH SIPLIN                C/O PAUL & PERKINS,         DEPAGNIER, ESQ.                       3117 EDGEWATER DRIVE                        ORLANDO              FL      32804
                                                                                     ATTN: JASON PAUL, ESQ. & IAN
   NANCY SANDERS AS POA FOR JOSEPH SIPLIN                C/O PAUL & PERKINS          DEPAGNIER, ESQ.                       3117 EDGEWATER DRIVE                        ORLANDO              FL      32804
   NANCY SMITH                                                                       (ADDRESS REDACTED)
   NANCY WOOLFLEY                                                                    (ADDRESS REDACTED)
   NAPIER, INFINI                                                                    (ADDRESS REDACTED)
   NARITAMA FANNY                                                                    (ADDRESS REDACTED)
   NASEEMA SHABEER                                                                   (ADDRESS REDACTED)
   NATACHA TELAMOUR                                                                  (ADDRESS REDACTED)
   NATACHA TELAMOUR                                                                  (ADDRESS REDACTED)
   NATALEIGH NIEUWENHUIS                                                             (ADDRESS REDACTED)
   NATALIE BAPTISTE                                                                  (ADDRESS REDACTED)
   NATALIE JEAN BAPTISTE                                                             (ADDRESS REDACTED)
   NATHANIAL C. HIMMERICH                                                            (ADDRESS REDACTED)
   NATIONAL DATA CORPORATION                                                         14155 NEW BROOK DRIVE                 SUITE 200                                   CHANTILLY            VA      20151-224
   NATIONAL DATACARE CORPORATION                                                     PO BOX 222430                                                                     CHANTILLY            VA      20153-2430
   NATIONAL DATACARE CORPORATION                                                     14151 NEW BROOK DR                    SUITE 170                                   CHANTILLY            VA      20151
   NATIONAL RESEARCH CORPORATION D/B/A NRC HEALTH                                    1245 Q STREET                                                                     LINCOLN              NE      68508
   NATIONAL TELECOM DEPLOYMENTS                                                      38283 MOUND ROAD                                                                  STERLING HEIGHTS     MI      48310
   NATOSHA C. JORDAN                                                                 (ADDRESS REDACTED)
   NATOSHA JORDAN                                                                    (ADDRESS REDACTED)
   NATSAI N. NHAMOINESU                                                              (ADDRESS REDACTED)
                                                         ATTN: JOYCE DENIM -
   NATURE COAST EYE CARE INSTITUTE                       ADMINISTRATOR               555 NORTH BYRON BUTLER PARKWAY                                                    PERRY                FL      32347
   NAVIGATOR GROUP PURCHASING, INC.                                                  1000 CORPORATE CENTRE DRIVE           SUITE 100                                   FRANKLIN             TN      37067
   NAYLOR LLC                                                                        PO BOX 677251                                                                     DALLAS               TX      75267-7251
   NAYLOR LLC                                                                        PO BOX 847865                                                                     DALLAS               TX      75284-7865
                                                         WAGE GARNISHMENT
   NC DEPARTMENT OF REVENUE                              PROCESSING                  P.O. BOX 25000                                                                    RALEIGH              NC      27640
   NC DEPT OF REVENUE                                    MARIA ROBLES                225 GREEN ST                                                                      FAYETTEVILLE         NC      28301
   NC HEALTH CARE FACILITIES ASSC                                                    5109 BUR OAK CIRCLE                                                               RALEIGH              NC      27612
   NEAS, DAWN                                                                        (ADDRESS REDACTED)
   NEELY DAVID                                                                       (ADDRESS REDACTED)
   NEKIA JONES                                                                       (ADDRESS REDACTED)
   NELOMS PAMELA                                                                     (ADDRESS REDACTED)
   NENC HEALTHCARE HOLDING COMPANY, LLC                                              1040 CROWN POINTE PKWY                STE 600                                     ATLANTA              GA      30338
   NERLANDE BRUNOT                                                                   (ADDRESS REDACTED)
   NESBITT SHAKIMA B.                                                                (ADDRESS REDACTED)
   NESHON S. ELLIS                                                                   (ADDRESS REDACTED)
   NETTLES RODNEY                                                                    (ADDRESS REDACTED)
   NETTLES VIRGINIA                                                                  (ADDRESS REDACTED)
   NEVINS DANIELLE                                                                   (ADDRESS REDACTED)
   NEW DAY SERVICES INC                                                              151 COLLEGE DRIVE                     STE 7                                       ORANGE PARK          FL      32065
   NEW HARMONIE HEALTHCARE, LLC                                                      1040 CROWN POINTE PKWY                STE 600                                     ATLANTA              GA      30338
   NEW MEXICO TAXATION & REV DEPT                                                    PO BOX 25123                                                                      SANTA FE             NM      87504-5123
   NEW PORT RICHEY FACILITY OPERATIONS, LLC                                          8417 OLD COUNTY ROAD 54                                                           NEW PORT RICHEY      FL      34653-6418
   NEW SOURCE MEDICAL, LLC                                                           9913 SHELBYVILLE ROAD, SUITE 203                                                  LOUISVILLE           KY      40223
   NEWELL, MICHELLE                                                                  (ADDRESS REDACTED)
   NEWPORT NEWS FACILITY OPERATIONS, LLC                                             12997 NETTLES DRIVE                                                               NEWPORT NEWS         VA      23602-6913
   NEWTON EMILY RFMS                                                                 803 OAK STREET                                                                    GREEN COVE SPRINGS   FL      32043
   NEWTON MICHAEL                                                                    (ADDRESS REDACTED)
   NEWTON, IVY                                                                       (ADDRESS REDACTED)

   NEXTGEN INJURY LAW                                    ATTN: THOMAS CHAPMAN, ESQ. 515 N. FLAGLER DRIVE, STE P-300                                                    WEST PALM BEACH      FL      33401
   NFS LEASING, INC.                                                                900 CUMMINGS CENTER                    SUITE 226-U                                 BEVERLY              MA      01915
                                                         ATTN: CLIFFORD RACKER,
   NFS LEASING, INC.                                     PRESIDENT                   900 CUMMINGS CENTER - SUITE 226-U                                                 BEVERLY              MA      01915
   NIASHIA BAKER                                                                     (ADDRESS REDACTED)
   NICHI CLARK                                                                       (ADDRESS REDACTED)
   NICHOL M. SIMON                                                                   (ADDRESS REDACTED)




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                                                                                                    Redacted Creditor Matrix
                                                                                                      as of March 3, 2021


                        Creditor Name                             Attention                           Address 1                      Address 2         Address 3             City     State       Zip       Country
   NICHOLAS P. RAMACCIATO III AS PR OF THEESTATEOF      C/O COLLING, GILBER, WRIGHT                                        801 NORTH ORANGE AVENUE ,
   FRANCES RAMACCIATO                                   & CARTER                      ATTN: BRIAN GUPPENBERGER             SUITE 830                               ORLANDO            FL      32801
   NICHOLSON AC & HEATING INC                                                         326 HWY 17N                                                                  PALATKA            FL      32177
   NICKOLIS L. TODD                                                                   (ADDRESS REDACTED)
   NICOLE BOWENS                                                                      (ADDRESS REDACTED)
   NICOLE CAMPBELL                                                                    (ADDRESS REDACTED)
   NICOLE DALLAS                                                                      (ADDRESS REDACTED)
   NICOLE DENISE TYLER AS PR OF THE ESTATE OF ALFONSO   C/O FREEDLAND HARWIN
   TYLER                                                VALORI, PLLC                  ATTN: CAMERON BARNARD, ESQ.          110 S.E. 6TH ST, STE 2300               FORT LAUDERDALE    FL      33301
   NICOLE PRICE                                                                       (ADDRESS REDACTED)
   NICOLE WILLIAMS                                                                    (ADDRESS REDACTED)
   NIELSEN, MARY                                                                      (ADDRESS REDACTED)
   NIKITA MCCASKILL                                                                   (ADDRESS REDACTED)
   NIKKI M. CHALK                                                                     (ADDRESS REDACTED)
   NINA CROSBY AS GUARDIAN AND CONSERVATOR OF                                         ATTN: JOSEPH MUSSO, ESQ. AND AVERY   8403 COLESVILLE ROAD, STE
   BRADFORD CORBIN                                      C/O ASHCRAFT & GEREL, LLP     ADCOCK, ESQ.                         1250                                    SILVER SPRINGS     MD      20910
   NIQUETTE M. WHEELER                                                                (ADDRESS REDACTED)
   NIQUETTE WHEELER                                                                   (ADDRESS REDACTED)
   NISHIDA DAVID                                                                      (ADDRESS REDACTED)
   NIYONSENGA, CLAUDINE J.                                                            (ADDRESS REDACTED)
   NOBLE PATRICIA                                                                     (ADDRESS REDACTED)
   NOBLES LAURA                                                                       (ADDRESS REDACTED)
   NOELLE MOONEYHAM                                                                   (ADDRESS REDACTED)
   NORA K. VROOMAN                                                                    (ADDRESS REDACTED)
   NORA VROOMAN                                                                       (ADDRESS REDACTED)
   NORFOLK FACILITY OPERATIONS, LLC                                                   3900 LLEWELLYN AVENUE                                                        NORFOLK            VA      23504-1203
                                                        C/O FREEDLAND HARWIN
   NORMA BARRY ON BEHALF OF JOHN BARRY                  VALORI, PLLC                  ATTN: CAMERON BARNARD, ESQ.          110 S.E. 6TH ST, STE 2300               FORT LAUDERDALE    FL      33301
   NORMA HIDALGO AS ADMINISTRATRIX OF ESTATE OF         C/O WILLIAMS, NEWMAN,
   CLEMENCIA ARIZA                                      WILLIAMS                      ATTN: R. PAUL WILLIAMS, III, ESQ.    P.O. BOX 23785                          JACKSON            MS      39225
   NORTH CAROLINA DEPARTMENT OF REVENUE                                               POST OFFICE BOX 25000                                                        RALEIGH            NC      27640-0640
   NORTH CAROLINA HEALTH CARE                           FACILITIES ASSOCIATION        5109 BUR OAK CIRCLE                                                          RALEIGH            NC      27612
   NORTH CAROLINA MASTER TENANT, LLC                                                  1040 CROWN POINTE PKWY               STE 600                                 ATLANTA            GA      30338
   NORTH CAROLINA MEDICAID                                                            2501 MAIL SERVICE CENTER                                                     RALEIGH            NC      27699-2501
   NORTH CENTRAL FLORIDA HEALTH                         PLANNING COUNCIL INC          1785 NW 80 TH BLVD                                                           GAINESVILLE        FL      32606
   NORTH FLORIDA BUILDING MAINTEN                       CITY WIDE MAINTENANCE         3947 BLVD CENTER DR                  STE 100                                 JACKSONVILLE       FL      32207
   NORTH FLORIDA COMMUNITY COLLEGE                                                    325 NW TURNER DAVIS DRIVE                                                    MADISON            FL      32340-11610
   NORTH FLORIDA GUARDIAN AND                           AND FAMILY SERVICES           1900 SW BRIM ST                                                              LAKE CITY          FL      32034
   NORTH FLORIDA SHREDDING, INC. D/B/A SHRED-IT
   TALLAHASSEE
   NORTH FLORIDA SURGEONS, P.A.                                                       PO BOX 935                                                                   BIRMINGHAM         AL      35201-0935
   NORTH FORT MYERS FACILITY OPERATIONS, LLC                                          991 PONDELLA ROAD                                                            NORTH FORT MYERS   FL      33903-3500
   NORTH PORT LAW FIRM OF ATTORNEY JAMES KEIM, PA       ATTN: JAMES KEIM, ESQ.        P.O. BOX 7810                                                                NORTH PORT         FL      34290
   NORTH STRABANE FACILITY OPERATIONS, LLC                                            800 CONCOURSE PARKWAY SOUTH                                                  MAITLAND           FL      32751
   NORTHEAST FLORIDA DIALYSIS                                                         2020 KINGSLEY AVENUE                                                         ORAND PARK         FL      32043
   NORTHEAST FLORIDA ENDOCRINE &                        DIABETES ASSOCIATES PA        915 WEST MONROE ST STE 200                                                   JACKSONVILLE       FL      32204
   NORTHWEST VITAL RECORDS CENTER, INC.                                               441 WEST SHARP                                                               SPOKANE            WA      99201
   NOVANT HEALTH, INC.                                                                200 HAWTHORNE LANE                                                           CHARLOTTE          NC      28233
   NOVATUS, INCORPORATED                                                              12124 HIGH TECH AVENUE               SUITE 165                               ORLANDO            FL      32817
   NSA OP LP                                                                          3585 US HWY 17                                                               FLEMING ISLAND     FL      32003
   NSPIRE KENDALL                                                                     9400 SW 137TH AVENUE                                                         KENDALL            FL      33186
   NSPIRE MIAMI LAKES                                                                 5725 NW 186TH STREET                                                         HIALEAH            FL      33015
   NSPIRE PLANTATION                                                                  6931 W SUNRISE BOULEVARD                                                     PLANTATION         FL      33313
   NSPIRE TAMARAC                                                                     5901 NW 79TH AVENUE                                                          TAMARAC            FL      33321
   NSPR CARE CENTERS, LLC                                                             5102 W LAUREL ST STE 700                                                     TAMPA              FL      33607-3854
   NSPR CARE CENTERS, LLC                               NSPIRE LAUDERHILL             2599 NW 55TH AVENUE                                                          LAUDERHILL         FL      33313
   NSPR OPERATIONS I, LLC                                                             5102 W LAUREL ST STE 700                                                     TAMPA              FL      33607-3854
   NSPR OPERATIONS II, LLC                                                            5102 W LAUREL ST STE 700                                                     TAMPA              FL      33607-3854
   NSPRMC, LLC                                                                        5102 W LAUREL ST STE 700                                                     TAMPA              FL      33607-3854
   NTT DATA, INC                                                                      100 CITY SQUARE                                                              BOSTON             MA      02129
   NUTRICIA NORTH AMERICA, INC.
   NYA M PAUL                                                                         (ADDRESS REDACTED)
   NYA M. PAUL                                                                        (ADDRESS REDACTED)
   NYAIZ'AH A. HARRIS                                                                 (ADDRESS REDACTED)
   O & L LAW GROUP PL                                                                 110 W COLUMBUS DRIVE                                                         TAMPA              FL      33602
   OAK GROVE HEALTHCARE, LLC                                                          518 OLD US HIGHWAY 221                                                       RUTHERFORD         NC      28139
   OAK GROVE HEALTHCARE, LLC D/B/A OAK GROVE
   HEALTHCARE CENTER                                                                  518 OLD US HIGHWAY 221                                                       RUTHERFORDTON      NC      28139-8670
   OAKS AT SWEETEN CREEK HEALTHCARE, LLC                                              3864 SWEETEN CREEK RD.                                                       ARDEN              NC      28704
   ODELL CONSTRUCTION SERVICES                                                        1885 EAST US HWY 27                                                          PERRY              FL      32348
   ODOM REBECCA                                                                       (ADDRESS REDACTED)
   ODONNELL CONNIE                                                                    (ADDRESS REDACTED)
   OFFICE BUSINESS SOLUTIONS LLC                                                      920 WEST 47TH STREET                                                         KANSAS CITY        MO      64112
   OFFICE BUSINESS SOLUTIONS LLC AND/OR ASSIGNEE                                      920 WEST 47TH STREET                                                         KANSAS CITY        MO      64112




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                       Creditor Name                              Attention                          Address 1                            Address 2           Address 3            City        State       Zip      Country
   OFFICE BUSINESS SOLUTIONS, LLC                                                     920 W. 47TH STREET                                                                  KANSAS CITY         MO       64112
   OFFICE DEPOT                                                                       PO BOX 9020                                                                         DES MOINES          IA       50368-9020
   OFFICE MAX                                                                         14081 EMERALD COAST PKWY                                                            DESTIN              FL       32541
   OFFICE OF CONRACT ADMINISTRATION                     USF HEALTH                    12901 BRUCE B. DOWNS BLVD., MCD 02                                                  TAMPA               FL       33612
   OFFICE OF THE GENERAL COUNSEL UNIVERSITY OF SOUTH
   FLORIDA                                                                            4202 EAST FOWLER AVENUE, CGS 301                                                    TAMPA               FL       33620
                                                        ATTN: LINDA J. CASEY,ESQ.
   OFFICE OF THE U.S. TRUSTEE                           TRIAL ATTORNEY US DOJ         844 KING STREET SUITE 2207              LOCKBOX 35                                  WILMINGTON          DE       19801
   OFFICE TEAM                                                                        12400 COLLECTIONS CENTER DR                                                         CHICAGO             IL       60693
   OHI ASSET HUD SF CA, LLC                                                           303 INTERNATIONAL CIRCLE                #200                                        HUNT VALLEY         MD       21030
   OHIO DEPARTMENT OF TAXATION                                                        P.O. BOX 27                                                                         COLUMBUS            OH       43216-0027

   OHIO DEPARTMENT OF TAXATION                          SCHOOL DISTRICT INCOME TAX P O BOX 182388                                                                         COLUMBUS            OH       43218-2388
   OHIO DEPT OF MEDICAID                                                                50 W TOWN ST STE 400                                                              COLUMBUS            OH       43215
   OHIO TREASURER OF STATE                                                              OHIO DEPT OF TAXATION                 PO BOX 347                                  COLUMBUS            OH       43216-0347
   OLDE SCHOOL TEXTILES                                                                 PO BOX 1467                           502 N HILL ST                               GRIFFIN             GA       30224
   OLIVER CHRISTABEL                                                                    (ADDRESS REDACTED)
   OLIVER TARA                                                                          (ADDRESS REDACTED)
   OLIVIA M. SADLER                                                                     (ADDRESS REDACTED)
   OMEGA HEALTHCARE INVESTORS                                                           303 INTERNATIONAL CIRCLE              SUITE 200                                   HUNT VALLEY         MD       21030
   OMEGA HEALTHCARE INVESTORS, INC.                     ATTN.: DANIEL J. BOOTH          303 INTERNATIONAL CIRCLE, SUITE 200                                               HUNT VALLEY         MD       21030
   OMNICARE INC                                                                         100 E RIVER CENTER BLVD                                                           COVINGTON           KY       41011
                                                        Alexander M. Kayne, EVP General
   OMNICARE INC                                         Counsel                         DEPT# 781668                          PO BOX 78000                                DETROIT             MI       48278-1668
   OMNICARE INC.                                        ATTN: GENERAL COUNSEL           900 OMNICARE CENTER                   201 EAST 4TH STREET                         CINCINNATI          OH       45202
   OMNICARE OF JACKSONVILLE                             ATTN: GENERAL MANAGER           9143 PHILLIPS HIGHWAY                 SUITE 533                                   JACKSONVILLE        FL       32256
   OMNICARE, INC.                                       ATTN: GENERAL COUNSEL           900 OMNICARE CENTER                   201 EAST FOURTH STREET                      CINCINNATI          OH       45202
   OMRO HEALTHCARE, LLC                                                                 1040 CROWN POINTE PKWY                STE 600                                     ATLANTA             GA       30338
   ON HOLD MARKETING SERVICES INC                                                       6003 FINANCIAL PLAZA #101                                                         SHREVEPORT          LA       71129
   ON HOLD MARKETING SERVICES INC. D/B/A ON HOLD
   COMPANY                                                                            6840 WEST 70TH STREET                                                               SHREVEPORT          LA       71129
   ON HOLD MARKETING SERVICES INC. D/B/A ON HOLD
   COMPANY                                                                            6003 FINANCIAL PLAZA                    SUITE 101                                   SHREVEPORT          LA       71129
   ON POINT HEALTHCARE STAFFING                                                       1457 SE 101ST STREET                                                                TRENTON             FL       32693
   ON POINT HEALTHCARE STAFFING, LLC                                                  1457 SE 101ST STREET                                                                TRENTON             FL       32693
   ONE NATION                                                                         45 N HILL DRIVE                         SUITE 100                                   WARRENTON           VA       20186
   ONSHIFT INC                                                                        PO BOX 207856                                                                       DALLAS              TX       75320-7856
   ONSHIFT, INC.                                        ATTN: VP OF FINANCE           1621 EUCLID AVENUE                      SUITE 1500                                  CLEVELAND           OH       44115
   OPTUM BANK                                                                         2525 LAKE PARK BLVD                                                                 SALT LAKE CITY      UT       84120
   OPTUM BANK INC                                                                     2525 LAKE PARK BLVD                                                                 SALT LAKE CITY      UT       84120
   ORANGE COUNTY TAX COLLECTOR                                                        PO BOX 2551                                                                         ORLANDO             FL       32802-2551
   ORANGE COUNTY TAX COLLECTOR                                                        PO BOX 545100                                                                       ORLANDO             FL       32854-5100
   ORANGE COUNTY TAX COLLECTOR                                                        P.O. BOX 545100                                                                     ORLANDO             FL       32854
   ORANGE PARK FACILITY OPERATIONS, LLC                                               1215 KINGSLEY AVENUE                                                                ORANGE PARK         FL       32073-4631
   ORANGE PARK FACILITY OPERATIONS, LLC D/B/A CONSULATE
   HEALTH CARE OF ORANGE PARK                                                         1215 KINGSLEY AVENUE                                                                ORANGE PARK         FL       32073
   ORANGE PARK MEDICAL CTR                                                            PO BOX 740771                                                                       CINCINNATI          OH       45274-0711
   ORIANS THOMAS                                                                      (ADDRESS REDACTED)
   ORLANDO D. BOOKAL                                                                  (ADDRESS REDACTED)
   ORTHOPAEDIC ASSOCIATES OF                            ST AUGUSTINE PA               1 ORTHOPAEDIC PLACE                                                                 ST AUGUSTINE        FL       32086
   ORTHOTIC & PROSTHETIC CENTERS                                                      2717 MANATEE AVE W                                                                  BRADENTON           FL       34205
   OSBORN VISUAL SOLUTIONS, LLC                                                       2825 BRECKINRIDGE BLVD.                 SUITE 125                                   DULUTH              GA       30096
                                                        ATTN: GREGORIO FRANCIS,
   OSBORNE & FRANCIS, PLLC                              ESQ.                          RYAN FLETCHER, ESQ.                     805 S. KIRKMAN ROAD, STE 205                ORLANDO             FL       32811
   OSCEOLA SUPPLY INC                                                                 PO BOX 13503                                                                        TALLAHASSEE         FL       32317
   OSPREY NURSING AND REHABILITATION, LLC                                             1104 N MAIN STREET                                                                  BUSHNELL            FL       33513-5045
   OUR SENIOR GUIDE.COM INC                                                           14286 BEACH BLVD-19 STE 335                                                         JACKSONVILLE        FL       32250
   OVERHEAD DOOR CO                                                                   218 E 11TH AVE                                                                      NORTH KANSAS CITY   MO       64116
   OWENS MATTIE                                                                       (ADDRESS REDACTED)
   P.E.S.-FL LLC                                                                      3804 NORTH HIGHWAY 19A                  SUITE 4                                     MOUNT DORA          FL       32757
   PACHECO MAYDA M                                                                    (ADDRESS REDACTED)
   PADGETT, HAYLEY                                                                    (ADDRESS REDACTED)
                                                        ATTN: CORRESPONDENCE
   PAETEC, A WINDSTREAM COMPANY                         DIVISION                      301 N. MAIN STREET                                                                  GREENVILLE          SC       29601
   PAISLEY, VICKI                                                                     (ADDRESS REDACTED)
   PAITYN M. PARKER                                                                   (ADDRESS REDACTED)
   PAIVA DIANNE                                                                       (ADDRESS REDACTED)
   PALMER TERESA                                                                      (ADDRESS REDACTED)
   PALOMA BLANCA HEALTH CARE ASSOCIATES, LLC                                          800 CONCOURSE PARKWAY SOUTH                                                         MAITLAND            FL       32751
   PAMELA HESS                                                                        (ADDRESS REDACTED)
   PAMELA TINSLEY AS PERSONAL REPRESENTATIVE OF THE
   ESTATE OF IRMA STEVENS                               C/O THE MAHER LAW FIRM        ATTN: GEOFFREY MOORE, ESQ.              P.O. BOX 2209                               WINTER PARK         FL       3270
   PAMELA Y. SHAW                                                                     (ADDRESS REDACTED)
   PANIO WEBB CATHERINE                                                               (ADDRESS REDACTED)




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                                                                                                        as of March 3, 2021


                        Creditor Name                                Attention                        Address 1                          Address 2             Address 3                  City    State     Zip      Country
   PAPER HANDLING SOLUTIONS INC                                                          2150 NEW MARKET PKWY                STE 108                                           MARIETTA           GA    30067-8766
   PARENS TAMARA                                                                         (ADDRESS REDACTED)
   PARETO SOLUTIONS GROUP, INC.                                                          8 PIEDMONT CENTER, SUITE 210                                                          ATLANTA            GA   30305
   PARKER RODNEY                                                                         (ADDRESS REDACTED)
   PARKSIDE FACILITY OPERATIONS, LLC                                                     800 CONCOURSE PARKWAY SOUTH                                                           MAITLAND           FL   32751
   PARKVIEW FACILITY OPERATIONS, LLC                                                     800 CONCOURSE PARKWAY SOUTH                                                           MAITLAND           FL   32751
   PARKVIEW HEALTHCARE, LLC                                                              1040 CROWN POINTE PKWY              STE 600                                           ATLANTA            GA   30338
   PARKVIEW MANOR HEALTHCARE, LLC                                                        1040 CROWN POINTE PKWY              STE 600                                           ATLANTA            GA   30338
   PARKWELL HEALTHCARE, LLC                                                              1040 CROWN POINTE PKWY              STE 600                                           ATLANTA            GA   30338
   PARSONS CHRISTINE                                                                     (ADDRESS REDACTED)
                                                                                                                                                          2069 FIRST STREET,
   PARVEY & FRANKEL                                        ATTN: ALLAN PARVEY, ESQ.      CARLOS CAVENAGO, III, ESQ.          CARLOS CAVENAGO, III, ESQ.   STE 100              FORT MYERS         FL   33993
   PASTOR MIRIAM                                                                         1228 NE 98TH ST                                                                       MIAMI SHORES       FL   33138
   PATCH MY PC LLC                                                                       4300 LILLY GULCH TRAIL                                                                CASTLE ROCK        CO   80109
   PATCH MY PC LLC                                                                       PO BOX 1436                                                                           CASTLE ROCK        CO   80104
   PATFICK MENE                                            C/O GOUDIE & KOHN             ATTN: KIM KOHN, ESQ.                3004 WEST CYPRESS STREET                          TAMPA              FL   33609
   PATIENT POINT HOSPITAL                                  SOLUTIONS                     11408 OTTER CREEK SOUTH ROAD                                                          MABELVALE          AR   72103
   PATIENTPING, INC.                                                                     17 BAY STATE ROAD                   APT 2                                             BOSTON             MA   02215
   PATIENTPING, INC.                                                                     10 POST OFFICE SQUARE, 1010 S.                                                        BOSTON             MA   02109
   PATRCIA HENDERSON                                                                     (ADDRESS REDACTED)
   PATRICE S. LEWIS                                                                      (ADDRESS REDACTED)

   PATRICIA ANN KIENLE AS PR OF THE ESTATE OF RAYMOND      C/O LYTAL, REITER, SMITH, IVEY                                                                 NORTHBRIDGE
   PAUL KIENLE                                             & FRONRATH                     ATTN: DARLA KEEN, ESQ.             515 N. FLAGLER DRIVE         CENTER, 10TH FLOOR WEST PALM BEACH      FL   33401
   PATRICIA CAMPBELL ON BEHALF OF THE ESTATE OF            C/O DE LA PIEDRA LAW FIRM,
   MARGARET L. HILAND                                      P.A.                           ATTN: JACK DE LA PIEDRA, ESQ       6 TRISTAN WAY                                     PENSACOLA BEACH    FL   32561
   PATRICIA D ELLYSON                                                                     (ADDRESS REDACTED)
   PATRICIA DIXON WELLS BY AND THROUGH PATRICIA HUNT,
   ATTORNEY IN FACT                                        C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL   33609
   PATRICIA DUNCAN                                                                     (ADDRESS REDACTED)
   PATRICIA E. BRADSHAW                                                                (ADDRESS REDACTED)
   PATRICIA E. HENDERSON                                                               (ADDRESS REDACTED)
   PATRICIA E. NOBLE                                                                   (ADDRESS REDACTED)
   PATRICIA ELLYSON                                                                    (ADDRESS REDACTED)
   PATRICIA FREEMAN                                                                    (ADDRESS REDACTED)
   PATRICIA HAZE                                                                       (ADDRESS REDACTED)

   PATRICIA HOMJAK                                         C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL   33609
   PATRICIA J. CAMBLIN                                                                 (ADDRESS REDACTED)
                                                           C/O LAW OFFICE OF JASON T.
   PATRICIA KENNEDY                                        CORSOVER, ESQUIRE             950 SOUTH PINE ISLAND RD.                                                             PLANTATION         FL   33324
   PATRICIA RANTZ                                                                        (ADDRESS REDACTED)
   PATRICK B. TOBAN                                                                      (ADDRESS REDACTED)
   PATRICK E. HOERTT                                                                     (ADDRESS REDACTED)
   PATRICK FRANKLIN                                                                      (ADDRESS REDACTED)
   PATRICK HOERTT                                                                        (ADDRESS REDACTED)
   PATRICK KING                                                                          (ADDRESS REDACTED)
   PATRICK MCMAHAN                                                                       (ADDRESS REDACTED)
   PATRICK NEIL JONES AS PR OF THE ESTATE OF ELISE
   DESKINS                                                 C/O MORGAN & MORGAN           ATTN: AL FERRERA, ESQ.              ONE TAMPA CITY CENTER        STE 700              TAMPA              FL   33602
   PATRICK, SCHAVI                                                                       (ADDRESS REDACTED)
   PATRIZIA IRVING                                                                       (ADDRESS REDACTED)
   PATSY S. GONZALEZ BY AND THROUGH RICHARD P. DUFFIELD,
   JR., ATTORNEY-IN-FACT                                   C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY              STE 800                                           TAMPA              FL   33609
   PATTERSON MEDICAL, INC.                                 ATTN: DONNA MCDALE          1000 REMINGTON BOULEVARD                                                                BOLINGBROOK        IL   60440
   PATTERSON, DORTHY J.                                                                (ADDRESS REDACTED)
   PAUL & PERKINS                                          ATTN: JASON PAUL, ESQ.      IAN DEPAGNIER, ESQ.                   3117 EDGEWATER DRIVE                              ORLANDO            FL   32804
   PAUL FIGUEROA                                           C/O TAMPA LEGAL TEAM        ATTN: JEFFERY MARSHALL, ESQ.          2607 NORTH 15TH STREET                            TAMPA              FL   33605
   PAUL KASPER                                             C/O MORGAN & MORGAN         ATTN: KASEY WAGNER, ESQ.              76 S. LAURA STREET           SUITE 1100           JACKSONVILLE       FL   32202
   PAUL S. BOONE, ATTORNEY AT LAW, P.A.                                                303 CENTRE STREET, STE 203                                                              FERNANDINA BEACH   FL   32034
   PAULA JOHNSON, ADMINISTRATRIX OF ESTATE OF ROY GENE     C/O WILKES & MCHUGH -
   JOHNSON                                                 KENTUCKY                    421 NORTH BROADWAY                    PO BOX 1747                                       LEXINGTON          KY   40508
   PAULA SZEKERES                                                                      (ADDRESS REDACTED)
   PAULA TWITTY                                                                        (ADDRESS REDACTED)
   PAULA TWITTY                                                                        (ADDRESS REDACTED)
   PAVILION AT ST. LUKE VILLAGE FACILITY OPERATIONS, LLC                               1000 STACIE DRIVE                                                                       HAZLETON           PA   18201-5690
   PAYACTIV INC                                                                        5635 S. ARCHER AVE                    UNIT 1                                            CHICAGO            IL   60638
   PAYACTIV, INC.
   PAYACTIV, INC.                                          ATTN: SAFWAN SHAH             4300 STEVENS CREEK BLVD.            SUITE 185                                         SAN JOSE           CA   95129
   PAYNE, MICHELLE                                                                       (ADDRESS REDACTED)
   PCMS, INC.
   PEACOCK ANDREW L.                                                                     (ADDRESS REDACTED)
   PEAK PERFORMANCE MS                                     ATTN: WILLIAM J. NOWELL       8325 NORTH 73RD PLACE                                                                 SCOTTSDALE         AZ   85258
   PECK BRENDA                                                                           (ADDRESS REDACTED)




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                                                                                                         as of March 3, 2021


                       Creditor Name                                   Attention                        Address 1                            Address 2             Address 3             City    State     Zip      Country
   PEDRO RIVERA ALVAREZ                                      C/O CREED & PINKARD          13043 WEST LINEBAUGH AVENUE                                                          TAMPA             FL    33636
   PEDRO VIAFARA                                                                          (ADDRESS REDACTED)
   PEGGY CANTY                                                                            (ADDRESS REDACTED)
   PEGGY MOSES                                                                            (ADDRESS REDACTED)
                                                             C/O LAW OFFICES OF KENNETH
   PEGGY MOSES                                               MAIR, ESQUIRE              ATTN: KENNETH SAINT GEORGE MAIR          3500 NORTH STATE ROAD 7      SUITE 402        FORT LAUDERDALE   FL   33319-5627
   PENN VILLAGE FACILITY OPERATIONS, LLC                                                51 ROUTE 204                                                                           SELINSGROVE       PA   17870-8066

   PENNEKAMP LAW, P.A.                                       ATTN: ROBERT BROWN, III, ESQ. 2811 SW 3RD AVENUE                                                                  MIAMI             FL   33129
   PENNIE R. CARTER                                                                        (ADDRESS REDACTED)
   PENNINGTON PA                                                                           215 S MONROE STREET SUITE 200                                                       TALLAHASSEE       FL   32301
   PENNKNOLL VILLAGE FACILITY OPERATIONS, LLC                                              208 PENNKNOLL ROAD                                                                  EVERETT           PA   15537-6940
   PENNSYLVANIA DEPARTMENT OF REVENUE                                                      PO BOX 280905                                                                       HARRISBURG        PA   17128-0905
                                                             OFFICE OF MEDICAL
   PENNSYLVANIA DEPT OF HUMAN SERVICES                       ASSISTANCE SALLY KOZAK        P.O. BOX 2675                                                                       HARRISBURG        PA   17050
   PENNY TAYLOR                                                                            (ADDRESS REDACTED)
   PENSACOLA FACILITY OPERATIONS, LLC                                                      235 W AIRPORT BOULEVARD                                                             PENSACOLA         FL   32505-2239
   PEOPLENET                                                                               P O BOX 412367                                                                      BOSTON            MA   02241-2367
   PEOPLENET, INC                                                                          5163 ROSWELL ROAD NE                                                                ATLANTA           GA   30342
   PEOPLES UNITED BANK                                                                     ONE POST OFFICE SQUARE                SUITE 3710                                    BOSTON            MA   02109
   PERFORMANCE HEALTH SUPPLY INC                             SAMMONS PRESTON               1000 REMINGTON BLVD                   STE 210                                       BOILINGBROOK      IL   60440
   PERKINS, SHERMA                                                                         (ADDRESS REDACTED)
   PERRY NEWSPAPERS INC                                                                    PO BOX 888                                                                          PERRY             FL   32348
   PERRY VILLAGE FACILITY OPERATIONS, LLC                                                  800 CONCOURSE PARKWAY SOUTH                                                         MAITLAND          FL   32751
   PERSONAL CONCEPTS                                                                       PO BOX 5750                                                                         CAROL STREAM      IL   60197-5750
   PERSONNEL CONCEPTS                                                                      PO BOX 9003                                                                         SAN DIMAS         CA   91773-9998
   PERTICONE JOHN P                                                                        (ADDRESS REDACTED)
   PETERS TERESA                                                                           (ADDRESS REDACTED)
   PETERSON MARK                                                                           (ADDRESS REDACTED)
   PETRONA DAVIS                                                                           (ADDRESS REDACTED)
   PETTEWAY PEGGY                                                                          (ADDRESS REDACTED)
   PEULI AHMAD                                                                             (ADDRESS REDACTED)
   PHEASANT RIDGE FACILITY OPERATIONS, LLC                                                 4355 PHEASANT RIDGE ROAD                                                            ROANOKE           VA   24014-5272
   PHEASANT RIDGE OFFICE BLDG LLC                                                          4423 PHEASANT RIDGE RD                SUITE 300                                     ROANOKE           VA   24014
   PHEASANT RIDGE OFFICE BUILDINGS, LLC                      ATTN: SMITH PACKETT           4423 PHEASANT RIDGE RD                SUITE 300                                     ROANOKE           VA   24014
   PHEASANT RIDGE OFFICE BUILDINGS, LLC                      SMITH PACKETT                 4432 PHEASANT RIDGE RD., SUITE 300                                                  ROANOKE           VA   24014
   PHILIP R. WEISS, AS PR OF THE ESTATE OF FRANK R. WEISS,
   JR.                                                       C/O VALENZUELA LAW FIRM, PA ATTN: HENRY VALENZUELA, ESQ.            100 NORTH TAMPA ST.          STE 2350         TAMPA             FL   33602
   PHILLIP GIOVANNOZZI AS PR OF THE ESTATE OF EDITH
   GIOVANNOZZI                                               C/O MORGAN & MORGAN          ATTN: ISABEL BARROSO, ESQ.             12800 UNIVERSITY DR          STE 600          FORT MYERS        FL   33907
   PHILLIPS KATHRYN RACHEL                                                                (ADDRESS REDACTED)
   PHILLIPS, PATRICIA                                                                     (ADDRESS REDACTED)
   PHILLIPS, ROBERT A.                                                                    (ADDRESS REDACTED)
   PHILOMENA B. YANKAH                                                                    (ADDRESS REDACTED)
   PHOENIX TEXTILE CORPORATION                                                            PO BOX 1060                                                                          ST CHARLES        MO   63302-1060
   PHYLLIS M. DOYLE                                                                       (ADDRESS REDACTED)
   PHYSICIANS FILING SERVICE, INC.                           ATTN: PRESIDENT              210 N. 10TH STREET                                                                   MT. VERNON        IL   62864
   PHYSICIANS GROUP SERVICES PA                                                           PO BOX 850001                                                                        ORLANDO           FL   32885-0192
   PHYSIO TECH INC                                                                        3420 PUMP RD                           #104                                          RICHMOND          VA   23233
   PIEDMONT PATHOLOGY ASSOCIATES                                                          1899 TATE BLVD SE STE1105                                                            HICKORY           NC   28602
   PIERRE, WANDINE                                                                        (ADDRESS REDACTED)
   PIKETON FACILITY OPERATIONS, LLC                                                       800 CONCOURSE PARKWAY SOUTH                                                          MAITLAND          FL   32751
   PINE RIVER HEALTHCARE, LLC                                                             1040 CROWN POINTE PKWY                 STE 600                                       ATLANTA           GA   30338
   PINELAKE HEALTHCARE, LLC                                                               1040 CROWN POINTE PKWY                 STE 600                                       ATLANTA           GA   30338
   PINEWOOD HEALTHCARE, LLC                                                               1040 CROWN POINTE PKWY                 STE 600                                       ATLANTA           GA   30338
   PINNACLE QUALITY INSIGHT, LLC,                                                         7440 S. CREEK ROAD                     SUITE 300                                     SALT LAKE CITY    UT   84107
   PITNEY BOWES                                                                           P O BOX 85390                                                                        LOUISVILLE        KY   40285-5390
   PITNEY BOWES GLOBAL FIN SVCS                                                           2225 AMERICAN DRIVE                                                                  NEENAH            WI   54956-1005
   PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC                                             2225 AMERICAN DRIVE                                                                  NEENAH            WI   54956
   PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC                                             P.O. BOX 371887                                                                      PITTSBURGH        PA   15250
   PLAKS KARA                                                                             (ADDRESS REDACTED)
   PLATINUM HEALTH SERVICES LLC                                                           3220 TILLMAN DR                        SUITE 300                                     BENSALEM          PA   19020
   PLATINUM HEALTH SERVICES, LLC                             ATTN: JOSEPH FOY             4512 FARRAGUT ROAD                                                                   BROOKLYN          NY   11203
   PLATINUM HEALTH SERVICES, LLC                             ATTN: SETH GRIBETZ           4512 FARRAGUT ROAD                                                                   BROOKLYN          NY   11203
   PLURALSIGHT LLC                                                                        182 N UNION AVENUE                                                                   FARMINGTON        UT   84025
   PLURALSIGHT LLC                                                                        DEPT CH 19719                                                       0                PALATINE          IL   60055-9719
   PLYLER NANCY                                                                           (ADDRESS REDACTED)
   PNC
   PNC BANK NATIONAL ASSOCIATION                                                          PO BOX 12438                                                                         NEWARK            NJ   07101-3538
   PNC BANK NATIONAL ASSOCIATION                                                          655 BUSINESS CENTER DRIVE              SUITE 250                                     HORSHAM           PA   19044

   PNC EQUIPMENT FINANCE, LLC                                                             655 BUSINESS CENTER DRIVE, SUITE 250                                                 HORSHAM           PA   19044
   POINTCLICKCARE TECHNOLOGIES                                                            PO BOX 674802                                                                        DETROIT           MI   48267-4802
   POINTCLICKCARE TECHNOLOGIES, INC.                         ATTN: MATT KNEPPER           5570 EXPLORER DRIVE                                                                  MISSISSAUGA       ON   L4W OC4      CANADA




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                        Creditor Name                             Attention                      Address 1                       Address 2             Address 3            City       State     Zip     Country
   POINTRIGHT, INC.                                                               150 CAMBRIDGE PARK DRIVE           SUITE 301                                     CAMBRIDGE           MA    02140
   POLARIS PHARMACY SERVICES                                                      2900 NW 60TH STREET                                                              FORT LAUDERDALE     FL    33309
   POOLE BRANDON                                                                  (ADDRESS REDACTED)
   POOLE TIMOTHY                                                                  (ADDRESS REDACTED)
   POOLE TIMOTHY RFMS                                                             803 OAK STREET                                                                   GREENCOVESPRINGS    FL   32043
   POOLE, BRANDON D.                                                              (ADDRESS REDACTED)
   PORMAISH HARRICHARRAN                                                          (ADDRESS REDACTED)
   PORT CHARLOTTE FACILITY OPERATIONS, LLC                                        18480 COCHRAN BOULEVARD                                                          PORT CHARLOTTE      FL   33948-3379
   PORTER CLAUDETTE                                                               (ADDRESS REDACTED)
   PORTER, GINA                                                                   (ADDRESS REDACTED)
   POSEY, LATRICE                                                                 (ADDRESS REDACTED)
   POSITIVE PROMOTIONS INC                                                        P.O. BOX 11537                                                                   NEWARK              NY   07101-4537
   POST ACUTE ANALYTICS INC.                                                      1760 S STEMMONS FWY                SUITE 400                                     LEWISVILLE          TX   75067
   POWELL BENJAMIN W                                                              (ADDRESS REDACTED)
   POWELL TRACHTMAN LOGAN CARRLE                        & LOMBARDO, P.C.          475 ALLENDALE ROAD                 SUITE 200                                     KING OF PRUSSIA     PA   19406
   POWERDMS                                                                       101 S. GARLAND AVE                 STE 300                                       ORLANDO             FL   32801
   POWERDMS, INC.                                                                 200 EAST ROBINSON STREET           SUITE 425                                     ORLANDO             FL   32801-1925
   PRAGMATIC WORKS SOFTWARE, INC.                                                 1845 TOWN CENTER BLVD, STE 505                                                   FLEMING ISLAND      FL   32003
   PRAGMATIC WORKS SOFTWARE, INC.                                                 75 REMITTANCE DRIVE                DEPT 6633                                     CHICAGO             IL   60675-6633
   PREMIER ALARM SYSTEMS                                SOLUTIONS LLC             PO BOX 1389                                                                      SORRENTO            FL   32776-1389
   PREMIER ELECTRICAL SOLUTIONS                         DO NOT USE                DO NOT USE                                                                       SORRENTO            FL   32776
   PREMIER HEALTHCARE STAFFING SOLUTIONS                                          1031 IVES DAIRY ROAD               SUITE 228                                     MIAMI               FL   33179
   PREMIER MEDICAL CLINIC INC                                                     315 E ASH STREET                                                                 PERRY               FL   32347
   PREMIER PATIENT CARE                                                           406 FEVER HAMMOCK DR.                                                            ST. JOHNS           FL   32259
   PRESIDIO NETWORKED                                   SOLUTIONS, LLC.           12120 SUNSET HILLS RD, STE 202                                                   RESTON              VA   20190
   PRESIDIO NETWORKED SOLUTIONS, INC.                                             5337 MILLENIA LAKES BLVD.                                                        ORLANDO             FL   32839
   PRIEST NAOMI                                                                   (ADDRESS REDACTED)
   PRIMM C DOYLE                                                                  6436 BAY RIDGE ROAD                                                              JACKSONVILLE        FL   32216-8950
   PRINCE ROBINSON                                                                (ADDRESS REDACTED)
   PRINCE ROBINSON                                                                (ADDRESS REDACTED)
   PRINCENIJIA WILLIAMS                                                           (ADDRESS REDACTED)
   PRINCIPLE VALUATION LLC                                                        230 W MONROE                       SUITE 2540                                    CHICAGO             IL   60606
   PRINCIPLE VALUATION LLC                                                        311 S WACKER DR                    SUITE 3350                                    CHICAGO             IL   60606
   PRINE SYSTEMS INC                                                              140 STOCKTON STREET                                                              JACKSONVILLE        FL   32204
   PRINS COMMERCIAL LAUNDRY                                                       3008 NORTH EAST 19TH DRIVE                                                       GAINESVILLE         FL   32609
   PRISCILLA DOWDELL                                                              (ADDRESS REDACTED)
   PRISCILLA SEVERANCE                                                            (ADDRESS REDACTED)
   PRO NAIL SUPPLY                                                                7230 49TH STREET N                                                               PINELLAS PARK       FL   33781
   PRO STAFF                                                                      PO BOX 5006                                                                      MINNEAPOLIS         MN   55485-5006
   PRO STAFF                                                                      705 W STATE ROAD 434               SUITE E                                       LONGWOOD            FL   32750
   PROBATE FINDER                                                                 7601 PENN AVE S                    SUITE A610                                    MINNEAPLOIS         MN   55423-5005
   PROCHEM INC                                                                    PO BOX 1309                                                                      ALPHARETTA          GA   30009
   PROFESSIONAL STAFFING SERVICES, INC.                                           217 N. WESTMONTE DRIVE             SUITE 2013                                    ALTAMONTE SPRINGS   FL   32714
   PROFIT RECOVERY PARTNERS LLC                                                   2995 RED HILL AVE STE 200                                                        COSTA MESA          CA   92626
   PROFIT RECOVERY PARTNERS LLC                         C/O NELSON MULLINS        ATTN: GINGER BARRY BOYD            215 SOUTH MONROE STREET      SUITE 400        TALLAHASSEE         FL   32301
   PROFIT RECOVERY PARTNERS, LLC                                                  2995 RED HILL AVENUE               SUITE 200                                     COSTA MESA          CA   92626
                                                        C/O LAW OFFICES OF TRENTON
   PROFIT RECOVERY PARTNERS, LLC                        HILL                       1010 UNION ST #125                                                              PASADENA            CA   91106
   PROGRESSIVE MEDICAL CONCEPTS                                                    5020 B U BOWMAN DRIVE             SUITE 600                                     BUFORD              GA   30518
   PRO-STAFF TERMITE & PEST                             CONTROL INC.               705 W STATE ROAD 434                                                            LONGWOOD            FL   32750
   PRO-STAFF TERMITE & PEST                                                        6211 EDGEWATER DR                                                               ORLANDO             FL   32810
   PROTECH PROJECTION SYSTEMS INC                                                  2597 CENTER ROAD                                                                HINCKLEY            OH   44233
   PROXY NETWORKS INC                                                              320 CONGRESS STREET               3RD FLOOR                                     BOSTON              MA   02210
   PSAV                                                                            2302 COMMERCE PARK DR             SUITE 100                                     ORLANDO             FL   32819
   PTI MARKETING TECHNOLOGIES INC                                                  201 LOMAS SANTA FE DRIVE          SUITE 300                                     SOLANA BEACH        CA   92075
   PUBLIC STORAGE                                                                  521 S STATE ROAD 434                                                            ALTAMONTE SPRINGS   FL   32714
   PUBLISHING CONCEPTS INC                                                         14109 TAYLOR LOOP ROAD                                                          LITTLE ROCK         AR   72223
   PUBLISHING CONCEPTS INC                                                         PO BOX 17427                                                                    LITTLE ROCK         AR   72222
   PURCHASE POWER                                                                  PO BOX 371874                                                                   PITTSBURGH          PA   15250-7874
   PURCHASE POWER LLC                                                              1349 W PEACHTREE STREET NW        SUITE 1100                                    ATLANTA             GA   30309
   PUSH INC                                                                        101 ERNESTINE ST                                                                ORLANDO             FL   32801
   PUTNAM SURGICAL GROUP LLC                                                       PO BOX 743367                                                                   ATLANTA             GA   30374-3367
   PYRON JEREMY                                                                    (ADDRESS REDACTED)
   QCPMT, LLC                                                                      800 CONCOURSE PARKWAY SOUTH                                                     MAITLAND            FL   32751
   QIT RICHARD COMINS                                                              1000 S ORANGE STREET                                                            PERRY               FL   32348
   QUANISHA BAILEY                                                                 (ADDRESS REDACTED)
   QUANTERIA MCCASKILL                                                             (ADDRESS REDACTED)
   QUEEN SMITH                                                                     (ADDRESS REDACTED)
   QUEST DIAGNOSTIC CLINICAL LABORATORIES, INC. D/B/A
   QUEST DIAGNOSTICS
   QUEST DIAGNOSTICS INC                                                          P O BOX 740709                                                                   ATLANTA             GA   30374
   QUEST SOFTWARE INC                                                             PO BOX 731381                                                                    DALLAS              TX   75373-1381
   QUINLAN JOHN                                                                   (ADDRESS REDACTED)
   QUINNAN ANN                                                                    (ADDRESS REDACTED)




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   R.H. MILLER PEST SERVICES,INC.                                               137 CONCORD DRIVE                  SUITE 101                                   CASSELBERRY          FL    32707
   RAC INSURANCE INVESTORS, LLC                                                 1040 CROWN POINTE PKWY             STE 600                                     ATLANTA              GA    30338
   RACHEL CANADAY                                                               (ADDRESS REDACTED)
   RACHEL E. FLOWERS                                                            (ADDRESS REDACTED)
   RACHEL GIBSON                                                                (ADDRESS REDACTED)
   RACHEL GIBSON                                                                (ADDRESS REDACTED)
   RACHEL LAVALLE                                                               (ADDRESS REDACTED)
   RACHEL LAVALLE                                                               (ADDRESS REDACTED)
   RACHEL M. JOHNSON                                                            (ADDRESS REDACTED)
   RACHEL M. SMITH                                                              (ADDRESS REDACTED)
   RACHEL N. WELLS                                                              (ADDRESS REDACTED)
   RACHEL S CARLOCK                                                             (ADDRESS REDACTED)
   RADFORD, ERIN                                                                (ADDRESS REDACTED)
   RADIOLOGY ASSOCIATES OF TALLAHASSEE                                          1600 PHILLIPS ROAD                                                             TALLAHASSEE          FL   32308
   RAGANS ACE HARDWARE                                                          805 S JEFFERSON ST                                                             PERRY                FL   32347
   RAMBA LAW GROUP LLC                                                          120 SOUTH MONROE ST                                                            TALLAHASSEE          FL   32301
   RAMEY KATHY                                                                  (ADDRESS REDACTED)
   RAMEZ B. ANDWAR WANIS                                                        (ADDRESS REDACTED)
   RAMNARACE ROSENA                                                             (ADDRESS REDACTED)
   RAMONA ALEXANDER                                                             (ADDRESS REDACTED)
   RAMONDA FERRER-KLOCEK                                                        (ADDRESS REDACTED)
   RAMONDA FERRER-KLOCEK                                                        (ADDRESS REDACTED)
   RAMONES LANDSCAPING CORP                                                     808 OAK STREET                                                                 GREEN COVE SPRINGS   FL   32043
   RAMSEY, LEIARA                                                               (ADDRESS REDACTED)
                                                   C/O THE REISSMAN LAW
   RANDALL LABADIE                                 GROUP, PA                    ATTN: MARSHALL REISSMAN            5150 CENTRAL AVE                            ST. PETERSBURG       FL   33707
   RANDY DEITSCH                                                                (ADDRESS REDACTED)
   RANDY SMALLWOOD AND BRENDA SMALLWOOD AS CO-
   ADMINS OF ESTATE OF NOLAN SMALLWOOD             C/O HUGHES & COLEMAN         ATTN: ROSS MANN, ESQ.              211 E. NEW CIRCLE RD                        LEXINGTON            KY   40505-2116
   RAQUEL RIVERA                                                                (ADDRESS REDACTED)
   RAXCO SOFTWARE, INC.                                                         PO BOX 87298                                                                   MONTGOMERY VILLAGE   MD   20886
   RAYANN GURR                                                                  (ADDRESS REDACTED)
   RAYANN GURR                                                                  (ADDRESS REDACTED)
   RAYCHELLE GREEN                                                              (ADDRESS REDACTED)
   READY REFRESH                                                                P.O. BOX 856680                                                                LOUISVILLE           KY   40285-6680
   REBECCA B. BODIE                                                             (ADDRESS REDACTED)
   REBECCA GANT                                                                 (ADDRESS REDACTED)
   REBECCA H. GRANTZ                                                            (ADDRESS REDACTED)
   RED GATE SOFTWARE LTD.                                                       P O BOX 845066                                                                 BOSTON               MA   02284-5066
   REDDICK MOSS, PLLC                              ATTN: ROBERT FRANCIS, ESQ.   ONE INFORMATION WAY, STE 201                                                   LITTLE ROCK          AR   72202
   REEDERS FACILITY OPERATIONS, LLC                                             800 CONCOURSE PARKWAY SOUTH                                                    MAITLAND             FL   32751
   REEVES ROSIE                                                                 (ADDRESS REDACTED)
   REGINA D. WOOD                                                               (ADDRESS REDACTED)
   REGINA E. MCGRATH                                                            (ADDRESS REDACTED)
   REGINA WILLIAMS                                                              (ADDRESS REDACTED)
   REGIONAL INCOME TAX AGENCY                                                   PO BOX 94736                                                                   CLEVELAND            OH   44101-4736
   REGIONS BANK                                    ATTN LEGAL DEPT              1900 FIFTH AVENUE NORTH                                                        BIRMINGHAM           AL   35203
   REGISTER LARRY                                                               (ADDRESS REDACTED)
   RELIASTAR LIFE INSURANCE                        COMPANY                      20 WASHINGTON AVE SOUTH                                                        MINNEAPOLIS          MN   55401
   RENE, SHIRLEY                                                                (ADDRESS REDACTED)
   RENEE C MCKEEL                                                               (ADDRESS REDACTED)
   RENEE C. MCKEEL                                                              (ADDRESS REDACTED)
   RENEE C. WEEKS                                                               (ADDRESS REDACTED)
   RENEE L. WILLIAMS                                                            (ADDRESS REDACTED)
   RENEE W. GRAY                                                                (ADDRESS REDACTED)
   RENEE WEEKS                                                                  (ADDRESS REDACTED)
   RENEE WEEKS C/O SEAN CULLITON                                                150 JOHN KNOX RD.                                                              TALLAHASSEE          FL   32303
   REPUBLIC SERVICES INC                                                        PO BOX 99917                                                                   CHICAGO              IL   60696-7717

   REPUBLIC SERVICES NATIONAL ACCOUNTS, LLC        ATTN: VP NATIONAL ACCOUNTS 18500 N ALLIED WAY                                                               PHOENIX              AZ   85054
                                                   REPUBLIC SERVICES, INC ATTN:
   REPUBLIC SERVICES NATIONAL ACCOUNTS, LLC        LEGAL DEPARTMENT             18500 NORTH ALLIED WAY                                                         PHOENIX              AZ   85054
   REPUBLICAN PARTY OF FLORIDA                                                  420 EAST JEFFERSON ST                                                          TALLAHASSEE          FL   32301
   RESOURCE ONE INC                                                             PO BOX 1959                                                                    SARASOTA             FL   34230
   RESOURCE ONE INC                                                             PO BOX 267                         PAWLING ST                                  HAGAMAN              NY   12086
   RESPIRATORY HEALTH SERVICES                                                  PO BOX 821322                                                                  PHILADELPHIA         PA   19182-1322
                                                   ATTN: LOU ANN SOIKA, SVP
                                                   CUSTOMER RELATIONS AND
   RESPIRATORY HEALTH SERVICES, LLC                STRATEGIC DEVELOPMENT        101 EAST STATE STREET                                                          KENNETT SQUARE       PA   19348
                                                   GENESIS HEALTHCARE
   RESPIRATORY HEALTH SERVICES, LLC                CORPORATION                  ATTN: LAW DEPARTMENT               101 EAST STATE STREET                       KENNETT SQUARE       PA   19348
   RETIREMENT VILLAGE OF NORTH STRABANE FACILITY
   OPERATIONS, LLC                                                              800 CONCOURSE PARKWAY SOUTH                                                    MAITLAND             FL   32751
   RF TECHNOLOGIES INC                                                          PO BOX 8444                                                                    CAROL STREAM         IL   60197-8444




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   RF TECHNOLOGIES INC                                                               3125 NORTH 126TH ST                                                             BROOKFIELD           WI    53005
   RFMS THOMAS STEVENS                                                               803 OAK STREET                                                                  GREEN COVE SPRINGS   FL    32043
   RFMS WILLIAM GEORGE                                                               803 OAK STREET                                                                  GREEN COVE SPRINGS   FL    32043
   RHODA S. DUNAWAY                                                                  (ADDRESS REDACTED)
   RHONDA A. BARTON                                                                  (ADDRESS REDACTED)
   RHONDA L. MOORE                                                                   (ADDRESS REDACTED)
   RHONDA TURNBOUGH                                                                  (ADDRESS REDACTED)
   RICE DEBORAH                                                                      (ADDRESS REDACTED)
   RICE MEGAN                                                                        (ADDRESS REDACTED)
   RICHANDA MCKINLEY                                                                 (ADDRESS REDACTED)
   RICHARD A. JURBALA                                                                (ADDRESS REDACTED)
   RICHARD A. LONGO                                                                  (ADDRESS REDACTED)
   RICHARD A. MURPHY                                                                 (ADDRESS REDACTED)
   RICHARD BRUNO                                                                     (ADDRESS REDACTED)
   RICHARD CUMBERLAND AS PR OF THE ESTATE OF MARY L
   FLOWERS                                                C/O MORGAN & MORGAN        ATTN: KASEY WAGNER, ESQ.            76 S. LAURA STREET         SUITE 1100       JACKSONVILLE         FL   32202
   RICHARD J. FAIN                                                                   (ADDRESS REDACTED)

   RICHARD JOHN BROWN                                     C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY           STE 800                                     TAMPA                FL   33609
   RICHARD PERREAULT AND ZOE PERREAULT                    C/O VALENZUELA LAW FIRM     ATTN: HENRY VALENZUELA, ESQ.       100 NORTH TAMPA ST.        STE 2350         TAMPA                FL   33602
   RICHARDSON DIANE                                                                   (ADDRESS REDACTED)
   RICHARDSON, BRITTNEY                                                               (ADDRESS REDACTED)
   RICHARDSON, DAVID A.                                                               (ADDRESS REDACTED)
   RICKASIA MEDLOCK                                                                   (ADDRESS REDACTED)
   RICOH USA                                                                          PO BOX 532530                                                                  ATLANTA              GA   30353-2530
   RICOH USA, INC.                                                                    70 VALLEY STREAM PARKWAY                                                       MALVERN              PA   19355
   RIDGEWOOD FACILITY OPERATIONS, LLC                                                 800 CONCOURSE PARKWAY SOUTH                                                    MAITLAND             FL   32751
   RILEY HEALTHCARE, LLC                                                              3716 HIGHWAY 39 NORTH              P.O. BOX 5395                               MERIDIAN             MS   39301
   RINGCENTRAL, INC.                                      ATTN: LEGAL DEPARTMENT      20 DAVIS DRIVE                                                                 BELMONT              CA   94002
   RIVERBEND HEALTHCARE, LLC                                                          1040 CROWN POINTE PKWY             STE 600                                     ATLANTA              GA   30338
   RIVERFRONT CAFE & CATERING INC                                                     1848 HICKORY TRACE DR                                                          FLEMING ISLAND       FL   32003
   RIVERVIEW OF ANN ARBOR HEALTHCARE, LLC                                             1040 CROWN POINTE PKWY             STE 600                                     ATLANTA              GA   30338
   RJ YOUNG CO                                                                        PO BOX 40623                                                                   NASHVILLE            TN   37204-0623
   ROBBINS JON                                                                        (ADDRESS REDACTED)
   ROBBINS KAREN                                                                      PO BOX 2114                                                                    DELAND               FL   32721-2114
   ROBERT A. LEE BY AND THROUGH ROBERT E. LEE, ATTORNEY
   IN FACT                                                C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY           STE 800                                     TAMPA                FL   33609
   ROBERT BOTTS                                                                       (ADDRESS REDACTED)
   ROBERT C. PETERS                                                                   (ADDRESS REDACTED)

   ROBERT CARTER, JR., ESQ.                               ATTN: MARY ESTFANOUS, ESQ. P.O. BOX 878                        690 COURT STREET                            APPOMATTOX           VA   24522
   ROBERT D KLINE                                                                    (ADDRESS REDACTED)
   ROBERT DAVIS, SR. BY AND THROUGH JULIA M. CLARK,
   ATTORNEY IN FACT                                       C/O WILKES & MCHUGH, PA    ONE NORTH DALE MABRY HWY, STE 800                                               TAMPA                FL   33609
   ROBERT DAVIS, SR. BY AND THROUGH JULIA M. CLARK,       C/O MENDES, REINS &
   ATTORNEY IN FACT                                       WILANDER                   4401 W. KENNEDY BLVD. SUITE 250                                                 TAMPA                FL   33609
   ROBERT E. HANSON                                                                  (ADDRESS REDACTED)
   ROBERT F. FLYNN                                                                   (ADDRESS REDACTED)
   ROBERT HALF FINANCE &                                  ACCOUNTING                 P O BOX 743295                                                                  LOS ANGELES          CA   90074-3295
   ROBERT HALF INTERNATIONAL INC                                                     12400 COLLECTIONS CENTER DRIVE                                                  CHICAGO              IL   60693
   ROBERT HENDRICKSON                                                                (ADDRESS REDACTED)
   ROBERT HENIGE                                                                     (ADDRESS REDACTED)
                                                          C/O MCHUGH FULLER LAW
   ROBERT HENRY KLINE                                     GROUP, PLLC                97 ELIAS WHIDDON ROAD                                                           HATTISBURG           MS   39402
                                                          C/O MENDES, REINS &
   ROBERT HENRY KLINE                                     WILANDER                   4401 W. KENNEDY BLVD. SUITE 250                                                 TAMPA                FL   33609

   ROBERT J. PATT                                         C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY           STE 800                                     TAMPA                FL   33609
   ROBERT KELLER V . 9035 BRYAN DAIRY ROAD OPERATIONS,
   LLC                                                    C/O WILKES & MCHUGH, PA    ONE NORTH DALE MABRY HWY, STE 800                                               TAMPA                FL   33609
   ROBERT KELLER V . 9035 BRYAN DAIRY ROAD OPERATIONS,    C/O MENDES, REINS &
   LLC                                                    WILANDER                   4401 W. KENNEDY BLVD. SUITE 250                                                 TAMPA                FL   33609
   ROBERT L. WALKER                                                                  (ADDRESS REDACTED)
   ROBERT M. HENDRICKSON                                                             (ADDRESS REDACTED)
   ROBERT NORRIS                                                                     (ADDRESS REDACTED)
   ROBERT PANCHARIAN                                                                 (ADDRESS REDACTED)
   ROBERT R. MURRELL JR.                                                             (ADDRESS REDACTED)
   ROBERT RENAGHAN AS PR OF THE ESTATE OF PATRICIA
   RENAGHAN                                               C/O GRAY LEGAL GROUP       ATTN: DAVID HOEY, ESQ.              108 N ELM ST                                GREENSBORO           NC   27401
   ROBERT S. HORD                                                                    (ADDRESS REDACTED)
   ROBERT SPARKS ATTORNEYS, PLLC                                                     201 E. KENNEDY BLVD, STE 1400                                                   TAMPA                FL   33602
   ROBERTA L. MACLAY                                                                 (ADDRESS REDACTED)
   ROBERTO S MCCALLA                                                                 (ADDRESS REDACTED)
   ROBERTO S. MCCALLA                                                                (ADDRESS REDACTED)




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   ROBERTS KEITH RFMS                                                               803 OAK STREET                                                                     GREEN COVE SPRINGS   FL    32043
   ROBERTS, ANGELA                                                                  (ADDRESS REDACTED)
   ROBERTS, JOHNETTA                                                                (ADDRESS REDACTED)
   ROBERTS, MARKESHIA                                                               (ADDRESS REDACTED)
   ROBIN BROWN                                                                      (ADDRESS REDACTED)
   ROBIN E. WHITE                                                                   (ADDRESS REDACTED)
   ROBIN HALL                                                                       (ADDRESS REDACTED)
   ROBIN J. ALLEN                                                                   (ADDRESS REDACTED)
   ROBIN L. WILLIAMS                                                                (ADDRESS REDACTED)
                                                                                                                        110 NORTH 11TH STREET, STE
   ROBIN MOORE AS PR OF ESTATE OF ROBERT VANN, SR       C/O WOODS TRIAL GROUP       ATTN: ASHBY DAVIS, ESQ.             201                                            TAMPA                FL   33602
   ROBIN R. GARBINSKY                                                               (ADDRESS REDACTED)
   ROBIN SALMON                                                                     (ADDRESS REDACTED)
   ROBIN T. BASCHNAGEL                                                              (ADDRESS REDACTED)
   ROBIN WILLIAMS                                                                   (ADDRESS REDACTED)

   ROBIN WRIGHT AS PR OF THE ESTATE OF BRENDA JORDAN    C/O SENIOR JUSTICE LAW FIRM ATTN: DAVID BREVADA, ESQ.           7700 CONGRESS AVE, STE 3216                    BOCA RATON           FL   33487
   ROBINETTE CORDELIA                                                               (ADDRESS REDACTED)
   ROBINSON, ALBERTA                                                                (ADDRESS REDACTED)
   ROBINSON, KENESHIA                                                               (ADDRESS REDACTED)
   ROBINSON, KENNESSIA D.                                                           (ADDRESS REDACTED)
   ROBOTALKER.COM LLC                                                               6000 N OCEAN BLVD                   SUITE 12F                                      FORT LAUDERDALE      FL   33308

   RODERICK LEO LAVALLEE                                C/O WILKES & ASSOCIATES     ATTN: KIRSTEN SKOKOS, ESQ.          ONE NORTH DALE MABRY HWY STE 700               TAMPA                FL   33609
   RODRIGUEZ, CHRISTY                                                               (ADDRESS REDACTED)
   ROGERS JEWELS                                                                    (ADDRESS REDACTED)
   ROI HEALTHCARE SOLUTIONS, LLC                                                    5555 GLENRIDGE CONNECTOR            SUITE 200                                      ATLANTA              GA   30342
   ROLAND A. EARLY II                                                               (ADDRESS REDACTED)
   ROLANDA D. LENNON                                                                (ADDRESS REDACTED)
   ROLANDA LENNON                                                                   (ADDRESS REDACTED)
   ROLIYAH PASSMORE                                                                 (ADDRESS REDACTED)
   RON CANNON                                                                       (ADDRESS REDACTED)
   RON GEORGE                                                                       (ADDRESS REDACTED)
   RON L. GEORGE                                                                    (ADDRESS REDACTED)
   RON SMITH                                                                        (ADDRESS REDACTED)
   RON SMITH C/O RICHARD LEVINE                                                     310 GRANT ST., STE. 1500                                                           PITTSBURGH           PA   15219
   RONALD CANNON                                                                    (ADDRESS REDACTED)
   RONALD HOLMES AS PERSONAL REPRESENTATIVE OF THE
   ESTATE OF BERTHA HOLMES                              C/O WARNER & WARNER         ATTN: SCOT WARNER, ESQ.             5200 SOUTH US HIGHWAY I7-92                    CASSELBERRY          FL   32707
   RONALD REININGER                                                                 (ADDRESS REDACTED)
   RONALD SCHNATTER AS PR OF THE ESTATE OF ANTOINETTE                               ATTN: ALLAN PARVEY, ESQ. & CARLOS
   SCHNATTER                                            C/O PARVEY & FRANKEL        CAVENAGO, III, ESQ.                 2069 FIRST STREET, STE 100                     FORT MYERS           FL   33993
   RONNIE S. MOHAMMED                                                               (ADDRESS REDACTED)
   ROOT INC.
   ROSA A. SPRAYBERRY                                                                (ADDRESS REDACTED)
   ROSA DEBOSE                                                                       (ADDRESS REDACTED)
   ROSANNNA D MCCOUGH AS PERSONAL REPRESENTATIVE        C/O LAW OFFICES OF JOSHUA J.
   FOR ESTATE OF WILLIAM MCCULLOUGH                     HERTZ, P.A.                  8100 OAK LANE                      PENTHOUSE 403                                  MIAMI LAKES          FL   33016
   ROSE MELBRA                                                                       (ADDRESS REDACTED)
   ROSENA RAMNARACE                                                                  (ADDRESS REDACTED)
   ROSHELLE L. MILLER                                                                (ADDRESS REDACTED)
   ROSHELLE MILLER                                                                   (ADDRESS REDACTED)
   ROSINSKI DORAINE                                                                  (ADDRESS REDACTED)
   ROSS SEAN                                                                         (ADDRESS REDACTED)
   ROTO ROOTER SEWER SERVICE                                                         PO BOX 232                                                                        RUTHERFORDTON        NC   28139
   ROWENA GUERRERO                                                                   (ADDRESS REDACTED)
   ROWLES KARYL                                                                      (ADDRESS REDACTED)
   ROXANNE BEYAN                                                                     (ADDRESS REDACTED)
   ROXANNE GARRETT                                                                   (ADDRESS REDACTED)
   ROY BRAND                                                                         (ADDRESS REDACTED)
   ROY, MELANIE                                                                      (ADDRESS REDACTED)
   ROYAL CUP INC                                                                     PO BOX 841000                                                                     DALLAS               TX   75284-1000
   ROYAL TERRACE HEALTHCARE, LLC                                                     1040 CROWN POINTE PKWY             STE 600                                        ATLANTA              GA   30338
   ROYCE LEE                                                                         (ADDRESS REDACTED)
   RSUI GROUP, INC.                                                                  945 EAST PACES FERRY RD.           SUITE 1800                                     ATLANTA              GA   30326-1160
                                                        C/O COLLING, GILBERT, WRIGHT
   RUBY CURLEY & HER HUSBAND THOMAS CURLEY, POA         & CARTER                     ATTN: GARRY RHODEN, ESQ.           801 NORTH ORANGE AVENUE       SUITE 830        ORLANDO              FL   32801
   RUBY JANE B. BENNETT                                                              (ADDRESS REDACTED)
   RUDNICK, SHARLA                                                                   (ADDRESS REDACTED)
   RULX DESIR                                                                        (ADDRESS REDACTED)
   RUSSELL D. RAGLAND, JR.                                                           (ADDRESS REDACTED)
   RUSSELL E. MORRIS                                                                 (ADDRESS REDACTED)
   RUSSELL HASSELL                                      C/O MORGAN & MORGAN          ATTN: BRIAN THOMPSON, ESQ.         ONE TAMPA CITY CENTER         STE 700          TAMPA                FL   33602
   RUSSELL MORRIS                                                                    (ADDRESS REDACTED)




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   RUTH ANN DUGAN BY AND THROUGH ROSEMARIE CASEMAN,
   ATTORNEY-IN-FACT                                      C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY            STE 800                                       TAMPA             FL      33609
   RUTH PIERRE ST FLEUR                                                              (ADDRESS REDACTED)
   RYAN PARK                                                                         (ADDRESS REDACTED)
   RYAN, RENNY                                                                       (ADDRESS REDACTED)
   S&S WORLDWIDE INC.                                                                75 MILL STREET                                                                    COLCHESTER        CT      06415
   SABRINA L. CHRISTO BAJAN                                                          (ADDRESS REDACTED)
   SACOYA BROWN                                                                      (ADDRESS REDACTED)
   SACRED HEART HOSPITAL                                                             PO BOX 2728                                                                       PENSACOLA         FL      32513
   SADE L. BROWN                                                                     (ADDRESS REDACTED)
   SAFE CARD ID SERVICES INC                                                         4801 E INDEPENDENCE BLVD            SUITE 705                                     CHARLOTTE         NC      28212
   SAFETY CULTURE                                                                    3003 TASMAN DRIVE                                                                 SANTA CLARA       CA      95054
   SAFETY CULTURE                                                                    12760 W. 87TH ST. PKWY              SUITE 106                                     LENEXA            KS      66215
   SAFETY HARBOR FACILITY OPERATIONS, LLC                                            1410 DR. M.L. KING JR. STREET N                                                   SAFETY HARBOR     FL      34695-3303
   SAGEWELL HEALTHCARE BENEFITS                                                      1501 REEDSDALE STREET               SUITE 3005                                    PITTSBURGH        PA      15233
   SALEEL, BEY                                                                       (ADDRESS REDACTED)
   SALMON ANDREA L.                                                                  (ADDRESS REDACTED)
   SALMON ROBIN                                                                      (ADDRESS REDACTED)
   SALUS MANAGEMENT INVESTMENT, LLC                                                  800 CONCOURSE PARKWAY SOUTH                                                       MAITLAND          FL      32751
   SALUS REHABILITATION, LLC                                                         800 CONCOURSE PARKWAY SOUTH                                                       MAITLAND          FL      32751
   SAMANTHA A. LUNDY                                                                 (ADDRESS REDACTED)
   SAMANTHA BELCHER                                                                  (ADDRESS REDACTED)
   SAMANTHA D. THOMAS                                                                (ADDRESS REDACTED)
   SAMANTHA FULTZ BY & THROUGH ATTORNEY-IN-FACT,         C/O MENDES, REINS &
   DARWIN FULTZ                                          WILANDER                    4401 W. KENNEDY BLVD. SUITE 250                                                   TAMPA             FL      33609
   SAMANTHA FULTZ BY & THROUGH ATTORNEY-IN-FACT,         C/O WILKES & MCHUGH -                                           1601 CHERRY STREET, STE
   DARWIN FULTZ                                          PHILADELPHIA                ATTN: RUBEN KRISZTAL, ESQ           1300                                          PHILADELPHIA      PA      19102
   SAMANTHA GAY                                                                      (ADDRESS REDACTED)
   SAMANTHA L. DEFRANCESCO                                                           (ADDRESS REDACTED)
   SAMANTHA MOORE                                                                    (ADDRESS REDACTED)
   SAMANTHA R. MORGAN                                                                (ADDRESS REDACTED)
   SAMANTHA SMITH                                                                    (ADDRESS REDACTED)
   SAMUEL NESTOR                                                                     (ADDRESS REDACTED)
   SANDRA A. HALE                                                                    (ADDRESS REDACTED)
   SANDRA CAPLES                                                                     (ADDRESS REDACTED)
   SANDRA G. LUNA                                                                    (ADDRESS REDACTED)
   SANDRA GUY                                                                        (ADDRESS REDACTED)
   SANDRA GUY                                                                        (ADDRESS REDACTED)
   SANDRA JONES                                                                      (ADDRESS REDACTED)
   SANDRA KENLEY INDIVIDUALLY & GUARDIAN OF GEORGE       C/O WILKES & MCHUGH -
   KENLEY                                                LEXINGTON, KY               421 NORTH BROADWAY                  PO BOX 1747                                   LEXINGTON         KY      40508
   SANDRA KISNER                                                                     (ADDRESS REDACTED)

   SANDRA MASTERS                                        C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY            STE 800                                       TAMPA             FL      33609
   SANDRA P. ORE                                                                     (ADDRESS REDACTED)
   SANDRA R. KEATON                                                                  (ADDRESS REDACTED)
   SANDRA R. VAUGHAN                                                                 (ADDRESS REDACTED)
   SANDRA R. VAUGHAN                                                                 (ADDRESS REDACTED)
   SANDREA CRUCE                                         C/O MORGAN & MORGAN         ATTN: TODD HUNTER, ESQ.             313 NORTH MONROE ST          STE 401          TALLAHASSEE       FL      32301
   SANDY KHUSIAL                                                                     (ADDRESS REDACTED)

   SANDY WEETER AS FIDUCIARY OF ESTATE OF JUDITH AMLIN   C/O BENSON & SESSLER        ATTN: MARK TOLLS, ESQ               36 SOUTH PAINT STREET                         CHILLICOTHE       OH      45601
   SANEETRIS L. MILLER                                                               (ADDRESS REDACTED)
   SANFORD OSBAND AS PR OF THE ESTATE OF JOYCE           C/O FREEDLAND, HARWIN &
   POPOVER                                               VALORI                      ATTN: FREDERICK GUNION, ESQ.        110 SE 6TH STREET, #2300                      FORT LAUDERDALE   FL      33301
   SANTANA WALLACE                                                                   (ADDRESS REDACTED)
   SANTANA, YIRSENIA                                                                 (ADDRESS REDACTED)
   SANTAPAU AMY                                                                      (ADDRESS REDACTED)
   SANTIAGO, WENDY                                                                   (ADDRESS REDACTED)
   SAPPHIRE R. GEE                                                                   (ADDRESS REDACTED)
   SARA M. MCGHEE                                                                    (ADDRESS REDACTED)
   SARAH BOLLING                                                                     (ADDRESS REDACTED)
   SARAH CRUISE                                                                      (ADDRESS REDACTED)
   SARAH F ALBANI                                                                    (ADDRESS REDACTED)
   SARAH JORDAN-SELLERS                                                              (ADDRESS REDACTED)
   SARAH L. UPCHURCH                                                                 (ADDRESS REDACTED)
   SARAH TOMPKINS                                                                    (ADDRESS REDACTED)
   SARAH WARNER                                                                      (ADDRESS REDACTED)
   SARASOTA FACILITY OPERATIONS, LLC                                                 4783 FRUITVILLE ROAD                                                              SARASOTA          FL      34232-1815
   SASS N BRASS                                                                      (ADDRESS REDACTED)
   SAWYER GAS                                                                        4110 UNIVERSITY BLVD                                                              JACKSONVILLE      FL      32217
   SCARBERRY JENNIFER                                                                (ADDRESS REDACTED)
   SCHOCK LOGISTICS INC                                                              PO BOX 1710                                                                       BEND              OR      97709
   SCHREIBER JACOB                                                                   (ADDRESS REDACTED)




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                          Creditor Name                          Attention                        Address 1                         Address 2             Address 3               City   State       Zip      Country

   SCHULER, HALVORSON, WEISSER, ZOELLER AND OVERBECK   ATTN: MICHAEL BAXTER, ESQ.   1615 FORUM PLACE, STE 4-D           BARRISTERS BUILDING                            WEST PALM BEACH   FL      33401
   SCHULTE LEONORA                                                                  (ADDRESS REDACTED)
   SCHWARZ, CARLEEN                                                                 (ADDRESS REDACTED)
   SCOTT HILARY F.                                                                  (ADDRESS REDACTED)
   SCOTT L. KNUDSEN                                                                 (ADDRESS REDACTED)
   SCOTT LITHOGRAPHING COMPANY                                                      1870 TUCKER INDUSTRIAL RD                                                          TUCKER            GA      30084
   SCOTT, GRETCHEN                                                                  (ADDRESS REDACTED)
   SCOTT, TEIARA L.                                                                 (ADDRESS REDACTED)
   SCRUBS ON WHEELS                                                                 11920 W COLONIAL # 157                                                             OCOEE             FL      34761
   SEA CREST HEALTH CARE MANAGEMENT, LLC                                            800 CONCOURSE PARKWAY SOUTH                                                        MAITLAND          FL      32751
   SEA CREST MANAGEMENT INVESTMENT, LLC                                             800 CONCOURSE PARKWAY SOUTH                                                        MAITLAND          FL      32751
   SEACOAST
   SEACOAST BANK                                                                    250 NORTH ORANGE AVENUE             SUITE 100                                      ORLANDO           FL      32801
   SEAN M. ROSS                                                                     (ADDRESS REDACTED)
                                                       DIVISION OF CORPORATIONS -
   SECRETARY OF STATE                                  FRANCHISE TAX                P.O. BOX 898                                                                       DOVER             DE      19903
   SECURITIES & EXCHANGE COMMISSION                                                 100 F STREET, NE                                                                   WASHINGTON        DC      20549
                                                       ATTN: ANDREW CALAMARI,
   SECURITIES AND EXCHANGE COMMISSION                  REGIONAL DIRECTOR            NEW YORK REGIONAL OFFICE            200 VESEY STREET, SUITE 400   BROOKFIELD PLACE   NEW YORK        NY      10281-1022
                                                                                                                                                      2842 BUSINESS PARK
   SEDGWICK CLAIMS MANAGEMENT                                                       PO BOX 5076                         SUNTRUST BANK                 DR BLDG G          MEMPHIS         TN      38118-1655
   SEDGWICK CLAIMS MANAGEMENT                                                       PO BOX 207834                                                                        DALLAS          TX      75320-7834
   SEDGWICK CLAIMS MANAGEMENT SERVICES, INC.           ATTN: DANA JACKSON           1206 POINTE CENTRE DRIVE            SUITE 220                                        CHATTANOOGA     TN      37421
   SEDGWICK CLAIMS MANAGEMENT SERVICES, INC.           ATTN: CLO                    1100 RIDGEWAY LOOP ROAD                                                              MEMPHIS         TN      38120
   SEETA MOHAMMED                                                                   (ADDRESS REDACTED)
   SEGER MARIA A                                                                    (ADDRESS REDACTED)
   SEI INC                                                                          3854 BROADMOOR AVE SE                                                              GRAND RAPIDS      MI      49512
   SEIKOSOFT LLC                                                                    1095 9TH STREET                                                                    IDAHO FALLS       ID      83404
   SENECE B. MIDGETT                                                                (ADDRESS REDACTED)
   SENECE MIDGETT                                                                   (ADDRESS REDACTED)
   SENIOR HOUSING SEARCH                                                            5110 N 44TH ST                      #1200                                          PHOENIX           AZ      85018
   SENIOR JUSTICE LAW FIRM                             ATTN: DAVID BREVADA, ESQ.    7700 CONGRESS AVE, STE 3216                                                        BOCA RATON        FL      33487
   SENIORS GUIDE HOUSING & SVCS                                                     14286 BEACH BLVD -19                STE 335                                        JACKSONVILLE      FL      32250
   SENTIMENTAL PRODUCTIONS                                                          P O BOX 14716                                                                      CINCINNATI        OH      45250-0716
   SERVICENOW, INC.                                                                 PO BOX 731647                                                                      DALLAS            TX      75373-1647
   SERVICENOW, INC. (SERVICE-NOW.COM)                                               4810 EASTGATE MAIL                                                                 SAN DIEGO         CA      92121
   SERVICENOW, INC. (SERVICE-NOW.COM)                  ATTN: LEGAL COUNSEL          12225 EL CAMINO REAL                SUITE 100                                      SAN DIEGO         CA      92130
   SERVICES LUTHERAN                                                                4615 PHILLIPS HIGH WAY                                                             JACKSONVILLE      FL      32207
   SESSION, DARIEL                                                                  (ADDRESS REDACTED)
   SEYFARTH SHAW LLP                                                                3807 COLLECTIONS CENTER DRIVE                                                      CHICAGO           IL      60693
   SHABEER NASEEMA                                                                  (ADDRESS REDACTED)
   SHAE SAVAGE                                                                      (ADDRESS REDACTED)
   SHAH MATT                                                                        (ADDRESS REDACTED)
   SHAHIDA DULAY                                                                    (ADDRESS REDACTED)
   SHAHIN HUSSAIN                                                                   (ADDRESS REDACTED)
   SHAKEIDRA A. ROTICH                                                              (ADDRESS REDACTED)
   SHAKEIDRA ROTICH                                                                 (ADDRESS REDACTED)
   SHAKENDRA JOHNSON                                                                (ADDRESS REDACTED)
   SHA'KIA S. THOMAS                                                                (ADDRESS REDACTED)
   SHAKIMA B. NESBITT                                                               (ADDRESS REDACTED)
   SHALETHA EDWARDS-AKINOLA                                                         (ADDRESS REDACTED)
   SHANAY PITTER                                                                    (ADDRESS REDACTED)
   SHANDS UF                                                                        PO BOX 100005                                                                      ATLANTA           GA      30384
   SHANEE S. NEALY                                                                  (ADDRESS REDACTED)
   SHANISE GIBSON                                                                   (ADDRESS REDACTED)
   SHANISE N. GIBSON                                                                (ADDRESS REDACTED)
   SHANITA PADILLA                                                                  (ADDRESS REDACTED)
   SHANNA L. WEBB                                                                   (ADDRESS REDACTED)
   SHANNA WEBB                                                                      (ADDRESS REDACTED)
   SHANNON FRADY                                                                    (ADDRESS REDACTED)
   SHANNON JENKINS                                                                  (ADDRESS REDACTED)
   SHANNON LESLIE-WILLIS                                                            (ADDRESS REDACTED)
   SHANNON M. LOVETT                                                                (ADDRESS REDACTED)
   SHANORA SMITH                                                                    (ADDRESS REDACTED)
   SHANTA N. GRAHAM                                                                 (ADDRESS REDACTED)
   SHANTELL ROBINSON                                                                (ADDRESS REDACTED)
   SHARINA EUBANKS-BROWN                                                            (ADDRESS REDACTED)
   SHARMAN L. FUNK                                                                  (ADDRESS REDACTED)
   SHARON F WATKINS                                                                 (ADDRESS REDACTED)
   SHARON F. WATKINS                                                                (ADDRESS REDACTED)
   SHARON L. WALTERS                                                                (ADDRESS REDACTED)
   SHARON MILLER                                                                    (ADDRESS REDACTED)




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   SHARON MILLER AS ADMIN OF ESTATE OF SUTTERPHINE      C/O WILLIAMS, NEWMAN,
   MILLER                                               WILLIAMS                ATTN: R. PAUL WILLIAMS, III, ESQ.    P.O. BOX 23785                                JACKSON           MS      39225
   SHARON THOMPSON                                                              (ADDRESS REDACTED)
   SHARON THOMPSON                                                              (ADDRESS REDACTED)
   SHARP BUSINESS SYSTEMS                                                       DEPT AT 40322                                                                      ATLANTA           GA      31192-0322
   SHARP BUSINESS SYSTEMS                               DEPT 1212               PO BOX 121212                                                                      DALLAS            TX      75312-1212
   SHARP BUSINESS SYSTEMS                                                       14791 OAK LANE                                                                     MIAMI LAKES       FL      33016
   SHARP BUSINESS SYSTEMS                                                       1870 MCFARLAND PARKWAY                                                             ALPHARETTA        GA      30005-8417
   SHARP ELECTRONICS CORPORATION D/B/A SHARP BUSINESS
   SYSTEMS                                                                      1870 MCFARLAND PARKWAY                                                             ALPHARETTA        GA      30005-8417
   SHARP ELECTRONICS CORPORATION D/B/A SHARP BUSINESS
   SYSTEMS
   SHATARI BARTLEY                                                              (ADDRESS REDACTED)
   SHAUN BATTLE                                                                 (ADDRESS REDACTED)
   SHAUNA LISENBY                                                               (ADDRESS REDACTED)
   SHAUNA N. LISENBY                                                            (ADDRESS REDACTED)
   SHAUNTEZE MOODY                                                              (ADDRESS REDACTED)
   SHAUNTIA O. MOORE                                                            (ADDRESS REDACTED)
   SHAW PAMELA Y                                                                (ADDRESS REDACTED)
   SHAW, CIARA                                                                  (ADDRESS REDACTED)
   SHAWNA C. CALLAHAN                                                           (ADDRESS REDACTED)
   SHAWNDA R. WADE                                                              (ADDRESS REDACTED)
   SHAWNIKKA ALSTON                                                             (ADDRESS REDACTED)
   SHAWNIKKA ALSTON                                                             (ADDRESS REDACTED)
   SHAWNTA F. WALLACE                                                           (ADDRESS REDACTED)
   SHAWNTAE M. BARNETT                                                          (ADDRESS REDACTED)
   SHAYLA SMITH                                                                 (ADDRESS REDACTED)
   SHEENA COLE                                                                  (ADDRESS REDACTED)
   SHEENA D. THURLEY                                                            (ADDRESS REDACTED)
   SHEENA THURLEY                                                               (ADDRESS REDACTED)
   SHEFFIELD GLORIA                                                             (ADDRESS REDACTED)
   SHEILA H LITTLEFIELD                                                         (ADDRESS REDACTED)
   SHEILA H. LITTLEFIELD                                                        (ADDRESS REDACTED)
   SHELBY HANNA                                                                 (ADDRESS REDACTED)
   SHELLBY ATTEBERRY                                                            (ADDRESS REDACTED)
   SHELLEY R. FIELDS                                                            (ADDRESS REDACTED)
   SHELLIE J. MOORE                                                             (ADDRESS REDACTED)
   SHELLIE M. MCFALL                                                            (ADDRESS REDACTED)
   SHELLY SALCAM                                                                (ADDRESS REDACTED)
   SHELTON TONYA                                                                (ADDRESS REDACTED)
   SHERI CASIANO                                                                (ADDRESS REDACTED)
   SHERI R. BATTON                                                              (ADDRESS REDACTED)
   SHERIDAN DENTAL                                                              4045 SHERIDAN AVE                    SUITE 239                                     MIAMI BEACH       FL      33140
   SHERIDAN DENTAL                                                              4045 SHERIDAN AVE                    SUITE 239                                     MIAMI             FL      33140
   SHERIDAN DENTAL                                                              4045 SHERIDAN AVENUE                 STE 239                                       MIAMI BEACH       FL      33140
   SHERIDAN DENTAL                                                              4045 SHERIDAN AVENUE                 SUITE 239                                     MIAMI BEACH       FL      33140
   SHERIDAN DENTAL                                                              4045 SHERIDAN AVE SUITE 239                                                        MIAMAI BEACH      FL      33140
   SHERIDAN DENTAL                                                              4045 SHERIDAN AVENUE                                                               MIAMI             FL      33140
   SHERIDAN DENTAL SERVICES                                                     4045 SHERIDAN AVE                    STE 239                                       MIAMI BEACH       FL      33140
   SHERIDAN DENTAL SERVICES P.L.                                                4045 SHERIDAN AVENUE                 #239                                          MIAMI BEACH       FL      33140
   SHERIDAN INDIANA HEALTHCARE, LLC                                             1040 CROWN POINTE PKWY               STE 600                                       ATLANTA           GA      30338
   SHERIDAN NANCY                                                               (ADDRESS REDACTED)
   SHERRY L. CLEARY                                                             (ADDRESS REDACTED)
   SHERRY LIU                                                                   (ADDRESS REDACTED)
   SHERRY LYNN HITE, AS EXECUTRIX OF ESTATE OF JULIA    C/O WILKES & MCHUGH -
   HARVEY                                               KENTUCKY                ATTN: KEVIN HACKWORTH, ESQUIRE       421 NORTH BROADWAY           PO BOX 1747      LEXINGTON         KY      40508
   SHERRY R. DURRANCE                                                           (ADDRESS REDACTED)
   SHEVIN LAW FIRM, PLLC                                TRUST ACCOUNT           7777 GLADES ROAD, SUITE 212                                                        BOCA RATON        FL      33434
   SHIFTKEY                                                                     2807 ALLEN STREET                    SUITE 802                                     DALLAS            TX      75204
   SHIPMAN, GAIL G.                                                             (ADDRESS REDACTED)
   SHIRHANDA K. SOLOMON                                                         (ADDRESS REDACTED)
   SHIRLEY E. JARRIN                                                            (ADDRESS REDACTED)
   SHIRLEY KEY                                                                  (ADDRESS REDACTED)
   SHIRLEY KEY                                                                  (ADDRESS REDACTED)
   SHIRLEY M. WATSON                                                            (ADDRESS REDACTED)
   SHIRLEY Y. EVANS                                                             (ADDRESS REDACTED)
   SHIVERS, CHARLET                                                             (ADDRESS REDACTED)
   SHONTEL MAYERS                                                               (ADDRESS REDACTED)
   SHORELINE HEALTHCARE MANAGEMENT, LLC                                         800 CONCOURSE PARKWAY SOUTH                                                        MAITLAND          FL      32751
   SHORT JANET                                                                  (ADDRESS REDACTED)
   SHOVANA DEERING                                                              (ADDRESS REDACTED)
   SHRED-IT USA                                                                 28883 NETWORK PLACE                                                                CHICAGO           IL      60673-1288
   SHRED-IT USA                                         DBA SHRED IT DALLAS     9755 CLIFFORD DR                                                                   DALLAS            TX      75220
   SHRED-IT USA LLC                                                             28883 NETWORK PLACE                                                                CHICAGO           IL      60673




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   SIB DEVELOPMENT & CONSULTING, INC.                                           796 MEETING STREET                                                             CHARLESTON      SC    29403
   SIB FIXED COST REDUCTION CO.                       CLIENT ID# 900004         PO BOX 100199                                                                  COLUMBIA        SC    29202-3199
   SILLITER, JOHN                                                               (ADDRESS REDACTED)
   SILVA, GINGER                                                                (ADDRESS REDACTED)
   SILVERSTEIN, SILVERSTEIN & SILVERSTEIN PA                                    20801 BISCAYNE BLVD, STE 504                                                   AVENTURA        FL   33180
   SIMEDHEALTH LLC                                                              4881 NW 8TH AVENUE                 SUITE 2                                     GAINESVILLE     FL   32605-4582
   SIMMONS, ISHA                                                                (ADDRESS REDACTED)
   SIMPLE LTC                                                                   2435 N CENTRAL EXPY                STE 1510                                    RICHARDSON      TX   75080
   SIMPLE LTC                                                                   6210 CAMPBELL RD                   SUITE 220                                   DALLAS          TX   75248
   SIMPLELTC SYSTEMS, LLC                             ATTN: EDWIN JONES         2435 NORTH CENTRAL EXPRESSWAY      SUITE 1510                                  RICHARDSON      TX   75080
   SIMPLICITY COLLECTION SOFTWARE, INC.                                         P.O. BOX 50284                                                                 IDAHO FALLS     ID   83405
   SIMPLY HEALTH CARE PLAN                                                      PO BOX 7368GA081E-0014                                                         COLUMBUS        GA   31908-7368
   SIMPLY HEALTHCARE PLANS                                                      1701 PONCE DE LEON BLVD                                                        CORAL GABLES    FL   33134
   SIMPSON CHERRON A.                                                           (ADDRESS REDACTED)
   SINOWITZ ALLEN                                                               (ADDRESS REDACTED)
   SIOBHAN FOUT                                                                 (ADDRESS REDACTED)
   SIPLIN JOSEPH                                                                (ADDRESS REDACTED)
   SIRIUS XM RADIO INC.                                                         PO BOX 9001399                                                                 LOUISVILLE      KY   40290-1399
   SITTERSON, BARBARA A.                                                        (ADDRESS REDACTED)
   SKADDEN ARPS SLATE MEAGHER & FLOM, LLP.                                      PO BOX 1764                                                                    WHITE PLAINS    NY   10602
   SKAGGS LTC INC                                                               (ADDRESS REDACTED)
   SKILL SURVEY INC                                                             DEPT. CH 17210                                                                 PALATINE        IL   60055-7210
   SKOLNIK, KRISTIN C.                                                          (ADDRESS REDACTED)
   SKYLINE FACILITY OPERATIONS, LLC                                             237 FRANKLIN PIKE SE                                                           FLOYD           VA   24091-2893
   SKYWAYS MEDIA, INC                                 ATTN: VINCENT SMITH       7111 SYNTEX DRIVE                  3RD FLOOR                                   MISSISSAUGA     ON   L5N 8C3       CANADA
   SLAUGHTER WENDY                                                              (ADDRESS REDACTED)
   SLOCUM, TABREALL                                                             (ADDRESS REDACTED)
   SMILEY, LAKITA                                                               (ADDRESS REDACTED)
   SMITH & NEPHEW INC.                                ATTN: KELLY FARQUHAR      5600 CLEAR FORK MAIN STREET        SUITE 600                                   FORT WORTH      TX   76110
   SMITH & NEPHEW INC.                                ATTN: COMPANY SECRETARY   1450 E. BROOKS ROAD                                                            MEMPHIS         TN   38116
   SMITH BURMA                                                                  (ADDRESS REDACTED)
   SMITH HEALTH INC                                                             300 BRANNAN STREET                 SUITE 601                                   SAN FRANCISCO   CA   94107
   SMITH, CHARLES W                                                             (ADDRESS REDACTED)
   SNELL, KEZIA                                                                 (ADDRESS REDACTED)
   SOCIAL SECURITY                                                              13841 7TH ST                                                                   DADE CITY       FL   33525-9907
   SOCIAL SECURITY ADMINISTRATION                                               2002 OLD ST. AUGUSTINE RD          SUITE B12                                   TALLAHASSEE     FL   32301
   SOCIAL SECURITY ADMINISTRATION                                               P O BOX 3430                                                                   PHILADELPHIA    PA   19122 9985
   SOLARWINDS INC                                                               P.O. BOX 730720                                                                DALLAS          TX   75373-0720
   SOLOMON, TYSHECIA                                                            (ADDRESS REDACTED)
   SONCINI CHERYL                                                               (ADDRESS REDACTED)
   SONEL DESIR                                                                  (ADDRESS REDACTED)
   SONIA G. MONTALVO                                                            (ADDRESS REDACTED)
   SONIAN INC                                                                   100 CRESCENT RD                                                                NEEDHAM         MA   02494
   SONIAN, INC.                                                                 100 CRESCENT STREET                                                            NEEDHAM         MA   02494
   SONYA LUGO                                                                   (ADDRESS REDACTED)
   SONYA TILLER                                                                 (ADDRESS REDACTED)
   SOPHAL PORNG                                                                 (ADDRESS REDACTED)
   SOPHIA GOOLSBY                                                               (ADDRESS REDACTED)
   SOUTH CAROLINA DEPARTMENT OF REVENUE                                         PO BOX 125                                                                     COLUMBIA        SC   29214-0400
   SOUTH CAROLINA FACILITY OPERATIONS, L.L.C.                                   800 CONCOURSE PARKWAY SOUTH                                                    MAITLAND        FL   32751
   SOUTH CAROLINA HEALTHY CONNECTIONS MEDICAID                                  P. O. BOX 8206                                                                 COLUMBIA        SC   29202-8206
   SOUTH POINT MEDICAL SUPPLY, LLC                    SUITE 201                 101 SUNNYTOWN ROAD                                                             CASSELBERRY     FL   32707
   SOUTHEASTERN RETINA SPECIALIST                                               7740 POINT MEADOWS DR              SUITE 3A                                    JACKSONVILLE    FL   32256-9180
   SOUTHEASTERN SURVEYING AND                         MAPPING CORPORATION       6500 ALL AMERICAN BLVD                                                         ORLANDO         FL   32810
   SOUTHERN HISTORICAL NEWS INC                                                 PO BOX 1068                                                                    HIRAM           GA   30141
   SOUTHERN PTAC SERVICES, INC                                                  PO BOX 530119                                                                  DEBARY          FL   32753
   SOUTHERN TECHNICAL INSTITUTE, LLC D/B/A SOUTHERN
   TECHNICAL INSTITUTE, PINELLAS PARK                 ATTN: RANDY FULLER        8200 66TH STREET NORTH                                                         PINELLAS PARK   FL   33781
   SOUTHERN VITREORETINAL ASSOC                                                 2439 CARE DR                                                                   TALLAHASSEE     FL   32308
   SOUTHPOINT HEALTH CARE ASSOCIATES, LLC                                       800 CONCOURSE PARKWAY SOUTH                                                    MAITLAND        FL   32751
   SPANGLER DALE                                                                (ADDRESS REDACTED)
   SPECTRIO LLC                                                                 4033 TAMPA ROAD SUITE 103                                                      OLDSMAR         FL   34677
   SPENCER CHRISTOPHER E                                                        (ADDRESS REDACTED)
   SPENCER ELEANOR                                                              (ADDRESS REDACTED)
   SPILLERS CHRISTINA                                                           (ADDRESS REDACTED)
   SPRINGFIELD, ALLISON                                                         (ADDRESS REDACTED)
   SPRINGHILL NURSERY                                                           446 SPRINGHILL ROAD                                                            PERRY           FL   32347
   SPRINKLR, INC.                                                               29 WEST 35TH STREET 8TH FLOOR                                                  NEW YORK        NY   10001
   SSANGIM MEREDITH                                                             (ADDRESS REDACTED)
   SSI GROUP INC                                      DEPT. #2455               THE SSI GROUP LLC                  PO BOX 11407                                BIRMINGHAM      AL   35246-2455
   ST. PETERSBURG FACILITY OPERATIONS, LLC                                      9393 PARK BOULEVARD                                                            SEMINOLE        FL   33777-4140
                                                                                ATTN: JASON PAUL, ESQ. & IAN
   STACEY ABEL AS PR OF THE ESTATE OF BEBEE ABEL      C/O PAUL & PERKINS        DEPAGNIER, ESQ.                    3117 EDGEWATER DRIVE                        ORLANDO         FL   32804
   STACIE E. SHIVE                                                              (ADDRESS REDACTED)




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                       Creditor Name                              Attention                         Address 1                       Address 2           Address 3              City   State       Zip      Country
   STACIE SHIVE                                                                       (ADDRESS REDACTED)
   STACY D. LEWIS                                                                     (ADDRESS REDACTED)
   STACY J. JAMBE                                                                     (ADDRESS REDACTED)
   STACY P. COOPER                                                                    (ADDRESS REDACTED)
   STAFF FINANCIAL GROUP, INC.                                                        410 PEACHTREE PARKWAY, SUITE 300                                              CUMMING           GA      30041
   STALLWORTH, SHANIKA                                                                (ADDRESS REDACTED)
   STANLEY SMITH                                                                      (ADDRESS REDACTED)
   STANTON TIM                                                                        (ADDRESS REDACTED)
   STAPLES BUSINESS ADVANTAGE                                                         PO BOX 105748                                                                 ATLANTA           GA      30348-5748
                                                        GENERAL COUNSEL, STAPLES,
   STAPLES CONTRACT & COMMERCIAL, INC.                  INC.                          500 STAPLES DRIVE                                                             FRAMINGHAM        MA      01702
   STAPLES CONTRACT & COMMERCIAL, INC.                                                500 STAPLES DRIVE                                                             FRAMINGHAM        MA      01702
   STAPLES INC                                                                        PO BOX 95230                                                                  CHICAGO           IL      60694-5230
   STARKVILLE MANOR HEALTHCARE, LLC                                                   1001 HOSPITAL RD.                   P.O. BOX 1466                             STARKVILLE        MS      39760
   STARLA NANCE                                                                       (ADDRESS REDACTED)
   STATE MAGISTRATE COURT OF                            DEKALB COUNTY                 556 N MCDONOUGH STREET                                                        DECATUR           GA      30030
   STATE MAGISTRATE COURT OF                            FULTON COUNTY                 ROOM 900                                                                      ATLANTA           GA      30303
   STATE OF ALABAMA                                     DEPARTMENT OF REVENUE         PO BOX 327483                                                                 MONTGOMERY        AL      36132-7483
                                                        EMPLOYMENT DEVELOPMENT
   STATE OF CALIFORNIA                                  DEPARTM                       P O BOX 826276                                                                SACRAMENTO        CA      94230-6276
   STATE OF DELAWARE                                    DIVISION OF CORPORATIONS      PO BOX 898                                                                    DOVER             DE      19903
   STATE OF DELAWARE DIVISION OF REVENUE                820 N. FRENCH STREET                                                                                        WILMINGTON        DE      19801
   STATE OF FLA DISBURSMENT UNIT                                                      PO BOX 8500                                                                   TALLAHASSEE       FL      32314-8500
   STATE OF FLORIDA                                     DISBURSEMENT UNIT             PO BOX 8500                                                                   TALLAHASSEE       FL      32314-8500
   STATE OF FLORIDA DEPARTMENT OF REVENUE                                             50 WEST TENNESSEE STREET                                                      TALLAHASSEE       FL      32399
   STATE OF GEORGIA DEPARTMENT OF REVENUE                                             1800 CENTURY BOULEVARD, NE                                                    ATLANTA           GA      30345
                                                        DEPT OF ASSESSMENTS &
   STATE OF MARYLAND                                    TAXATION                      PERSONAL PROP DIV                                                             BALTIMORE         MD      21201
                                                        NURSING FACILITY QUALITY
   STATE OF MARYLAND                                    ASSMT                         PO BOX 17697                                                                  BALTIMORE         MD      21297
   STATE OF MICHIGAN                                    ACCOUNTING DIVISION           P O BOX 30437                                                                 LANSING           MI      48909
   STAYWELL HEALTH PLAN OF FLORID                                                     PO BOX 31370                                                                  TAMPA             FL      33631
   STAYWELL WELLCARE HEALTH PLANS                                                     PO BOX 31584                                                                  TAMPA             FL      33631-3584
   STAYWELLWELLCARE                                                                   P O BOX 31370                                                                 TAMPA             FL      33631
   STEFANE D. CARTEN                                                                  (ADDRESS REDACTED)
   STEPHANIE A. COBB                                                                  (ADDRESS REDACTED)
   STEPHANIE BRABSON                                                                  (ADDRESS REDACTED)
   STEPHANIE BRADSON                                                                  (ADDRESS REDACTED)
   STEPHANIE BROGAN                                                                   (ADDRESS REDACTED)
   STEPHANIE C. WILSON                                                                (ADDRESS REDACTED)
   STEPHANIE D. HINSON                                                                (ADDRESS REDACTED)
   STEPHANIE J. CARTER                                                                (ADDRESS REDACTED)
   STEPHANIE L. HRICENAK                                                              (ADDRESS REDACTED)
   STEPHANIE MCCROSKEY                                                                (ADDRESS REDACTED)
   STEPHANIE MCCROSKEY                                                                (ADDRESS REDACTED)
   STEPHANIE MONSANTO                                                                 (ADDRESS REDACTED)
   STEPHANIE R. GALTIERI                                                              (ADDRESS REDACTED)
   STEPHEN BULLOCK                                      C/O DEAN BURNETTI LAW         1937 EAST EDGEWOOD DRIVE                                                      LAKELAND          FL      33803
   STEPHEN C. BIONDI                                                                  (ADDRESS REDACTED)
   STEPHEN CHARLES BIONDI                                                             (ADDRESS REDACTED)
   STEPHEN PATRINOSTRO, PA                                                            P.O. BOX 2804                                                                 LAKELAND          FL      33806
   STEPHENS MARY JANE                                                                 (ADDRESS REDACTED)
   STERICYCLE INC                                                                     PO BOX 6582                                                                   CAROL STREAM      IL      60197-6582
   STERICYCLE INC                                       ATTN CASH APPS                4010 COMMERCIAL AVE                                                           NORTHBROOK        IL      60062
   STERICYCLE INC.                                                                    28161 N. KEITH DRIVE                                                          LAKE FOREST       IL      60045
   STERICYCLE, INC.                                                                   4010 COMMERCIAL AVENUE                                                        NORTHBROOK        IL      60062
   STERITECH GROUP INC                                                                PO BOX 472127                                                                 CHARLOTTE         NC      28247
   STEVE FISHMAN                                                                      (ADDRESS REDACTED)
   STEVE M. WIGGINS                                                                   (ADDRESS REDACTED)
   STEVEN A. VAN CAMP                                                                 (ADDRESS REDACTED)
   STEVEN J. LONGTOE                                                                  (ADDRESS REDACTED)
   STEVEN LONGTOE                                                                     (ADDRESS REDACTED)
   STEVEN QUIETT                                                                      (ADDRESS REDACTED)
   STEVEN SUTPHIN BY AND THROUGH DIANA CLARK, ATTORNEY-
   IN-FACT                                              C/O WILKES & MCHUGH - TAMPA   ONE NORTH DALE MABRY HWY            STE 800                                   TAMPA             FL      33609
   STEWART SARAH                                                                      (ADDRESS REDACTED)
                                                        ATTN: KEVIN RICHARDSON,
   STILLO & RICHARDSON                                  ESQ.                          5402 W. LAUREL ST, STE 203                                                    TAMPA             FL      33607
   STOCKHAM LAW GROUP                                   ATTN: JAMES RAGANO, ESQ.      610 W. HORATIO ST.                                                            TAMPA             FL      33606
   STOLFER MERRIE ELLYN                                                               713 BUENA VISTA AVENUE                                                        ORMOND BEACH      FL      32174
   STOLL HEALTH CARE CONSULTING                         SERVICES INC                  PO BOX 701934                                                                 ST CLOUD          FL      34770-1934
   STOLL HEALTH CARE CONSULTING SERVICES, INC.                                        P.O. BOX 701934                                                               ST. CLOUD         FL      34770
   STORTZ DELENA                                                                      (ADDRESS REDACTED)
   STRATFORD FACILITY OPERATIONS, LLC                                                 800 CONCOURSE PARKWAY SOUTH                                                   MAITLAND          FL      32751




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                          Creditor Name                           Attention                          Address 1                           Address 2             Address 3              City   State       Zip      Country
                                                         ATTN: MORGAN STREETMAN,
   STREETMAN LAW                                         ESQ.                          505 E. JACKSON STREET, STE 305                                                      TAMPA             FL      33602
   STRETTO                                                                             5 PETERS CANYON ROAD                  SUITE 200                                     IRVINE            CA      92606
   STULL, JAMIE R.                                                                     (ADDRESS REDACTED)
   SUE ANN HUNTER, AS ADMINISTRATRIX OF ESTATE OF JACK   C/O WILKES & MCHUGH -
   WALTERS                                               KENTUCKY                      421 NORTH BROADWAY                    PO BOX 1747                                   LEXINGTON         KY      40508
   SUGESHNA NAIDOO                                                                     (ADDRESS REDACTED)
   SUGGS DEIDRA                                                                        (ADDRESS REDACTED)
   SUMMER B. PRIDGEON                                                                  (ADDRESS REDACTED)
   SUMMER SWEAT                                                                        (ADDRESS REDACTED)
   SUMMIT FACILITY OPERATIONS, LLC                                                     800 CONCOURSE PARKWAY SOUTH                                                         MAITLAND          FL      32751
   SUMMIT SOFTWARE, INC.                                                               85 BORADWAY                           SUITE F                                       AMITYVILLE        NY      11701
   SUMRALL, JESSICA                                                                    (ADDRESS REDACTED)
   SUN LIFE ASSURANCE COMPANY OF                                                       (ADDRESS REDACTED)
   SUNBELT RENTALS INC                                                                 PO BOX 409211                                                                       ATLANTA           GA      30384-9211
   SUNCOAST PTAC SERVICES                                                              PO BOX 530520                                                                       DEBARRY           FL      32753
   SUNSHINE HEALTH                                                                     (ADDRESS REDACTED)
                                                         CENTENE MANAGEMENT
   SUNSHINE HEALTH                                       CORPORATION                   3164 MOMENTUM PLACE                                                                 CHICAGO           IL      60689
   SUNSHINE STATE HEALTH PLAN                                                          1301 INTERNATIONAL PKWY               #400                                          SUNRISE           FL      33323

   SUNSHINE STATE HEALTH PLAN                            ATTN: PRESIDENT/CEO           1301 INTERNATIONAL PKWY., 4TH FLOOR                                                 SUNSHINE          FL      33323
   SUPERIOR FENCE AND RAIL OF                            NORTH FLORIDA INC             5470 HIGHWAY AVENUE                                                                 JACKSONVILLE      FL      32254
   SUSAN BODIFORD                                                                      (ADDRESS REDACTED)
   SUSAN BURNS                                                                         (ADDRESS REDACTED)
   SUSAN F. MOSLEY                                                                     (ADDRESS REDACTED)
                                                                                       ATTN: CHRISTOPHER CASTILLO, ESQ.&     407 N. HOWARD AVENUE, STE
   SUSAN FREER                                           C/O THE FLORIDA LAW GROUP     CHRIS LIMBEROPOULOS, ESQ.             100                                           TAMPA             FL      33606
   SUSAN G. JENSVOLD                                                                   (ADDRESS REDACTED)
   SUSAN L. MUSGROVE                                                                   (ADDRESS REDACTED)
   SUSAN MCLAUGHLIN                                                                    (ADDRESS REDACTED)
   SUSAN R. FLORES                                                                     (ADDRESS REDACTED)
   SUSAN R. TUTOR                                                                      (ADDRESS REDACTED)
   SUSAN TOMSIC                                                                        (ADDRESS REDACTED)
   SUSAN TUTOR                                                                         (ADDRESS REDACTED)
                                                         C/O LAW OFFICE OF LAURIE D.
   SUSIE HICKS                                           MITCHELL, PA                  ATTN: LAURIE D. MITCHELL, ESQ         2750 NW 43RD STREET          STE 2020         GAINESVILLE       FL      326060
   SUSQUEHANNA VILLAGE FACILITY OPERATIONS, LLC                                        800 CONCOURSE PARKWAY SOUTH                                                         MAITLAND          FL      32751
   SUWANNEE MEDICAL PERSONNEL                                                          817 NW 56TH TERRACE                   SUITE A                                       GAINESVILLE       FL      32605
   SUZANNA DURACCIO BY LAUREEN SCHRUM, ATTORNEY-IN-      C/O MENDES, REINS &
   FACT                                                  WILANDER                      4401 W. KENNEDY BLVD. SUITE 250                                                     TAMPA             FL      33609
   SUZANNA DURACCIO BY LAUREEN SCHRUM, ATTORNEY-IN-
   FACT                                                  C/O WILKES & MCHUGH, P.A.     ONE NORTH DALE MABRY HWY, SUITE 800                                                 TAMPA             FL      33609
   SUZANNE C. HICKOX                                                                   (ADDRESS REDACTED)
   SUZANNE S. EZZAI                                                                    (ADDRESS REDACTED)
   SWAGER LINDA                                                                        (ADDRESS REDACTED)
   SWAN POINTE FACILITY OPERATIONS, LLC                                                800 CONCOURSE PARKWAY SOUTH                                                         MAITLAND          FL      32751
   SWARTZ CODY                                                                         (ADDRESS REDACTED)
   SYBRINA DAVIS                                                                       (ADDRESS REDACTED)
   SYDNIE GATTIS                                                                       (ADDRESS REDACTED)

                                                         C/O BURANDT, ADAMSKI,
   SYLVIA CRUZ AS PR OF THE ESTATE OF CARLOS CRUZ        FEICHTHALER & SANCHEZ, PLLC ATTN: ALVARO SANCHEZ, ESQ.              1714 CAPE CORAL PARKWAY                       CAPE CORAL        FL      33904
   SYMPHONY DIAGNOSTIC SERVICES NO. 1, LLC D/B/A
   MOBILEXUSA                                            ATTN: BILL GLYNN, PRESIDENT   101 ROCK ROAD                                                                       HORSHAM           PA      19044
   SZEKERES PAULA                                                                      (ADDRESS REDACTED)
   TABITHA B. FLOWERS                                                                  (ADDRESS REDACTED)
   TAHA TAHA                                                                           3101 GINGER DRIVE                                                                   TALLAHASSEE       FL      32308
   TALLAHASSEE FACILITY OPERATIONS, LLC                                                1650 PHILLIPS ROAD                                                                  TALLAHASSEE       FL      32308-5304
   TALLAHASSEE MEMORIAL HC INC                                                         1309 THOMASVILLE ROAD                 GENERAL ACCTING DEPT INV                      TALLAHASSEE       FL      32303 5607
   TALLAHASSEE MEMORIAL HC INC                           TMHPP HEART RHYTHM CLINIC     2100 CENTERVILLE ROAD                                                               TALLAHASSEE       FL      32308-4646
   TALLAHASSEE ORTHOPEDIC CLINIC                                                       3334 CAPITAL MEDICAL BLVD                                                           TALLAHASSEE       FL      32308
   TAMARA D. RECE                                                                      (ADDRESS REDACTED)
   TAMARA HENDLEY                                                                      (ADDRESS REDACTED)
   TAMATHA HICKS                                                                       (ADDRESS REDACTED)
   TAMATHA L. HICKS                                                                    (ADDRESS REDACTED)
   TAMEKA BOYLE                                                                        (ADDRESS REDACTED)
   TAMEKA YOUNG                                                                        (ADDRESS REDACTED)
   TAMELA S. HARRIS                                                                    (ADDRESS REDACTED)
   TAMER ELGALLAB                                                                      (ADDRESS REDACTED)
   TAMERA L. BRASBY                                                                    (ADDRESS REDACTED)
   TAMERIA M. REAVES                                                                   (ADDRESS REDACTED)
   TAMESHA M. WEATHERSPOON                                                             (ADDRESS REDACTED)
   TAMIKO L. HARRIS                                                                    (ADDRESS REDACTED)




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                                                                                                  as of March 3, 2021


                         Creditor Name                            Attention                       Address 1                        Address 2           Address 3              City   State       Zip      Country
   TAMISHA M. HAMILTON                                                              (ADDRESS REDACTED)
   TAMMY ANTISDEL                                                                   (ADDRESS REDACTED)
   TAMMY BROWN                                                                      (ADDRESS REDACTED)
   TAMMY L. ANTISDEL                                                                (ADDRESS REDACTED)
   TAMMY WILLIAMS                                                                   (ADDRESS REDACTED)
   TAMPA ARMATURE WORKS, INC.                          ATTN: JAMES A. TURNER, III   6312 78TH STREET                                                               RIVERVIEW         FL      33569
   TAMPA ARMATURE WORKS, INC.                          ATTN: TOM PHILLIPS           6312 78TH STREET                                                               RIVERVIEW         FL      33569
   TAMULETT L. MCCUNE                                                               (ADDRESS REDACTED)
   TANDELA BLOUNT-JACKSON                                                           (ADDRESS REDACTED)
   TANGELA L. PHILLIPS-LANE                                                         (ADDRESS REDACTED)
   TANGELA PHILLIPS-LANE                                                            (ADDRESS REDACTED)
   TANGELA Y. WOODFAULK                                                             (ADDRESS REDACTED)
   TANGOE, INC.                                                                     ONE WATERVIEW DRIVE                                                            SHELTON           CT      06484
   TANIA R. RICHARDSON                                                              (ADDRESS REDACTED)
   TANYA BENJAMIN                                                                   (ADDRESS REDACTED)
   TANYA M. HALL                                                                    (ADDRESS REDACTED)
   TARA D. OLIVER                                                                   (ADDRESS REDACTED)
   TARA JAMIESON                                                                    (ADDRESS REDACTED)
   TARA M. BARRETT                                                                  (ADDRESS REDACTED)
   TARA OILER                                                                       (ADDRESS REDACTED)
   TARPON HEALTH CARE ASSOCIATES, LLC                                               800 CONCOURSE PARKWAY SOUTH                                                    MAITLAND          FL      32751
   TARYN A. KRIM                                                                    (ADDRESS REDACTED)
   TASHA R. HARPER                                                                  (ADDRESS REDACTED)
   TATYANA HAGANS                                                                   (ADDRESS REDACTED)

   TAW POWER SYSTEMS INC                               TAMPA ARMATURE WORKS INC PO BOX 931665                                                                      ATLANTA           GA      31193
   TAW POWER SYSTEMS INC                                                          PO BOX 3381                                                                      TAMPA             FL      33601
   TAW POWER SYSTEMS, INC.                             ATTN: GREG DORSEY          6312 78TH STREET                                                                 RIVERVIEW         FL      33569
   TAW POWER SYSTEMS, INC.                             ATTN: JAMES A. TURNER, III 6312 78TH STREET                                                                 RIVERVIEW         FL      33569
   TAX COMPLIANCE, INC.                                                           10089 WILLOW CREEK ROAD              SUITE 300                                   SAN DIEGO         CA      92131
   TAX COMPLIANCE, INC.                                ATTN: CEO                  10089 WILLOW CREEK ROAD              SUITE 300                                   SAN DIEGO         CA      92131
                                                       TAYLOR COUNTY TAX
   TAYLOR COUNTY                                       COLLECTOR                  PO BOX 30                                                                        PERRY             FL      32348
   TAYLOR COUNTY HEALTH DEPT                                                      1215 N PEACOCK AVE                                                               PERRY             FL      32347
   TAYLOR COUNTY SCHOOL BOARD AKA BIG BEND TECHNICAL
   COLLEGE                                                                          318 NORTH CLARK STREET                                                         PERRY             FL      32347
   TAYLOR COUNTY TAX COLLECTOR                                                      PO BOX 30                                                                      PERRY             FL      32348-0030
   TAYLOR LINDA                                                                     (ADDRESS REDACTED)
   TAYLOR PENNY                                                                     (ADDRESS REDACTED)
   TAYLOR STORAGE CENTER LLC                                                        3498 HIGHWAY 19 S                  SUITE 1                                     PERRY             FL      32348
   TAYLOR TIFFANY                                                                   (ADDRESS REDACTED)
   TAYLOR, CARLTON                                                                  (ADDRESS REDACTED)
   TAYLOR, SHAUNCY                                                                  (ADDRESS REDACTED)
   TAYNE STEPHENS                                                                   (ADDRESS REDACTED)
   TD AMERITRADE TRUST CO                              BLUE STAR RETIREMENT         PO BOX 17748                                                                   DENVER            CO      80217-0748
   TEAKISLE                                                                         401 CAPITOL COURT                                                              OCOEE             FL      34761
   TEAM TSI CORPORATION                                ATTENTION: ACCOUNTING        417 MARTLING ROAD                                                              ALBERTVILLE       AL      35950
   TEAM TSI CORPORATION                                ATTN: LEGAL SERVICES         600 COLLEGE STREET (COURIER)       P.O. BOX 1547 (U.S. MAIL)                   ALBERTVILLE       AL      35950
   TEAM TSI CORPORATION (STRATEGIC HEALTHCARE
   PROGRAMS, LLC)                                      ATTN: LEGAL SERVICES         600 COLLEGE STREET (COURIER)       P.O. BOX 1547 (U.S. MAIL)                   ALBERTVILLE       AL      35950
   TEAMABSOLUTE                                                                     2277 HIGHWAY 26 WEST               SUITE 160                                   ROSEVILLE         MN      55113
   TECH FINANCE CO., LLC DBA TECHNOLOGY FINANCE                                     6350 N ANDREWS AVE.                                                            FORT LAUDERDALE   FL      33309
   TEKSYSTEMS INC                                                                   7437 RACE ROAD                                                                 HANOVER           MD      21076
   TEKSYSTEMS INC                                                                   PO BOX 198568                                                                  ATLANTA           GA      30384-8568
                                                       ATTN: SENIOR MANAGER OF
   TEKSYSTEMS, INC.                                    OPERATIONS                   7437 RACE ROAD                                                                 HANOVER           MD      21076
   TELEILAH MOORE                                                                   (ADDRESS REDACTED)
   TELEMESSAGE                                                                      468 GREAT ROAD                                                                 ACTON             MA      01720
   TELEMESSAGE, INC.                                                                468 GREAT ROAD                                                                 ACTON             MA      01720

   TEMERITY VENTURES LLC                               ATTN: MARGUERITE CARDENAS 118 EAST MAIN STREET STE 500                                                      LOUISVILLE        KY      40202
   TENAGLIA & HUNT, P.A.                                                         395 WEST PASSAIC STREET, SUITE 205                                                ROCHELLE PARK     NJ      07662
   TENNESSEE CHILD SUPPORT                                                       PO BOX 305200                                                                     NASHVILLE         TN      37229
   TENNESSEE DEPARTMENT OF REVENUE                                               500 DEADERICK STREET                                                              NASHVILLE         TN      37242
                                                       ANDREW JACKSON ST OFFICE
   TENNESSEE DEPT OF REVENUE                           BLDG                      500 DEADERICK STREET                                                              NASHVILLE         TN      37242
   TENNESSEE DIVISION OF TENNCARE                                                310 GREAT CIRCLE RD                                                               NASHVILLE         TN      37243
   TERENCE H WILLIAMS                                                            (ADDRESS REDACTED)
   TERENCE H. WILLIAMS                                                           (ADDRESS REDACTED)
   TERESA A. JOHNS                                                               (ADDRESS REDACTED)
   TERESA B. LAMB                                                                (ADDRESS REDACTED)
   TERESA H. VELAZQUEZ                                                           (ADDRESS REDACTED)
   TERESA L. PETERS                                                              (ADDRESS REDACTED)
   TERESA L. SKEEN                                                               (ADDRESS REDACTED)




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                                                                                                  as of March 3, 2021


                          Creditor Name                         Attention                        Address 1                         Address 2             Address 3             City    State       Zip      Country
   TERESA PALMER                                                                   (ADDRESS REDACTED)
   TERESA SKEEN                                                                    (ADDRESS REDACTED)
                                                                                   ATTN: CHRISTOPHER CASTILLO, ESQ.&   407 N. HOWARD AVENUE, STE
   TERI BURNS                                         C/O THE FLORIDA LAW GROUP    CHRIS LIMBEROPOULOS, ESQ.           100                                           TAMPA             FL      33606
   TERI DAILEY                                                                     (ADDRESS REDACTED)
   TERRA D. FIOCHETTA                                                              (ADDRESS REDACTED)
   TERRA FIOCHETTA                                                                 (ADDRESS REDACTED)
                                                                                                                       BLACKSTONE BUILDING, 8TH
   TERRELL HOGAN YEGELWEL, PA                         ATTN: FADI CHAKOUR, MD, JD   233 EAST BAY STREET                 FLOOR                                         JACKSONVILLE      FL      32202
                                                                                                                       BLACKSTONE BUILDING, 8TH
   TERRELL, HOGAN & YEGELWEL, PA                      ATTN: ALBERT LECHNER, ESQ.   233 EAST BAY STREET                 FLOOR                                         JACKSONVILLE      FL      32202
   TERRENCE RIVERS                                                                 (ADDRESS REDACTED)
   TERRI D WILLIAMS                                                                (ADDRESS REDACTED)
   TERRI D. WILLIAMS                                                               (ADDRESS REDACTED)
   TERRIE BANKS                                                                    (ADDRESS REDACTED)
   TERRIE CHURCHILL                                                                (ADDRESS REDACTED)
   TERRIN BISHOP                                                                   (ADDRESS REDACTED)
   TERRY LAWRENCE NELSON                                                           (ADDRESS REDACTED)
   TERUYA & STERLING                                                               130 S. SEMORAN BLVD.                                                              ORLANDO           FL      32807
   TESS CARROLL                                                                    (ADDRESS REDACTED)
   TESS M. CARROLL                                                                 (ADDRESS REDACTED)
   TEWS COMPANY                                                                    1000 LEGION PLACE                   #730                                          ORLANDO           FL      32801
   TEWS CONSULTING INC                                                             1000 LEGION PLACE SUITE 730                                                       ORLANDO           FL      32801
   TEXTUS
   TEXTUS SERVICES INC                                                             DEPT # 880355                       PO BOX 29650                                  PHOENIX           AZ      85038-9650
   THAMES, BRYAN C.                                                                (ADDRESS REDACTED)

   THE ESTATE OF MARVIN VOLENBERG BY EMMA VOLENBERG   C/O MORGAN & MORGAN         ATTN: AL FERRERA, ESQ.               ONE TAMPA CITY CENTER        STE 700          TAMPA             FL      33602
                                                      ATTN: CHRIS LIMBEROPOULOS,                                       407 N. HOWARD AVENUE, STE
   THE FLORIDA LAW GROUP                              ESQ.                        ROB SAMARTIN, ESQ.                   100                                           TAMPA             FL      33606
                                                      ATTN: CHRIS LIMBEROPOULOS,                                                                  407 N. HOWARD
   THE FLORIDA LAW GROUP                              ESQ.                        CHRISTOPHER CASTILLO, ESQ.           CHRISTOPHER CASTILLO, ESQ. AVENUE, STE 100    TAMPA             FL      33606
   THE HERTZ CORPORATION                                                          8501 WILLIAMS ROAD                                                                 ESTERO            FL      33928
   THE HUGHSTON CLINIC SOUTHEAST                                                  PO BOX 18745                                                                       BELFAST           ME      04915-4082
   THE LAW OFFICE OF WILLIAM J. SCOTT, PA             ATTN: WILLIAM J. SCOTT, ESQ 2716 HERSCHEL STREET                                                               JACKSONVILLE      FL      32205
                                                      ATTN: JONATHAN ROTSTEIN,
   THE LAW OFFICES OF ROTSTEIN & SHIFFMAN             ESQ.                        309 OAKRIDGE BLVD, STE B                                                           DAYTONA           FL      32118
                                                      ATTN: GREGORY LAWRENCE,
   THE LAWRENCE GROUP                                 ESQ.                        1301 RIVER PLACE BLVD.               SUITE 1630                                    JACKSONVILLE      FL      32207
   THE LAWRENCE LAW GROUP PA                          TRUST ACCOUNT               1301 RIVERPLACE BLVD STE 1630                                                      JACKSONVILLE      FL      32207
   THE LOCAL HEALTH COUNCIL OF                        EAST CENTRAL FLORIDA INC    5931 BRICK COURT STE 104                                                           WINTER PARK       FL      32792

   THE MAHER LAW FIRM, PA                             ATTN: GEOFFREY MOORE, ESQ. P.O. BOX 2209                                                                       WINTER PARK       FL      32790
   THE MALLARD LAW FIRM, P.A.                         ATTN: SARA MALLARD, ESQ.   889 NORTH WASHINGTON BLVD.                                                          SARASOTA          FL      34236
                                                      ATTN: ROGER L. PARDIECK,
   THE PARDIECK LAW FIRM                              ESQ.                       100 N. CHESTNUT STREET                P.O. BOX 608                                  SEYMOUR           IN      47274
   THE PEDDLER GROUP                                                             3440 LAKE DRIVE SE                                                                  SMYRNA            GA      30082-2811
   THE SHERWIN WILLIAMS COMPANY                                                  2044 S JEFFERSON ST                                                                 PERRY             FL      32347
   THE SHERWIN WILLIAMS COMPANY                                                  105 LEE JACKSON HIGHWAY               SUITE 1                                       STAUNTON          VA      24401
   THE SHERWIN WILLIAMS COMPANY                                                  PO BOX 277499                                                                       ATLANTA           GA      30384
                                                      ATTN: VICE PRESIDENT,
   THE SHERWIN-WILLIAMS COMPANY                       NATIONAL ACCOUNTS          101 WEST PROSEPECT AVENUE                                                           CLEVELAND         OH      44115
   THE SSI GROUP, INC.                                ATTN: PRESIDENT            4721 MORRISON DRIVE                                                                 MOBILE            AL      36609
   THE SSI GROUP, INC.                                LEGAL DEPARTMENT           4721 MORRISON DRIVE                                                                 MOBILE            AL      36609
   THE SSI GROUP, LLC                                                            4721 MORRISON DRIVE                                                                 MOBILE            AL      36609
   THE STERITECH GROUP, INC.                                                     6701 CARMEL ROAD, SUITE 300                                                         CHARLOTTE         NC      28226-0205
   THE SUNSHINE GROUP                                                            125 S SWOOPE AVE                      SUITE 101                                     MAITLAND          FL      32751
                                                      ATTN: CHRISTOPHER MYERS,
   THE TURNER MYERS FIRM                              ESQ.                       3800 INVERRARY BLVD, UNIT 309E                                                      LAUDERHILL        FL      33319
   THE WATSON FIRM, PLLC                              ATTN: AARON WATSON, ESQ.   850 S. PALAFOX ST., STE 202                                                         PENSACOLA         FL      32502
   THEODORE H OBRIEN PC                                                          49 MARES POND DRIVE                                                                 EAST FALMOUTH     MA      02536
   THEODORE J. LATONIK                                                           (ADDRESS REDACTED)
   THERESA MOSS BROWN PR OF THE ESTATE OF LILYAN      C/O LAW OFFICE OF WILLIAM
   ARMSTRONG                                          SCOTT                      ATTN: WILLIAM J. SCOTT, ESQ           2716 HERSCHEL STREET                          JACKSONVILLE      FL      32205
   THERESA MOSS BROWN PR OF THE ESTATE OF LILYAN      C/O THE LAW OFFICE OF      ATTN: WILLIAM J. SCOTT, ESQ & STEVE
   ARMSTRONG                                          WILLIAM J. SCOTT, PA       WATREL, ESQ                           2716 HERSCHEL STREET                          JACKSONVILLE      FL      32205
   THERESA THAMES                                                                (ADDRESS REDACTED)
   THOMAS & THORNGREN INC                                                        ONE VANTAGE WAY                       SUITE A105                                    NASHVILLE         TN      37228
   THOMAS & THORNGREN INC                                                        PO BOX 645555                                                                       CINCINNATI        OH      45264-5555
   THOMAS FLANNERY JR                                                            (ADDRESS REDACTED)
   THOMAS GOLDIE                                                                 (ADDRESS REDACTED)
   THOMAS GRAHAM AS PR OF THE ESTATE OF MADELINE      C/O FREEDLAND HARWIN
   GRAHAM                                             VALORI, PLLC               ATTN: CAMERON BARNARD, ESQ.           110 S.E. 6TH ST, STE 2300                     FORT LAUDERDALE   FL      33301




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                        Creditor Name                           Attention                       Address 1                         Address 2             Address 3               City   State       Zip      Country
   THOMAS J. SAMUEL, ADMINISTRATOR OF THE ESTATE OF
   CASEY L. SAMUEL, DEASED                            C/O ROBERT CARTER, JR., ESQ. ATTN: MARY ESTFANOUS, ESQ.         P.O. BOX 878                 690 COURT STREET   APPOMATTO        VA      24522
   THOMAS JOHN C.                                                                  (ADDRESS REDACTED)
                                                                                                                      9418 NORTON COMMONS
   THOMAS LAW OFFICES                                 ATTN: TAD THOMAS            LINDSAY CORDES                      BLVD., STE. 200                                 LOUISVILLE       KY      40059
   THOMAS M. FLANNERY JR                                                          (ADDRESS REDACTED)
   THOMAS ORIANS                                                                  (ADDRESS REDACTED)
   THOMAS RAY PETERS AS PERSONAL REPRESENTATIVE OF                                ATTN: CHRIS LIMBEROPOULOS, ESQ.     407 N. HOWARD AVENUE, STE
   THE ESTATE OF JUANITA FALLON DAIL                  C/O THE FLORIDA LAW GROUP   ROB SAMARTIN, ESQ.                  10                                              TAMPA            FL      33606
   THOMAS W. JORDAN                                                               (ADDRESS REDACTED)
   THOMAS WILLIAMS, PRO SE                                                        3219 MARGARET OAKS LANE             #3219                                           ORLANDO          FL      32806
   THOMAS, MARION                                                                 (ADDRESS REDACTED)
   THOMPSON, SHANAYA                                                              (ADDRESS REDACTED)
   THOMPSON, SHANAYA                                                              (ADDRESS REDACTED)
   THREADFIN BUSINESS SOLUTIONS                       ATTN: DOUG GABBERT          548 CROSS CREEK CIRCLE, SUITE 700                                                   SEBASTIAN        FL      32958
   THS PARTNERS I, INC.                                                           1040 CROWN POINTE PKWY              STE 600                                         ATLANTA          GA      30338
   THS PARTNERS II, INC.                                                          1040 CROWN POINTE PKWY              STE 600                                         ATLANTA          GA      30338
   THYCOTIC SOFTWARE LLC                                                          (ADDRESS REDACTED)
   TICOI BROWN                                                                    (ADDRESS REDACTED)
   TIERNEY, MOLLEN                                                                (ADDRESS REDACTED)
   TIERRA PASSMORE                                                                (ADDRESS REDACTED)
   TIFANY D. SPEIGHTS                                                             (ADDRESS REDACTED)
   TIFFANY A. GRANTHAM                                                            (ADDRESS REDACTED)
   TIFFANY BOLLING                                                                (ADDRESS REDACTED)
   TIFFANY CARTWRIGHT                                                             (ADDRESS REDACTED)
   TIFFANY J. HOBACK                                                              (ADDRESS REDACTED)
   TIFFANY M. ALLEN                                                               (ADDRESS REDACTED)
   TIFFANY M. BIGGS                                                               (ADDRESS REDACTED)
   TIFFANY M. MERCER                                                              (ADDRESS REDACTED)
   TIFFANY MAISONET                                                               (ADDRESS REDACTED)
   TIFFANY SUTTON                                                                 (ADDRESS REDACTED)
   TIFFANY TAYLOR                                                                 (ADDRESS REDACTED)
   TIMBERLAND FORD                                                                (ADDRESS REDACTED)
   TIME WARNER CABLE                                                              2305 W KATHLEEN AVENUE                                                              COEUR D ALENE    ID      83815
   TIME WARNER CABLE                                                              1900 BLUE CROSS LN                                                                  SAN ANTONIO      TX      78247
   TIME WARNER CABLE                                                              PO BOX 223085                                                                       PITTSBURGH       PA      15251-2085
   TIMERA HARRIS                                                                  (ADDRESS REDACTED)
   TIMOTHY A. BAUM                                                                (ADDRESS REDACTED)
   TIMOTHY H. LEHNER                                                              (ADDRESS REDACTED)
   TIMOTHY JOHN LLC                                                               1400 VILLAGE SQUARE BLVD            STE 3-187                                       TALLAHASSEE      FL      32312
   TIMOTHY LEHNER                                                                 (ADDRESS REDACTED)
   TIMOTHY SULLIVAN AS PR OF THE ESTATE OF KATHLEEN
   FALLAHA                                            C/O THE LAWRENCE GROUP      ATTN: GREGORY LAWRENCE, ESQ         1301 RIVER PLACE BLVD.       SUITE 1630         JACKSONVILLE     FL      32207
   TINA IRVING                                                                    (ADDRESS REDACTED)
   TINA MASTERS                                                                   (ADDRESS REDACTED)
   TINA NUNAMAKER                                                                 (ADDRESS REDACTED)
   TINA WESTBERRY                                                                 (ADDRESS REDACTED)
   TIRRAS TUCKER                                                                  (ADDRESS REDACTED)
   TISDALE, CHAD                                                                  (ADDRESS REDACTED)
   TISHARD BIRMINGHAM                                                             (ADDRESS REDACTED)
   TKIYAH COLEMAN                                                                 (ADDRESS REDACTED)
   TLC TOTAL LAWN CARE, INC.                                                      6655 BLANDING BLVD                                                                  JACKSONVILLE     FL      32244
   TMH FEDERAL CREDIT UNION                                                       345 S MAGNOLIA DR                   SUITE F-1                                       TALLAHASSEE      FL      32301
   TMPP                                                                           1300 MEDICAL DR                                                                     TALLAHASSEE      FL      32308-4646
   TNHYIF REIV MIKE LLC                                                           PO BOX 3010                                                                         WINTER PARK      FL      32789
   TODD B. MEHAFFEY                                                               (ADDRESS REDACTED)
   TODD, NICKOLIS                                                                 (ADDRESS REDACTED)
   TOMMI J. MCGUIRE                                                               (ADDRESS REDACTED)
   TONI M. WERLEY                                                                 (ADDRESS REDACTED)
   TONY L. DAVIS                                                                  (ADDRESS REDACTED)
   TONY REESE                                                                     (ADDRESS REDACTED)
   TONYA GILYARD                                                                  (ADDRESS REDACTED)
   TONYA L. BRANDT                                                                (ADDRESS REDACTED)
   TONYA L. HOLT                                                                  (ADDRESS REDACTED)
   TONYA SHELTON                                                                  (ADDRESS REDACTED)
   TONYA SMITH                                                                    (ADDRESS REDACTED)
   TORONDA GILYARD                                                                (ADDRESS REDACTED)
   TORRES JR., MANUEL                                                             (ADDRESS REDACTED)
   TORRES JR., MANUEL                                                             (ADDRESS REDACTED)
   TOUCHTON, ALEXANDRIA                                                           (ADDRESS REDACTED)
   TOWNSEND, MELANIE                                                              (ADDRESS REDACTED)
   TRACEY BECHTEL                                                                 (ADDRESS REDACTED)
   TRACEY C. COSBY                                                                (ADDRESS REDACTED)
   TRACIE D. MILLS                                                                (ADDRESS REDACTED)




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                        Creditor Name                               Attention                       Address 1                          Address 2             Address 3              City    State       Zip      Country
   TRACY E. HOUSE                                                                      (ADDRESS REDACTED)
   TRACY GILYARD                                                                       (ADDRESS REDACTED)
   TRACY H. BOULWARE                                                                   (ADDRESS REDACTED)
   TRACY L. BAILEY                                                                     (ADDRESS REDACTED)
   TRACY OLIVE                                                                         (ADDRESS REDACTED)
   TRACYE CRAVEN                                                                       (ADDRESS REDACTED)
   TRAMMELL CAROLE                                                                     (ADDRESS REDACTED)
   TRANSITIONAL HEALTH PARTNERS D/B/A TRANSITIONAL
   HEALTH SERVICES                                                                     1040 CROWN POINTE PKWY              STE 600                                       ATLANTA            GA      30338
   TRANSITIONAL HEALTH SERVICES, INC.                                                  1040 CROWN POINTE PKWY              STE 600                                       ATLANTA            GA      30338
   TRAPP JENNIFER                                                                      (ADDRESS REDACTED)
   TRAVELERS PROPERTY CASUALTY CO OF AMERICA                                           1 TOWER SQUARE                                                                    HARTFORD           CT      06183
   TREASURER CITY OF ROANOKE                                                           P.O. BOX 1451                                                                     ROANOKE            VA      24007-1451
   TREASURER OF VIRGINIA                                DIVISION OF CHILD SUPPORT      PO BOX 570                                                                        RICHMOND           VA      23218
   TRENDKITE INC                                                                       800 BRAZOS STREET                   SUITE 340                                     AUSTIN             TX      78701
   TRENDKITE INC.                                       ATTN: LEGAL DEPARTMENT         800 BRAZOS STREET                   SUITE 340                                     AUSTIN             TX      78701
   TRHC OPCO INC                                                                       228 STRAWBRIDGE DRIVE                                                             MOORESTOWN         NJ      08057
   TRI STATE TECHNICAL SERVICES                                                        PO BOX 69                                                                         VALDOSTA           GA      31603-0069
   TRIBRIDGE HOLDINGS, LLC
   TRICIA L. ROBINSON                                                                  (ADDRESS REDACTED)
   TRICIA ROBINSON                                                                     (ADDRESS REDACTED)
                                                        Attn: Tom McCaffery, General
   TRIDENT                                              Counsel                        6400 PINECREST DR., SUITE 100                                                     PLANO              TX      75024
   TRIDENT HOLDING COMPANY, LLC                                                        930 RIDGEBROOK ROAD                                                               SPARKS GLENCOE     MD      21152
   TTR SHIPPING                                                                        4945 SCARLET LANE UNIT 9                                                          STOW               OH      44224
   TU C. NGUYEN                                                                        (ADDRESS REDACTED)

   TURNBULL LAW FIRM                                    ATTN: SANGA TURNBULL, ESQ.     120 E. PINE STREET, STE 5                                                         LAKELAND           FL      33801
                                                        ATTN: DEPUTY GENERAL
   TW TELECOM HOLDINGS INC.                             COUNSEL                        10475 PARK MEADOWS DRIVE                                                          LITTLETON          CO      80124
   TWC SERVICES INC                                                                    150 MARITIME DR                                                                   SANFORD            FL      32771
   TWILIO INC                                                                          DEPT LA 23938                                                    0                PASENDA            CA      91185-3938
   TWILIO INC.                                                                         375 BEALE STREET                    SUITE 300                                     SAN FRANCISCO      CA      94105
   TWILIO, INC                                                                         375 BEALE STREET                    STE 300                                       SAN FRANCISCO      CA      94105
   TWIN MED LLC                                         UNION BANK                     LOCKBOX 54390                       2001 SATURN ST                                MONTERY PARK       CA      91755
                                                        ATTN: STEVE RECHNITZ OR
   TWINMED, LLC                                         DAVID BLONDER                  11333 GREENSTONE AVE.                                                             SANTA FE SPRINGS   CA      90670
   TYANAH FOLI                                                                         (ADDRESS REDACTED)
   TYCO FIRE & SECURITY US                              MANAGEMENT INC                 PO BOX 371967                                                                     PITTSBURGH         PA      15250
   TYCO INTEGRATED SECURITY LLC                                                        PO BOX 371967                                                                     PITTSBURG          PA      15250-7967
   TYCO INTEGRATED SECURITY LLC                         ATTN: JOHN UTLEY               6830 SHADOWRIDGE DRIVE                                                            ORLANDO            FL      32812
   TYDAZIA MATTOX                                                                      (ADDRESS REDACTED)
   TYESE BRINSON                                                                       (ADDRESS REDACTED)
   TYESE L. BRINSON                                                                    (ADDRESS REDACTED)
   TYLER M. BAKER                                                                      (ADDRESS REDACTED)
   TYLER STAFFING SERVICES, INC. D/B/A CHASE
   PROFESSIONALS                                                                       750 HAMMOND DRIVE                   BUILDING 9                                    ATLANTA            GA      30328
   TYNESHA N. REAVES                                                                   (ADDRESS REDACTED)
   TYREE RICHARDSON                                                                    (ADDRESS REDACTED)
   TYRHONZA R. CUNNINGHAM                                                              (ADDRESS REDACTED)
   TYSHELL WILKINSON                                                                   (ADDRESS REDACTED)
   TYSHEONNA J. GADDY                                                                  (ADDRESS REDACTED)
   U S LEGAL SUPPORT INC                                                               PO BOX 4772-12                                                                    HOUSTON            TX      77210-4472
   U.S. DEPARTMENT OF HEALTH & HUMAN SERVICES                                          200 INDEPENDENCE AVENUE, S.W.                                                     WASHINGTON         DC      20201

   U.S. DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT                                    451 7TH STREET S.W.                                                               WASHINGTON         DC      20410
   U.S. LAB & RADIOLOGY, INC. D/B/A U.S. LABORATORIES   ATTN: JEFF BARTON              2 JONATHAN DRIVE                                                                  BROCKTON           MA      02301
   UFCW LOCAL 1625                                                                     5600 US HIGHWAY 98 NORTH                                                          LAKELAND           FL      33809
   UHC COMMUNITY PLAN                                                                  PO BOX 7550                                                                       PHOENIX            AZ      85011-7550
   UHC COMMUNITY PLAN FL                                                               PO BOX 7550                                                                       PHOENIX            AZ      885011-755
   UHC COMMUNITY PLAN FL                                                               PO BOX 7550                                                                       PHOENIX            AZ      85011-7550
   UHC SERVICES INC                                                                    9900 BREN ROAD                                                                    MINNETONKA         MN      55343-9664
   ULINE                                                                               (ADDRESS REDACTED)
   ULINE                                                                               12575 ULINE DR                                                                    PLEASANT PRAIRIE   WI      53158
                                                        C/O COLLING, GILBERT, WRIGHT
   ULYSSES MONROE                                       & CARTER                     ATTN: GARRY RHODEN, ESQ.              801 NORTH ORANGE AVENUE      SUITE 830        ORLANDO            FL      32801
   UMAH PAPACHAN                                                                     (ADDRESS REDACTED)
   UNITED BIOMEDICAL SERVICES INC                                                    120 COMMERCE BLVD                     SUITE 5                                       OLDSMAR            FL      34677
   UNITED DATA TECHNOLOGIES INC                                                      8825 NW 21 TERRACE                                                                  DORAL              FL      33172
   UNITED FOOD & COMM WORKERS                                                        LOCAL 1625 EDUCATION FUND                                                           PEMBROKE PINES     FL      33028

   UNITED FOOD & COMMERCIAL WORKERS UNION, LOCAL 1625                                  (ADDRESS REDACTED)
   UNITED FOOD & COMMERCIAL WORKS UNION, LOCAL 1625                                    5600 US HWY 98 NORTH                SUITE 3                                       LAKELAND           FL      33809




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                          Creditor Name                          Attention                            Address 1                    Address 2               Address 3              City     State       Zip      Country
                                                                                                                         2010 NW 150TH AVENUE
   UNITED FOOD AND COMMERCIAL                           WORKERS LOCAL 1625 AND   EMPLOYERS HLTH & WELFARE FUND           STE100                                        PEMBROKE PINES      FL      33028
   UNITED HEALTH CARE                                   OF THE MIDWEST INC       P.O. BOX 7550                                                                         PHOENIX             AZ      85011
                                                        NETWORK MANAGEMENT, MAIL
   UNITED HEALTH CARE                                   ROUTE MN006-W600         9800 HEALTH CARE LANE                                                                 MINETONKA           MN      55343
   UNITED HEALTH CARE COMMUNITY                                                  PO BOX 7550                                                                           PHOENIX             AZ      85011-7550
   UNITED HEALTHCARE                                                             9900 BREN EAST                                                                        MINNETONKA          MN      55343
   UNITED HEALTHCARE                                                             9900 BREN ROAD                                                                        MINNETONKA          MN      55343-9664
   UNITED HEALTHCARE                                    COMMUNITY PLAN           PO BOX 740804                                                                         ATLANTA             GA      30374
   UNITED HEALTHCARE INSURANCE CO                                                22703 NETWORK PLACE                                                                   CHICAGO             IL      60673-1227
   UNITED HEALTHCARE INSURANCE CO                                                22561 NETWORK PLACE                                                                   CHICAGO             IL      60673-1225
   UNITED HEALTHCARE MCO                                                         13621 NW 12TH ST                                                                      SUNRISE             FL      33323

   UNITED STATES ATTORNEY FOR THE DISTRICT OF DELAWARE US ATTORNEYS OFFICE            1313 N MARKET STREEET                                                            WILMINGTON          DE      19801
   UNITED STATES CLERK OF COURT                                                       401 WEST TRADE STREET                                                            CHARLOTTE           NC      28202
   UNITED STATES TREASURY                                                             PO BOX 660351                                                                    DALLAS              TX      75266-0351
   UNITED STATES TREASURY                                                             INTERNAL REVENUE SERVICE                                     0                   OGDEN               UT      84201
   UNITEDHEALTHCARE PLAN OF THE                        RIVER VALLEY INC               PO BOX 7550                                                                      PHOENIX             AZ      85011
                                                       HIM PROGRAM: ATTN: ALICE M                                        HEALTH & PUBLIC AFFAIRS
   UNIVERSITY OF CENTRAL FLORIDA                       NOBLIN, PHD, RHIA              4000 CENTRAL FLORIDA BOULEVARD     BLDG. II ROOM 210                             ORLANDO             FL      32816-2205
                                                       ATTN: KENDALL CORTELVOU-
                                                       WARD, PHD PROGRAM                                                 HEALTH & PUBLIC AFFAIRS
   UNIVERSITY OF CENTRAL FLORIDA                       DIRECTOR, HCI PROGRAM          4000 CENTRAL FLORIDA BOULEVARD     BLDG. II ROOM 210                             ORLANDO             FL      32816-2205
                                                       HSA PROGRAM: CARLA J.
                                                       SAMPSON, MBA, FACHE
                                                       DIRECTOR OF INTERNSHIP                                            HEALTH & PUBLIC AFFAIRS
   UNIVERSITY OF CENTRAL FLORIDA                       PROGRAMS                       4000 CENTRAL FLORIDA BOULEVARD     BLDG. II ROOM 210                             ORLANDO             FL      32816-2205
   UNIVERSITY OF NEW MEXICO D/B/A UNM HEALTH SCIENCES
   CENTER                                                                             1 UNIVERSITY OF NEW MEXICO                                                       ALBUQUERQUE         NM      87131
                                                       OFFICE OF CORPORATE &
   UNIVERSITY OF SOUTH FLORIDA BOARD OF TRUSTEES       TRANSACTIONAL AFFAIRS          12901 BRUCE B. DOWNS BLVD. MCD 2                                                 TAMPA               FL      33612
                                                       SENIOR VICE PRESIDENT FOR      DEAN OF THE MORSANI COLLEGE OF     12901 BRUCE B. DOWNS
   UNIVERSITY OF SOUTH FLORIDA BOARD OF TRUSTEES       HEALTH SCIENCES                MEDICINE                           BOULEVARD                 MDC 2               TAMPA               FL      33612
                                                       CEO & SENIOR VICE PRESIDENT    DEAN OF THE MORSANI COLLEGE OF     12901 BRUCE B. DOWNS
   UNIVERSITY OF SOUTH FLORIDA BOARD OF TRUSTEES       OF USF HEALTH                  MEDICINE                           BOULEVARD                 MDC 2               TAMPA               FL      33612
                                                       SENIOR VICE PRESIDENT FOR                                         12901 BRUCE B. DOWNS
   UNIVERSITY OF SOUTH FLORIDA BOARD OF TRUSTEES       HEALTH SCIENCES                UNIVERSITY OF SOUTH FLORIDA        BOULEVARD                 MDC 2               TAMPA               FL      33612
                                                       OFFICE OF THE GENERAL
                                                       COUNSEL UNIVERSITY OF
   UNIVERSITY OF SOUTH FLORIDA BOARD OF TRUSTEES       SOUTH FLORIDA                  4202 EAST FOWLER AVENUE CGS 301                                                  TAMPA               FL      33620
                                                       ATTN: SENIOR VICE PRESIDENT,
   UNIVERSITY OF SOUTH FLORIDA BOARD OF TRUSTEES       USF HEALTH                     12901 BRUCE B. DOWNS BOULEVARD     MCD 2                                         TAMPA               FL      33612
   UNUM GROUP
   UNUM LIFE INSURANCE CO OF AMER                                                     PO BOX 406955                                                                    ATLANTA             GA      30384-6955
   US DEPARMTNET OF TREASURY                           DEPARTMENT OF SERVICES         PO BOX 979101                                                                    ST LOUIS            MO      63197
   US DEPARTMENT OF EDUCATION AWG                                                     PO BOX 790356                                                                    ST LOUIS            MO      63179-0356
   US DEPT OF HOUSING AND URBAN DEVELOPMENT OFC OF
   RESIDENTIAL CARE                                                                   451 SEVENTH ST., S.W.                                                            WASHINGTON          DC      20410
   US DITRICT COURT CLERK                                                             111 NORTH ADAMS STREET             SUITE 322                                     TALLAHASSEE         FL      32301
   US FOODSERVICE                                                                     8755 PATUXENT WOODS DR                                                           COLUMBIA            MD      21046
   US LAB & RADIOLOGY, INC.                                                           PO BOX 536590                                                                    PITTSBURGH          PA      15253-5907
   US POSTMASTER                                                                      US POSTMASTER                                                                    MAITLAND            FL      32751
   US POSTMASTER                                                                      1100 KINGS ROAD                    SUPV GMC WINDOW SERV                          JACKSONVILLE        FL      32203-9998
   US STANDARD PRODUCTS CORP                                                          P.O. BOX 5509                                                                    ENGLEWOOD           NJ      07631
   USSERY KENNETH                                                                     (ADDRESS REDACTED)

   UZERIA JONES                                         C/O MORGAN & MORGAN TAMPA ATTN: BRIAN THOMPSON, ESQ              ONE TAMPA CITY CENTER     STE 700             TAMPA               FL      33602
   VALDES, PAMELA                                                                 (ADDRESS REDACTED)
   VALENTINE, KELLI L.                                                            (ADDRESS REDACTED)
                                                        ATTN: HENRY VALENZUELA,
   VALENZUELA LAW FIRM                                  ESQ.                      100 NORTH TAMPA ST., STE 2350                                                        TAMPA               FL      33602
   VALERIE GOODE                                                                  (ADDRESS REDACTED)
   VALERIE L. GOODE                                                               (ADDRESS REDACTED)
   VALERIE MILLER                                                                 (ADDRESS REDACTED)
   VALERIE MILLER                                                                 (ADDRESS REDACTED)
   VALLEY VIEW HEALTHCARE, LLC                                                    551 KENT STREET                                                                      ANDREWS             NC      28901
   VALLURIPALLI, SAI                                                              (ADDRESS REDACTED)
   VAN CAMP, STEVEN                                                               (ADDRESS REDACTED)
   VAN CAMP, STEVEN A.                                                            (ADDRESS REDACTED)
   VAN MARLEK & ASSOCIATES INC                                                    PO BOX 160488                                                                        ALTAMONTE SPRINGS   FL      32716-0488
   VAN MARLEK & ASSOCIATES, INC.                                                  P.O. BOX 160488                                                                      ALTAMONTE SPRINGS   FL      32716-0488
   VANBLARICUM JOSEPH                                                             (ADDRESS REDACTED)
   VANESSA A. SUTPHIN                                                             (ADDRESS REDACTED)
   VANESSA C. BISHOP                                                              (ADDRESS REDACTED)




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                        Creditor Name                           Attention                       Address 1                          Address 2             Address 3               City   State       Zip      Country
   VANESSA SYLVERAIN                                                              (ADDRESS REDACTED)
   VANESSA SYLVERAIN                                                              (ADDRESS REDACTED)
   VAPAMT, LLC                                                                    800 CONCOURSE PARKWAY SOUTH                                                          MAITLAND         FL      32751
   VAR RESOURCES, LLC                                                             2330 INTERSTATE 30                                                                   MESQUITE         TX      75150
   VAR RESOURCES, LLC.                                                            PO BOX 5066                                                                          HARTFORD         CT      6102
   VAR RESOURCES, LLC.                                VAR TECHNOLOGY FINANCE      P O BOX 7167                                                                         PASADENA         CA      91109-7167
   VAR TECHNOLOGY FINANCE                                                         2330 1-30                                                                            MESQUITE         TX      75150
   VARGAS ZORAIDA                                                                 (ADDRESS REDACTED)
   VASCULAR SURGERY ASSOCIATES PC                                                 2631 CENTENNIAL BLVD, STE 100                                                        TALLAHASSEE      FL      32308-0591
   VAUGHAN MEGAN                                                                  (ADDRESS REDACTED)
   VAZQUEZ MARY Y.                                                                (ADDRESS REDACTED)
   VC PODIATRY PA                                                                 1735 BRANDON TRACE                                                                   BRANDON          FL      33510
   VECMAR CORPORATION                                                             7595 JENTHER DRIVE                                                                   MENTOR           OH      44060
   VELAZQUEZ CARMEN                                                               (ADDRESS REDACTED)
   VELAZQUEZ TERESA                                                               (ADDRESS REDACTED)
   VELEZBEDOYA, VIVIANA                                                           (ADDRESS REDACTED)
   VENEY, ERICA                                                                   (ADDRESS REDACTED)
                                                                                                                       ONE TAMPA CITY CENTER, STE
   VERA DEGEORGE BY AND THROUGH DEBRA MCGINELY        C/O MORGAN & MORGAN         ATTN: BRIAN THOMPSON, ESQ.           700                                             TAMPA            FL      33602
   VEREDUS
   VEREDUS CORPORATION                                                            4300 W CYPRESS STREET                SUITE 900                                       TAMPA            FL      33607
   VERIZON                                                                        P O BOX 17577                                                                        BALTIMORE        MD      21297 0513
   VERIZON                                                                        P.O. BOX 15043                                                                       ALBANY           NY      12212
   VERIZON BUSINESS NETWORK SERVICES INC.                                         22001 LOUDOUN COUNTY PARKWAY                                                         ASHBURN          VA      20147
   VERIZON WIRELESS                                                               P O BOX 15040                                                                        ALBANY           NY      12212-5040
   VERIZON WIRELESS                                                               PO BOX 489                                                                           NEWARK           NJ      07101-0489
   VERIZON WIRELESS                                                               P O BOX 660108                                                                       DALLAS           TX      75266 0108
                                                      ATTN: AREA GENERAL
   VERIZON WIRELESS                                   COUNSEL                     ONE VERIZON PLACE                                                                    ALPHARETTA       GA      30004
   VERNON L. FEW                                                                  (ADDRESS REDACTED)
   VERO BEACH FACILITY OPERATIONS, LLC                                            1310 37TH STREET                                                                     VERO BEACH       FL      32960-4860
   VERONICA BRADLEY                                                               (ADDRESS REDACTED)
   VERONICA HESS                                                                  (ADDRESS REDACTED)
   VERONICA HESS                                                                  (ADDRESS REDACTED)
   VERONIQUE KELLER                                                               (ADDRESS REDACTED)
   VERTAVIA TILLMAN                                                               (ADDRESS REDACTED)
   VICKI HODGES                                                                   (ADDRESS REDACTED)
   VICKI L. HUNGATE                                                               (ADDRESS REDACTED)
   VICKI L. PAISLEY                                                               (ADDRESS REDACTED)

   VICKIE MARSHALL AS PR OF THE ESTATE OF CYNTHIA     C/O TERRELL HOGAN                                                                             BLACKSTONE
   MARSHALL                                           YEGELWEL, PA                ATTN: FADI CHAKOUR, MD, JD           233 EAST BAY STREET          BUILDING, 8TH FLOOR JACKSONVILLE    FL      32202

   VICTOR JIMENEZ AND ANNETTE JIMENEZ, HIS WIFE       C/O WILKES & MCHUGH - TAMPA ONE NORTH DALE MABRY HWY             STE 800                                         TAMPA            FL      33609
   VICTORIA A. BRIGGS                                                             (ADDRESS REDACTED)
   VICTORIA CARTER                                                                (ADDRESS REDACTED)
   VICTORIA K. CARLSON                                                            (ADDRESS REDACTED)
   VICTORIA SKINNER-WEEKS                                                         (ADDRESS REDACTED)
   VIDYAWATIE PATRICK                                                             (ADDRESS REDACTED)
   VILLAGE OF WHITEHOUSE                              COMMISSIONER OF TAXATION    P O BOX 2476                                                                         WHITEHOUSE       OH      43571
                                                      ATTN: CHRISTOPHER PETTUS,
   VINSON LAW                                         ESQ.                        400 EAST PALM AVENUE                                                                 TAMPA            FL      33602
   VIRGINIA A. LOPEZ                                                              (ADDRESS REDACTED)
   VIRGINIA DEPARTMENT OF TAXATION                                                PO BOX 1500                                                                          RICHMOND         VA      23218-1500
   VIRGINIA DEPT OF MEDICAL ASSISTANCE                ATTN DIRECTORS OFFICE       600 EAST BROAD ST                                                                    RICHMOND         VA      23219
                                                                                                                       2023 CONSTITUTION
   VIRGINIA DESIERVO                                  C/O BUCKMAN & BUCKMAN, PA   ATTN: NICHOLAS CASTELLANO, ESQ.      BOULEVARD                                       SARASOTA         FL      34231
   VIRGINIA GARRETT                                                               (ADDRESS REDACTED)

   VIRGINIA STATE POLICE                              CCRE/ACCTS RECEIVABLE/CJIS PO BOX 85076                                                                          RICHMOND         VA      23261-5076
   VISIONSHARE INC.                                                              2829 UNIVERSITY AVENUE SE           SUITE 800                                         MINNEAPOLIS      MS      55414
   VITAS HEALTHCARE CORPORATION OF FLORIDA            ATTN: GENERAL MANAGER      10151 DEERWOOD PARK BOULEVARD       BUILDING 200, SUITE 250                           JACKSONVILLE     FL      32256
                                                                                 100 SOUTH BISCAYNE BOULEVARD, SUITE
   VITAS HOSPICE SERVICE, LLC                         ATTN: GENERAL COUNSEL      1300                                                                                  MIAMI            FL      33131
   VMWARE, INC.                                                                  3401 HILLVIEW AVENUE                                                                  PALO ALTO        CA      94304
   VNTG HD MASTER TENANT, LLC                                                    800 CONCOURSE PARKWAY SOUTH                                                           MAITLAND         FL      32751
   VOGEL JR ROBERT                                                               (ADDRESS REDACTED)
   VOIANCE LANGUAGE SERVICES LLC                                                 5780 N SWAN ROAD                                                                      TUCSON           AZ      85718
   VOIANCE LANGUAGE SERVICES, LLC                                                5780 NORTH SWAN ROAD                                                                  TUCSON           AZ      85718
   VONDALYN BRYANT AS PR OF THE ESTATE OF CONSTANCE
   ALICE BRYANT                                       C/O MORGAN & MORGAN         ATTN: AL FERRERA, ESQ.               ONE TAMPA CITY CENTER        STE 700            TAMPA            FL      33602
   VONTERALD THOMAS                                                               (ADDRESS REDACTED)
   VONTERALD THOMAS                                                               (ADDRESS REDACTED)
   VOTASHA CROOMS                                                                 (ADDRESS REDACTED)




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                        Creditor Name                           Attention                         Address 1                          Address 2             Address 3               City   State       Zip      Country
   VOTASHA U. CROOMS                                                               (ADDRESS REDACTED)
   W. GRANT JOHNSTON                                                               (ADDRESS REDACTED)
   WAFFLE HOUSE INC                                                                5988 FINANCIAL DRIVE                                                                NORCROSS           GA      30071
   WAGNER MATTHEW T.                                                               (ADDRESS REDACTED)
   WALDEN LIGE                                                                     (ADDRESS REDACTED)
   WALGENBACH, TARA                                                                (ADDRESS REDACTED)
   WALKER AMY                                                                      (ADDRESS REDACTED)
   WALKER GWEN                                                                     (ADDRESS REDACTED)
   WALKER ROBERT                                                                   (ADDRESS REDACTED)
   WALKER, ANDREA                                                                  (ADDRESS REDACTED)
   WALL STREET SYSTEMS DELAWARE                                                    1345 AVENUE OF THE AMERICAS                                                         NEW YORK           NY      10104
   WALL, SUMMER D.                                                                 (ADDRESS REDACTED)
   WALL, SUMMER D.                                                                 (ADDRESS REDACTED)
   WALLACE,GREGORY                                                                 (ADDRESS REDACTED)
   WALNUT COVE HEALTHCARE, LLC                                                     511 WINDMILL STREET                   P.O. BOX 158                                  WALNUT COVE        NC      27052
   WALSH MARK                                                                      (ADDRESS REDACTED)
   WALSH, BARNES & ZUMPELLA, P.C.                                                  2100 CORPORATE DRIVE                  SUITE 300                                     WEXFORD            PA      15090
   WALSH-MASSEY LORI                                                               (ADDRESS REDACTED)
   WALTHALL AND ASSOCIATES INC                                                     200 SWIFT CREEK DRIVE                                                               CANTONMENT         FL      32533
   WANDA ANN ANDERSON AS PR OF THE ESTATE OF EULA MAE C/O LAW OFFICE OF RAY S.
   STILTNER-LAYNE                                     JONES, PSC                   ATTN: RAY JONES, ESQ.                 P.O. BOX 3850                                 PIKEVILLE          KY      41502
   WANDA LOVE                                                                      (ADDRESS REDACTED)
                                                      C/O FREEDLAND, HARWIN &
   WANDA MCLEMORE                                     VALORI                       ATTN: CAMERON BARNARD, ESQ.           110 S.E. 6TH ST              STE 2300         FORT LAUDERDALE    FL      33301
   WANDA SLOTHOWER                                                                 (ADDRESS REDACTED)
   WANIS, RAMEZ                                                                    (ADDRESS REDACTED)
   WANNAMAKER HELEN                                                                (ADDRESS REDACTED)
   WARE ISAAC                                                                      (ADDRESS REDACTED)
   WARLICK MICHELLE                                                                (ADDRESS REDACTED)
   WARNER & WARNER                                    ATTN: SCOT WARNER, ESQ.      5200 SOUTH US HIGHWAY I7-92                                                         CASSELBERRY        FL      32707
   WARWICK BRIAN                                                                   (ADDRESS REDACTED)
   WASHINGTON, KIMBERLY M.                                                         (ADDRESS REDACTED)
   WASTE PRO                                                                       PO BOX 865236                                                                       ORLANDO            FL      32886-5236
   WASTE PRO                                          TALLAHASSEE                  PO BOX 79368                                                                        BALTIMORE          MD      21279-0368
   WASTE PRO                                                                       P O BOX 865212                                                                      ORLANDO            FL      32886-5212
   WASTE PRO                                                                       264 COMMERCE LN                                                                     MIDWAY             FL      32343-6646
   WATERS, GERRI                                                                   (ADDRESS REDACTED)
   WATSON SHIRLEY M                                                                (ADDRESS REDACTED)
   WAYNE HEALTHCARE, LLC                                                           1040 CROWN POINTE PKWY               STE 600                                        ATLANTA            GA      30338
   WAYNE SYPHER AS PERSONAL REPRESENTATIVE OF THE                                                                       889 NORTH WASHINGTON
   ESTATE OF THOMAS E. SYPHER                         C/O THE MALLARD LAW FIRM     ATTN: SARA MALLARD, ESQ.             BLVD.                                          SARASOTA           FL      34236
                                                      C/O LAW OFFICES OF LUCAS &   ATTN: STEPHEN HASKINS, ESQ. & REBECA
   WAYNE WADULAK AS POA FOR GENEVIEVE WADULAK         MAGAZINE                     SAYERS, ESQ.                         8606 GOVERNMENT DRIVE                          NEW PORT RICHEY    FL      34654
   WEAVER, JAKIRAH P.                                                              (ADDRESS REDACTED)
   WEBSTER DEREK                                                                   (ADDRESS REDACTED)
   WEBSTER PATSY                                                                   (ADDRESS REDACTED)
   WEIGHT WATCHERS NORTH AMERICA                                                   999 STEWART AVENUE                   SUITE 215                                      BETHPAGE           NY      11714
   WELLCARE                                                                        P O BOX 31371                                                                       TAMPA              FL      33631
   WELLCARE                                                                        PO BOX 31370                                                                        TAMPA              FL      33631-3370
   WELLCARE HEALTH PLAN, INC.                                                      8735 HENDERSON RD                                                                   TAMPA              FL      33634
   WELLCARE OF FL INC                                                              PO BOX 31370                                                                        TAMPA              FL      33631
   WELLCARE OF FLORIDA                                                             PO BOX 31370                                                                        TAMPA              FL      33631
   WELLCARE OF FLORIDA INC                                                         PO BOX 31370                                                                        TAMPA              FL      33631
   WELLINGTON HEALTHCARE, LLC                                                      1000 TANDALL PLACE                                                                  KNIGHTDALE         NC      27545

   WELLMED NETWORK OF FLORIDA, INC.                                                8673 FREDERICKSBURG ROAD, SUITE 360                                                 SAN ANTONIO        TX      78240-1283
   WELLS CHARLOTTE                                                                 (ADDRESS REDACTED)
                                                       ATTN: RYAN BOOHER VICE
   WELLS FARGO                                         PRESIDENT                   100 SOUTH ASHLEY DRIVE, SUITE 1000                                                  TAMPA              FL      33602
   WELLS FARGO FINANCIAL LEASING                                                   PO BOX 10306                                                                        DES MOINES         IA      50306-0306
   WELLS FARGO VENDOR FIN SERV                                                     PO BOX 105710                                                                       ATLANTA            GA      30348-5710
   WELLSTON FACILITY OPERATIONS, LLC                                               800 CONCOURSE PARKWAY SOUTH                                                         MAITLAND           FL      32751
   WELTMAN, WEINBERG & REIS CO., LPA                   ATTN: SCOTT WELTMAN         323 W. LAKESIDE AVENUE                SUITE 200                                     CLEVELAND          OH      44113
   WENDI L. SPISAK                                                                 (ADDRESS REDACTED)
   WENDY BLACKWELL                                                                 (ADDRESS REDACTED)
   WENDY BLANK                                                                     (ADDRESS REDACTED)
   WENDY BROOKE                                                                    (ADDRESS REDACTED)
   WENDY E. BLANK                                                                  (ADDRESS REDACTED)
   WENDY E. BROOKE                                                                 (ADDRESS REDACTED)
   WENDY E. GRIFFIN                                                                (ADDRESS REDACTED)
   WENDY M. MORAN                                                                  (ADDRESS REDACTED)
   WENDY MORAN                                                                     (ADDRESS REDACTED)
   WENDY W. BLACKWELL                                                              (ADDRESS REDACTED)
   WESCOM SOLUTIONS INC                                                            PO BOX 674802                                                                       DETROIT            MI      48267-4802




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                         Creditor Name                               Attention                           Address 1                           Address 2             Address 3              City     State       Zip      Country
   WESLEY PETTY                                                                            (ADDRESS REDACTED)
   WESLEY, WAYNEKERHIA                                                                     (ADDRESS REDACTED)
   WEST ALTAMONTE FACILITY OPERATIONS, LLC                                                 1099 W TOWN PARKWAY                                                                 ALTAMONTE SPRINGS   FL      32714-3845
   WEST HEALTH ADVOCATE SOLUTIONS                                                          PO BOX 561509                                                                       DENVER              CO      80256-1509
   WEST PALM BEACH FACILITY OPERATIONS LLC, D/B/A
   CONSULATE HEALTH CARE OF WEST PALM BEACH                                                1626 DAVIS ROAD                                                                     WEST PALM BEACH     FL      33406-5640
   WEST PALM BEACH FACILITY OPERATIONS, LLC                                                1626 DAVIS ROAD                                                                     WEST PALM BEACH     FL      33406-5640
   WEST SCRIBBLE SOLUTIONS, INC.                                                           216 RIVER STREET, SUITE 200                                                         TROY                NY      12180
   WEST VIRGINIA DEPT OF HEALTH & HUJMAN RESOURCES         OFFICE OF THE SECRETARY         1 DAVIS SQUARE SUITE 100 EAST                                                       CHARLESTON          WV      25301
   WEST VIRGINIA STATE TAX DEPARTMENT                      THE REVENUE CENTER              1001 LEE ST. E.                                                                     CHARLESTON          WV      25301
   WESTCHESTER SURPLUS LINES INSURANCE CO                                                  436 WALNUT STREET                                                                   PHILADELPHIA        PA      19106
   WESTCOAST COMMUNICATION                                 SERVICES INC                    6702 BENJAMIN RD STE 600                                                            TAMPA               FL      33634
   WESTERVILLE FACILITY OPERATIONS, LLC                                                    800 CONCOURSE PARKWAY SOUTH                                                         MAITLAND            FL      32751
   WESTFIELD BANK, FSB                                                                     P.O. BOX 692                                                                        WESTFIELD CENTER    OH      44251-0692
   WESTFIELD INSURANCE COMPANY                             FLOOD PROCESSING CENTER         PO BOX 731178                                                                       DALLAS              TX      75373-1178
   WESTHOVEN, KELLY                                                                        (ADDRESS REDACTED)
   WESTMINSTER CLOCK COMPANY                                                               68 SOUTH SERVICE ROAD                                                               MELVILLE            NY      11747
   WESTWOOD HEALTHCARE, LLC                                                                625 ASHLAND STREET                                                                  ARCHDALE            NC      27263-2943
   WHEELER GERALD                                                                          (ADDRESS REDACTED)
   WHISPERING HILLS FACILITY OPERATIONS, LLC                                               800 CONCOURSE PARKWAY SOUTH                                                         MAITLAND            FL      32751
   WHITE, TANISHA L.                                                                       (ADDRESS REDACTED)
   WHITE, VINCENT                                                                          (ADDRESS REDACTED)
   WHITEHALL OF ANN ARBOR HEALTHCARE, LLC                                                  1040 CROWN POINTE PKWY                STE 600                                       ATLANTA             GA      30338
   WHITEHALL OF NOVI HEALTHCARE, LLC                                                       1040 CROWN POINTE PKWY                STE 600                                       ATLANTA             GA      30338
   WHITFIELD BARNEY                                                                        (ADDRESS REDACTED)
   WHITFIELD EDWARD                                                                        (ADDRESS REDACTED)
   WIEDEMER, KARLA                                                                         (ADDRESS REDACTED)
   WIGGINS SHERYL                                                                          (ADDRESS REDACTED)
   WIGGINS STEVE                                                                           (ADDRESS REDACTED)
   WILBOURNE, AMANDA                                                                       (ADDRESS REDACTED)
   WILKES & MCHUGH - PHILADELPHIA                          ATTN: RUBEN KRISZTAL, ESQ.      1601 CHERRY STREET, STE 1300                                                        PHILADELPHIA        PA      19102
   WILKES & MCHUGH, P.A.                                                                   ONE NORTH DALE MABRY HWY              SUITE 800                                     TAMPA               FL      33609

   WILKES & MCHUGH, PA                                                                     ONE NORTH DALE MABRY HWY, STE 800                                                   TAMPA               FL      33609
   WILKES & MCHUGH, PA                                                                     1601 CHERRY STREET, STE 1300                                                        PHILADELPHIA        PA      19102
   WILKES & MCHUGH. P.A.                                   ATTN: RYAN DUTY, ESQ.           437 GRANT STREET                      SUITE 912                                     PITTSBURGH          PA      15219
   WILKES MCHUGH PA TRUST ACCOUNT                                                          ONE NORTH DALE MABRY HWY              SUITE 800                                     TAMPA               FL      33609
                                                                                           ATTN: CHRIS LIMBEROPOULOS, ESQ. &
   WILLIAM ADAMSON                                          C/O THE FLORIDA LAW GROUP      CHRISTOPHER CASTILLO, ESQ.            407 N. HOWARD AVENUE         STE 100          TAMPA               FL      33606
   WILLIAM C. AKERS, JR. INDIVIDUALLY & AS ADMINISTRATOR OF
   ESTATE OF ELEWEASE AKERS
   C/O MARKS, BALETTE, GIESSEL & YOUNG, PLLC                ATTN: JACQUES BALETTE, ESQ.    7521 WESTVIEW                                                                       HOUSTON             TX      77055
   WILLIAM C. LEWIS                                                                        (ADDRESS REDACTED)
   WILLIAM G JOHNSTON                                                                      (ADDRESS REDACTED)
   WILLIAM G JOHNSTON                                                                      (ADDRESS REDACTED)
   WILLIAM GRANT JOHNSTON                                                                  (ADDRESS REDACTED)
                                                            C/O COLLING, GILBERT, WRIGHT
   WILLIAM HORTON AS POA FOR OMIE BANKS                     & CARTER                       ATTN: JOSHUA MACHLUS, ESQUIRE         801 NORTH ORANGE AVENUE      SUITE 830        ORLANDO             FL      32801
   WILLIAM J. MASTERSON                                                                    (ADDRESS REDACTED)
   WILLIAM MATHIES                                                                         (ADDRESS REDACTED)
   WILLIAM PAUL AND JANICE PAUL                             C/O GOUDIE & KOHN              ATTN: KIM KOHN, ESQ.                  3004 WEST CYPRESS STREET                      TAMPA               FL      33609
   WILLIAM RENNEKER                                                                        (ADDRESS REDACTED)
   WILLIAM WARD                                                                            (ADDRESS REDACTED)
   WILLIAM WARD                                                                            (ADDRESS REDACTED)
   WILLIAMS BILL                                                                           (ADDRESS REDACTED)
   WILLIAMS LINDA                                                                          (ADDRESS REDACTED)
   WILLIAMS MICHELLE E                                                                     (ADDRESS REDACTED)
                                                            ATTN: LAWRENCE R. SIEGEL,
   WILLIAMS MULLEN                                          ESQ.                           222 CENTRAL PARK AVENUE, SUITE 1700                                                 VIRGINIA BEACH      VA      23462
   WILLIAMS RENEE                                                                          (ADDRESS REDACTED)
   WILLIAMS ROBIN                                                                          (ADDRESS REDACTED)
   WILLIAMS SCOTSMAN INC                                                                   POST OFFICE BOX 91975                                                               CHICAGO             IL      60693-1975
   WILLIAMS, AKYSSAH                                                                       (ADDRESS REDACTED)
   WILLIAMS, JESSICA                                                                       (ADDRESS REDACTED)
   WILLIAMS, KEARRA                                                                        (ADDRESS REDACTED)
                                                            ATTN: R. PAUL WILLIAMS, III,
   WILLIAMS, NEWMAN & WILLIAMS, PLLC                        ESQ.                           P.O. BOX 23785                                                                      JACKSON             MS      39225
   WILLIAMS, TAMINA                                                                        (ADDRESS REDACTED)
   WILLIAMSBURG FACILITY OPERATIONS, LLC                                                   1811 JAMESTOWN ROAD                                                                 WILLIAMSBURG        VA      23185-2326
   WILLOWBROOK HEALTHCARE, LLC                                                             333 EAST LEE AVE.                                                                   YADKINVILLE         NC      27055
   WILMARIS SERRANO                                                                        (ADDRESS REDACTED)
   WILMER TECHNOLOGIES INC                                                                 14113 ROBERT PARIS COURT                                                            CHANTILLY           VA      20151
   WILMER TECHNOLOGIES, INC.                                                               14113 ROBERT PARIS CT.                SUITE 108                                     CHANTILLY           VA      20151
   WILMETRICE D. CHISOM                                                                    (ADDRESS REDACTED)




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                        Creditor Name                Attention                        Address 1                        Address 2             Address 3             City      State     Zip     Country
   WILORA LAKE HEALTHCARE, LLC                                         6001 WILORA LAKE RD                                                                 CHARLOTTE         NC    28212
   WILSON ALAINA R.                                                    (ADDRESS REDACTED)
   WILSON CNTY TAX ADMINISTRATOR                                       113 EAST NASH STREET                                                                WILSON            NC   27894-1162
   WILSON, ALESIA                                                      (ADDRESS REDACTED)
   WILSON, BARBARA                                                     (ADDRESS REDACTED)
   WILSON, ELIZABETH                                                   (ADDRESS REDACTED)
   WIND RIVER ENVIRONMENTAL LLC                                        577 MAIN STREET                                                                     HUDSON            MA   01749
   WIND RIVER ENVIRONMENTAL LLC                                        P.O. BOX 22074                                                                      NEW YORK          NY   10087
   WINDHAM BRANNON PC                                                  3630 PEACHTREE ROAD NE              SUITE 600                                       ATLANTA           GA   30326
   WINDSOR FACILITY OPERATIONS, LLC                                    23352 COURTHOUSE HIGHWAY                                                            WINDSOR           VA   23487-5333
   WINDSTREAM COMMUNICATIONS                                           PO BOX 9001013                                                                      LOUISVILLE        KY   40290-1013
   WINDSTREAM COMMUNICATIONS                                           PO BOX 489                                                                          HIAWASSEE         GA   30546
   WINDSTREAM HOLDINGS INC                                             PO BOX 70268                                                                        PHILADELPHIA      PA   19176-0268
   WINDSTREAM HOLDINGS INC                                             P.O. BOX 3177                                                                       CEDAR RAPIDS      IA   52406
   WINDSTREAM VOICE                        WINDSTREAM                  PO BOX 9001013                                                                      LOUISVILLE        KY   40290-1013
   WINIFRED RICKS-COON                                                 (ADDRESS REDACTED)
   WINONA MANOR HEALTHCARE, LLC                                        627 MIDDLETON RD.                                                                   WINONA            MS   38967
   WINTER HAVEN FACILITY OPERATIONS, LLC                               2701 LAKE ALFRED ROAD                                                               WINTER HAVEN      FL   33881-1432
   WOLLITZ BARBARA                                                     (ADDRESS REDACTED)
   WOLTERS KLUWER LAW & BUSINESS                                       4829 INNOVATION WAY                                                                 CHICAGO           IL   60682
   WOMBLE BOND DICKINSON LLP                                           PO BOX 601879                                                                       CHARLOTTE         NC   28260-1879
   WOOD ABIGAIL                                                        (ADDRESS REDACTED)
   WOOD VIRGINIA                                                       (ADDRESS REDACTED)
   WOODBINE HEALTHCARE, LLC                                            2900 KENDALLWOOD PKWY                                                               GLADSTONE         MO   64119
   WOODFAULK COURTNEY                                                  (ADDRESS REDACTED)
   WOODFAULK GERALDINE                                                 (ADDRESS REDACTED)
   WOODS TRIAL LAW                         ATTN: ASHBY DAVIS, ESQ.     110 NORTH 11TH STREET, STE 201                                                      TAMPA             FL   33602
   WOODSTOCK FACILITY OPERATIONS, LLC                                  803 S MAIN STREET                                                                   WOODSTOCK         VA   22664-1125
   WORLD TRAVEL SERVICE INC                ATTN: MITZI HUBBARD         THREE LAKESIDE CENTRE               2160 LAKESIDE CENTRE WAY                        KNOXVILLE         TN   37922
                                           ATTN: LAMAR SHULER,
   WORLD TRAVEL SERVICE, INC.              PRESIDENT                   10201 PARKSIDE DRIVE                                                                KNOXVILLE         TN   37922
   WORLDWIDE DISTRIBUTORS INC                                          10300 SW 72 STREET STE 164                                                          MIAMI             FL   33173
   WORXTIME , LLC                                                      360 B QUALITY CIRCLE SUITE 220                                                      HUNTSVILLE        AL   35806
   WP ASTRO PARENT                         ASCENTIUM CAPITAL LLC       PO BOX 301593                                                                       DALLAS            TX   75303
   WYMAN DUGGAN CAMPAIGN                                               133 HARBOR DR S                                                                     VENICE            FL   34285
   XCEL MED LLC                                                        7444 W WILSON AVENUE                                                                HARWOOD HEIGHTS   IL   60706
                                           C/O COLLING, GILBERT, WRIGHT
   XIOMARA REYES OBO VICTORIA NIEVES       & CARTER                     ATTN: BRIAN GUPPENBERGER, ESQ.     801 NORTH ORANGE AVENUE      SUITE 830          ORLANDO           FL   32801
   XL INSURANCE                                                         1209 ORANGE STREET                                                                 WILMINGTON        DE   19801
                                                                                                                                        ATTN: COLLATERAL
   XL SPECIALTY INSURANCE COMPANY                                      505 EAGLEVIEW BLVD                  SUITE 100                    MANAGER            EXTON             PA   19341
   YADONNA Y. RUSSELL                                                  (ADDRESS REDACTED)
   YALANDRA M. PARKER-MCGRIFF                                          (ADDRESS REDACTED)
   YNESE ULYSSE                                                        (ADDRESS REDACTED)
   YOHANNAS J. ASGEDOM                                                 (ADDRESS REDACTED)
   YOLANDA A. RIVERS                                                   (ADDRESS REDACTED)
   YU TAE                                                              (ADDRESS REDACTED)
   YUMIKO L. PERRIN                                                    (ADDRESS REDACTED)
   YVONNE A. RIEGER                                                    (ADDRESS REDACTED)
   YVONNE FUTCH                                                        (ADDRESS REDACTED)
   YVONNE RIEGER                                                       (ADDRESS REDACTED)
   ZACH HICKS                                                          (ADDRESS REDACTED)
   ZAHIDA SHAHEEN                                                      (ADDRESS REDACTED)
   ZAMPINO CINDY                                                       (ADDRESS REDACTED)
   ZANFARDINO RICHARD                                                  (ADDRESS REDACTED)
   ZEIGLERS FLORIST                                                    402 NORTH JEFFERSON STREET                                                          PERRY             FL   32347
   ZHENG CHEN                                                          (ADDRESS REDACTED)
   ZHENG CHEN                                                          (ADDRESS REDACTED)
   ZIMMERMAN MIRIAM                                                    (ADDRESS REDACTED)

   ZIPRECRUITER INC                        ATTN: ACCOUNTS RECEIVABLE   604 ARIZONA AVE                                                                     SANTA MONICA      CA   90401
   ZOHRA H. MOHAMED HUSEIN                                             (ADDRESS REDACTED)
   ZOOM VIDEO COMMUNICATIONS INC                                       55 ALMADEN BLVD 6TH FLOOR                                                           SAN JOSE          CA   95113
   ZOOM VIDEO COMMUNICATIONS, INC.         ATTN: LEGAL/FINANCE         55 ALMADEN BOULEVARD                                                                SAN JOSE          CA   95113
   ZORAIDA M. RYZEWSKI                                                 (ADDRESS REDACTED)
   ZORAIDA VARGAS                                                      (ADDRESS REDACTED)
   ZURICA ELLEN M                                                      (ADDRESS REDACTED)
   ZVI TRESS                                                           (ADDRESS REDACTED)




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